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                                  No. 25-807

                 UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT

    STATES OF WASHINGTON, ARIZONA, ILLINOIS, and OREGON,
                                                  Plaint 8'-Appellees,
CHERLY NORALES CASTILLO and ALICIA CHAVARRIA LOPEZ, on behalf
        of themselves as individuals and others similarly situated,
                                                  Plaint 8'-Appellees,
                                       v.
                 DONALD TRUMP, in his official capacity as
                    President of the United States, et al.,
                                                  Defendants-Appellants.

 On Appeal from the U.S. District Court for the Western District of Washington
                       Case No. 2:25-cv-00127-JCC
                    The Honorable John C. Coughenour

PLAINTIFF STATES' SUPPLEMENTAL ADDENDUM TO RESPONSE TO
 EMERGENCY MOTION UNDER CIRCUIT RULE 27-3 FOR PARTIAL
                   STAY PENDING APPEAL

                          NICHOLAS w. BROWN
                       Attorney General of Washington

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                       SUPPLEMENTAL ADDENDUM

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Relief and Exhibits

Plaintiff States' Motion for
                                01/27/2025         Dkt. 63      Supp.Add. 120- 151
Preliminary Injunction
Index of Declarations in
Support of Plaintiff States'
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Declaration of Lane
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Polozola

   Exhibit 1 to Polozola
   Declaration - Executive
   Order, Protecting the        01/21/2025        Dkt. 12-1     Supp.Add. 161 - 166
   Meaning and Value of
   American Citizenship

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   Declaration - Agenda47:
   Day One Executive
   Order Ending                 01/21/2025        Dkt. 12-2     Supp.Add. 167- 175
   Citizenship for Children
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   Outlawing Birth Tourism

   Exhibit 3 to Polozola
   Declaration - Trump
   Prepares for Legal Fight     01/21/2025        Dkt. 12-3     Supp.Add. 176-182
   Over His 'Birthright
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  Declaration - U.S. State
  Department's Foreign         01/21/2025        Dkt. 12-4     Supp.Add. 183- 192
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  Exhibit 5 to Polozola
  Declaration - U.S.
  Department of State's
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  Application for a U.S.
  Passport, Form DS-11
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  Declaration -I am a US.
  citizen: How do I get        01/21/2025        Dkt. 12-6     Supp.Add.200-202
  proof ofmy US.
  Citizenship ?

Declaration of
                               01/21/2025         Dkt. 13      Supp.Add.203-209
Dr. Shelley Lapkoff

  Exhibit A to Lapkoff
  Declaration -                01/21/2025        Dkt. 13-1     Supp.Add.210-216
  Curriculum Vitae

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  Declaration - Births to
  Unauthorized
                               01/21/2025        Dkt. 13-2     Supp.Add.217-242
  Immigrants in the States
  of Washington, Arizona,
  Illinois, ana' Oregon

Declaration of
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Dr. Charissa Fotinos




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Heddin

Declaration of
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Katherine Hutchinson

Declaration of Brian Reed       01/21/2025         Dkt. 17      Supp.Add.273-276

Declaration of Tom K.
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  Exhibit A to Wong
  Declaration -                 01/21/2025        Dkt. 18-1     Supp.Add.287-296
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Declaration of David C.
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Declaration of Dr. Caitlin
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  Declaration - List of         01/21/2025        Dkt. 20-2     Supp.Add.333-337
  References Cited

Declaration of Sarah K.
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Declaration of Nadine
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O'Leary

Declaration of
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Jennifer A. Woodward

Declaration of Aprille Flint-
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Gerner

Declaration of Heidi E.
                                01/27/2025         Dkt. 66      Supp.Add.384-393
Mueller

Declaration of Mozhdeh
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Oskouian

Reply in Support of
Plaintiff States' Motion for    02/04/2025         Dkt. 105     Supp.Add.402-429
Preliminary Injunction


     RESPECTFULLY SUBMITTED this 18th day of February 2025.

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           Case 2=25-Q9-%%i35z'§R?c02'E)%>L9m28hPlf6%"'W¢6"<3d10é789&§ of 638e 1 of 119




1                                                     The Honorable Judge John C. Coughenour
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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
10   STATE OF WASHINGTON; STATE OF                   NO. 2:25-cv-00127-JCC
     ARIZONA; STATE OF ILLINOIS; and
11   STATE OF OREGON,                                CONSOLIDATED COMPLAINT
                                                     FOR DECLARATORY AND
12                         Plaintiff States,         INJUNCTIVE RELIEF-CLASS
                                                     ACTION
13   and
14   Cherly NORALES CASTILLO and Alicia
     CHAVARRIA LOPEZ, on behalf of
15
     themselves as individuals and on behalf of
16   others similarly situated,

17                         Individual Plaintiffs,

18         v.

19   DONALD TRUMP, in his official capacity
     as President of the United States, U.S.
20   DEPARTMENT OF HOMELAND
     SECURITY; KRISTI NOEM in her official
21   capacity as Secretary of Homeland Security,
     U.s. SOCIAL SECURITY
22   ADMINISTRATION; MICHELLE KING,
     in her official capacity as Acting
23   Commissioner of the Social Security
     Administration, U.S. DEPARTMENT OF
24   STATE; MARCO RUBIO, in his official
     capacity as Secretary of State, U.S.
25   DEPARTMENT OF HEALTH AND
     HUMAN SERVICES; DOROTHY FINK,
26   in her official capacity as Acting Secretary


     CONSOLIDATED COMPLAINT FOR                                ATTORNEY GENERAL OF WASHINGTON
                                                                       Civil Rights Division
     DECLARATORY AND INJUNCTIVE                                     800 Fifth Avenue, Suite 2000
     RELIEF CLASS ACTION                                              Seattle, WA 98104-3188
                                                                           (206) 464-7744
     No. 2:25-cv-00127-JCC
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 1   of Health and Human Services, U.S.
     DEPARTMENT OF JUSTICE; JAMES
2    MCHENRY, in his official capacity as
     Acting Attorney General, U.S.
 3   DEPARTMENT OF AGRICULTURE;
     GARY WASHINGTON, in his official
4    capacity as Acting Secretary of Agriculture,
     and the UNITED STATES OF AMERICA,
 5
                           Defendants .
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     CONSOLIDATED COMPLAINT FOR                             ATTORNEY GENERAL OF WASHINGTON
                                                                    Civil Rights Division
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                                                                        (206) 464-7744
     No. 2:25-cv-00127-JCC
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 1                                            I.       INTRODUCTION
2             1.       Plaintiffs bring this action to stop the illegal Executive Order issued by President
 3   Donald J. Trump that purports to unilaterally alter the meaning of the Fourteenth Amendment's
4    guarantee of birthright citizenship. The Executive Order directs federal agencies to bar certain
 5   persons born in the United States from citizenship and the many benefits to which citizenship
 6   entitles them by unlawful executive fiat.
 7            2.       The Executive Order, issued on January 20, 2025, and entitled "Protecting the
 8   Meaning and Value of American Citizenship" (Citizenship Stripping Order), is contrary to the
 9   plain terms of the Fourteenth Amendment's Citizenship Clause and Section 1401 of the
10   Immigration and Nationality Act (INA). l The President has no authority to amend the
11   Constitution or supersede the Citizenship Clause's grant of citizenship to individuals bom in the
12   United States. Nor is he empowered by any other constitutional provision or law to determine
13   who shall or shall not be granted U.S. citizenship at birth. The Fourteenth Amendment and
14   federal law automatically confer citizenship upon individuals born in the United States and
15   subject to its jurisdiction.
16            3.       The States of Washington, Arizona, Illinois, and Oregon (Plaintiff States) bring
17   this action to protect the States-including their public agencies, public programs, public fiscs,
18   and state residents-from the irreparable harm that will result to the States and their residents as
19   a result of the illegal actions of the President and federal government that purport to unilaterally
20   strip U.S. citizens of their citizenship .
21            4.       Cherly Norales Castillo and Alicia Chavarria Lopez (Individual Plaintiffs) bring
22   this action on behalf of themselves and a class of similarly situated persons to stop the Order's
23   deprivation of citizenship to their unborn children.2 Individual Plaintiffs are expecting mothers
24
              1 Attached as Ex. A, also available at https://www.whitehouse.gov/presidential-actions/2025/01/prote
25   cting-the-meaning-and-value-of-american-citizenship/. The Order was subsequently published in the Federal
     Register as Exec. Order No. 14,160, 90 Fed. Reg. 18 (Jan. 29, 2025).
              2 Individual Plaintiffs previously tiled a separate action challenging the Executive Order, which the Court
26
     consolidated with the instant case. See Franco Ale ran v. Trump, Complaint, No. 2:25-cv-00163 (W.D. Wash. Jan.


     CONSOLIDATED COMPLAINT FOR                                 1                 ATTORNEY GENERAL OF WASHINGTON
                                                                                          Civil Rights Division
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                                                                                              (206) 464-7744
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 1   who are not U.S. citizens or lawful permanent residents (LPRs) and who have due dates after the
2    implementation date of the Order's prohibition on issuance of citizenship documents. By the
 3   terms of the Citizenship Stripping Order-though not by the terms of the Fourteenth
4    Amendment-their children born after the Order's date of implementation will be deprived of
 5   U.S. citizenship and be considered without legal status in this country. They seek to represent a
 6   class of similarly situated parents and their expected children. These children, although born in
 7   the United States and subject to its jurisdiction, will be deprived of U.S. citizenship under the
 8   Order.

 9            5.      This deprivation of citizenship strikes at the core of this country's identity as a
10   nation that, following Reconstruction, affirmed that all persons born in the United States are
11   citizens, regardless of race, parentage, creed, or other markers of identity. The Citizenship
12   Stripping Order's attempt to deny citizenship to those born on U.S. soil amounts to "the total
13   destruction of the individual's status in organized society" and "is a form of punishment more
14   primitive than torture." Trap v. Dulles, 356 U.S. 86, lol (1958). This is because, as the Supreme
15   Court has recognized time and again, "[c]itizenship is a most precious right," Kennedy v.
16   Mendoza-Martinez, 372 U.S. 144, 159 (1963), whose "value and importance" is "difficult to
17   exaggerate," Schneiderman v. United States, 320 U.S. 118, 122 (1943).
18            6.      If the Citizenship Stripping Order is allowed to stand, the Plaintiff States and their
19   residents (including Individual Plaintiffs) will suffer immediate and irreparable harm.
20   Nationally, in 2022 alone, there were approximately 255,000 births of U.S. citizen children to
21   noncitizen mothers without lawful status (undocumented) and approximately 153,000 births to
22   two undocumented parents. In Washington, in 2022 alone, approximately 7,000 U.S. citizen
23   children were born to mothers who lacked legal status and approximately 4,000 U.S. citizen
24   children were bom to two parents who lacked legal status. In Arizona, in 2022 alone, there were
25
     24, 2025), ECF No. 1. One of the named plaintiffs, Delmy Franco Ale ran, has chosen to withdraw from the case
     following the Court's Consolidation Order, ECF No. 56. Accordingly, she no longer seeks to represent the proposed
26
     class.


     CONSOLIDATED COMPLAINT FOR                               2                 ATTORNEY GENERAL OF WASHINGTON
                                                                                        Civil Rights Division
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                                                                                            (206) 464-7744
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 1   approximately 6,000 U.S. citizen children bom to mothers who lacked legal status and
2    approximately 3,400 U.S. citizen children bom to two parents who lacked legal status. Likewise,
 3   in Illinois, in 2022 alone, there were approximately 9,100 U.S. citizen children born to mothers
4    who lacked legal status and approximately 5,200 U.S. citizen children born to two parents who
 5   lacked legal status. And in Oregon, in 2022 alone, there were approximately 2,500 U.S. citizen
 6   children born to mothers who lacked legal status and approximately 1,500 U.S. citizen children
 7   born to two parents who lacked legal status. Using these numbers, likely more than 12,000 babies
 8   born in the United States each month who are entitled to citizenship-including more than 1,100
 9   babies born each month in the Plaintiff States-will no longer be considered U.S. citizens under
10   the Citizenship Stripping Order and will be left with no immigration status. This estimate is
11   conservative, because it includes only a subset of the newborns that would be stripped of
12   citizenship. The actual number of newborns affected in Plaintiff States is certainly higher.
13           7.      The individuals who are stripped of their U.S. citizenship, including the States '
14   residents, Individual Plaintiffs' expected children, and members of the proposed class, will be
15   left without any legal immigration status, vulnerable to removal from this country, and
16   threatened with the loss of "all that makes life worth living." Bridges v. Wixon, 326 U.S. 135,
17   147 (1945) (cleaned up), Many will be left stateless-that is, citizens of no country at all. They
18   will be left on the outside of society and forced to remain in the shadows in fear of immigration
19   enforcement actions that could result in their separation from family members and removal from
20   their country of birth. They will lose eligibility for myriad federal benefits programs. They will
21   lose their right to travel freely and re-enter the United States. They will lose their ability to obtain
22   a Social Security number (SSN) and work lawfully. They will lose the opportunity to qualify for
23   many educational opportunities. They will lose their right to vote, serve on juries, and run for
24   most public offices. They will be placed into lifelong positions of instability and insecurity as
25   part of a new underclass in the United States. In short, despite the Constitution's guarantee of
26   their citizenship, Individual Plaintiffs' children and the thousands of newborns who would be


     CONSOLIDATED COMPLAINT FOR                           3               ATTORNEY GENERAL OF WASHINGTON
                                                                                  Civil Rights Division
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                                                                                      (206) 464-7744
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 1   subject to the Citizenship Stripping Order will lose their ability to fully and fairly be a part of
2    American society as a citizen with all its benefits and privileges.
 3          8.      The Citizenship Stripping Order will also directly injure the Plaintiff States in
4    additional ways. The Plaintiff States will suffer immediate and irreparable harm by losing federal
 5   funding or reimbursements to programs that the Plaintiff States administer, such as Medicaid,
 6   the Children's Health Insurance Program (CHIP), foster care and adoption assistance programs,
 7   and programs to facilitate streamlined issuance of SSNs to eligible babies-among others. By
 8   purporting to unilaterally strip citizenship from individuals born in the Plaintiff States based on
 9   their parents' citizenship or immigration status, the Plaintiff States will be forced to bear
10   significantly increased costs to operate and fund programs that ensure the health and well-being
11   of their residents. The Plaintiff States will also be required-on no notice and at their
12   considerable burden and expense-to immediately begin modifying their funding and
13   operational structures and administration of programs to account for this change. This will
14   impose significant administrative and operational burdens for multiple of the Plaintiff States'
15   agencies that operate programs for the benefit of their residents.
16          9.      To prevent the President's and the federal government's unlawful action from
17   harming Plaintiffs, as well as the proposed class that Individual Plaintiffs seek to represent, they
18   ask this Court to invalidate the Citizenship Stripping Order in its entirety and enjoin any actions
19   taken to implement its directives.
20                               II.      JURISDICTION AND VENUE
21          10.     The Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and l346(a)(2). The
22   Court has further remedial authority under the Declaratory Judgment Act, 28 U.S.C. §§ 220l(a)
23   and 2202, 5 U.S.C. § 706, and Federal Rule of Civil Procedure 65 .
24           ll,    Venue is proper in this district pursuant to 28 U.S.C. §§ l39l(b)(2) and
25   l39l(e)(l). Defendants are United States agencies or officers sued in their official capacities.
26   The State of Washington is a resident of this judicial district, the Individual Plaintiffs reside in


     CONSOLIDATED COMPLAINT FOR                        4               ATTORNEY GENERAL OF WASHINGTON
                                                                               Civil Rights Division
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                                                                                   (206) 464-7744
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 1   this judicial district, and a substantial part of the events or omissions giving rise to this Complaint
2    occurred within the Seattle Division of the Western District of Washington, including the harms
 3   to UW Medicine at its Montlake and Northwest campuses, as well as at Harborview Medical
4    Center in Seattle.
 5                                            III.    PARTIES
 6                                              PLAINTIFFS
 7           12.     The State of Washington is a sovereign state of the United States of America.
 8           13.     The Attorney General of Washington is the chief legal adviser to the State and is
 9   authorized to act in federal court on behalf of the State on matters of public concern.
10           14.     The State of Arizona is a sovereign state of the United States of America.
11           15.     The Attorney General of Arizona is the chief legal officer of the State and is
12   authorized to act in federal court on behalf of the State.
13           16.     The State of Illinois is a sovereign state of the United States of America.
14           17.     The Attorney General of Illinois is the chief legal officer of the State and is
15   authorized to act in federal court on behalf of the State on matters of public concern.
16   See Ill. Const. art. V, § 15, 15 ILCS 205/4.
17           18.     The State of Oregon is a sovereign state of the United States of America.
18           19.     The Attorney General of Oregon is the chief legal officer of the State of Oregon
19   and is authorized to act in federal court on behalf of the State on matters of public concern.
20           20.     The Plaintiff States are aggrieved and have standing to bring this suit because
21   Defendants' action purporting to strip citizenship from U.S. citizens born and residing in the
22   Plaintiff States, receiving benefits in the Plaintiff States, and receiving government services in
23   the Plaintiff States-including children who are wards of the Plaintiff States and in their
24   custody-harms the Plaintiff States' sovereign, proprietary, and quasi-sovereign interests and
25   will continue to cause injury unless and until enforcement of the Citizenship Stripping Order is
26   permanently enjoined.


     CONSOLIDATED COMPLAINT FOR                          5               ATTORNEY GENERAL OF WASHINGTON
                                                                                 Civil Rights Division
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     RELIEF CLASS ACTION                                                        Seattle, WA 98104-3188
                                                                                     (206) 464-7744
     No. 2:25-cv-00127-JCC
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 1          21.      Plaintiff Cherty Norales Castillo is a noncitizen from Honduras. She is in removal
2    proceedings and has filed an application for asylum before the immigration court. She is
 3   pregnant, and her due date is March 19, 2025 .
4           22.      Plaintiff Alicia Chavarria Lopez is a noncitizen from E1 Salvador. She has filed
 5   an application for asylum before United States Citizenship and Immigration Services (USCIS).
 6   She is pregnant, and her due date is July 21, 2025 .
 7                                           DEFENDANTS
 8          23.      Defendant Donald Trump is the President of the United States. He is sued in his
 9   official capacity.
10          24.      Defendant Department of Homeland Security (DHS) is a federal cabinet agency
11   responsible for implementing the Citizenship Stripping Order, including by issuing regulations,
12   policies, and guidance consistent with the Order. DHS is a department of the Executive Branch
13   of the U.S. Government and is an agency within the meaning of 5 U.S.C. § 552. DHS is
14   comprised of USCIS, U.S. Immigration and Customs Enforcement (ICE), and U.S. Customs and
15   Border Protection (CBP). USCIS is responsible for adjudicating immigration benefits
16   applications, as well as certain applications to recognize a person's citizenship. ICE is
17   responsible for, among other things, the detention and removal of unlawfiully present noncitizens
18   in the United States and prosecuting removal cases of noncitizens. CBP is responsible for, among
19   other things, operating U.S. ports of entry.
20          25.      Defendant Kristi Noem is the Secretary of Homeland Security. She is responsible
21   for implementing and enforcing the INA and oversees USCIS, ICE, and CBP. She is sued in her
22   official capacity.
23          26.     Defendant United States Social Security Administration (SSA) is a federal
24   agency responsible for administering federal retirement, survivors, and disability income
25   programs, as well as the program of supplemental security income for the aged, blind, and
26   disabled. SSA processes applications for and issues Social Security numbers (SSNs) to eligible


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 1   applicants. SSA is responsible for implementing the Citizenship Stripping Order, including by
2    ceasing issuance of SSNs to children born in the United States but subject to the Citizenship
 3   Stripping Order's interpretation of the Citizenship Clause. SSA is a department of the Executive
4    Branch of the U.S. Government and is an agency within the meaning of 5 U.S.C. § 552.
 5          27.     Defendant Michelle King is the Acting Commissioner of the SSA. The Office of
 6   the Commissioner is directly responsible for all programs administered by the SSA, including
 7   the development of policy, administrative and program direction, and program interpretation and
 8   evaluation. She is sued in her official capacity.
 9          28.     Defendant United States Department of State is responsible for implementing the
10   Citizenship Stripping Order, including by issuing regulations, policies, and guidance consistent
11   with the Order. The State Department is a department of the Executive Branch of the U.S.
12   Government and is an agency within the meaning of 5 U.S.C. § 552. It is authorized by law to
13   grant and issue passports.
14          29.     Defendant Marco Rubio is the Secretary of State. He is responsible for carrying
15   out the President's foreign policies through the State Department and Foreign Service of the
16   United States. He is sued in his official capacity.
17          30.     Defendant United States Department of Health and Human Services (HHS) is a
18   federal cabinet agency responsible for implementing the Citizenship Stripping Order, including
19   through the administration of Medicaid, CHIP, and Title IV-E. HHS is a department of the
20   Executive Branch of the U.S. Government and is an agency within the meaning of 5 U.S.C.
21   § 552. HHS is responsible for implementing the Citizenship Stripping Order in its agency
22   program, operations, and activities.
23          31.     Defendant Dorothy Fink is the Acting Secretary of Health and Human Services.
24   She is responsible for overseeing and administering all HHS programs through the Office of the
25   Secretary and HHS's Operating Divisions. She is sued in her official capacity.
26


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 1           32.     Defendant United States Department of Justice (DOJ) is a federal cabinet agency
2    responsible for the federal government's legal affairs. The DOJ is a department of the Executive
 3   Branch of the U.S. Government and is an agency within the meaning of 5 U.S.C. § 552. DOJ is
4    responsible for implementing the Citizenship Stripping Order, including by ensuring agency
 5   regulations are consistent with the Order.
 6           33.     Defendant James McHenry is the Acting Attorney General of the United States.
 7   He is responsible for overseeing and administering all duties and programs of the DOJ, including
 8   overseeing and administering the Executive Office for Immigration Review, which adjudicates
 9   the removal proceedings of noncitizens charged with being inadmissible or removable from the
10   United States. He is also responsible for overseeing the Department of Justice's immigration-
11   related prosecutions, such as prosecutions for illegal entry and reentry to the United States. He
12   is sued in his official capacity.
13           34.     Defendant United States Department of Agriculture (USDA) is a cabinet-level
14   department of the United States. USDA is in charge of administering the Supplemental Nutrition
15   Assistance Program (SNAP), which provides food benefits to eligible low-income families to
16   supplement their grocery budget. USDA is a department of the Executive Branch of the U.S.
17   Government and is an agency within the meaning of 5 U.S.C. § 552. USDA is responsible for
18   implementing the Citizenship Stripping Order in its agency operations and activities.
19           35.     Defendant Gary Washington is the Acting Secretary of Agriculture. He is
20   responsible for overseeing and administering all USDA programs. He is sued in his official
21   capacity.

22           36.     Defendant the United States of America includes all government agencies and
23   departments responsible for the implementation, modification, and execution of the Citizenship
24   Stripping Order.
25

26


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 1                                        Iv.     ALLEGATIONS
2    A.      The United States Constitution Confers Automatic Citizenship on All Individuals
             Born in the United States and Subject to the Jurisdiction Thereof
 3
             37.     Section 1 of the Fourteenth Amendment to the United States Constitution states:
4
     "All persons born or naturalized in the United States, and subject to the jurisdiction thereof, are
 5
     citizens of the United States and of the State wherein they reside." U.S. Const. amend. XIV, § 1.
 6
     This provision is known as the Citizenship Clause. The Citizenship Clause's automatic conferral
 7
     of citizenship on all individuals born in the United States and subject to its jurisdiction,
 8
     regardless of the citizenship or immigration status of their parents, is confirmed by the
 9
     Fourteenth Amendment's text and history, judicial precedent, and longstanding Executive
10
     Branch interpretation.
11
             38.     The Citizenship Clause was passed and ratified as part of the Fourteenth
12
     Amendment following the Civil War to overturn the Supreme Court's infamous holding in
13
     Died Scott v. Sandford, 60 U.S. 393 (1857), where the Supreme Court ruled that Black
14
     Americans who were enslaved or were descended from enslaved persons could not be citizens.
15
     The Citizenship Clause reaffirmed the longstanding common law principle of jus soli as the
16
     default rule of citizenship in the United States: All individuals born in the United States and
17
     subject to its jurisdiction are citizens. Its operation is automatic. No further action is required for
18
     individuals born in the United States to "become" citizens and no additional limitations are
19
     imposed.
20
             39.     Unlike the Naturalization Clause, U.S. Const. art. I, § 8, cl. 4, which empowers
21
     Congress to set rules for naturalization, the Constitution nowhere empowers the President or
22
     Congress to set additional requirements that override or conflict with the Citizenship Clause's
23
     plain and broad grant of automatic citizenship to individuals born in the United States.
24
             40.     The Citizenship Clause contains no exceptions based on the citizenship or
25
     immigration status of one's parents or their country of origin. Rather, the Citizenship Clause's
26


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 1   only requirements are that an individual be born "in the United States" and "subject to the
2    jurisdiction thereof.]" The only individuals who are excluded under the "subject to the
 3   jurisdiction thereof" language are the extremely limited number of individuals who are in fact
4    not subject to the jurisdiction of the United States at birth-the children of diplomats covered by
 5   diplomatic immunity or children bom to enemy combatants engaged in war against the United
 6   States while on United States soil.3 Indeed, before the Fourteenth Amendment's adoption, there
 7   was explicit legislative debate and clarity that the Citizenship Clause was meant to reach all
 8   persons born in the United States, with only the limited exceptions above. See Garrett Epps, The
 9   Citizenship Clause: A "Legislative History, " 60 Am. Univ. L. Rev. 331, 355-56 (2010) (detailing
10   congressional debate). By embedding this protection in the Constitution with such clear
11   language, the framers "put citizenship beyond the power of any governmental unit to destroy."
12   Afroyim v. Rusk, 387 U.S. 253, 263 (1967).
13            41.      The Supreme Court cemented this longstanding and established understanding of
14   the Citizenship Clause more than 125 years ago in United States v. Wong Kim Ark, 169 U.S. 649
15   (1898). There, the Supreme Court held that a child born in the United States to noncitizen parents

16   was entitled to automatic citizenship by birth under the Fourteenth Amendment. In so holding,
17   the Court explained:
18            The fourteenth amendment affirms the ancient and fundamental rule of citizenship
19            by birth within the territory, in the allegiance and under the protection of the
              country, including all children here born of resident aliens, with the exceptions or
20            qualifications (as old as the rule itself) of children of foreign sovereigns or their
              ministers, or born on foreign public ships, or of enemies within and during a hostile
21            occupation of part of our territory, and with the single additional exception of
              children of members of the Indian tribes owing direct allegiance to their several
22
              tribes. The amendment, in clear words and in manifest intent, includes the children
23            born within the territory of the United States of all other persons, of whatever race
              or color .... To hold that the fourteenth amendment of the constitution excludes
24

25            3 Another exception recognized by the drafters of the Fourteenth Amendment, children born to Native
     American tribes with their own sovereign status, are granted U.S. citizenship at birth by a federal statute passed in
     1924. See 8 U.S.C. § l40l(b) (declaring to be a national and citizen of the United States at birth "a person bom in
26
     the United States to a member of an Indian, Eskimo, Aleutian, or other aboriginal tribe").


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 1            from citizenship the children born in the United States of citizens or subjects of
              other countries, would be to deny citizenship to thousands of persons of English,
2
              Scotch, Irish, German, or other European parentage, who have always been
 3            considered and treated as citizens of the United States.

4
     Id. at 693-94.

 5
              42.     In addition to Wong Kim Ark, the Supreme Court has separately made clear that
     undocumented immigrants are "subject to the jurisdiction" of the United States. In Plyler v. Doe,
 6

 7
     457 U.S. 202, 215 (1982), the Supreme Court interpreted the Fourteenth Amendment's Equal

 8
     Protection Clause-the sentence immediately following the Citizenship Clause-and explained

 9
     that the term "within its jurisdiction" makes plain that "the Fourteenth Amendment extends to

10   anyone, citizen or stranger, who is subject to the laws of a State, and reaches into every comer

11   of a State's territory." The Court concluded:

12            That a person's initial entry into a State, or into the United States, was unlawful,
              and that he may for that reason be expelled, cannot negate the simple fact of his
13            presence within the State's territorial perimeter. Given such presence, he is
              subject to the full range of obligations imposed by the State's civil and criminal
14            laws.

15   Id. As the Supreme Court explained, "no plausible distinction with respect to Fourteenth

16   Amendment 'jurisdiction' can be drawn between resident aliens whose entry into the United

17   States was lawful, and resident aliens whose entry was unlawful." Id. at 211 n.l0. The Supreme

18   Court further confirmed that the phrases "within its jurisdiction" and "subj ect to the jurisdiction

19   thereof' in the first and second sentences of the Fourteenth Amendment have the same meaning.

20
     Id.

21            43.     The Executive Branch has accepted and endorsed this reading and understanding

22
     of the Citizenship Clause for more than a century. Indeed, in 1995, the U.S. Justice Department's

23
     Office of Legal Counsel (OLC) provided a statement to Congress explaining why proposed

24
     legislation that would deny citizenship to certain children born in the United States based on

25
     their parents' immigration or citizenship status would be "unconstitutional on its face" and

26
     "unquestionably unconstitutional." 19 Op. O.L.C. 340, 341 (1995). The OLC's statement and


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 1   opinion recognize that "[t]hroughout this country's history, the fundamental legal principle
2    governing citizenship has been that birth within the territorial limits of the United States confers
 3   United States citizenship." Id. at 340. As OLC explained: "Congress and the States adopted the
4    Fourteenth Amendment in order to place the right to citizenship based on birth within the
 5   jurisdiction of the United States beyond question. Any restriction on that right contradicts both
 6   the Fourteenth Amendment and the underlying principle that the amendment safeguards." Id.
 7   (emphasis added). Indeed, OLC explained that "children bom in the United States of aliens are
 8   subject to the full jurisdiction of the United States[,]" and that "as consistently recognized by
 9   courts and Attorneys General for over a century, most notably by the Supreme Court in United
10   States v. Wong Kim Ark, there is no question that they possess constitutional citizenship under
11   the Fourteenth Amendment." Id. at 342.
12          44.     Congress likewise has reaffirmed through statute the Citizenship Clause's
13   commandment regarding birthright citizenship. The Immigration and Nationality Act states:
14   "The following shall be nationals and citizens of the United States at birth: (a) a person bom in
15   the United States, and subject to the jurisdiction thereof.]" 8 U.S.C. § l40l(a). This language
16   was originally enacted in 1940, well after Wong Kim Ark, and taken directly from the Fourteenth
17   Amendment.
18          45.     Federal and state agencies rely on this fundamental and longstanding
19   constitutional grant of birthright citizenship in implementing various federal programs. For
20   example, the U.S. State Department is granted the authority under federal law to issue
21   U.S. passports. 22 U.S.C. § 2lla. As explained in the State Department's Foreign Affairs
22   Manual, "[a]ll children born in and subject, at the time of birth, to the jurisdiction of the United
23   States acquire U.S. citizenship at birth even if their parents were in the United States illegally at
24   the time of birth.794 The U.S. State Department's Application for a U.S. Passport confirms that

25
            4 8 FAM 301.1 (Acquisition By Birth in the United States) (2021), available at https://fam.state.gov/
26
     FAM/08FAM/08FAM030101.html (attached as EX. B).


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 1   for "Applicants Born in the United States," a U.S. birth certificate alone is sufficient to prove
2    one's citizenship.5 USCIS likewise confirms in public guidance that "[i]fyou were born in the
 3   United States, you do not need to apply to USCIS for any evidence of citizenship. Your birth
4    certificate issued where you were born is proof of your citizenship."6
 5           46.       SSA also has long accepted that all children born in the United States are citizens .
 6   Under current public guidance, SSA states that "[t]he easiest way to get a Social Security number
 7   (SSN) for your newborn is to apply when you provide information for your baby's birth
 8   certificate in the hospital.ao'7 With respect to citizenship, SSA explains that for children born in
 9   the United States, the child's U.S. birth certificate is proof ofU.S. citizenship.8 SSA's guidance
10   is consistent with federal regulations, which establish that "[g]enerally, an applicant for an
11   original or replacement social security number card may prove that he or she is a U.S. citizen by
12   birth by submitting a birth certificate or other evidence .. that shows a U.S. place of birth."
13   20 C.F.R. § 422.l07(d). Indeed, for newborn babies, SSA utilizes what is called "Enumeration
14   at Birth." Under that program, SSA enters into agreements with states to streamline the process
15   for obtaining SSNs. Where a parent requests an SSN as part of an official birth registration
16   process, the state vital statistics office electronically transmits the request to SSA along with the
17   child's name, date and place of birth, sex, mother's maiden name, father's name, address of the
18   mother, and birth certificate number. 20 C.F.R. § 422.l03(c)(2). That information alone is used
19   to establish the age, identity, and U.S. citizenship of the newborn child. Id. States receive
20   payment from the federal government under this program for each record transmitted to the SSA
21   for purposes of issuing an SSN-approximately $4.19 per SSN that is issued. Currently,
22

23            5 U.S. Dep't of State, Applieationfor a US. Passport, Ds-ll 04-2022, 2 (expiration date April 30, 2025)
     (attached as Ex. C).
24            6 U.S. Citizenship & Immigr. Servs., A4--I am a US. citizen...How do [get proof ofmy US. citizenship?,
     M-560B, 1 (October 2013) available at https://www.uscis.gov/sites/default/files/document/guides/A4en.pdf
25   (attached as Ex. D).
              7 Soc. Sec. Admin., Social Security Numbers for Children, Pub. No. 05-10023, 1 (Jan. 2024), available at
     https://www.ssa.gov/pubs/EN-05-10023.pdf (attached as EX. E).
26
             8 Id. at 2-3.


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 1   Washington receives approximately $440,000 per year for administering this process and
2    transmitting birth data for newborn babies in Washington to SSA. Arizona, likewise, has
 3   received approximately $874,000 for FY 2024 and more than $935,000 for FY 2025 through the
4    Enumeration at Birth program, and is expected to receive more than $1 million in FY 2026.
 5   Oregon received approximately $158,000 in 2023 and $129,000 through the first three quarters
 6   of 2024 through the program. Illinois likewise participates in this program and receives federal
 7   funds for each record transmitted.
 8          47.     State law also relies on the basic constitutional principle that a person born in the
 9   territorial United States is an American citizen. For example, Arizona has unique and
10   complicated proof of citizenship requirements for voter registration. Birth certificates play an
11   important role in this process. One of the documents that qualifies as "satisfactory evidence of
12   citizenship" for voter registration in Arizona is "the applicant's birth certificate that verifies
13   citizenship to the satisfaction of the county recorder." Ariz. Rev. Stat. § 16- 166(F)(2)~ Another
14   document that qualifies as "satisfactory evidence of citizenship" for voter registration in Arizona
15   is a "driver license" number, if the driver license indicates that the applicant previously submitted
16   proof of citizenship to the Arizona Department of Transportation or equivalent agency of another
17   state. Ariz. Rev. Stat. § l6-l66(F)(l). Applicants often use their birth certificate to meet this
18   requirement.
19          48.     If a U.S. birth certificate were to stop being sufficient for proof of citizenship,
20   voter registration in Arizona would become substantially more difficult and time-consuming.
21   This is because election officials in Arizona would face a dilemma each time a prospective voter
22   submits a birth certificate or driver license number. Under current registration procedures, the
23   assumption is that these kinds of documents prove U.S. citizenship and nothing further is
24   required. Without this assumption, a new and more complex set of procedures would need to be
25   developed to try to identify which birth certificates and driver license numbers qualify as proof
26   ofU.S. citizenship.


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 1   B.      The President Acted Without Legal Authority in Purporting to Strip Individuals of
             Their U.S. Citizenship
2
             49.      President Trump's public statements make clear that he wishes to end birthright
 3
     citizenship purely as a policy tactic to purportedly deter immigration to the United States.
4
     Despite a president's broad powers to set immigration policy, the Citizenship Stripping Order
 5
     falls far outside the legal bounds of the president's authority.
 6
             50.      During his most recent campaign for President, for example, then-candidate
 7
     Trump made clear that an Executive Order would issue "[o]n Day One" to "stop federal agencies
 8
     from granting automatic U.S. citizenship to the children of illegal aliens.799 As he explained, the
 9
     goal is for this Executive Order to "eliminate a major incentive for illegal immigration,
10
     discourage future waves of illegal immigration to exploit this misapplication of citizenship, and
11
     encourage illegal aliens in the U.S. to return home.7910 He explained that the Executive Order
12
     would do this by instructing agencies not to issue passports, Social Security numbers, and
13
     otherwise have the federal government treat those children as noncitizens.
14
             51.      After the 2024 election, President-Elect Trump continued to state that birthright
15
     citizenship should be ended. In December 2024, for example, President-Elect Trump again
16
     promised an Executive Order "directing federal agencies to require a child to have at least one
17
     parent be either a U.S. citizen or legal permanent resident to automatically become a U.S.
18
     citizen.""
19
             52.      The Citizenship Stripping Order, issued January 20, 2025, is the promised
20
     Executive Order. It declares that U.S. citizenship "does not automatically extend to persons born
21
     in the United States" if (l) the individual's mother is "unlawfully present in the United States"
22

23
             9 Trump Vance 2025, Agenda47.' Day One Executive Order Ending Citizenship for Children of lllegals
24   and Outlawing Birth Tourism (May 30, 2023), https://www.donaldjtrump.com/agenda47/agenda47-day-one-
     executive-order-ending-citizenship-for-children-0f-illegals-and-outlawing-birth-tourism (attached as Ex. F).
25            10 Id.
              11 Tarini Patti & Michelle Hackman, Trump Prepares for Legal Fight Over His 'Birthright Citizenship '
     Curbs, Wall Street Journal (Dec. 8, 2024), https://www.wsj.com/politics/policy/trump-birthright-citizenship-
26
     executive-order-battle-0900a29l (attached as EX. G).


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 1   and the father "was not a citizen or lawful permanent resident at the time of said person's birth",
2    or (2) the "person's mother's presence in the United States at the time of said person's birth was
 3   lawful but temporary ... and the father was not a United States citizen or lawful permanent
4    resident at the time of said person's birth." The Citizenship Stripping Order affects at least
 5   hundreds of thousands of newborns in the United States, including those who are born to two
 6   undocumented parents.
 7          53.     Section 2 of the Order states that, effective in 30 days, it is the "policy of the
 8   United States" that no department or agency of the federal government "shall issue documents
 9   recognizing U.S. citizenship" to persons within those categories or "accept documents issued by
10   State, local, or other governments or authorities purporting to recognize United States
11   citizenship." Section 3 of the Order directs the Secretary of State, the Attorney General, the
12   Secretary of Homeland Security, and the Commissioner of Social Security to "take all
13   appropriate measures to ensure that the regulations and policies of their respective departments
14   and agencies are consistent with this order, and that no officers, employees, or agents of their
15   respective departments and agencies act, or forbear from acting, in any manner inconsistent with
16   this order." The Order further directs that "the heads of all executive departments and agencies
17   shall issue public guidance within 30 days of the date of this order regarding this order's
18   implementation with respect to their operations and activities."
19          54.     The Citizenship Stripping Order thus attempts to redefine the Fourteenth
20   Amendment and restrict jus soli--or birthright citizenship-in the United States. If
21   implemented, the Fourteenth Amendment's text would mean one thing for certain people, and
22   the opposite for the same class of persons born mere days apart.
23          55.     Its language underscores its arbitrary nature, particularly by failing to define who
24   is considered "unlawfully present" or who has "temporary status." The INA contains many "non-
25   immigrant" and other forms of status that do not provide or guarantee a pathway to lawful
26   permanent residence. Many noncitizen parents-to-be covered by the Order include people who


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 1   have lived in this country for decades and built their lives here. This includes people who have
2    no status, as well as those who have or are seeking other forms of lawful status (including asylum
 3   and other humanitarian forms of relief provided by the INA).
4            56.     The Constitution does not empower the President to set rules regarding
 5   citizenship at birth.
 6           57.     The Constitution does not empower the President to condition citizenship at birth
 7   on the citizenship or immigration status of one's parents.
 8           58.     The Constitution does not empower the President to unilaterally amend the
 9   Fourteenth Amendment.
10           59.     The Constitution does not empower the President to grant or deny citizenship to
11   individuals born in the United States .
12           60.     The Constitution and federal law confer automatic citizenship to individuals born
13   in the United States and subject to its jurisdiction. The Constitution removes control over the
14   grant of birthright citizenship from the category of legitimate policy options the President and
15   Congress may exercise to address immigration policy issues. As the Office of Legal Counsel
16   explained when discussing the unconstitutionality of such proposals: "In short, the text and
17   legislative history of the citizenship clause as well as consistentjudicial interpretation make clear
18   that the amendment's purpose was to remove the right of citizenship by birth from transitory
19   political pressures." 19 Op. O.L.C. at 347.

20   c.      United States Citizens Are Entitled to All Rights and Benefits of Citizenship as
             Defined by Law
21
             61.     U.S. citizens are entitled to a broad array of rights and benefits as a result of their
22
     citizenship. U.S. citizenship is a "priceless treasure." Fedorenko v. United States, 449 U.S. 490,
23
     507 (1981). Not only does citizenship provide a sense of belonging, but it carries with it immense
24
     privileges and benefits-all of which the President claims to wipe away at the stroke of a pen.
25

26


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 1   Withholding citizenship or stripping individuals of their citizenship will result in an immediate
2    and irreparable harm to those individuals and to the Plaintiff States.
 3           62.     Among other rights, citizens are "entitled as of birth to the full protection of the
4    United States, to the absolute right to enter its borders, and to full participation in the political
 5   process." Tuan Anh Nguyen v. I.N.S., 533 U.S. 53, 67 (2001).
 6           63.     The implication of these rights is equally important: U.S. citizens cannot be
 7   detained by immigration authorities, removed from this country, separated from their families,
 8   or deprived of their friends and communities. See, et., 18 U.S.C. § 4001 (preventing the U.S.
 9   government from detaining U.S. citizen absent authorization by Congress), 8 U.S.C.
10   § 1229a(a)(1) (removal proceedings are to "decide] the inadmissibility or deportability of
11   [a noncitizen]"). Such rights to belong and remain are among the most fundamental and valuable
12   rights that the Constitution protects .
13           64.     U.S. citizens are entitled to obtain a U.S. passport and may travel abroad for an
14   unlimited period of time and with unlimited frequency without risk of being denied re-entry to
15   the United States. Such travel may be needed to visit family, receive healthcare, travel for work
16   or pleasure, or for many other reasons.
17           65.     Individuals over 18 years of age who are U.S. citizens are eligible to vote in
18   federal, state, and local elections. U.S. Const. amend. XXVI, Wash. Const. art. VI, § l,
19   Ariz. Const. art. VII, § 2, Or. Const. art. II, § 2, Ill. Const. art III, § l. The right to vote is a
20   fundamental political right.
21           66.     Individuals over 18 years of age who are U.S. citizens are eligible to serve on
22   federal and state juries. 28 U.S.C. § l865(b)(l), Wash. Rev. Code § 2.36.070, Ariz. Rev. Stat.
23   § 2l-20l(l), Or. Rev. Stat. Ann. § 10.030(2), 705 ILCS 305/2(a).
24           67.     Individuals who are U.S. citizens may petition for immigration status for family
25   members including spouses, children, parents, and siblings. See 8 U.S.C. §§ ll5l(b)(2)(A)(i),
26   1153(a).


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 1           68.     Individuals who are natural born U.S. citizens are eligible for election to the
2    offices of President and Vice President of the United States. U.S. Const. art. II, § l, U.S. Const.
 3   amend. XII .
4            69.     Individuals who are U.S. citizens are eligible for election to the United States
 5   House of Representatives and the United States Senate, and to certain state offices.
 6   U.S. Const. art I, §§ 2-3, Wash. Const. art. II, § 7, art. III, § 25, Ariz. Const. art. IV pt. 2 § 2,
 7   art. V § 2, Or. Const. art. V, § 2, art. IV, § 8, Or. Rev. Stat. Ann. § 204.016(1), Ill. Const. art. V,
 8   § 3, art. IV § 2.
 9           70.     Individuals who are U.S. citizens or nationals are eligible for appointment to
10   competitive service federal jobs. Exec. Order No. 11,935, 5 C.F.R. § 7.3(b) (Sept. 3, 1976).
11           71.     Depending on immigration or citizenship status, residents of Plaintiff States may
12   also be eligible to participate in a number of federal and state programs that ensure the health
13   and welfare of individuals, families, and communities. Those include programs administered by
14   the Plaintiff States and funded by federal and state dollars. These programs provide healthcare
15   coverage for newborns and children, foster care and custodial services for children in need, and
16   other forms of social and economic assistance to those in need.
17           72.     Longer term, a child stripped of birthright citizenship who remains
18   undocumented will face the effects of a lack of legal status over their lifespan. While U.S.
19   citizens of sufficient age are authorized to work in the United States, only noncitizens granted
20   particular immigration statuses are or can be authorized to work. See 8 C.F.R. § 274a.l2.
21   A noncitizen who is unlawfully present is ineligible for employment authorization, affecting
22   their lifetime earning potential and job opportunities. Undocumented individuals are not eligible
23   for federal student financial aid, affecting their educational opportunities. Research also shows
24   that undocumented individuals are more likely to report greater depression, social isolation,
25   longer hospital stays, and higher levels of stress.
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 1           73.    A person without legal immigration status is not generally eligible to be issued a
2    social security number. See 20 C.F.R. § 422.107. This creates cascading barriers to basic needs
 3   and milestones, such as accessing traditional mortgages or banking services, as well as eligibility
4    for federal housing programs, among other things. Likewise, undocumented individuals are not
 5   eligible for a REAL ID Act compliant driver's license or identification card, which will be
 6   required for all air travel, including domestic flights, as of May 7, 2025. 6 C.F.R. §§ 37.5(b),
 7   37.1 l(g) .
 8   D.      Plaintiff States Will Be Irreparably Injured by Defendants' Citizenship Stripping
             Order
 9
             74.    The Plaintiff States will be immediately and irreparably injured by Defendants '
10
     Citizenship Stripping Order separate and apart from the grievous harms its residents will suffer
11
     as a result of the Order.
12
             75.    As noted above, in Washington in 2022 alone, approximately 7,000 U.S. citizen
13
     children were born to mothers who lacked legal status and approximately 4,000 U.S. citizen
14
     children were born to two parents who lacked legal status. This is a conservative estimate of the
15
     number of children affected by the Citizenship Stripping Order, and the full number of children
16
     affected will be greater.
17
             76.    In Arizona in 2022 alone, approximately 6,000 U.S. citizen children were born to
18
     mothers who lacked legal status and approximately 3,400 U.S. citizen children were born to two
19
     parents who were noncitizens and lacked legal status. This is a conservative estimate of the
20
     number of children affected by the Citizenship Stripping Order, and the full number of children
21
     affected will be greater.
22
             77.    In Illinois in 2022 alone, approximately 9,100 U.S. citizen children were born to
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     mothers who lacked legal status and approximately 5,200 U.S. citizen children were born to two
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     parents who were noncitizens and lacked legal status. This is a conservative estimate of the
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 1   number of children affected by the Citizenship Stripping Order, and the full number of children
2    affected will be greater.
 3           78.     In Oregon in 2022 alone, approximately 2,500 U.S. citizen children were born to
4    mothers who lacked legal status and approximately 1,500 U.S. citizen children were born to two
 5   parents who were noncitizens and lacked legal status. This is a conservative estimate of the
 6   number of children affected by the Citizenship Stripping Order, and the full number of children
 7   affected will be greater.
 8           79.     The Plaintiff States administer numerous programs for the benefit of their
 9   residents, including for newborns and young children, some of whom are wards of the Plaintiff
10   States who are entitled to care by statute. Some of these programs are funded in part by federal
11   dollars, with federal funding frequently tied to the citizenship and immigration status of the
12   individuals served. As detailed below, stripping individuals of their citizenship and leaving them
13   without a qualifying immigration status will render them ineligible to receive federally funded
14   benefits, leaving them to rely on state-only funded benefits and services that the Plaintiff States
15   must provide, and causing direct, immediate, and measurable financial harm to Plaintiff States.
16           80.     The Medicaid and CHIP health insurance programs were created by federal law
17   and are jointly funded by the federal and state governments. Medicaid provides health insurance
18   for individuals, including children, whose household incomes fall below certain eligibility
19   thresholds that vary slightly by state. CHIP is a program through which health insurance
20   coverage is provided for children whose household incomes exceed the eligibility thresholds for
21   Medicaid but fall below a separate threshold. The federal government pays states a percentage
22   of program expenditures for individuals enrolled in Medicaid and CHIP. This percentage varies
23   by program, state, covered population, and service, but generally ranges between 50% and 90%
24   of the total expenditure .
25           81.     Only individuals who are U.S. citizens or have a qualifying immigration status
26   are eligible for Medicaid and CHIP except for certain emergency medical services that must be


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 1   provided and can be covered under Medicaid where the individual is otherwise qualified but for
2    their immigration or citizenship status. 42 U.S.C. § 1396b(v), 8 U.S.C. §§ 1611(a), (c)(1)(B).
 3   42 C.F.R. §435.406. In all Plaintiff States, children who would be eligible for Medicaid or CHIP
4    but for the fact that they are not U.S. citizens or qualifying noncitizens are eligible for certain
 5   health insurance or emergency services that are funded entirely by the State. The Citizenship
 6   Stripping Order will therefore result in newborn children who would otherwise be eligible for
 7   federally funded Medicaid or CHIP instead being enrolled in entirely state-funded health care
 8   programs or provided entirely state-funded healthcare services, transferring the cost for their
 9   health care to the States and causing a direct loss of federal funding. And for some Plaintiff
10   States, those State-funded services may be underfunded or restricted to emergency care only,
11   resulting in newborns and children not receiving regular or preventative care and ultimately
12   leading to more expensive emergency care in the long term.
13          82.     One example is Washington's programs for ensuring healthcare coverage for its
14   most vulnerable residents. The Washington State Health Care Authority (HCA) is the designated
15   single state agency responsible for administering Washington's Medicaid program and CHIP.
16   In Washington, Medicaid is called Apple Health. Coverage programs for children are provided
17   under the name Apple Health for Kids and serve all kids regardless of immigration status up to
18   317% of the Federal Poverty Limit (FPL). Between 215% and 317% of the FPL, for children
19   who are citizens or qualified and authorized immigrants, the funding for this coverage comes
20   through CHIP, and households pay a minimal premium for children's coverage. Below that
21   range, for children who are citizens or qualified and authorized immigrants, funding for coverage
22   is provided through Medicaid. Under federal law, HCA must provide Medicaid and CHIP
23   coverage to citizens and qualified noncitizens whose citizenship or qualifying immigration status
24   is verified and who are otherwise eligible. For those children who would be eligible but for their
25   lack of citizenship or a qualifying immigration status, the State provides coverage through what
26   is called the Children's Health Plan (CHP).


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 1           83.     As of December 2024, HCA administers federally-backed Medicaid and CHIP
2    funded coverage for more than 860,000 children in Washington. HCA estimates that coverage
 3   on a per-child basis costs approximately $2,844 per year on average for physical health care
4    coverage alone. For this coverage, Washington expended approximately $2.37 billion with
 5   approximately $1 .3 billion coming from the federal government under Medicaid and CHIP. With
 6   respect to the division of funding in Washington, health coverage provided through CHIP
 7   generally receives a 65% federal match rate as opposed to Medicaid's 50% federal match rate.
 8           84.     If deemed ineligible because they are no longer U.S. citizens, children enrolled
 9   in CHIP who do not meet the income eligibility guidelines for Medicaid would be left without
10   health coverage unless Washington provides it using only state funding-even for emergency
11   medical care that hospitals (including State-operated hospitals) are required by federal law to
12   provide. See, et., 42 U.S.C. § l395dd. The result would be that federal law would require State-
13   providers, like UW Medicine's Harborview hospital, to provide emergency and other care, but
14   withhold federal contribution for that care at the normal CHIP rates. Washington would provide
15   coverage to these individuals using State-only funds, and therefore be required to spend
16   substantial funds it otherwise should receive from the federal government through the CHIP
17   program.

18           85.     The CHIP program also enables certain healthcare services to be provided to
19   children prior to birth in the form of prenatal care for their mother, regardless of the mother's status.
20   Under CHIP, a child is defined as "an individual under the age of 19 including the period from
21   conception to birth." 42 C.F.R. § 457.10. In Washington, children are eligible at conception for
22   prenatal care through CHIP. This prenatal care coverage is provided regardless of the immigration
23   status of the mother because the child is assumed to be a U.S. citizen. In State FY 2025, Washington
24   expects to receive $ 16 l .5 million in federal CHIP funding to provide prenatal health care to children
25   bom in Washington to mothers ineligible for Medicaid and CHIP .
26


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 1          86.     Certain children bom whose health care would have been covered through
2    Medicaid or CHIP as U.S. citizens will become ineligible for those programs because they are
 3   no longer deemed U.S. citizens or qualifying noncitizens under the Citizenship Stripping Order.
4    This poses an immediate risk to HCA's federal funding stream used to provide healthcare
 5   coverage to vulnerable Washington newborns and children. In state fiscal year 2022, for
 6   example, there were more than 4,000 children born to unauthorized and non-qualifying mothers
 7   whose labor and delivery was covered by Emergency Medicaid. Those children, by being bom
 8   in the United States and deemed citizens, were eligible for federally-backed coverage. If this
 9   number of children became ineligible due to a loss of citizenship and moved to the State-funded
10   CHP coverage, however, that will result in a loss of $6.9 million in federal reimbursements to
11   Washington and a corresponding increase to State expenditures of the same amount, based on
12   the current expenditures for the complete physical and behavioral health package of benefits.
13          87.     In Arizona, in 2024 there were 4,519 births paid for by the Federal Emergency
14   Services Program (FES births). For each of these births, the parent's household income fell under
15   133% of the Federal Poverty Level and the parent would have been eligible for Title XIX
16   (Medicaid) if they were U.S. citizens or "lawfully residing." However, because these children
17   were bom in the United States, the children were eligible for Medicaid and qualified for
18   Arizona's Medicaid program, the Arizona Health Care Cost Contaimnent System (AHCCCS),
19   but they would not be eligible if birthright citizenship were removed. If each of these children
20   became ineligible for AHCCCS until 18, using FFY 2026 figures for FMAP of 64.34% (federal
21   match) and capitation rates, then this would likely cost the State $39,400 in federal revenue per
22   child used to pay $61,300 in total capitation payments over the first 18 years of that child's life.
23          88.     In addition, based on current data, AHCCCS estimates that approximately 3,126
24   births each year are for children whose family income are low enough to make them eligible for
25   Title XXI (KidsCare) under birthright citizenship, but who would not be eligible if birthright
26


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 1   citizenship were removed. And given the scope of the Order, the number of children affected
2    will likely be higher.
 3          89.     Removing birthright citizenship from the above 7,645 (4,519 + 3,126) children
4    would reduce federal revenues to Arizona by $321,844,600 used to pay $468,638,500 in total
 5   capitation payments over the first 18 years of the children's lives. This amount is only for the
 6   first "cohort" of children and only through their first 18 years of life. Each year additional
 7   children would be born, adding to the lost revenue.
 8          90.     In Illinois, the Department of Healthcare and Family Services (HFS) is
 9   responsible for administering Illinois's Medicaid program and CHIP. HFS currently administers
10   federally-backed Medicaid and CHIP funded coverage for over l million children in Illinois.
11   Some of those children-children whose health care would have been covered through Medicaid
12   or CHIP as U.S. citizens-will become ineligible for those programs because they are no longer
13   deemed U.S. citizens or qualifying noncitizens under the Citizenship Stripping Order. That
14   threatens the federal funds that HFS uses to provide healthcare coverage to vulnerable Illinois
15   newborns and children and risks transferring the cost for their health care to Illinois.
16          91.     Similarly, Plaintiff States' child welfare systems are funded in part through an
17   annual appropriation based on an open-ended formula grant entitlement operated by the
18   Defendant HHS' federal Foster Care Program, known as "Title IV-E." For example, in Federal
19   Fiscal Year 2024, Washington received approximately $219 million in federal Title IV-E
20   funding .
21          92 ,    The Title IV-E grant amount is awarded to partially reimburse the States'
22   expenditures on allowable uses of funds for the direct costs of supporting eligible children in
23   foster care. The States receive no Title IV-E funding for the costs to care for foster children who
24   do not meet Title IV-E eligibility. Children who are neither citizens nor qualifying noncitizens,
25   which will include children who would be natural-born U.S. citizens but for the Citizenship
26   Stripping Order, are not covered by Title IV-E. 8 U.S.C. §§ 1611(a), (c)(1)(A)~


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 1           93.     Plaintiff States also receive federal funding under Title IV-E for certain program
2    administrative costs based in part on the number of children eligible for Title IV-E. Washington's
 3   Department of Children, Youth, and Families (DCYF) receives reimbursements for foster care
4    maintenance, adoption support, guardianship support, and associated legal, administrative, and
 5   training costs. Therefore, any decrease in the number of foster children who are Title IV-E
 6   eligible will reduce federal funding to States for foster care and related programs. As a result of
 7   the Citizenship Stripping Order, fewer children will be eligible for welfare and support services
 8   and Plaintiff States will suffer a negative financial impact to their child welfare programs.
 9           94.     Washington's DCYF foster care services provide support for children and
10   families when they may be most vulnerable and ensures that children have the tools they need
11   to succeed. In Washington, those services will often be provided for a long period of time-the
12   median length of stay for a child in out-of-home care is nearly two years. If that child is ineligible
13   for Title IV-E because they are not a citizen, DCYF cannot receive federal reimbursements for
14   any of the services they provide to that child. And any decrease in Title IV-E funding means that
15   DCYF will have fewer resources to help all of the children it serves, including children whose
16   citizenship status is unaffected by the Citizenship Stripping Order.
17           95.    Arizona's Department of Child Services (DCS) also relies on Title IV-E funding
18   and operates on a limited budget appropriated by the State Legislature. The Citizenship Stripping
19   Order will cause DCS to lose material amounts of federal funding that it would use for foster
20   care maintenance payments for those children, as well as reimbursement for administrative
21   expenses associated with their care.
22           96.    Illinois Department of Child and Family Services (DCFS) also relies on
23   Title IV-E funding. The guaranteed reduction in Title IV-E funding-as well as other federal
24   reimbursements-that will result from the Citizenship Stripping Order will have a meaningful
25   effect and strain on DCFS's ability to fulfill its statutory mandate to provide care to the wards in
26   its custody.


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 1          97.     The loss of federal funding and reimbursement will have other significant and
2    negative ripple effects on the Plaintiff States. For example, in Arizona, DCS prioritizes kinship
 3   placements for the children within its custody. In kinship placements, children are placed in the
4    homes of relatives or individuals with a significant relationship to the children. Placements with
 5   relatives and kin provides children with more stability by maintaining connections to
 6   neighborhood, community, faith, family, tribe, school and friends. A family's willingness and
 7   ability to accept a kinship placement is often dependent on the family's ability to receive
 8   financial and resource assistance from DCS. If fewer children are considered U.S. citizens and
 9   therefore are ineligible for these vouchers and resources, DCS will not be able to provide the
10   same assistance to support relative and kinship placements, and the number of these placements
11   will decrease. That will harm these already vulnerable children. It will also increase costs for
12   DCS, which will have to place those same children in group homes, which are significantly more
13   expensive.
14          98.     Because the benefit is to the child, not the caregiver, an increase of children
15   without legal status in DCS care will also impact community foster homes. Community foster
16   homes may not be willing to take placement of a child if they are not able to receive benefits like
17   childcare assistance. Many communities foster caregivers work outside of the home and rely on
18   childcare assistance to pay for care while they work.
19          99.     Plaintiff States will also suffer a direct and immediate loss of federal
20   reimbursements that they receive for every SSN that is assigned to a child born in their state
21   through the Enumerated at Birth (EAB) program. Pursuant to this program, Plaintiff States are
22   under contract with the SSA to collect and transmit to SSA certain birth information on behalf
23   of parents who wish to obtain an SSN for their newborn child. For their services under this
24   program, the States receive a payment from SSA of approximately $4.19 per assigned SSN.
25   These funds are used to support general administrative expenses for state agencies beyond the
26   cost of transmitting SSN applications to SSA.


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 1          100.    As noted above, each year, the Citizenship Stripping Order is likely to impact-
2    at a bare minimum-at least 4,000 children born in Washington, 3,400 children born in Arizona,
 3   5,200 children born in Illinois, and 1,500 children born in Oregon. Those children will therefore
4    be ineligible for SSNs, which in turn will cause the Plaintiff States to suffer an immediate
 5   decrease in the number of SSNs assigned and payments received through the EAB program. For
 6   example, withholding issuance of approximately 4,000 SSNs through the EAB process will
 7   cause Washington to lose approximately $16,000 per year at a minimum, because of the
 8   Citizenship Stripping Order's direction to SSA to stop issuing SSNs to these children.
 9   Withholding issuance of approximately 3,400 SSNs through the EAB process will cause Arizona
10   to lose approximately $14,000 per year at a minimum, because of the Citizenship Stripping
11   Order's direction to SSA to stop issuing SSNs to certain children. Withholding issuance of
12   approximately 5,200 SSNs through the EAB process will cause Illinois to lose approximately
13   $2 l ,000 per year at a minimum. And withholding issuance of approximately 1,500 SSNs through
14   the EAB process will cause Oregon to lose approximately $6,200 per year at a minimum, because
15   of the Citizenship Stripping Order's direction to SSA to stop issuing SSNs to certain children.
16          101.    As noted above, the Citizenship Stripping Order will also harm Arizona's ability
17   to implement its voter registration laws aimed at ensuring that only citizens register to vote .
18          102.    The Citizenship Stripping Order will immediately begin to upend administrative
19   and operational processes within the Plaintiff States. States must immediately alter their systems
20   for verifying which children they serve are eligible for federal reimbursement programs like
21   Medicaid, CHIP, and Title IV-E, operationalize those altered systems, and plan for the fiscal
22   impact of losing substantial federal funding that the Plaintiff States rely on receiving to support
23   a range of programs.
24          103 ,   In Washington, for example, agencies rely on birthright citizenship in their
25   internal processes to determine eligibility for federal programs. This includes Washington's
26   HCA, which administers Washington's Medicaid and CHIP programs. The Citizenship Stripping


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 1   Order will require HCA to develop updated training and guidance for staff, partners, and health
2    care providers across Washington about which children are citizens and therefore eligible for
 3   Medicaid and CHIP. HCA anticipates this will take at least seven to eight full-time employees
4    around two to three years to make these changes. These updates may then require training for up
 5   to 2,000 staff, on top of coordination with external community partners. Similarly, the
 6   Citizenship Stripping Order requires health care providers like UW Medicine to immediately
 7   update their understanding of how to assess coverage to assist patients and parents in
 8   understanding and navigating applications for coverage, when those parents may have a due date
 9   in just a few weeks.
10          104.    Washington's DCYF likewise relies on birthright citizenship to determine which
11   services it may receive reimbursement for. Federal law requires DCYF to verify citizenship
12   status of children it serves as a part of determining Title IV-E eligibility. Currently, the primary
13   method of citizenship verification is through birth certificates issued by other state agencies.
14   DCYF relies on those birth certificates to determine whether children are eligible for Title IV-E,
15   and DCYF's services for children may begin as soon as they are born. The Citizenship Stripping
16   Order requires DCYF to amend its processes, trainings, and materials to make any Title IV-E
17   eligibility determinations. That will take staff time that would have been spent on other projects
18   to better serve children and families in Washington.
19          105.    Washington's DOH also faces uncertainty and substantial administrative burdens
20   under the Citizenship Stripping Order. DOH cannot modify State's newborn registration process
21   immediately. Instead, doing so will require substantial operational time, manpower resources,
22   and technological resources from DOH and healthcare facilities in Washington. Indeed, because
23   more than 80,000 babies are born every year in Washington, DOH anticipates that any required
24   updates to the birth registration process or birth certificates in Washington will impose serious
25   burdens on DOH that it is not currently equipped to handle, as DOH has no way of determining
26   the immigration status or citizenship of every newborn (or their parents).


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 1           106.   Similarly, in Arizona, the State's Medicaid program, AHCCCS, is jointly funded
2    by the federal and state governments for individuals and families who qualify based on income
 3   level. AHCCCS does not currently rely on a Social Security Number or parental immigration
4    status to determine eligibility. Newborns are automatically approved for benefits through an
 5   automated process when a mother living in Arizona on AHCCCS gives birth. Citizenship is
 6   considered automatically verified if the child's birth is verified through this method since they
 7   are born in the United States. If this methodology no longer applied, AHCCCS would need to
 8   update its eligibility policy and update three systems it uses: HEAPlus, PMMIS and AHCCCS
 9   Online. This would take approximately 12 months to implement the change. Based on the
10   complexity of the potential update, the expense to change HEAplus would be approximately
11   $1 million to $2.5 million and would take about 12 months to develop. In addition, it would cost
12   $1 .3 million to 1.9 million to update PMMIS and AHCCCS Online.
13           107.   The Illinois Department of Public Health (IDPH) will also face substantive
14   administrative burdens under the Citizenship Stripping Order in order to modify its newborn
15   registration process immediately. IDPH would need to create systems for state-run healthcare
16   facilities to use to verify parents' immigration statuses for purposes of issuing birth certificates
17   and applying for a newborn's SSN. This would require training and hiring of staff and would
18   potentially cause delays in the registration and issuance of a newborn's birth certificate.
19           108.   In Chevron, the sudden need to collect proof of citizenship information from
20   parents at the birth of a child will cause the state to incur the expense of training its employees
21   and staff at Oregon hospitals on new protocols.
22           109.   In sum, the Citizenship Stripping Order, if allowed to stand, will work direct and
23   substantial injuries to Washington, Arizona, Illinois, and Oregon, in addition to their residents.
24   E.       Individual Plaintiffs
25                  a) Cherty Norales Castillo
26           110.   Plaintiff Cherty Norales Castillo is a noncitizen from Honduras.


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 1          111.    She has lived in the United States since 2023, and currently resides in Seattle,
2    Washington.
 3          112.    Ms. Norales lives with her partner and her four-year-old son.
4           113.    Ms. Norales and her son have a pending asylum application before the
 5   immigration court.
 6          114 ,   In 2023, they fled a violent and abusive situation in Honduras to seek protection
 7   in the United States.
 8          115.    Ms. Norales learned she is pregnant with her second child in or around July 2024.
 9          116.    Her expected due date is March 19, 2025 .
10          117.    When Ms. Norales learned of President Trump's Executive Order on birthright
11   citizenship in January 2025, she became fearful for her unborn child, as neither she nor the
12   child's father are citizens or LPRs.
13          118.    Ms. Norales fears for the safety and security of her family if her unborn child
14   does not receive citizenship by birthright. She does not want her unborn child to ever face
15   removal to Honduras, a country she had to flee due to abuse and violence. It is important to
16   Ms. Norales that her family remain unified and safe in this country.
17          119.    Ms. Norales also desires that her soon-to-be-bom child have access to an
18   education, work authorization, and the many other benefits of U.S. citizenship. She fears the
19   many obstacles her child will face if the child lacks citizenship.
20              b) Alicia Chavarria Lopez
21          120.    Plaintiff Alicia Chavarria Lopez is a noncitizen from El Salvador.
22          121.    She has lived in the United States since 2016, and currently resides in Bothell,
23   Washington.
24          122 ,   Ms. Chavarria lives with her partner and their five-year-old child.
25          123.    Ms. Chavarria has a pending asylum application before USCIS.
26


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 1           124.    In 2016, she fled a violent and abusive situation in El Salvador to seek protection
2    in the United States.
 3           125.    Ms. Chavarria learned she is pregnant with her second child in or around October
4    or November 2024 .

 5           126.    Her anticipated due date is July 21, 2025 .
 6           127.    When Ms. Chavarria learned of President Trump's Executive Order on birthright
 7   citizenship in January 2025, she became fearful for her unborn child, as neither she nor the
 8   child's father are citizens or LPRs.
 9           128.    Ms. Chavarria's family is one of mixed immigration status. She is seeking
10   asylum, and her five-year-old child is a U.S. citizen.
11           129.    Ms. Chavarria fears that the Citizenship Stripping Order puts her family at risk
12   of separation, and that her expected child may become a target for immigration enforcement.
13   She does not want her unborn child to live in fear of removal to El Salvador, a country
14   Ms. Chavarria had to flee for her own safety.
15           130.    Ms. Chavarria desires that her soon-to-be-born child have access to education,
16   work opportunities, and the many other benefits of U.S. citizenship-the same benefits that are
17   available to her other child who was born in this country. She fears the many obstacles her child
18   will face if the child lacks citizenship.
19   F.      The Effect of the Executive Order on the Plaintiff States' Residents, Individual
             Plaintiffs, and Proposed Class Members
20
             131.    The Citizenship Stripping Order will have widespread and destructive effects on
21
     the lives of the Plaintiff States' residents, Individual Plaintiffs, and proposed class members,
22
     which includes the Individual Plaintiffs' expected children.
23
             132.    Without the protections of citizenship, the Plaintiff States' residents, Individual
24
     Plaintiffs, and proposed class members face the risk of family separation, as DHS could take
25
     away and remove resident and proposed class member children at any moment. This is not
26


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  1    speculative. See Ms. L. v. ICE, 310 F. Supp. 3d 1133 (S.D. Cal. 2018) (enjoining policy
  2    implemented by first Trump administration to deter immigration by separating parents and their
  3    children).
  4            133.     Some children subject to the Citizenship Stripping Order may also become
  5    stateless. A U.S.-bom child deemed to be a noncitizen may not be recognized as a citizen under
  6    the laws of their parents' country or countries of origin. Even if legally possible, practical barriers
  7    may prevent these children from being recognized as citizens of any other country, especially
  8    where those countries offer no consular services in the United States (and thus no means to obtain
  9    a passport and verify citizenship). This is true for some large immigrant populations in the United
 10    States, like Venezuelans.12
 11            134.     The Order also deprives the Plaintiff States' residents, Individual Plaintiffs'
 12    expected children, and the other proposed class member children of the ability to obtain social
 13    security numbers and work lawfully once they are of lawful age. Without social security
 14    numbers, the Plaintiff States' residents, Individual Plaintiffs' children, and the other proposed
 15    class member children will be unable to provide for themselves or their families (including,
 16    eventually, the Individual Plaintiffs and class member parents themselves). Gonzalez Rosario v.
 17    U.S. Citizenshzp & Immigr. Servs., 365 F. Supp. 3d 1156, 1162 (W.D. Wash. 2018) (recognizing
 18    a "negative impact on human welfare" when asylum seekers "are unable to financially support
 19    themselves or their loved ones").
 20            135.     In addition, and among other things, the Citizenship Stripping Order denies the
 21    Plaintiff States' residents, Individual Plaintiffs' expected children, and the other proposed class
 22    member children (once they become adults) the right to vote in federal elections, serve on federal
 23    juries, serve in many elected offices, and work in various federal jobs.
 24
               12
I 25                 U.S. Dep't of State, International Travel, Learn About Your Destination, Venezuela
       https://travel.state.gov/content/trave1/en/international-travel/International-Trave1-Country-Information-Pages/
       Venezuelahtml (last updated Oct. 30, 2024) ("The Venezuelan embassy and consulates in the United States are not
 26
       open.") (attached as EX. H).


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 1           136.      The Order will further deprive the Plaintiff States' residents, Individual Plaintiffs '
2    children, and the other proposed class member children of access to higher education, as they
 3   will not qualify for federal financial aid to higher education, limiting their ability to develop their
4    full potential.
 5           137.      The Citizenship Stripping Order will also deprive the Plaintiff States' residents,
 6   Individual Plaintiffs' children, and the other proposed class member children of access to other
 7   critical public benefits. For example, as undocumented persons, children subject to the Order
 8   will not qualify for federally funded SNAP benefits. See 7 U.S.C. § 20l5(f), 7 C.F.R. § 273.4.
 9   While Washington State provides supplemental, state-funded programs for many noncitizens,
10   not all noncitizens (and thus not all class member children) would be covered. See, et., Wash.
11   Admin. Code § 388-424-0030 (addressing how immigration status affects eligibility for state-
12   funded food assistance programs), Wash. Admin. Code § 388-424-0001 (identifying qualifying
13   immigration statuses for state-fiunded food assistance programs).
14           138.      The Order will deprive the Plaintiff States' residents, Individual Plaintiffs'
15   children, and the other proposed class member children of any immigration status. The INA and
16   its implementing regulations do not provide any status to, and in fact do not contemplate, persons
17   born in the United States who are not U.S. citizens, except for those born to foreign diplomatic
18   officers. See 8 C.F.R. § lOl.3(a), see also 8 U.S.C. §l40l(a). Indeed, most persons born in the
19   U.S. who are subject to the Order will have no other path to gain lawful status in this country.
20           139.      Finally, the Citizenship Stripping Order is a source of immense stress, anxiety,
21   and concern for some of the Plaintiff States' residents, Individual Plaintiffs, and proposed class
22   members. They are understandably apprehensive and distressed about the prospect that their
23   families may be separated, rendered ineligible for benefits, and subject to many other harms.
24                               v.       CLASS ACTION ALLEGATIONS
25           140.      Individual Plaintiffs bring this action on behalf of themselves and all others who
26   are similarly situated pursuant to Federal Rule of Civil Procedure 23(a) and 23(b)(2). A class


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 1   action is proper because this action involves questions of law and fact common to the class, the
2    class is so numerous that joinder of all members is impractical, Individual Plaintiffs' claims are
 3   typical of the claims of the class and will fairly and adequately protect the interests of the class.
4    Defendants have acted on grounds that apply generally to the class, so that injunctive and
 5   declaratory relief and relief under the APA are appropriate with respect to the class as a whole.
 6           141.     Individual Plaintiffs seek to represent the following class:
 7                    All pregnant persons residing in Washington State who will give birth in
 8                    the United States on or after February 19, 2025, where neither parent of
                      the expected child is a U.S. citizen or lawful permanent resident at the
 9                    time of the child's birth, and,

10                    all children residing in Washington State who are born in the United
                      States on or after February 19, 2025, where neither of their parents is a
11                    U.S. citizen or lawful permanent resident at the time of the child's birth.
12

13           142.     The proposed class meets the numerosity requirements of Federal Rule of Civil

14   Procedure 23(a)(l). The class is so numerous that joinder of all members is impracticable. The

15   precise number of class members will be determined by how Defendants define and implement

16   the key terms of the Citizenship Stripping Order. However, in 2021, Washington State estimated

17   that there were over 300,000 undocumented noncitizens in the state. Even a conservative

18   estimate thus suggests that thousands of people, and perhaps many more, will be bom this year

19   alone in the state that will now be considered noncitizens.14 Additionally, as described above, in

20   2022 there were approximately 4,000 births in Washington State to parents who were

21   undocumented.

22

23

24               13 See Wei Yen, Washington state's immigrant population: 2010-21, Office of Financial Management, 2
     (May 2023), available at https://ofm.wa.gov/sites/default/files/public/dataresearch/researchbriefs/briefl l0.pdf
     (attached as Ex. I).
25
                 14 Washington State Dep't of Health, All Births Dashboard, https://doh.wa.gov/data-and-statistical-
     reports/washington-tracking-network-wtn/county-all-births-dashboard (last accessed Jan. 23, 2025) (reflecting a
26
     fertility rate of 53.5 births per 1,000 women aged 15-44 in 2022 in Washington) (attached as EX. J).


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 1          143.    The proposed class meets the commonality requirements of Federal Rule of Civil
2    Procedure 23(a)(2). The members of the class are all subject or will be subject to the Citizenship
 3   Stripping Order divesting them or their soon-to-be or future children of U.S. citizenship. The
4    lawsuit raises questions of law common to members of the proposed class, including whether
 5   the Order violates the Fourteenth Amendment.
 6          144.    The proposed class meets the typicality requirements of Federal Rule of Civil
 7   Procedure 23(a)(3) because the claims of the representative Individual Plaintiffs are typical of
 8   the class. Individual Plaintiffs and the proposed class share the same legal claims, which assert
 9   the same claim under the Fourteenth Amendment, federal law, and the APA. All involve families
10   where a child will be born in the United States where neither parent is a U.S. citizen or lawful
11   permanent resident.
12          145.    The proposed class meets the adequacy requirements of Federal Rule of Civil
13   Procedure 23(a)(4). The representative Individual Plaintiffs seek the same final relief as the other
14   members of the class-namely, an injunction that enjoins the President and federal agencies and
15   personnel from enforcing the Order, a declaration clarifying the citizenship status of the children
16   born in the United States targeted by the Citizenship Stripping Order, and appropriate relief
17   under the APA. Individual Plaintiffs will fairly and adequately protect the interests of the
18   proposed class members because they seek relief on behalf of the class as a whole and have no
19   interest antagonistic to other class members.
20          146.    Individual Plaintiffs are represented by competent counsel with extensive
21   experience in complex class actions and immigration law.
22          147.    The proposed class also satisfies Federal Rule of Civil Procedure 23(b)(2).
23   Defendants have acted on grounds generally applicable to the proposed class, thereby making
24   final injunctive, declaratory, and APA relief appropriate.
25

26


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 1                                VI.    FIRST CAUSE OF ACTION
                              (Fourteenth Amendment - Citizenship Clause)
2
             148.    Plaintiffs reallege and incorporate by reference the allegations set forth in
 3
     paragraphs 1-139.
4
             149.    The Fourteenth Amendment declares: "All persons born or naturalized in the
 5
     United States and subject to the jurisdiction thereof, are citizens of the United States and of the
 6
     State wherein they reside."
 7
             150.    Section 1 of the Citizenship Stripping Order declares that U.S. citizenship does
 8
     not automatically extend to individuals born in the United States when (l) the individual's
 9
     mother is "unlawfully present in the United States" and the father "was not a citizen or lawful
10
     permanent resident at the time of said person's birth", or (2) the "person's mother's presence in
11
     the United States at the time of said person's birth was lawful but temporary ... and the father
12
     was not a United States citizen or lawful permanent resident at the time of said person's birth."
13
             151.    Section 2 of the Citizenship Stripping Order states that Defendants will not issue
14
     documents recognizing U.S. citizenship to those individuals, nor accept documents issued by
15
     State, local, or other governments recognizing U.S. citizenship of those individuals.
16
             152.    Section 3 of the Citizenship Stripping Order requires Defendants to "take all
17
     appropriate measures to ensure" that Defendant agencies do not recognize the citizenship of
18
     certain U.S. citizens.
19
             153.    The Citizenship Stripping Order expressly violates the Fourteenth Amendment's
20
     guarantee of birthright citizenship to all individuals born in the United States and subject to the
21
     jurisdiction thereof.
22
             154.    The President has no authority to override or ignore the Fourteenth Amendment's
23
     Citizenship Clause or otherwise amend the Constitution, and therefore lacks authority to strip
24
     individuals of their right to citizenship .
25

26


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 1          155.    The Citizenship Stripping Order will cause harm to Washington, Arizona,
2    Illinois, Oregon, and the residents of each Plaintiff State.
 3          156.    The Citizenship Stripping Order will cause harm to the Individual Plaintiffs and
4    proposed class members.

 5                             VII. SECOND CAUSE OF ACTION
                          (Immigration and Nationality Act - 8 U.S.C. § 1401)
 6
            157.    Plaintiffs reallege and incorporate by reference the allegations set forth in
 7
     paragraphs 1-139.
 8
            158.    Section 1401 of the Immigration and Nationality Act states that "a person born in
 9
     the United States, and subject to the jurisdiction thereof' "shall be [a] national[] and citizen[] of
10
     the United States at birth." 8 U.S.C. § 1401(a).
11
            159.    Section l of the Citizenship Stripping Order declares that U.S. citizenship does
12
     not automatically extend to individuals born in the United States when (1) the individual's
13
     mother is "unlawfully present in the United States" and the father "was not a citizen or lawful
14
     permanent resident at the time of said person's birth", or (2) the "person's mother's presence in
15
     the United States at the time of said person's birth was lawful but temporary ... and the father
16
     was not a United States citizen or lawful permanent resident at the time of said person's birth."
17
            160.    Section 2 of the Citizenship Stripping Order states that Defendants will not issue
18
     documents recognizing U.S. citizenship to those individuals, nor accept documents issued by
19
     State, local, or other governments recognizing U.S. citizenship of those individuals.
20
            161.    Section 3 of the Citizenship Stripping Order requires Defendants to "take all
21
     appropriate measures to ensure" that Defendant agencies do not recognize the citizenship of
22
     certain U.S. citizens.
23
            162.    The Citizenship Stripping Order expressly violates Section l40l's guarantee of
24
     birthright citizenship to all individuals born in the United States and subject to the jurisdiction
25
     thereof.
26


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 1           163.    The President has no authority to override Section 1401 's statutory guarantee of
2    citizenship, and therefore lacks any authority to unilaterally strip individuals of their right to
 3   citizenship.
4            164.    The Citizenship Stripping Order will cause harm to Washington, Arizona,
 5   Illinois, Oregon, and the residents of each Plaintiff State.
 6           165.    The Citizenship Stripping Order will cause harm to the Individual Plaintiffs and
 7   proposed class members.

 8                               VIII. THIRD CAUSE OF ACTION
                             (Administrative Procedure Act - 5 U.S.C. §706)
 9
             166.    Plaintiffs reallege and incorporate by reference the allegations set forth in
10
     paragraphs 1-139.
11
             167.    The actions of Defendants that are required or permitted by the Citizenship
12
     Stripping Order, as set forth above, are contrary to constitutional right, power, privilege, or
13
     immunity, including rights protected by the Fourteenth Amendment to the U.S. Constitution, in
14
     violation of Administrative Procedure Act, 5 U.S.C. § 706(2)(B).
15
             168.    The actions of Defendants that are required or permitted by the Citizenship
16
     Stripping Order, as set forth above, violate 8 U.S.C. § 1401 et seq., and are in excess of statutory
17
     jurisdiction, authority, or limitations, or short of statutory right, in violation of the Administrative
18
     Procedure Act, 5 U.S.C. § 706(2)(C).
19
             169.    The Citizenship Stripping Order will cause harm to Washington, Arizona,
20
     Illinois, Oregon, and the residents of each Plaintiff State.
21
             170.    The Citizenship Stripping Order will cause harm to the Individual Plaintiffs and
22
     proposed class members.
23
             171.    Accordingly, Plaintiffs request that the Court set aside any and all agency action
24
     that implements the Citizenship Stripping Order.
25

26


     CONSOLIDATED COMPLAINT FOR                          39               ATTORNEY GENERAL OF WASHINGTON
                                                                                  Civil Rights Division
     DECLARATORY AND INJUNCTIVE                                                800 Fifth Avenue, Suite 2000
     RELIEF CLASS ACTION                                                         Seattle, WA 98104-3188
                                                                                      (206) 464-7744
     No. 2:25-cv-00127-JCC
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 1                                  IX.     PRAYER FOR RELIEF
2           WHEREFORE, Plaintiffs pray that the Court:
 3          a.      Declare that the Citizenship Stripping Order is contrary to the Constitution and
4    laws of the United States,
 5          b.      Certify the case as a class action as proposed by Individual Plaintiffs herein and
 6   in the previously filed motion for class certification, ECF No. 58,
 7          c.      Preliminarily and permanently enjoin Defendants from implementing or
 8   enforcing the Citizenship Stripping Order, pending further orders from this Court,
 9          d.      Declare that Individual Plaintiffs' children bom on or after the implementation
10   date of the Citizenship Stripping Order and others similarly situated are U.S. citizens,
11   notwithstanding the terms of the Order,
12          e.      Award Individual Plaintiffs costs and reasonable attorney fees under the
13   Equal Access to Justice Act, 28 U.S.C. § 2412, and
14          f.      Award such additional relief as the interests ofjustice may require.
15

16          DATED this 4th day of February 2025.
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                                                  Attorney General
18
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     CONSOLIDATED COMPLAINT FOR                       40              ATTORNEY GENERAL OF WASHINGTON
                                                                              Civil Rights Division
     DECLARATORY AND INJUNCTIVE                                            800 Fifth Avenue, Suite 2000
     RELIEF CLASS ACTION                                                     Seattle, WA 98104-3188
                                                                                  (206) 464-7744
     No. 2:25-cv-00127-JCC
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     CONSOLIDATED COMPLAINT FOR              41              ATTORNEY GENERAL OF WASHINGTON
                                                                     Civil Rights Division
     DECLARATORY AND INJUNCTIVE                                   800 Fifth Avenue, Suite 2000
     RELIEF CLASS ACTION                                            Seattle, WA 98104-3188
                                                                         (206) 464-7744
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     CONSOLIDATED COMPLAINT FOR                 42            ATTORNEY GENERAL OF WASHINGTON
                                                                      Civil Rights Division
     DECLARATORY AND INJUNCTIVE                                    800 Fifth Avenue, Suite 2000
     RELIEF CLASS ACTION                                             Seattle, WA 98104-3188
                                                                          (206) 464-7744
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               EXHIBIT A




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   AMER CAN C I ZENSH ]
                                                                 EXECUTIVE ORDER


                                                                  January20, 2025




 By the authority vested in me as President by the Constitution and the laws of
 the United States of America, it is hereby ordered:
 Section 1. Purpose. The privilege of United States citizenship is a priceless and
 profound gift. The Fourteenth Amendment states: "All persons born or
 naturalized in the United States, and subject to the jurisdiction thereof, are
 citizens of the United States and of the State wherein they reside." That
 provision rightly repudiated the Supreme Court of the United States's shameful
 decision in Died Scott V. Sandford, 60 U.S. (19 How.) 393 (1857), which

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 misinterpreted the Constitution as permanently excluding people of African
 descent from eligibility for United States citizenship solely based on their race.
 But the Fourteenth Amendment has never been interpreted to extend
 citizenship universally to everyone born within the United States. The
 Fourteenth Amendment has always excluded from birthright citizenship
 persons who were born in the United States but not "subject to the jurisdiction
 thereof." Consistent with this understanding, the Congress has further
 specified through legislation that "a person born in the United States, and
 subject to the jurisdiction thereof" is a national and citizen of the United States
 at birth, 8 U.S.C. 1401, generally mirroring the Fourteenth Amendment's text.
 Among the categories of individuals born in the United States and not subject
 to the jurisdiction thereof, the privilege of United States citizenship does not
 automatically extend to persons born in the United States: (1) when that
 person's mother was unlawfully present in the United States and the father was
 not a United States citizen or lawful permanent resident at the time of said
 person's birth, or (2) when that person's mother's presence in the United States
 at the time of said person's birth was lawful but temporary (such as, but not
 limited to, visiting the United States under the auspices of the Visa Waiver
 Program or visiting on a student, work, or tourist visa) and the father was
 not a United States citizen or lawful permanent resident at the time of said
 person's birth.
 Sec. 2. Policy. (a) lt is the policy of the United States that no department or
 agency of the United States government shall issue documents recognizing
 United States citizenship, or accept documents issued by State, local, or other
 governments or authorities purporting to recognize United States citizenship,
 to persons: (1) when that person's mother was unlawfully present in the United
 States and the person's father was not a United States citizen or lawful
 permanent resident at the time of said person's birth, or (2) when that person's
 mother's presence in the United States was lawful but temporary, and the


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 person's father was not a United States citizen or lawful permanent resident at
 the time of said person's birth.
 (b) Subsection (a) of this section shall apply only to persons who are born
 within the United States after 30 days from the date of this order.
 (c) Nothing in this order shall be construed to affect the entitlement of other
 individuals, including children of lawful permanent residents, to obtain
 documentation of their United States citizenship.
 Sec. 3. Enforcement. (a) The Secretary of State, the Attorney General, the
 Secretary of Homeland Security, and the Commissioner of Social Security shall
 take all appropriate measures to ensure that the regulations and policies of their
 respective departments and agencies are consistent with this order, and that no
 officers, employees, or agents of their respective departments and agencies
 act, or forbear from acting, in any manner inconsistent with this order.
 (b) The heads of all executive departments and agencies shall issue public
 guidance within 3O days of the date of this order regarding this order's
 implementation with respect to their operations and activities.
 Sec. 4. Definitions. As used in this order:
 (a) "Mother" means the immediate female biological progenitor.
 (b) "Father" means the immediate male biological progenitor.
 Sec. 5. General Provisions. (a) Nothing in this order shall be construed to
 impair or otherwise affect:
 (I) the authority granted by law to an executive department or agency, or the
 head thereof; or
 (ii) the functions of the Director of the Office of Management and Budget
 relating to budgetary, administrative, or legislative proposals.
 (b) This order shall be implemented consistent with applicable law and subject
 to the availability of appropriations.
 (c) This order is not intended to, and does not, create any right or benefit,
 substantive or procedural, enforceable at law or in equity by any party against


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 the United States, its departments, agencies, or entities, its officers, employees,
 or agents, or any other person.
 THE WHITE HOUSE,
    January 20, 2025.




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               EXHIBIT B




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                      8 FAM 300
               u.s. CITIZENSHIP AND
                    NATIONALITY
                           8 FAM 301
                       u.s. CITIZENSHIP
                              8 FAM 301.1
   ACQUISITION BY BIRTH IN THE UNITED
                                   STATES
                           (CT: CITZ-50; 01 -21 -2021)
                          (Office of Origin: CA/PPT/S/A)


8 FAM 301.1-1 INTRODUCTION
(cT:c1Tz-50;    01-21-2021)
a. U.S. citizenship may be acquired either at birth or through naturalization
   subsequent to birth. U.S. laws governing the acquisition of citizenship at birth
   embody two legal principles:
   (1) Jus soli (the law of the soil) - a rule of common law under which the place
         of a person's birth determines citizenship. In addition to common law,
         this principle is embodied in the 14th Amendment to the U.S. Constitution
         and the various U.S. citizenship and nationality statutes, and
   (2) Jus sanguinis (the law of the bloodline) - a concept of Roman or civil law
         under which a person's citizenship is determined by the citizenship of one
         or both parents. This rule, frequently called "citizenship by descent" or
         "derivative citizenship", is not embodied in the U.S. Constitution, but such
         citizenship is granted through statute. As U.S. laws have changed, the
         requirements for conferring and retaining derivative citizenship have also
         changed.
b. National vs. citizen: While most people and countries use the terms
   "citizenship" and "nationality" interchangeably, U.S. law differentiates between
   the two. Under current law all U.S. citizens are also U.S. nationals, but not all



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   U.S. nationals are U.S. citizens. The term "national of the United States", as
   defined by statute (INA 101 (a)(22) (8 U.S.C. 1101(a)(22)) includes all
    citizens of the United States, and other persons who owe allegiance to the
   United States but who have not been granted the privilege of citizenship:
   (1) Nationals of the United States who are not citizens owe allegiance to the
         United States and are entitled to the consular protection of the United
         States when abroad, and to U.S. documentation, such as U.S. passports
          with appropriate endorsements. They are not entitled to voting
         representation in Congress and, under most state laws, are not entitled to
         vote in Federal, State, or local elections except in their place of birth.
         (See 7 FAM 012 and 7 FAM 1300 Appendix B Endorsement 09.);
   (2) Historically, Congress, through statutes, granted U.S. non-citizen
         nationality to persons born or inhabiting territory acquired by the United
         States through conquest or treaty. At one time or other natives and
         certain other residents of Puerto Rico, the U.S. Virgin Islands, the
         Philippines, Guam, and the Panama Canal Zone were U.S. non-citizen
         nationals. (See 7 FAM 1120 and 7 FAM 1100 Appendix P.);
   (3) Under current law, only persons born in American Samoa and Swains
         Island are U.S. non-citizen nationals (INA 101(a)(29) (8 U.S.C. 1101(a)
         (29) and INA 308(1) (8 U.S.C. 1408)). (See 7 FAM 1125.); and
   (4) See 7 FAM 1126 regarding the citizenship/nationality status of persons
         born on the Commonwealth of the Northern Mariana Islands (CNMI).
c. Naturalization - Acquisition of U.S. Citizenship Subsequent to Birth :
   Naturalization is "the conferring of nationality of a State upon a person after
   birth, by any means whatsoever" (INA 101(a)(23) (8 U.S.C. 1101(a)(23)) or
    conferring of citizenship upon a person (see INA 310, 8 u.s.c. 1421 and INA
    311, 8 u.s.c. 1422). Naturalization can be granted automatically or pursuant
   to an application. (See 7 FAM 1140.)
d. "Subject to the Jurisdiction of the United States": All children born in and
   subject, at the time of birth, to the jurisdiction of the United States acquire
   U.S. citizenship at birth even if their parents were in the United States illegally
   at the time of birth :
   (1) The U.S. Supreme Court examined at length the theories and legal
         precedents on which the U.S. citizenship laws are based in U.S. V. Wong
         Kim Ark, 169 U.S. 649 (1898). In particular, the Court discussed the
         types of persons who are subject to U.S. jurisdiction. The Court affirmed
         that a child born in the United States to Chinese parents acquired U.S.
         citizenship even though the parents were, at the time, racially ineligible
         for naturalization,
   (2) The Court also concluded that: "The 14th Amendment affirms the ancient
         and fundamental rule of citizenship by birth within the territory, in the
         allegiance and under the protection of the country, including children here
         born of resident aliens, with the exceptions or qualifications (as old as the
         rule itself) of children of foreign sovereigns or their ministers, or born on



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       foreign public ships, or of enemies within and during a hostile occupation
       of part of our territory, and with the single additional exception of children
       of members of the Indian tribes owing direct allegiance to their several
       tribes. The Amendment, in clear words and in manifest intent, includes
       the children born within the territory of the United States, of all other
       persons, of whatever race or color, domiciled within the United States."
       Pursuant to this ruling:
       (a) Acquisition of U.S. citizenship generally is not affected by the fact
            that the parents may be in the United States temporarily or illegally;
            and that; and
       (b) A child born in an immigration detention center physically located in
            the United States is considered to have been born in the United
            States and be subject to its jurisdiction. This is so even if the child's
            parents have not been legally admitted to the United States and, for
            immigration purposes, may be viewed as not being in the United
            States.


8 FAM 301.1-2 WHAT IS BIRTH "IN THE UNITED
STATES"?
(CTJCITZ-45; 12-09-2020)
a. INA 101(a)(38) (8 U.S.C. 1101 (a)(38)) provides that "the term 'United
   States,' when used in a geographical sense, means the continental United
   States, Alaska, Hawaii, Puerto Rico, Guam, and the Virgin Islands of the
   United States."
b. On November 3, 1986, Public Law 94-241, "approving the Covenant to
   Establish a Commonwealth of the Northern Mariana Islands in Political Union
    with the United States of America", (Section 506(c)),took effect. From that
   point on, the Northern Mariana Islands have been treated as part of the
   United States for the purposes of INA 301 (8 u.s.c. 1401) and INA 308 (8
   u.s.c. 1408) (see 8 FAM 302.1)
c. The Nationality Act of 1940 (NA), Section 101(d) (54 Statutes at Large 1172)
   (effective January 13, 1941 until December 23, 1952) provided that "the term
   'United States' when used in a geographical sense means the continental
   United States, Alaska, Hawaii, Puerto Rico, and the Virgin Islands of the
   United States." The 1940 Act did not include Guam or the Northern Mariana
   Islands as coming within the definition of "United States."
   See the text of the 1940 Act on the Intranet, Acquisition of Citizenship,
   Legal and Regulatory Documents.
d. Prior to January 13, 1941, there was no statutory definition of "the United
   States" for citizenship purposes. The phrase "in the United States" as used in
   Section 1993 of the Revised Statues of 1878 clearly includes states that have
   been admitted to the Union (see 8 FAM 102.2).


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e. INA 304 (8 U.S.C. 1404) and INA 305 (8 U.S.C. 1405) provide a basis for
    citizenship of persons born in Alaska and Hawaii, respectively, while they were
    territories of the United States.


8 FAM 301.1-3 NOT INCLUDED IN THE
MEANING OF "IN THE UNITED STATES"
(CTJCITZ-1, 06-27-2018)
a. Birth on U.S. Registered Vessel On High Seas or in the Exclusive Economic
   Zone: A U.S.-registered or documented ship on the high seas or in the
   exclusive economic zone is not considered to be part of the United States.
   Under the law of the sea, an Exclusive Economic Zone (EEZ) is a maritime
   zone over which a State has special rights over the exploration and use of
   natural resources. The EEZ extends up to 200 nautical miles from the coastal
   baseline. A child born on such a vessel does not acquire U.S. citizenship by
   reason of the place of birth (Lam Mow v. Nagle, 24 F.2d 316 (9th Cir., 1928)).
     NOTE: This concept of allotting nations EEZs to give better control of
     maritime affairs outside territorial limits gained acceptance in the late 20th
     century and was given binding international recognition by the United
     Nations Convention on the Law of the Sea (UNCLOS) in 1982.
     Part V, Article 55 of the Convention states:
     Specific legal regime of the EEZ:
     The EEZ is an area beyond and adjacent to the territorial sea, subject to
     the specific legal regime established in this Part, under which the rights
     and jurisdiction of the coastal State and the rights and freedoms of other
     States are governed by the relevant provisions of this convention.
b. A U.S.-registered aircraft outside U.S. airspace is not considered to be part of
   U.S. territory. A child born on such an aircraft outside U.S. airspace does not
   acquire U.S. citizenship by reason of the place of birth.
     NOTE: The United States of America is not a party to the U.N. Convention
     on Reduction of Statelessness (1961). Article 3 of the Convention does
     not apply to the United States. Article 3 provides
           "For the purpose of determining the obligations of Contracting States under
           this Convention, birth on a ship or in an aircraft shall be deemed to have taken
           place in the territory of the State whose flag the ship flies or in the territory of
           the State in which the aircraft is registered, as the case may be."
     This is a frequently asked question.
c. Birth on U.S. military base outside of the United States or birth on U.S.
   embassy or consulate premises abroad:
   (1) Despite widespread popular belief, U.S. military installations abroad and
        U.S. diplomatic or consular facilities abroad are not part of the United


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         States within the meaning of the 14th Amendment. A child born on the
         premises of such a facility is not born in the United States and does not
         acquire U.S. citizenship by reason of birth,
   (2) The status of diplomatic and consular premises arises from the rules of
         law relating to immunity from the prescriptive and enforcement
         jurisdiction of the receiving State, the premises are not part of the
         territory of the United States of America. (See Restatement (Third) of
         Foreign Relations Law, Vol. 1, Sec. 466, Comment a and c (1987). See
         also, Persinger v. Iran, 729 F.2d 835 (D.C. Cir. 1984).
d. Birth on foreign ships in foreign government non-commercial service:
   (1) A child born on a foreign merchant ship or privately owned vessel in U.S.
         internal waters is considered as having been born subject to the
         jurisdiction of the United States. (See U.S. v. Wong Kim Ark.), and
   (2) Foreign warships, naval auxiliaries, and other vessels or aircraft owned or
         operated by a State and used for governmental non-commercial service
         are not subject to jurisdiction of the United States. Persons born on such
         vessels while in U.S. internal waters (or, of course, anywhere else) do not
         acquire U.S. citizenship by virtue of place of birth.
e. Alien enemies during hostile occupation:
   (1) If part of the United States were occupied by foreign armed forces against
         the wishes of the United States, children born to enemy aliens in the
         occupied areas would not be subject to U.S. jurisdiction and would not
         acquire U.S. citizenship at birth, and
   (2) Children born to persons other than enemy aliens in an area temporarily
       occupied by hostile forces would acquire U.S. citizenship at birth because
       sovereignty would not have been transferred to the other country. (See
       U.S. v. Wong Kim Ark.)


8 FAM 301.1-4 BIRTH IN u.s. INTERNAL
WATERS AND TERRITORIAL SEA
(cT:c1Tz-50; 01-21-2021)
a. Persons born on ships located within U.S. internal waters (except as provided
   in 8 FAM 301.1-3) are considered to have been born in the United States.
   Such persons will acquire U.S. citizenship at birth if they are subject to the
   jurisdiction of the United States. Internal waters include the ports, harbors,
   bays, and other enclosed areas of the sea along the U.S. coast. As noted
   above, a child born on a foreign merchant ship or privately owned vessel in
   U.S. internal waters is considered as having been born subject to the
   jurisdiction of the United States. (See U.S. v. Wong Kim Ark.)
b. Twelve Nautical Mile Limit: The territorial sea of the United States was
   formerly three nautical miles. (See, e.g., Cunard S.S. Co. v Mellon, 262 U.S.
   100, 122, 43 S. Ct. 504, 67 L. Ed. 894 (1923).) However, the three-mile rule


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   was changed by a Presidential Proclamation in 1988, implementing the
   territorial-sea provision of the 1982 U.N. Convention on the Law of the Sea.
   (Presidential Proclamation 5928, signed December 27, 1988, published at 54
   Federal Register 777, January 9, 1989.) As decreed by that Proclamation, the
   territorial sea of the United States henceforth extends to 12 nautical miles
   from the baselines of the United States determined in accordance with
   international law. (The Proclamation also stated that the jurisdiction of the
   United States extends to the airspace over the territorial sea.) (See Gordon,
   Immigration Law and Procedure, Part 8 Nationality and Citizenship, 92.03(2)
   (b) territorial limits.)
c. FAM guidance up until 1995 (7 FAM 1116.1-2 In U.S. Waters TL:CON-64, 11-
   30-95) advised that persons born within the 3-mile limit of the U.S. territorial
   sea were born "within the United States" and could be documented as U.S.
   citizens if they were also born subject to U.S. jurisdiction. Some
   commentators took this view as well, such as Gordon. Analysis of this issue
   undertaken in 1994-1995 revealed, however, that there is a substantial legal
   question whether persons born outside the internal waters of the United
   States but within the territorial sea are in fact born "within the United States"
   for purposes of the 14th Amendment and the INA.
d. Cases involving persons born outside the internal waters but within the U.S.
   territorial sea, must be referred to AskppTAdjudication@state.gov for
   coordination with L/CA, L/OES, and other appropriate offices within the United
   States government.
NOTE: This is not a public-facing e-mail address and public inquiries will not
be replied to.


8 FAM 301.1-5 WHAT IS BIRTH IN u.s.
AIRSPACE?
(CTJCITZ-45; 12-09-2020)
a. Under international law, the limits of a country's sovereign airspace correspond
   with the extent of its territorial sea. The outer limit of the territorial sea of the
   United States is 12 nautical miles from the coastline. Airspace above the land
   territory, internal waters, and territorial sea is considered to be part of the
   United States (Presidential Proclamation 5928, signed December 27, 1988,
   published at 54 Federal Register 777, January 9, 1989).
b. Comments on the applicability of the 14th Amendment to vessels and planes,
   are found in Gordon, Immigration Law and Procedure, Part 8, Nationality and
   Citizenship, Chapter 92, 92.03 (New York: Matthew Bender, 2007). This
   volume states:
     "The rules applicable to vessels obviously apply equally to airplanes. Thus
     a child born on a plane in the United States or flying over its territory
     would acquire United States citizenship at birth."



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c. Under the 1944 Convention on International Civil Aviation, articles 17-21, all
   aircraft have the nationality of the State in which they are registered, and may
   not have multiple nationalities. For births, the nationality law of the aircraft's
   "nationality" may be applicable, and for births that occur in flight while the
   aircraft is not within the territory or airspace of any State, it is the only
   applicable law that may be pertinent regarding acquisition of citizenship by
   place of birth. However, if the aircraft is in, or flying over the territory of
   another State, that State may also have concurrent jurisdiction.
d. Cases of citizenship of persons born on planes in airspace above the United
    States land territory or internal waters may be adjudicated by passport
    specialists at domestic passport agencies and centers or consular officers at
    posts abroad in accordance with 8 FAM 301.1-6.
e. Cases of persons born on planes in airspace outside the 12 nautical mile limit
    would be adjudicated as a birth abroad under INA 301 (8 U.S.C. 1401) or INA
    309 (8 U.S.C. 1409) as made applicable by INA 301(g).
f. Cases of persons born on a plane in airspace above the U.S. territorial sea (12
    nautical mile limit) must be referred to AskppTAdjudication@state.gov for
   consultation with L/CA.


8 FAM 301.1-6 DOCUMENTING BIRTH IN u.s.
WATERS AND u.s. AIRSPACE
(CTJCITZ-1, 06-27-2018)
a. Proof of birth in U.S. internal waters or U.S. airspace consists of a U.S. birth
   certificate certified by the issuing authority in the U.S. jurisdiction.
b. There is no U.S. Federal law governing the report of such births.
c. Generally speaking, U.S. Customs and Border Protection (CBP) would require
   some documentation of the birth, generally an excerpt of the ship's/aircraft's
   medical log or master/captain's log, reflecting the time, latitude, and longitude
   when the birth occurred.
d. For ships/aircraft in-bound for the United States, the parents would then be
   responsible for reporting the birth to the civil authorities in the U.S.
   jurisdiction where the vessel put into port. (See the Centers for Disease
   Control and Prevention (CDC) publication "Where to write for Birth
   Certificates.")
   (1) The parents will have to contact the state vital records office to determine
        the exact procedures for report such a birth ,
   (2) Parents should obtain a certified copy of the ship's medical log, airplane's
        log, or other statement from the attending physician or other attendant
        and attempt to obtain information on how to contact attendants in the
        future should further questions arise,




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   (3) If the mother and child were immediately taken to a U.S. hospital,
         authorities there may be of assistance in facilitating contact with the
         appropriate state authorities, and
   (4) It is unlikely that the vital records office in the parents' state of residence
         will issue such a birth certificate. Parents may be redirected to the vital
         records office in the state where the ship first put into port after the birth
         of the child.


8 FAM 301.1-7 NATIVE AMERICANS AND
ESKIMOS
(CTJCITZ-1, 06-27-2018)
a. Before U.S. v. Wong Kim Ark, the only occasion on which the Supreme Court
   had considered the meaning of the 14th Amendment's phrase "subject to the
   jurisdiction" of the United States was in Elk V. Wilkins, 112 U.S. 94 (1884).
   That case hinged on whether a Native American who severed ties with the
   tribe and lived among whites was a U.S. citizen and entitled to vote. The
    Court held that the plaintiff had been born subject to tribal rather than U.S.
    jurisdiction and could not become a U.S. citizen merely by leaving the tribe
    and moving within the jurisdiction of the United States. The Court stated
    that: "The Indian tribes, being within the territorial limits of the United
    States, were not, strictly speaking, foreign States, but they were alien
    nations, distinct political communities, with whom the United States might and
    habitually did deal through treaties or acts of Congress. They were never
    deemed citizens of the United States except under explicit provisions of treaty
    or statute to that effect, either declaring a certain tribe, or such members of it
    as chose to remain behind on the removal of the tribe westward, to be
    citizens, or authorizing individuals of particular tribes to become citizens upon
    application for naturalization."
b. The Act of June 2, 1924 was the first comprehensive law relating to the
    citizenship of Native Americans. It provided: That all non-citizen Indians born
    within the territorial limits of the United States be, and they are hereby,
    declared to be citizens of the United States: Provided, That the granting of
    such citizenship shall not in any manner impair or otherwise affect the right of
    any Indian to tribal or other property.
c. Section 201(b) NA, effective January 13, 1941, declared that persons born in
    the United States to members of an Indian, Eskimo, Aleutian, or other
    aboriginal tribe were nationals and citizens of the United States at birth.
d. INA 301(b) (8 U.S.C. 1401(b)) (formerly INA 301(a)(2)). in effect from
    December 24, 1952, restates this provision.


8 FAM 301.1-8 FOUNDLINGS


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(CTJCITZ-1, 06-27-2018)
a. Under INA 301(f) (8 U.S.C. 1401(f)) (formerly Section 301(a)(6)) INA), a child
   of unknown parents is conclusively presumed to be a U.S. citizen if found in
   the United States when under 5 years of age, unless foreign birth is
   established before the child reaches age 21.
b. Under Section 201(f) of the Nationality Act of 1940, a child of unknown
   parents, found in the United States, was presumed to have been a U.S. citizen
   at birth until shown not to have been born in the United States no matter at
   what age this might have been demonstrated.
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               EXHIBIT C




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                                                                                                                 Expiration Date: 04-30-2025
                                         APPLICATION FOR A U.S. PASSPORT                                         Estimated Burden: 85 Minutes
                         Please read all instructions first and type or print in black ink to complete this form.
              For information or questions, visit travel.state.gov or contact the National Passport Information Center (NPIC) at
                                      1-877-487-2778 (TDD/TTY: 1-888-874-7793) or NPIC@state.gov.
                                               SECTION A. ELIGIBILITY TO USE THIS FORM
This form is used to apply for a U.S. passport book and/or card in person at an acceptance facility, a passport agency (by appointment
only), or a U.S. embassy, consulate, or consular agency (if abroad). The U.S. passport is a travel document attesting to one's identity and
issued to U.S. citizens or non-citizen U.S. nationals. To be eligible to use this form you must apply in person if at least one of the following
is true:
           J I am applying for my first U.S. passport           J My previous U.S. passport was either: a) issued under age 16,
           J I am under age 16                                      be issued more than 15 years ado: ct lost. stolen. or damaded


    Notice to Applicants Under Age 16: You must appear in person to apply for a U.S. passport with your parent(s) or legal guardian(s).
    See Section D of these instructions or travel.state.gov for more details.
    Notice to Applicants Ages 16 and 17: At least one of your parent(s) or legal guardian(s) must know that you are applying for a U.S.
    passport. See Section D of these instructions or travel.state.gov for more details.
    Notice to Applicants for No-Fee Regular, Service, Official, or Diplomatic Passports: You may use this application if you meet all
    provisions listed, however, you must consult your sponsoring agency for instructions on proper routing procedures before forwarding
    this application. Your completed passport will be released to your sponsoring agency and forwarded to you.
                                        SECTION B. STEPS TO APPLY FOR A u.s. PASSPORT
    1.   Complete this form (Do not sign until requested to do so by an authorized agent).
    2.   Attach one color photograph 2x2 inches in size and supporting documents (See Section D of these instructions).
    3.   Schedule appointment to apply in person by visiting our website or calling NPIC (see contact info at the top page).
    4.   Arrive for appointment and present completed form and attachments to the authorized agent who will administer the oath, witness
         you signing your form, and collect your passport fee.
    5. Track application status online at Passportstatus.state.gov.
    6. Receive new passport and original supporting documents (that you submitted with your application).
                                                SECTION c. HOW TO COMPLETE THIS FORM
Please see the instructions below for items on the form that are not self-explanatory. The numbers match the numbered items of the form.
1. Name (Last, First, Middle): Enter the name to appear in the passport. The name to appear in the passport should be consistent with
    your proof of citizenship and identification. If you have changed your name and are not eligible to use a DS-82 or DS-5504, you must
    use this form. Visit travel.state.gov/namechange for more information.
2. Date of Birth; Use the following format: Month, Date, and Year (MM/DD/YYYY).
3. Gender: The gender markers used are "M" (male), "F" (female) and "X" (unspecified or another gender identity). The gender marker
    that you check on this form will appear in your passport regardless of the gender marker(s) on your previous passport and/or your
    supporting evidence of citizenship and identity. If changing your gender marker from what was printed on your previous passport,
    select "Yes" in this field on Application Page 1. If no gender marker is selected, we may print the gender as listed on your
    supporting evidence or contact you for more information. Please Note: We cannot guarantee that other countries you visit or travel
    through will recognize the gender marker on your passport. Visit travel.state.gov/gender for more information.
4. Place of Birth: Enter the name of the city and state if in the U.S. or city and country as presently known.
5. Social Security Number: You must provide a Social Security number (SSN), if you have been issued one, in accordance with Section
    6039E of the Internal Revenue Code (26 U.S.C. 6039E) and 22 U.S.C 2714a(f). If you do not have a Social Security number, you must
    enter zeros in this field and submit a statement, signed, and dated, that includes the phrase, "I declare under penalty of pedury under
    the laws of the United States of America that the following is true and correct: I have never been issued a Social Security Number by
    the Social Security Administration." If you reside abroad, you must also provide the name of the foreign country where you reside. The
    U.S. Department of State must provide your SSN and foreign residence information to the U.S. Department of the Treasury which will
    use it in connection with debt collection and check against lists of persons ineligible or potentially ineligible to receive a U.S. passport,
    among other authorized uses. If you fail to provide the information, we may deny your application and the Internal Revenue Service
    (IRS) may enforce a penalty. Refer all questions on this matter to the nearest IRS office.
 e. Email: By providing your email you are consenting to us              7. Primary Contact Phone Number: If providing a mobile/cell
    communicating with you by email about your application.                 phone number you are consenting to receive calls and/or text
                                                                            messaging about your application.
8. Mailing Address Line 1 and 2 "In Care Of": For line 1 enter applicant's Street/RFD #, Q P.O. Box Q URB. For line 2, if you do not
    live at the address listed in this field, put the name of the person who lives at this address and mark it "In Care Of". If the applicant is
    a minor child, you must include the "In Care Of" name of the parent or adult registered to receive mail at this address.
g. List all other names you have used: Enter all legal names previously used to include maiden name, name changes, and previous
    married names. You can enter up to two names one in item A and one in item B. If only your last name has changed just enter your


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    last name. If you need more space to write additional names. please use a separate sheet of paper and attach it to this form.

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    DS-11 04-2022                                                                                                 Instruction Page 1 of 4
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                                          APPLICATION FOR A U.S. PASSPORT
                                  SECTION D. ATTACHMENTS TO SUBMIT WITH THIS FORM
             Once you have completed Application Pages 1 and 2, attach the supporting documents as outlined in this section.
1.   PROOF OF U.S. CITIZENSHIP information can be found on travel.state.gov/citizenship.
               Applicants Born in the United States                                    Applicants Born Outside the United States
Your evidence will be returned to you if it is not damaged, altered,        If we determine that you are a U.S. citizen, your lawful permanent
or forged. Submit an original or certified copy and a photocopy of          resident card submitted with this application will be forwarded to
the front and back if there is printed information on the back, of          U.S. Citizenship and Immigration Services.
one of the following documents:
                                                                                Claiming Citizenship through Naturalization of One or Both
     U.S. Birth Certificate that meets all the following requirements:          Parent's), submit all the following:
     O    Issued by the city, county, or state of birth                         O   Your parent(s) Certificate(s) of Naturalization
     O   Lists your full name, birthdate, and birthplace                        O   Your parents' marriage/certificate and/or evidence that you
     O   Lists your parent(s)' full names                                           were in the legal and physical custody of your U.S. citizen
     O   Lists date filed with registrar's office (must be within one               parent, if applicable
          year of birth)                                                        O   Your foreign birth certificate (and official translation if the
     O   Shows registrar's signature and the seal of the issuing                    document is not in English)
         authority                                                              O   Your evidence of admission to the United States for legal
     Fully valid, undamaged U.S. passport (may be expired)                          permanent residence and proof you subsequently resided
     Consular Report of Birth Abroad or Certification of Birth Abroad               in the United States
     Certificate of Naturalization or Citizenship
                                                                                Claiming Citizenship through Birth Abroad to At Least One U.S.
     Secondary documents may be submitted if the U.S. birth                     Citizen Parent, submit all the following:
     certificate was filed more than one year after your birth or if no         O    Your Consular Report of Birth Abroad (Form FS-240),
     birth record exists. For no birth record on file, submit a                      Certification of Birth (Form DS-1350 or FS-545), or your
     registrar's letter to that effect. For both scenarios, submit a                 foreign birth certificate (and official translation if the
     combination of the evidence listed below, with your first and last              document is not in English)
     name, birthdate and/or birthplace, the seal or other certification         O    Your parent's proof of U.S. citizenship
     of the office (if customary), and the signature of the issuing             O    Your parents' marriage certificate
     official.                                                                  O    Affidavit showing all your U.S. citizen parents' periods and
     O    A hospital birth record                                                    places of residence and physical presence before your
     O    An early baptismal or circumcision certificate                             birth (DS-5507)
     O    Early census, school, medical, or family Bible records
     O    Insurance files or published birth announcements (such as          Claiming Citizenship Through Adoption by a U.S. Citizen
          a newspaper article)                                               Parent(s), if your birthdate is on or after October 5, 1978,
     O    Notarized affidavits (or DS-10, Birth Affidavit) of older blood    submit evidence of all the following:
          relatives having knowledge of your birth may be submitted           O   Your permanent residence status
          in addition to some of the records listed above.                    O   Your full and final adoption
                                                                              O   You were in the legal and physical custody of your U.S.
                                                                                  citizen parent(s)
                                                                              O   You have resided in the United States
2. PROOF OF IDENTITY information can be found at travel.state.gov/identification.
Present your original identification and submit a front and back photocopy with this form. It must show a photograph that is a good likeness
of you. Examples include:
.   Driver's license (not temporary or learner's permit)              Federal, state, or city government employee identification
.   Previous or current U.S. passport book/card                       Certificate of Naturalization or Citizenship
.   Military identification
3. A RECENT COLOR PHOTOGRAPH See the full list of photo requirements on travel.state.gov/photos.
Attach one photo, 2x2 inches in size. U.S. passport photo requirements may differ from photo requirements of other countries. To avoid
processing delays, be sure your photo meets all the following requirements (Refer to the photo template on Application Page 1);

     Taken less than six months ago                                         No eyeglasses and head covering and no uniforms*
     Head must be 1-1 3/8 inches from the bottom of the                     Printed on matte or glossy photo quality paper
     chin to the top of the head                                            Use a plain white or off-white background
.    Head must face the camera directly with full face in view
*Head coverings are not acceptable unless you submit a signed statement verifying that it is part of recognized, traditional religious attire
that is customarily or required to be worn continuously in public or a signed doctor's statement verifying its daily use for medical purposes.
Glasses or other eyewear are not acceptable unless you submit a signed statement from a doctor explaining why you cannot remove them
(e.g., during the recovery period from eye surgery). Photos are to be taken in clothing normally worn on a daily basis. You cannot wear a
uniform, clothing that looks like a uniform, or camouflage attire.


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                                          APPLICATION FOR A U.S. PASSPORT
 4. PROOF OF PARENTAL RELATIONSHIP (FOR APPLICANTS UNDER AGE 16)
 Parents/guardians must appear in person with the child and submit the following:
 .    Evidence of the child's relationship to parents/guardian(s) (Example: a birth certificate or Consular Report of Birth Abroad listing the
      names of the parent(s)/guardian(s) and child)
 .    Original parental/guardian government-issued photo identification and a photocopy of the front and back (to satisfy proof of identity)
 If only one parent/guardian can appear in person with the child, you must also submit one of the following:
 .    The second parent's notarized written statement or DS-3053 (including the child's full name and date of birth) consenting to the
      passport issuance for the child. The notarized statement cannot be more than three months old, must be signed and notarized on the
      same day, and must come with a front and back photocopy of the second parent's government-issued photo identification.
 .    The second parent's death certificate (if second parent is deceased)
 .    Evidence of sole authority to apply (Example: a court order granting sole legal custody or a birth certificate listing only one parent)
 .    A written statement (made under penalty of perjury) or DS-5525 explaining, in detail, why the second parent cannot be reached
 OR

PROOF OF PARENTAL AWARENESS (FOR APPLICANTS AGES 16 AND 17)
We may request the consent of one legal parenVlegal guardian to issue a U.S. passport to you. In many cases, the passport authorizing
officer may be able to ascertain parental awareness of the application by virtue of the parent's presence when the minor submits the
application or a signed note from the parent or proof the parent is paying the application fees. However, the passport authorizing officer
retains discretion to request the legal parent's/legal guardian's notarized statement of consent to issuance (e.g., on Form DS-3053).
 5. FEES    Passport service fees are established by law and regulation (see 22 U.S.C. 214, 22 C.F.R. 22.1, and 22 C.F.R. 51.50-56) and
 are collected at the time you apply for the passport service. By law, the passport fees are non-refundable. Visit traveI.state.gov/
  passportfees for current fees and how fees are used and processed. Payment methods are as follows:
                 Applicant Applying in the United States                         Applicant Applying at a Passport Agency or
                         At Acceptance Facility                                            Outside the United States
      Passport fees must be made by check (personal, certified,                 We accept checks (personal, certified, cashier's, travelers),
      cashier's, travelers) or money order (U.S. Postal, international,         major credit cards (Visa, Master Card, American Express,
      currency exchange) with the applicant's full name and date of             Discover), money orders (U.S. Postal, international, currency
      birth printed on the front and payable to "U.S. Department of            exchange), or exact cash (no change provided). Make all fees
      State."                                                                   payable to the "U.S. Department of State."
      The execution fee must be paid separately and made payable .              If applying outside the United States: Please see the website of
      to the acceptance facility in the form that they accept.                  your embassy, consulate, or consular agency for acceptable
                                                                                payment methods.
  Other Services Requiring Additional Fee (Visit travel.state.gov for more details):
  .   Expedite Service: Only available for passports mailed in the United States and Canada.
  .   1-2 Day Delivery: Only available for passport book (and not passport card) mailings in the United States.
  .   Verification of a previous U.S. Passport or Consular Report of Birth Abroad: Upon your request, we verify previously issued
      U.S. passport or Consular Report of Birth Abroad if you are unable to submit evidence of U.S. citizenship.
      Special Issuance Passports: If you apply for a no-fee regular, service, official, or diplomatic passport at a designated acceptance
      facility, you must pay the execution fee. No other fees are charged when you apply.
                                                  SECTION E. HOW TO SUBMIT THIS FORM
Submitting your form depends on your location and how soon you need your passport.
.    Applicant Located Inside the United States: For the latest information regarding processing times, scheduling appointments, and
     nearest designated acceptance facilities visit travel.state.gov or contact NPlC.

    Applicant Located Outside the United States: In most countries, you must apply in person at a U.S. embassy or consulate for all
    passport services. Each U.S. embassy and consulate has different procedures for submitting and processing your application. Visit
    travel.state.gov to check the U.S. embassy or consulate webpage for more information.
_                           sEcTion F. RECEIVING youR PASSPORT AND SUPPORTING DocuMEnTs
    Difference Between U.S. Passport Book and Card: The book is valid for international travel by air, land, and sea. The card is not valid
    for international air travel, only for entry at land border crossings and seaports of entry when traveling from Canada, Mexico, Bermuda,
    and the Caribbean. The maximum number of letters provided for your given name (first and middle) on the card is 24 characters. If both
    your given names are more than 24 characters, you must shorten one of your given names you list on item #1 of Application Page 1.
    Separate mailings: You may receive your newly issued U.S. passport book and/or card and your citizenship evidence in two separate
    mailings. If you are applying for both a book and card, you may receive three separate mailings: one with your returned evidence, one
    with your newly issued book, and one with your newly issued card. All documentary evidence that is not damaged, altered, or
    forged will be returned to you. Photocopies will not be returned.
    Passport numbers: Each newly issued passport book or card will have a different passport number than your previous one.
    Shipping and Delivery Changes: If your mailing address changes prior to receipt of your new passport, please contact NPIC. NOTE:
    We will not mail a U.S. passport to a private address outside the United States or Canada.
    Passport Corrections, Non-ReceiptlUndeliverable Passports, and Lost/Stolen Passport: For more information visit travel.state.gov
    or contact NPIC.
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                                         APPLICATION FOR A U.S. PASSPORT
                                                                    WARNING
False statements made knowingly and willfully in passport applications, including affidavits or other documents submitted to support this
application, are punishable by fine and/or imprisonment under U.S. law including the provisions of 18 U.S.C. 1001, 18 U.S.C. 1542, and/or
18 U.S.C. 1621. Alteration or mutilation of a passport issued pursuant to this application is punishable by fine and/or imprisonment under
the provisions of 18 U.S.C. 1543. The use of a passport in violation of the restrictions contained herein or of passport regulations is
punishable by fine and/or imprisonment under 18 U.S.C. 1544. All statements and documents are subject to verification.

      Failure to provide information requested on this form, including your Social Security number, may result in significant
                                      processing delays and/or the denial of your application.
                                                          run I u W I \ v w l i - l I l w l i u
If any of the below-mentioned acts or conditions have been performed by or apply to the applicant, a supplementary explanatory statement
under oath (or affirmation) by the applicant should be attached and made a part of this application.

I have not been convicted of a federal or state drug offense or convicted of a statutory "sex tourism" crime, and I am not the subject of an
outstanding federal, state, or local warrant of arrest for a felony; a criminal court order forbidding my departure from the United States; or
a subpoena received from the United States in a matter involving federal prosecution for, or grand jury investigation of a felony._
                                                         PRIVACY ACT STATEMENT
AUTHORITIES: Collection of this information is authorized by 22 U.S.C. 211 a et seq., 8 U.S.C. 1104, 26 U.S.C. 6039E, 22 U.S.C.
2714a(f), Section 236 of the Admiral James W. Nance and Meg Donovan Foreign Relations Authorization Act, Fiscal Years 2000 and
2001, Executive Order 11295 (August 5, 1966), and 22 C.F.R. parts 50 and 51 .

PURPOSE: We are requesting this information in order to determine your eligibility to be issued a U.S. passport. Your Social Security
number is used to verify your identity.

ROUTINE USES: This information may be disclosed to another domestic government agency, a private contractor, a foreign government
agency, or to a private person or private employer in accordance with certain approved routine uses. These routine uses include, but are
not limited to, law enforcement activities, employment verification, fraud prevention, border security, counterterrorism, litigation activities,
and activities that meet the Secretary of State's responsibility to protect U.S. citizens and non-citizen nationals abroad. Your Social
Security number will be provided to the U.S. Department of the Treasury and may be used in connection with debt collection, among other
purposes authorized and generally described in this section. More information on the routine uses for the system can be found in System
of Records Notices State-05, Overseas Citizen Services Records and Other Overseas Records and State-26, Passport Records.

DISCLOSURE: Providing information on this form is voluntary. Be advised, however, that failure to provide the information requested on
this form may cause delays in processing your U.S. passport application and/or could also result in the refusal or denial of your application.
Failure to provide your Social Security number may result in the denial of your application (consistent with 22 U.S.C. 2714a(f)) and may
subject you to penalty enforced by the Internal Revenue Service, as described in the Federal Tax Law on Instruction Page 1 (Section C) to
this form.
                                               PAPERWORK REDUCTION ACT STATEMENT
Public reporting burden for this collection of information is estimated to average 85 minutes per response, including the time required for
searching existing data sources, gathering the necessary data, providing the information and/or documents required, and reviewing the
final collection. You do not have to supply this information unless this collection displays a currently valid OMB control number. If you have
comments on the accuracy of this burden estimate and/or recommendations for reducing it, please send them to: Passport Forms Officer,
U.S. Department of State, Bureau of Consular Affairs, Passport Services, Office of Program Management and Operational Support, 44132
Mercure Cir, PO Box 1199, Sterling, Virginia 20166-1199.




   For more information about your application status, online tools, current fees, and
                   processing times, please visit travel.state.gov.




    DS-11 04-2022                                                                                                 Instruction Page 4 of 4
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                                                                                                                                                                                       Expiration Date: 04/30/2025
                                                                              APPLICATION FOR A U.S. PASSPORT                                                                          Estimated Burden: 85 Minutes
                                                        Use black ink only. If you make an error, complete a new form. Do not correct.
                                     Select document(s) for which you are submitting fees:                                                                  _
                           l;'IU.s. Passport Book                                III U.S. Passport Card                          III B oth
                                   The U.S. passport card is M valid for international air travel. See Instruction Page 3
                                    l:IRegular Book (Standard)                                  l:ILarge Book (Non-Standard)




                                       'r'
                                  The large book is for frequent international travelers who need more visa pages.
                   1. Name Las
                                                                                                                                                                                         NFR
                                                                                                                                                         End. #I                             Exp.
                   First                                                                                                             Middle



                   2. Date of Birth (mm/dd/yyvy)l                                Gender (Readlnstruction Paga1L          Place of B           (CRY & State fin the U.S. or City & Count/v as it is presently known.


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                    5. Social Security
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  8. Mailing Address Line 1: StreeVRFD#, P.O. Box, or URBI
                                                            'F |                        6. Email (See application status at passnortstatus.state                  7. Primaw Qontact Phon_e Number




     dress Line I
F                                         We                                    app!!




  I                                                                                                                    Zip Con                                   guntry, I
t   Ly                                                                                                                                                                        Jutsiz              Lited States




  9. List all other names you have used. (Examples.' Birth Name, Maiden, Previous Marriage, Legal Name Change. Attach additional pages if needed.)                                                                    I

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   U)                     I/ I I II \ \ \                  'u
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                                                           m
                                                                       Identifying Documents -ApplicantorMother/Father/ParentlLegaI Guardian on Second Signature Line (ifidentilying minor)
                      I      O ,I           \                      III Driver's License   III State Issued ID Card  O Passport         E Military       E Other
                     II      I-
                             W l130
                                                \l
                                                                             Name
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   X                  \ Of                                         Issue Date                                                              Exp. Date                                                   State of
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                                                                  ID No
                                                                                          III                                III                             I           Country of
                                                                                                                                                                         Issuance

                                                           >       Identifying Documents -Applicant or MotherIFatherIParentILegal Guardian on Third Signature Line (if identifying minor)
   3:                                                      I=      I     I
   |-                                                                        Driver's License      In State Issued ID Card             O Passport          O Military            la Other
   on            Attach a color photograph                 m
              taken within the last six months                               Name

                                                                   Issue Date                                                              Exp. Date                                                  State of
  Q Acceptance Agent              Q (Vice)Consul USA              (mm/dd/yyyy)                                                                                                                        Issuance
                                                                                          ]                                      ]       (mm/dd/yyyy)                             ]      ]    ]
             la Passport Staff Agent
                                                                  ID No
                                                                                                             II                          III                            Country of
                                                                                                                                                                        Issuance
                                                                                I declare under penalty of perjury all of the following: 1) I am a citizen or non-citizen national of the United States and
                                                                                have not performed any of the acts listed under "Acts or Conditions" on page 4 of the instructions of this application
                              (Seal)                                            (unless explanatory statement is attached), 2) the statements made on the application are true and correct, 3) I have not
                                                                                knowingly and willfully made false statements or included false documents in support of this application, 4) the
                                                                                photograph attached to this application is a genuine, current photograph of me, and 5) I have read and understood the
                                                                                warning on page 4 of the instructions to the application form.



                                                                                                                             x
                                                                                                      Date
                                                                                                                                                 Applicant's Legal Signature - age 16 and older
            Signature of person authorized to accept applications

         By signing this form, /certify that I have provided the verbal
        oath and witnessed the applicanfshegal guardian's signature.                          III
                                                                                                Agent ID Number
                                                                                                                       n x
                                                                                                                                      MotherlFatherIParentILegal Guardian's Signature (if identifying minor)


                         Print Facility Name/Location
                                                                                              ]]]
                                                                                                Facility ID Number
                                                                                                                             x
                                                                                                                                      Mother/Father/parent/Legal Guardian's Signature (if identifying minor)
                   Nameof courier company (if applicable)

For Issuing Office Only              h Bk                  Card                     EF              Postage            Execution                 Other
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DS-11 04-2022                                                                                                                                                            Supp.Add.066Page 1 of 2
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          of Applicant (Last, First, &,M[ddle)                                                                                        Date of Blrth (mm/dd/vvvv)
l'*"°"
 10. Parental Information
 Mother/Father/Parent - First & Middle Name (at Parent's Birth)                                    Last Name (at Parent's Birth)

LDate of Birth (mm/dd/yyyy)                   'Place of Birth (City & State if in the U.S. or City & Country as it is presently known) I       Gender        U.S. Citizen?
                                                                                                                                                  ElM        IIIYes




                            *
                                                                                                                                                             El |\
 Mother/Father/Parent - First & Middle Name (at Parent's Birth)                             l      Last Name (at Parent's Birth)                  8X

 Date of Birth (mm/dd/yyyy                     Place of Birth (City & State if in the U.S. or City & Country as it is presently known)         Gender        U.S. Citizen?
                                                                                                                                                 l:lM
                                                                                                                                                             El Yes
                                                                                                                                                 [3 F        l:lno
 11. Have you ever been married?      El Yes l:l No If yes, complete the remaining items in #11.                                                 EIx
 Full Name of Current Spouse or Most Recent Spouse (Last, First &          Middle)_
                                                                              Date of Birth (mm/dd/yyyy)                                  Place of Birth



    U.S. Citizen?    Date of Marriage                                      Have you ever been widowed or divorced? Widow/Divorce D)ate
                                                                                                                                   at
 El Yes El No         (mm/dd/yyyy)                                                     E1Yes       E
                                                                                                   No                 (mm/dd/yyyy)

       . Additional Contact Phone Number                                           13. Occupation (if age 16 or older          14. Employer or School (if applicable)
                                                        E I Home El Cell
                                                        E I Work E
                                                          18. Travel Plans (Ifni,avm plane, I/:caan vvruc nuns /
 15. Height         16. Hair Color   17. Eye Color        Departure Date (mm/dd/yyyy)      Return Date (mm/dd/yyyy)       Countries to be visited



    19. Permanent Address (Complete ifp.o. 8ox is listed under Mailing Address Q if residence is different from Mailing Address. Do not list a P.O. Box.)
    Street/RFD # or URB                                                                                                                                    Apartment/Unit
                                                                                                                                                          lAp


 City                                                                                                                             State         I zip Code



 20. Your Emergency Contact (Provide the information of a person not traveling with you to be contacted in the event of an emergency.)
 Nam_                                                                      Address: Street/RFD # or P.O. Boy                                                  Apartment/Unit



!-_
 City                                                          State       1.4 Phone ~
                                                                        Zip Cod                                  !                   Relationship


 21. Have you ever applied for or been issued a U.S. Passport Book or Passport Card?                     [ ] Yes l:l No       If yes, complete the remaining items in #21.
 Name as printed on your most recent passport book                                Aost recent passport book number Most recent passport book issue date (mm/dd/yyyy)



                                                                                           so          _
 Status of your most recent passport book:             I Submitting with application E l    o en [I Lost        n my possession I explreo
                                                                                                                                                    -        _
 Name as printed on your most recent passport           c a r *                   Most recent passport card number Most recent passport card issue ate (mm/dd/yyyy)


IStatus of your most recent passport card: IJ 5ubmlttlng wItl7 appllca lon    l       El'§E1?n l:l Los
                                                                                                                      I
                                                                                                       'r IJ In my possession (II explredl                                   I
                               IiTl1lTi
 Name as it appears on citizenship evidence
                                                                                                                              n
 E Birth Certificate SR       CR      City    Filed:                                 Issued:                       E Sole
                                                                                                                     Parent
 E Nat./Citz. Cert. USCIS USDC Date/Place Acquired:                                  A#

 E Report of Birth         Filed/Place:
 0 Passport C/R S/R See #21 #/DOI:
 E Other:
 E Attached :

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               EXHIBIT D




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If you were born in the United States, you do not need to apply              I am a u.s. citizen. My child will be born abroad or recently
to USCIS for any evidence of citizenship. Your birth certificate issued      was born abroad. How do I register his or her birth and
where you were born is proof of your citizenship.1                           u.s. citizenship?
If you were born outside the United States, but one or both                  Please contact the U.S. Department of State or the U.S. Embassy
of your parents were U.S. citizens when you were born,                       or consulate in the country where your child will be born for more
you may still be a U.S. citizen. This is called citizenship through          information about eligibility requirements and how to register your
derivation. There are usually additional specific requirements, and          child's U.S. citizenship.
sometimes citizenship can be through a combination of a parent and
grandparent.
                                                                             I was born overseas. My birth and U.S. citizenship were
                                                                             registered with the U.S. Embassy or consulate.
 What documents are usually accepted as proof of u.s.                        I need a copy of the evidence of my citizenship. Whom
 citizenship?                                                                should I contact?
The most common documents that establish U.S. citizenship are:               Contact the U.S. Department of State. For more information, please
  » Birth Certificate, issued by a U.S. State (if the person was             see their Web site at www.state.gov.
    born in the United States), or by the U.S. Department of State
    (if the person was born abroad to U.S. citizen parents who               I was born overseas. I believe I was a U.S. citizen at birth
    registered the child's birth and U.S. citizenship with the U.S.          because one or both my parents were U.S. citizens when I
    Embassy or consulate),                                                   was born. But my birth and citizenship were not registered
  » U.S. Passport, issued by the u.s. Department of State,                   with the U.S. Embassy when I was born. Can I apply to
  » Certificate of Citizenship, issued to a person born outside the          have my citizenship recognized?
    United States who derived or acquired U.S. citizenship through a         Whether or not someone born outside the United States to a u.s.
    U.S. citizen parent, or                                                  citizen parent is a u.s. citizen depends on the law in effect when
  » Naturalization Certificate, issued to a person who became                the person was born. These laws have changed over the years, but
    a u.s. citizen after 18 years of age through the naturalization          usually require a combination of the parent being a u.s. citizen when
    process.                                                                 the child was born, and the parent having lived in the United States
                                                                             or its possessions for a specific period of time. Derivative citizenship
                                                                             can be quite complex and may require careful legal analysis.
 I was born in the United States. Where can I get a copy of
 my birth certificate?
                                                                             I was born overseas. One of my parents was a U.S.
Check with the Department of Health (Vital Records) in the U.S.              citizen but never lived in the United States. One of my
State in which you were born. For more information, visit the                grandparents was also a U.S. citizen. Could I have derived
National Center for Health Statistics web page at www.cdc.gov/               u.s. citizenship?
nchs/births.htm.
                                                                             If your parent was a U.S. citizen when you were born but had not
                                                                             lived in the United States for the required amount of time before
                                                                             your birth, but one of your grandparents was also a u.s. citizen
cAn exception to this rule exists regarding children born in the United      and had already met the residence requirements, then you may still
States to foreign diplomats.

A4--I am a U.S. citizen...How do I get proof of my U.S. citizenship?
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have derived U.S. cgii!é§1i8.I3§                        ratl Q W W & P *)%2§¥FIe?4f%993§28on
govern derivative citizenship are quite precise and circumstances in
individual cases can be complex. For specific information on how         Key USCIS forms referenced                   Form #
the law applies, please check our Web site at www.uscis.gov, or          in this guide
the U.S. Department of State Web site at www.state.gov, or call
                                                                         Application for Certificate of Citizenship N-600
USCIS Customer Service at 1-800-375-5283.
                                                                         Application for Replacement Naturalization N-565
                                                                         Citizenship Document
I was born overseas. After I was born, my parent(s)
became naturalized U.S. citizens. Could I have derived U.S.             Other U.S. Government Services-Click or call
citizenship?
                                                                        General     www.usa.gov                     1-800-333-4636
If one of your parents naturalized after February 27, 2001, and         Information
you were a permanent resident and under 18 years old at the time,
then you may have automatically acquired U.S. citizenship. Before       New          www.welcometoUSA.gov
that date, you may have automatically acquired U.S. citizenship if      Immigrants
you were a permanent resident and under 18 years old when both          U.S. Dept.   www.state.gov                  1-202-647-6575
parents naturalized, or if you had only one parent when that parent     of State
naturalized.                                                            National     www.cdc.gov
However if your parent(s) naturalized after you were 18, then you       Center       www.cdc.gov/nchs               1-800-311-3435
will need to apply for naturalization on your own after you have        for Health   /birth.htm
been a permanent resident for at least 5 years.                         Statistics


How do I apply to have my citizenship recognized?
You have two options:
    You can apply to the U.S. Department of State for a U.S.
    passport. A passport is evidence of citizenship and also serves          For more copies of this guide, or information about
    as a travel document if you need to travel. For information about        other customer guides, please visit
    applying for a u.s. passport, see the u.s. Department of State           www.uscis.gov/howdoi.
    Web site at www.state.gov.
   If you are already in the United States, you also have the
   option of applying to USCIS using Form N-600, Application for             You can also visit www.uscis.gov to download
   Certificate of Citizenship. However you may find applying for             forms, e-file some applications, check the status of
   a passport to be more convenient because it also serves as a              an application, and more. It's a great place to start!
   travel document and could be a faster process.
                                                                             If you don't have Internet access at home
How do I replace a lost, stolen, or destroyed Naturalization                 or work, try your local library.
Certificate or Certificate of Citizenship?
To apply to replace your Naturalization Certificate or Certificate           If you cannot find what you need, please call
of Citizenship issued by USCIS or by the u.s. Immigration and                Customer Service at: 1-800-375-5283
Naturalization Service, file a Form N-565, Application for                   Hear/hg [mpg/fed TDD Customer Service:
Replacement Naturalization Citizenship Document. Filing instructions         1-800-767-1833
and forms are available on our Web site at www.uscis.gov.




                                                                                 Disclaimer:This guide provides basic information
                                                                                 to help you become generally familiar with our
                                                                                 rules and procedures. For more information, or
                                                                                 the law and regulations, please visit our Web
                                                                                 site. Immigration law can be complex, and it is
                                                                                 impossible to describe every aspect of every
                                                                                 process. You may wish to be represented by
                                                                                 a licensed attorney or by a nonprol9t agency
                                                                                 accredited by the 8oard of Immigration Appeals.




A4--I am a U.S. citizen...How do I get proof of my U.S. citizenship?
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               EXHIBIT E




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                       Securing today
           lllllII .   and tomorrow




       Social Security
        Numbers for
         Children




                  SSA.gov
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     The easiest way to get a Social Security
     number (SSN) for your newborn is to
     apply when you provide information
     for your baby's birth certificate in the
     hospitaL
     If you wait to apply for a number at a
     Social Security office, there may be delays
     while we verify your child's birth certificate.

     Why should I get a Social
     Security number for my child?
     You need an SSN to claim your child as
     a dependent on your income tax return.
     Your child may also need a number if
     you plan to:
     • Open a bank account for the child.
     • Buy savings bonds for the child.
     • Get medical coverage for the child.
     . Apply for government services for
       the child.

     Must my child have a Social
     Security number?
     Getting an SSN for your newborn is
     voluntary, but may be necessary to
     obtain important services, such as those
     listed above, for your child. Therefore,
     getting a number when your child is born
     is a good idea.
     How do I apply?
     At the hospital: When you complete
     the application for your baby's birth
     certificate, you will be asked whether you
     want to apply for an SSN for your baby.
                            1




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     If you say "yes," you will be asked to
     provide both parents' SSNs. If you don't
     know both parents' SSNs, you still can
     apply for your child's SSN.
     At a Social Security office: If you
     wait to apply for your child's number,
     you can use our online Social Security
     Number and Card application available
     at www.ssa.gov/number-card. You
     will start the application online and
     complete the process in a local Social
     Security office or card center. If you are
     not able to apply online, you can fill out
     and print our Application for a Social
     Security Card (Form SS-5), available at
     www.ssa.gov/forms/ss-5.pdf.
     No matter where you apply, you will
     need to:
     • Show us original documents proving
        your child's:
          -U.S. citizenship.
          -Age.
          -Identity.
     • Show us documents proving your
        identity and your relationship to
        your child.
     Anyone age 12 or older who requests
     an original SSN must appear in person
     for an interview. This applies even
     if a parent or guardian will sign the
     application on the child's behalf.
     Citizenship
     We can accept only certain documents as
     proof of U.S. citizenship. These include a:
                          2




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     • U.S. birth certificate.
     • U.S. consular report of birth.
     • U.S. passport (valid and unexpired).
     • Certificate of Naturalization or
        Certificate of Citizenship.
     Nor citizens should see Social Security
     Numbers for Non citizens (Publication
     No. 05-10096) for more information.
     Age
     If your child was born in the United
     States, you need to present your child's
     birth certificate. If your child does not
     have a birth certificate, we may be able to
     accept a:
     • Religious record made before the age
         of 5 showing the date of birth.
     • U.S. hospital record of birth.
     • U.S. passport or passport card.
     If your child was born outside the United
     States, you need to present your child's
     foreign birth certificate. You may already
     have it or can get a copy within 10
     business days. If you can't get it, we may
     be able to accept your child's:
     . Certificate of Birth Abroad (FS-545).

     • Certificate of Report of Birth
         (DS-1350).
     • Consular Report of Birth Abroad
         (FS-240).
     • Certificate of Naturalization.
     . Passport.


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     Identity
     Your child: We can accept only certain
     documents as proof of your child's
     identity. An acceptable document must
     be current (not expired) and show your
     child's name, identifying information,
     and, preferably, a recent photograph. We
     generally can accept a non-photo identity
     document if it has enough information to
     identify the child. Information may include
     the child's name and age, date of birth,
     or parents' names. We prefer to see the
     child's unexpired U.S. passport. If that
     document isn't available, we may accept
     the child's:
     • Unexpired valid state-issued
        nondrinker identification card.
     • Adoption decree.
     • Certified copy of medical record
        (doctor, clinic, or hospital).
     • Religious record.
     • Certified school record showing your
        child's name and your child's age or
        date of birth (must be for the current
        or prior year).
     • School identification card showing
        your child's name and either a
        photograph of your child, your child's
        age, or date of birth (must be for the
        current or prior year)-
     You: If you're a U.S. citizen, we will
     ask to see your U.S. driver's license,
     state-issued non driver identification
     card, or U.S. passport as proof of your
     identity. If you don't have these specific
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     documents, we'll ask to see other
     documents that may be available, such
     as:
     • Unexpired U.S. passport or passport
       card.
     • Certificate of U.S. Citizenship.
     • Certificate of Naturalization.
     • School identification card showing
       your name and either your
       photograph, age, or date of birth
       (must be for the current or prior
       year).
     • Health insurance card (not a Medicare
       card) showing your name and either
       your photograph, or age, or date of
       birth.
     • U.S. military identification card.
     • Employee identification card
       showing your name and either your
       photograph or date of birth.
     . Life insurance policy.

     All documents must be either
     originals or copies certified by the
     issuing agency. We can'f accept
     photocopies or notarized copies of
     documents. We may use 1 document
     for 2 purposes. For example, we may
     use your child's passport as proof of
     both citizenship and identity. Or, we
     may use your child's birth certificate as
     proof of age and citizenship. However,
     you must pro vide af least 2 separate
     documents.



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     We'll mail your child's number and card
     as soon as we have all of your child's
     information and have verified your child's
     documents.

     What if my child is adopted?
     We can assign your adopted child an
     SSN before the adoption is complete, but
     you may want to wait until the adoption
     is finalized. Then, you can apply for the
     number using your child's new name,
     with your name as parent. You may
     want to claim your child for tax purposes
     while the adoption is still pending. If so,
     contact the Internal Revenue Service
     for Form W-7A, Application for Taxpayer
     Identification Number for Pending U.S.
     Adoptions.

     What does it cost?
     There's no charge for issuing an SSN
     and card. If someone contacts you
     and wants to charge you for getting a
     number or card, please remember that
     these Social Security services are free.
     You can report anyone attempting to
     charge you by calling our Office of the
     Inspector General hotline at 1-800-
     269-0271 (TTY 1-866-501-2101 deaf
     or hard of hearing) from 10:00 a.m.
     to 4:00 p.m. Eastern Time or visit
     hffps://oig.ssa.gov.




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     What if I lose the card?
     You can replace your Social Security
     card if it's lost or stolen. You're limited
     to 3 replacement cards in a year and
     10 during your lifetime. Legal name
     changes and other exceptions don't
     count toward these limits. For example,
     changes in noncitizen status that
     require card updates may not count
     toward these limits. Also, you may not
     be affected by these limits if you can
     prove you need the card to prevent a
     significant hardship.
     Your child's Social Security card is an
     important document. We recommend
     you keep it in a safe place. Do not carry
     it with you.

     Social Security number misuse
     If you think someone is using your
     child's SSN fraudulently, you should
     file a complaint with the Federal Trade
     Commission via:
     • Internet - www.identitytheft.gov.
     . Telephone - 1-877-IDTHEFT
         (1-877-438-4338).
     . TTY      1-866-653-4261 .
     It's against the law to:
     .   Use someone else's SSN.
     . Give false information when applying
         for a number.
     . Alter, buy, or sell Social Security cards.




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     Contacting Us
     The most convenient way to do business
     with us is to visit www.ssa.govto get
     information and use our online services.
     There are several things you can
     do online: apply for benefits, start or
     complete your request for an original or
     replacement Social Security card, get
     useful information, find publications,
     and get answers to frequently asked
     questions.
     When you open a personal
     my Social Security account, you have
     more capabilities. You can review
     your Social Security Statement, verify
     your earnings, and get estimates of
     future benefits. You can also print
     a benefit verification letter, change
     your direct deposit information (Social
     Security beneficiaries only), and get a
     replacement SSA-1099/1042S. Access
     to your personal my Social Security
     account may be limited for users outside
     the United States.
     If you don't have access to the internet,
     we offer many automated services by
     telephone, 24 hours a day, 7 days a
     week, so you may not need to speak
     with a representative.
     If you need to speak with someone, call
     us toll-free at 1-800-772-1213 or at our
     TTY number, 1-800-325-0778, if you're
     deaf or hard of hearing. A member of
     our staff can answer your call from 8
     a.m. to 7 p.m., Monday through Friday.
     We provide free interpreter services
                         8




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  upon request. For quicker access to a
  representative, try calling early in the
  day (between 8 a.m. and 10 a.m. local
  time) or later in the day. We are less
  busy later in the week (Wednesday to
  Friday) and later in the month.




            Social Security Administration
               Publication No. 05-10023
         January 2024 (Recycle prior editions)
         Social Security Numbers for Children
    Produced and published at U.S. taxpayer expense




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                             TEXT TRUMP TO 88022!
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          VANCE                       PROTECT THE VOTE
            2024



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Agenda47: Day One Executive Order
Ending Citizenship for Children of
Illegals and Outlawing Birth Tourism
May 30, 2023

f    so


 Agenda47: Day One Executive Order Ending Citizenship for Children of illegals a...




Mar-a-Lago, FL- In a new Agenda47 video, President Donald J. Trump announced
his plan to sign an executive order on Day One to end automatic citizenship for

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children of illegal aliens.

"As part of my plan to secure the border, on Day One of my new term in office, I will
sign an executive order making clear to federal agencies that under the correct
interpretation of the law, going forward, the future children of illegal aliens will not
receive automatic U.S. citizenship," President Trump said.

"My policy will choke off a major incentive for continued illegal immigration, deter
more migrants from coming, and encourage many of the aliens Joe Biden has
unlawfully let into our country to go back to their home countries."

PRESIDENT TRUMP'S PLAN TO DISCOURAGE ILLEGAL IMMIGRATION BY ENDING
AUTOMATIC CITIZENSHIP FOR THE CHILDREN OF ILLEGAL ALIENS AND
OUTLAWING BIRTH TOURISM

A DAY-ONE EXECUTIVE ORDER TO SHUT OFF A MAGNET FOR ILLEGAL
IMMIGRATION:

- On Day One, President Trump will sign an Executive Order to stop federal agencies
from granting automatic U.S. citizenship to the children of illegal aliens.

- It will explain the clear meaning of the 14th Amendment, that U.S. Citizenship
extends only to those both born in AND "subject to the jurisdiction" of the United
States.

- It will make clear that going forward, the children of illegal aliens will not be granted
automatic citizenship, and should not be issued passports, Social Security numbers,
or be eligible for certain taxpayer funded welfare benefits.

- It will direct federal agencies to require that at least one parent be a U.S. citizen or
lawful permanent resident for their future children to become automatic U.S.
citizens.

- This Executive Order ending automatic citizenship for the children of illegal aliens
will eliminate a major incentive for illegal immigration, discourage future waves of
illegal immigration to exploit this misapplication of citizenship, and encourage illegal
aliens in the U.S. to return home.


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 The Executive Order will also stop "Birth Tourism.H

- Through "Birth Tourism," tens of thousands of foreign nationals fraudulently enter
the U.S. each year during the final weeks of their pregnancies for the sole purpose of
obtaining U.S. citizenship for their child.

- Under the current erroneous interpretation, the children of these foreign nationals
are then eligible to receive a host of government benefits reserved for U.S. citizens,
including a myriad of welfare programs and taxpayer funded healthcare, as well as
chain migration and the right to vote.

- The Executive Order is part of a larger strategy to fully secure the Southern Border
starting on Day One. It will remove a major incentive for illegal aliens and other
foreign nationals to come to and remain in the United States in violation of our laws
and National sovereignty.

- The announcement of today's Executive Order follows a historical slate of hundreds
of executive actions, proclamations, and presidential memorandums on border
security and immigration that President Trump implemented while in office to
remake the immigration system in the United States for the interest of the American
people, including:

 Executive Order Implementing the Travel Ban and Pausing Refugee Admissions

 Executive Order on Border Security and Immigration Enforcement

 Presidential Memorandum on the Extreme Vetting of Foreign Nationals

 Presidential Memorandum to Create a National Vetting Center

 Executive Order to Unleash Interior Immigration Enforcement

 Executive Order to Block Federal Grants to Sanctuary Cities

- Presidential Memorandum Ordering DHS to Train National Guard Troops to Assist
with Border Enforcement

 Presidential Memorandum to End "catch and release" at the Border

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- Presidential Proclamation Suspending Entry Across Southern Border Outside Ports
of Entry to Bar Asylum Access

- Executive Order requiring the U.S. Government to Prioritize the Hiring of U.S.
Workers in the Administration of all Immigration Programs

- Executive Order on Aligning Federal Contracting and Hiring Practices with the
Interests of American Workers

- Presidential Proclamation Suspending Chain Migration, Visa Lottery, and All Non-
Essential Foreign Workers

- Presidential Proclamation on Suspension of Entry of Immigrants Who Will
Financially Burden the United States Healthcare System

 Presidential Memorandum to Cut Off Immigrant Access to the Welfare State

PRESIDENT TRUMP'S EXECUTIVE ORDER WILL FINALLY ENSURE THAT THE
FEDERAL GOVERNMENT NO LONGER ADHERES TO A PATENTLY INCORRECT
INTERPRETATION OF THE 14TH AMENDMENT:

- Constitutional scholars have shown for decades that granting automatic citizenship
to the children of illegal aliens born in the United States is based on a patently
incorrect interpretation of the 4th Amendment.

 The 14th Amendment extends federal citizenship to "[a]ll persons born or
naturalized in the United States, and subject to the jurisdiction thereof."

- The purpose of the 4th Amendment had nothing to do with the citizenship of
immigrants, let alone the citizenship of the children of illegal aliens. Its purpose was
to extend citizenship to people newly freed from slavery, whose status was left in
question after the infamous case Dred Scott v. Sandford.

- The framers of the l4tn Amendment made clear that "persons born in the United
States who are foreigners, aliens [or] who belong to the families of ambassadors or
foreign ministers" are not "subject to the jurisdiction" of the U.S.




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- For years, open-borders proponents have deliberately misinterpreted "subject to
the jurisdiction" in the 4th Amendment to mean merely subject to American law,
which is the case for anyone physically present in the United States.

- This twisting of the amendment's meaning and intent has caused America to
become one of the few countries in the world to extend citizenship to the children of
illegal aliens even if both parents are not citizens nor even legally present in the
United States, thus diluting the privileges that Americans are entitled to.

BIDEN'S OPEN BORDER POLICY IS A NATIONAL SECURITY, ECONOMIC, AND
HUMANITARIAN DISASTER:

- A record number of illegal aliens crossed the southern border in both 2021 and
2022. In the official numbers alone, there have been over 6.6 million illegal crossings
since Biden took office-but the true numbers are much higher.

- Bider has deliberately made his border disaster worse by abolishing Title 42 this
month, allowing for an additional 400,000 illegal aliens from all corners of the globe
to pour across our border each month.

- This invasion is wasting our resources, lowering our citizens' wages, poisoning our
communities with lethal drugs, and threatening our national security.

- Illegal immigration reduces American workers' wages by $99 to $118 billion each
year, with the burden falling most heavily on low-wage workers.

- Thousands of pounds of deadly drugs are pouring across our borders, poisoning
over l00,000 of our citizens each year. Fueled in large part by E3iden's border disaster,
fentanyl poisoning has become the leading cause ofdeatn for Americans between
the ages ofl8 and 45.

- Nearlyloo known or suspected terrorists were arrested at the border last year-
more than three times the total for the previous five years combined. Border arrests
of illegal alien murderers increased by over 1,900% and arrests of illegal alien drug
traffickers increased by 480% since 2020.

- E3iden's open border policy has also created a humanitarian crisis, with migrant
deaths reaching a record high last year and human smuggling arrests up 82% since

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https://www.wsj.com/politics/policy/trump-birthright-citizenship-executive-order-battle-O900a291




           POLITICS I POLICY



           Trump Prepares for Legal Fight ()ver
           His 'Birthright Citizenship' Curbs
           Many constitutional scholars and civil-rights groups have said a change
           can't be done through executive action

           By TariniParti [ Follow arzdMicheIIe Hackman Follow al               [



           Updated Dec. 8, 2024 9:16pm ET




           People riding the ferry to Ellis Island for a naturalization ceremony pass the Statue of Liberty. PHOTO;
           ALEX KENT/AFP/GETTY IMAGES


           WASHInGTOn-president-elect Donald Trump's transition team is drafting
           several versions of his long-promised executive order to curtail automatic
           citizenship for anyone born in the U.S., according to people familiar with the
           matter, as his aides prepare for an expanded legal fight.


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Trump, who has railed against so-called birthright citizenship for years, said
during his first term that he was planning an executive order that would outright
ban it. Such an order was never signed, but the issue remained a focus of
Trump's immigration proposals during his re-election campaign. He has said he
would tackle the issue in an executive order on day one of his second term.

Weeks before he takes office, Trump's transition team is now considering how
far to push the scope of such an order, knowing it would almost immediately be
challenged in court, according to a transition official and others familiar with the
matter. The eventual order is expected to focus on changing the requirements
for documents issued by federal agencies that verify citizenship, such as a
passport.

Through an executive order or the agency rule-making process, Trump is also
expected to take steps to deter what Trump allies call "birth tourism," in which
pregnant women travel to the U.S. to have children, who receive the benefit of
citizenship. One option on the table is to tighten the criteria to qualify for a
tourist visa, according to people familiar with the Trump team's thinking.
Tourist visas are most often issued for a period of 10 years, though the tourist
can't stay in the U.S. on each visit for longer than six months.




President-elect Donald Trump has said he would tackle birthright citizenship in an executive order on
day one of his second term. PHOTO; OLIVIERTOURON/AFP/GETTY IMAGES


Karoline Leavitt, a spokeswoman for the Trump transition, said the president-
elect "will use every lever of power to deliver on his promises, and fix our broken
immigration system once and for all."

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Some on the right have backed Trump's plans and argued that birthright
citizenship is a misinterpretation of the l4th amendment, which dates back to
the l9th century and in part granted full citizenship to former slaves. They have
also criticized birth tourism. Companies in China have attracted attention in
recent years for advertising such services, and airlines in Asia even started
turning away some pregnant passengers they suspected of traveling to give
birth.

"Because you happen to be in this country when your child is born, is not a
reason for that child to be a U.S. citizen. It's just silly, and the reliance on it in law
is utterly misplaced," said Ken Cuccinelli, a senior fellow at the Center for
Renewing America, a pro-Trump think tank, who previously served as deputy
secretary of Homeland Security.

Many constitutional scholars and civil-rights groups have said a change to
birthright citizenship can't be done through executive action and would require
amending the Constitution-a rare and difficult process. The most recent
amendment was ratified in 1992, more than 200 years after it was first proposed.

Trump on the campaign trail this year offered more details on what executive
action related to birthright citizenship could include compared with his first
term, a change that some backers took as an indication that he is more willing to
act on the issue.

Trump said he would sign a "day one" executive order directing federal agencies
to require a child to have at least one parent be either a U.S. citizen or legal
permanent resident to automatically become a U.S. citizen. It would also stop
agencies from issuing passports, Social Security numbers and other welfare
benefits to children who don't meet the new requirement for citizenship, the
president-elect's campaign had said.

"My policy will choke off a major incentive for continued illegal immigration,
deter more migrants from coming, and encourage many of the aliens Joe Biden
has unlawfully let into our country to go back to their home countries," Trump
said in a campaign video.

But the requirement that at least one parent be a U.S. citizen or legal permanent
resident would also affect children born to parents who immigrated legally

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through visas, excluding them from automatic citizenship.

"The new piece of it is them talking publicly about the mechanism they might try
to use to operationalize this unconstitutional plan," said Omar Jadwat, director
of the American Civil Liberties Union's Immigrants' Rights Project. "They just
can't do that consistent with the constitution."

                                                "Litigation is definitely going to
                                                follow," he added.

                                                The Supreme Court affirmed
                                                birthright citizenship in its 1898
                                                ruling in U.S. v. Wong Kim Ark. But
                                                critics of automatic citizenship
                                                argue Trump's proposed
                                                citizenship restrictions would be
                                                different from that case, which
                                                involved a child born to Chinese
                                                parents who were legal permanent
                                                residents in the U.S.

                                                Trump's allies say a legal fight that
Portrait of Wong Kim Ark, whose case affirmed
                                                makes its way to the Supreme
birthright citizenship. PHOTO; NATIONAL
ARCHIVES/GETTY IMAGES                           Court is the point of the executive
                                                order.

"Force the issue and see what happens," said Mark Krikorian, executive director
for the Center for Immigration Studies, a group favoring immigration
restrictions that was close to Trump's first administration. Even with the court's
conservative majority, Krikorian isn't optimistic about Trump's chances.

"I think they'll probably uphold the current interpretation of the l4th
Amendment," he said. "They're going to want to start that court fight as soon as
possible to see if they can see it through to the end before the administration
ends," he said.

Write to Tarini Patti at tarini.parti@wsj.com and Michelle Hackman at
miche11e.hackman@wsj.com


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                EXHIBIT H




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         Venezuela International Travel Information
         U.S. Embassy Colombia
         Calle 24 Bis No. 48-50
         Bogota, D.C. Colombia
         Telephone: +(57)(1) 275-2000
         Emergency: +(57)(1) 275-2000
         Fax: No fax
         Online: htt1/_/co.usembass§;gr/services/contact-acs-form/_
         Website
         The U.S. Department of State urges U.S. citizens not to travel to Venezuela, and recommends that
         U.S. citizens in Venezuela leave immediately. More information is in our Venezuela Travel
         Advisory.
         The U.S. Embassy in Caracas suspended operations on March 11, 2019. It cannot provide consular
         services to U.S. citizens in Venezuela. The U.S. Embassy in Colombia assists U.S. citizens in
         Venezuela when possible.

         If you are a U.S. citizen in Venezuela in need of assistance, or are concerned about a U.S. citizen in
         Venezuela, please contact us in one of the following ways:
              .   Contact us online at htt} /_/co.usembass3;g//services/contact-acs-form/ or
              .   Call us at +1-888-407-4747 (from the U.S. & Canada) or +1-202-501-4444 (from overseas).

         The U.S. Department of State strongly urges U.S. citizens not to travel to Venezuela. Detentions of
         U.S. citizens at formal or informal border crossings into Venezuela are common.
         To enter Venezuela, you must have:
              .   A valid U.S. passport in good condition with at least six months of validity, and
              .   A valid Venezuelan visa. Visas are not available upon arrival.

         Visas: The Venezuelan embassy and consulates in the United States are not open. For information
         about visa services, contact the Venezuelan Embassy in Mexico at +52 55 5203 4233. You must
         have the proper visa and appropriate accreditation before traveling to Venezuela. If not, you face
         refusal of admission, expulsion, or detention.
         Immigration officials often require proof of accommodation while in Venezuela, adequate means of
         support, and an onward departure itinerary. Use only official crossing points when entering
         Venezuela. You must obtain an entry stamp upon entry.
         If you reside in Venezuela as a non-citizen, you must obtain legitimate Venezuelan residency
         documentation and renew your residency visa well in advance of expiration. Do not use
         intermediaries to purchase resident visas and/or work permits.
         Traveling with Children: Venezuela's child protection law mandates that minors (under 18) of
         any nationality who are traveling alone, with only one parent, or with a third party, must present
         extensive, specific, and notarized documentation granting permission for travel. Consult the nearest
         Venezuelan embassy or consulate for further information.

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         Dual Nationality: Venezuelan law requires Venezuelan citizens to enter and depart Venezuela
         using Venezuelan passports. If you hold dual U.S. and Venezuelan nationality, you must plan to
         travel between the United States and Venezuela with valid U.S. and Venezuelan passports. Dual-
         national minors are only allowed to depart Venezuela with both parents present or with a legal
         authorization signed by the absent parent in a family court.
         Immunizations: Visit the CDC Traveler website for vaccination information, including Yellow
         Fever vaccination requirements. Carry your International Certificate of Vaccination (or yellow card)
         with you upon arrival or departure. Travel to Venezuela no longer requires evidence of COVID-19
         vaccination.
         HIV/AIDS: The U.S. Department of State is unaware of any HIV/AIDS entry restrictions for
         visitors to or foreign residents of Venezuela. Be aware that HIV/AIDS medications, like other
         medications, are often not available in Venezuela.
         Find further information on dual nationality, prevention of international child abduction,
         and customs regulations on our websites.
         Terrorism: Terrorist groups and those inspired by such organizations are intent on attacking U.S.
         citizens abroad. Terrorists are increasingly using less sophisticated methods of attack - including
         knives, firearms, and vehicles - to more effectively target crowds. Frequently, their aim is focused
         on unprotected or vulnerable targets, such as:
              . High-profile public events (sporting contests, political rallies, demonstrations, holiday events,
                celebratory gatherings, etc.)
              . Hotels, clubs, and restaurants frequented by tourists
              . Places of worship
              . Schools
              . Parks
              . Shopping malls and markets
              . Public transportation systems (including subways, buses, trains, and scheduled commercial
                flights)
         Terrorist groups such as the Revolutionary Armed Forces of Colombia - People's Army (FARC-EP),
         Segunda Marquetalia, and the Colombian-origin National Liberation Army (ELN) have expanded in
         Venezuela in recent years. We are aware of reports of cooperation between FARC dissidents and the
         ELN in the areas of road/border checkpoints, forced displacement of communities, and narcotics
         trafficking.
         For more information, see our Terrorism page.
         Crime: Violent crime is pervasive throughout Venezuela. Venezuela has one of the highest
         homicide rates in the world, and kidnappings are a serious concern.
         If you are in Venezuela:
              .   Be alert of your surroundings at all times and take personal security precautions to avoid
                  becoming a victim of crime.
                  Maintain a low profile.
                  Travel in groups of five or more, and
                  Provide family or friends with your itineraries prior to departure.
                  Avoid police activity. Corruption within the police forces is a concern, and criminals may be
                  posing as police officers or National Guard members. National Guard members may target

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                  U.S. citizens, especially at remote land border crossings, for bribery, extortion, or detention,
                  possibly in collusion with criminal organizations.
         Criminal gangs operate openly and with little repercussion, often setting up fake police checkpoints.
         Armed robberies, including with grenades and assault rifles, take place throughout the country,
         including in tourist areas and institutions such as banks and ATMs, national parks, shopping malls,
         public transportation stations, and universities.
         Drugs: Do not attempt to bring any narcotics or controlled substances into Venezuela, or
         substances that may be confused with illegal drugs.
                  Do not accept packages from anyone.
                  Always keep your luggage with you.
                  U.S. citizens have been actively recruited as narcotics couriers or "drug mules." Arrestees can
                  expect extended jail terms under extremely difficult prison conditions.
         Transportation:
              .   Do not use any taxis hailed on the street. Use only radio-dispatched taxis from taxi services,
                  hotels, restaurants, and airline staff. Some taxi drivers in Caracas are known to overcharge,
                  rob, injure, and even kidnap passengers.
                  Do not use public transportation such as city buses and the metro (subway) in Caracas.
                  If you drive, be aware of attacks in tunnels and avoid obstacles in the road.
         Maiquetia International Airport: Only travel to and from Maiquetia International Airport
         near Caracas in daylight hours. Kidnappings, robberies at gunpoint, thefts, and muggings are
         common. Individuals wearing seemingly official uniforms and displaying airport or police
         credentials have been involved in crimes inside the airport, including extortion and robberies.
                  Do not pack valuable items or documents in checked luggage.
                  Make advance plans for transportation from the airport to your hotel or destination using a
                  trusted party or dispatch taxi service.
         ATMs: Most ATMs do not accept U.S. debit or credit cards, and malfunctions are common. Many
         ATMs do not have cash. Criminals target ATM users for robberies. ATM data is often hacked and
         used to make unauthorized withdrawals.
              .   Use only ATMs located in well-lit, public places.
         Demonstrations occur occasionally. They may take place in response to political or economic
         issues, on politically significant holidays, and during international events.
                  Demonstrations can be unpredictable, avoid areas around protests and demonstrations.
                  Past demonstrations have turned violent.
                  Check local media for updates and traffic advisories.
         International Financial Sc a ms : See the Department of State and the FBI pages for additional
         information.

         Internet romance and financial scams are prevalent in Venezuela. Scams are often initiated
         through Internet postings/profiles or by unsolicited emails and letters. Scammers almost always
         pose as U.S. citizens who have no one else to turn to for help. Common scams include:
              .   Romance/online dating

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              . Money transfers
              . Grandparent/ relative targeting


         Victims of Crime: The U.S. Embassy in Caracas suspended operations on March 11, 2019, and
         therefore cannot provide consular services to U.S. citizens in Venezuela. The U.S. Embassy in
         Colombia assists U.S. citizens in Venezuela when possible.
              .   U.S. citizen victims of crime are encouraged to contact the U.S. Embassy in Bogota.
              .   Report crimes to the local police and contact the U.S. Embassy in Bogota by completing our
                  online form at htt}/_/co.usembass3;g//services/contact-acs-form/_ or dialing +57 (1)
                  275-2000 or +57 (1) 275-4021 after hours. Remember that local authorities are responsible
                  for investigating and prosecuting crime. Note that emergency numbers may not function in
                  Venezuela and travelers should be prepared to make direct contact with the nearest police
                  station to reach emergency service personnel.
         See our webpage on help for U.S. victims of crimes overseas.
         We can:
              . Help you find appropriate medical care
              . Contact relatives or friends with your written consent
              . Provide general information regarding local law enforcement investigations
              . Provide a list of local attorneys
              . Provide our information on victim's compensation programs in the United States
              . Help you find accommodation and arrange flights home
              . If you are able to travel to a U.S. Embassy, we can replace a stolen or lost passport and
                provide an emergency loan for repatriation to the United States and/or limited medical
                support in cases of destitution
         Domestic Violence: U.S. citizen victims of domestic violence are encouraged to contact the U.S.
         Embassy in Bogota for assistance.
         Colombian Border: The area within 50-miles of the entire Venezuela and Colombian border is
         extremely dangerous. U.S. citizens near the border are at risk of detention by authorities. U.S.
         citizens must obtain a visa to enter Venezuela legally. Visas are not available upon arrival. U.S.
         citizens attempting to enter Venezuela without a visa have been charged with terrorism and other
         serious crimes and detained for long periods. Maduro authorities do not notify the U.S. government
         of the detention of U.S. citizens and the U.S. government is not granted access to those citizens.
         Additionally, cross-border violence, kidnapping, drug trafficking, and smuggling are common.
         Some kidnapping victims are released after ransom payments, while others are murdered.
              .   Do not attempt to cross the land border.
         Tourism: Tourists participate in activities at their OWI1 risk. Emergency response and subsequent
         appropriate medical treatment does not meet U.S. standards. Serious medical issues require costly
         medical evacuation complicated by restrictions on air travel to and from Venezuela. Air evacuations
         to the United States from Venezuela may not be possible.
              .   U.S. citizens are encouraged to purchase medical evacuation insurance. See our webpage for
                  more information on insurance providers for overseas coverage.
         Criminal Penalties: You are subject to local laws. If you violate local laws, even unknowingly,
         you may be expelled, arrested, or imprisoned. Individuals establishing a business or practicing a

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         profession that requires additional permits or licensing should seek information from the
         competent local authorities prior to practicing or operating a business. Application of local laws can
         at times be arbitrary and/or politically motivated.
         In Venezuela, it is illegal to take pictures of sensitive buildings, including the presidential palace,
         military bases, government buildings, and airports.
         Drug trafficking is a serious problem in Venezuela and treated as such by Venezuelan authorities.
         Convicted traffickers receive lengthy prison sentences.
         Furthermore, some laws are also prosecutable in the United States, regardless of local law. For
         examples, see our website on crimes against minors abroad and the Department of Justice website.
         Arrest Notification: If you are arrested or detained, attempt to have someone notify the U.S.
         Embassy in Bogota immediately. See our webpage for further information.
         Please note that the U.S. Department of State may not be informed of your detention, particularly if
         you also hold Venezuelan citizenship. Due to the suspension of operations of the U.S. Embassy in
         Caracas, consular visits to detained U.S. citizens are not possible. There have been instances of U.S.
         citizens in recent years who have been detained without being afforded due process or fair trial
         guarantees, or as a pretext for an illegitimate purpose, often due to their U.S. citizenship. U.S.
         citizens in Venezuela are at risk of wrongful detention. See our Travel Advisory for Venezuela for
         additional information.
         Currency and Exchange: Venezuela has started to allow dollarized commercial transactions and
         shopping, but policies and availability are subject to change. Some local businesses accept U.S.
         credit cards and electronic transfers through certain online vendors. "Black market" currency
         exchanges - often offering significantly favorable exchange rates - are technically prohibited under
         Venezuelan foreign exchange controls. Violators may be detained by Venezuelan authorities and
         face criminal penalties.
         Wire Transfers: Wire transfers cannot be used reliably as a source of emergency funds, and
         receipt of funds is generally restricted to Venezuelan citizens and residents.
         Counterfeit and Pirated Goods: Although counterfeit and pirated goods are prevalent in many
         countries, they may still be illegal according to local laws. You may also pay fines or forfeit the items
         if you attempt to bring them back to the United States. See the U.S. Department of Justice website
         for more information.
         Faith-Based Travelers: See the following webpages for details:
                Faith-Based Travel Information
                International Religious Freedom Report - see country reports
                Human Rights Report - see country reports
                Hajj Fact Sheet for Travelers
                Best Practices for Volunteering Abroad
         LGB Travelers: There are no legal restrictions on same-sex sexual relations or the organization of
         LGB events in Venezuela.
         See our LGB Travel Information page and section 6 of our Human Rights report for further details.
         Travelers with Disabilities: The law in Venezuela prohibits discrimination against persons with
         physical and mental disabilities, but the law is not enforced. Social acceptance of persons with

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         disabilities in public is not as prevalent as in the United States. Expect accessibility to be limited in
         public transportation, lodging, communication/information, and general infrastructure.
         Accessibility is more prevalent in the capital city of Caracas than in the rest of the country.
         The availability of rental, repair, and replacement parts for aids/equipment/devices as well as
         service providers, such as sign language interpreters or personal assistants, is limited.
         Students : See our Students Abroad page and FBI travel ii}§.
         Women Travelers: See our travel tips for Women Travelers.
         Travel to Venezuela no longer requires evidence of COVID-19 vaccination.For emergency services
         in Venezuela, dial 171. Emergency numbers may not function, and travelers should be prepared to
         make direct contact with the nearest police station to reach emergency services personnel.
         Ambulance services are:
              .   not widely available, depending on the individual's health insurance, training, and availability
                  of emergency responders may be below U.S. standards.
                  unreliable in most areas.
                  not equipped with state-of-the-art medical equipment.
         Injured or seriously ill travelers may prefer to take a taxi or private vehicle to the nearest major
         hospital rather than wait for an ambulance.
         Direct emergency medical evacuation Hights between the United States and Venezuela are
         notpossible.
         We do not pay medical bills. Be aware that U.S. Medicare/Medicaid does not apply overseas.
         Most hospitals and doctors overseas do not accept U.S. health insurance.
         Medical Insurance: Most care providers overseas only accept cash payments. See our
         weblgge for more information on insurance providers for overseas coverage. Visit the U.S. Centers
         for Disease Control and Prevention for more information on types of insurance you should consider
         before you travel overseas.
              . Make sure your health insurance plan provides coverage overseas. We strongly recommend
                supplemental insurance to cover medical evacuation.
              . Always carry your prescription medication in original packaging, along with your doctor's
                prescription.
              . Before travelling to Venezuela with prescription medications, travelers should research
                current Customs and Immigration restrictions in place at Venezuelan ports of entry.
         Vaccinations: You must be up to date on all vaccinations recommended by the U.S. Centers for
         Disease Control and Prevention. AYellow Fever vaccination is required if coming from or transiting
         for more than 12 hours through Brazil.
              . Confirm you have all vaccinations recommended by the U.S. Centers for Disease Control and
                Prevention.
              . Carry your International Certificate of Vaccination (or yellow card) with you upon arrival.


         Health Facilities in General:
              .   Do not depend on health care facilities in Venezuela for medical care. Serious medical issues

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               require costly medical evacuation complicated by restrictions on air travel to and from
               Venezuela. Direct air evacuations to the United States are not possible.
             . Public medical clinics lack basic resources and supplies, including soap and water. In recent
               years, hospital infrastructure has deteriorated significantly, and medical staff are in short
               supply. Patients frequently must supply their own water, medication, and medical
               instruments to receive care.
             . Adequate private health facilities are available in Caracas and other major cities, but health
               care in rural areas is well below U.S. standards. Many private hospitals and clinics may be
               overcrowded and may experience shortages of public utilities such as electricity and running
               water.
             . Some private hospitals and doctors require cash payment "up front" prior to service or
               admission. Credit card payment and online transfers are sometimes available. If you cannot
               provide an up-front payment, you may be referred to a public institution.
               Medical staff may speak little to no English.
               Generally, in public hospitals only minimal staff is available overnight. Consider hiring a
               private nurse or having family spend the night with the patient, especially a minor child.
               Patients may be required to bear costs for transfer to or between hospitals.
               Psychological and psychiatric services are limited, even in the larger cities.
         Medical Tourism and Elective Surgery:
             . U.S. citizens have suffered serious complications or died during or after having cosmetic or
               other elective surgery overseas.
             . Visit the U.S. Centers for Disease Control and Prevention website for information on medical
               tourism, the risks of medical tourism, and what you can do to prepare before traveling to
               Venezuela.
             . We strongly recommend       pplemental insurance to cover medical evacuation in the event of
               unforeseen medical complications.
             . Your legal options in case of malpractice are very limited in Venezuela.


         Pharmaceuticals :
             . Some medical supplies are unavailable in Venezuela, and you should not expect to find all
               necessary medications in Venezuela. Travelers should carry over the counter and prescription
               drugs sufficient to cover the entire duration of their trips.
             . Exercise caution when purchasing medication overseas. Pharmaceuticals, both over the
               counter and requiring prescription in the United States, are often readily available for
               purchase with little controls. Counterfeit medication is common and may prove to be
               ineffective, the wrong strength, or contain dangerous ingredients. Medication should be
               purchased in consultation with a medical professional and from reputable establishments.
             . U.S. Customs and Border Protection and the Food and Drug Administration are responsible
               for rules governing the transport of medication back to the United States. Medication
               purchased abroad must meet their requirements to be legally brought back into the United
               States. Medication should be for personal use and must be approved for usage in the United
               States. Please visit the U.S. Customs and Border Protection and the Food and Drug
               Administration websites for more information.
         Assisted Reproductive Technology and Surrogacy :
             • There is no legal framework for foreigners or same-sex couples to pursue surrogacy in
                 Venezuela. According to Venezuelan law, the birth mother of a child born in Venezuela is the
                 legal mother. Surrogacy agreements between foreign or same sex intending parents and
                 gestational mothers are not enforced by Venezuelan courts.

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             . If you decide to pursue parenthood in Venezuela via assisted reproductive technology (ART)
               with a gestational mother, be prepared for long and unexpected delays in documenting your
               child's citizenship. Be aware that individuals who attempt to circumvent local law risk
               criminal prosecution.
             . If you are considering traveling to Venezuela to have a child through use of assisted
               reproductive technology (ART) or surrogacy, please see our ART and Surrog;:y Abroad page.
         Water Quality:
             • Tap water is not potable, even in major cities. Bottled water and beverages are generally safe,
                 although you should be aware that many restaurants and hotels serve tap water unless bottled
                 water is specifically requested. Be aware that ice for drinks may be made using tap water.
                 Expect frequent shortages in running water.
                 Gastrointestinal illnesses such as severe diarrhea are common throughout the country.
         Adventure Travel
             .   Visit the U.S. Centers for Disease Control and Prevention website for more information
                 about Adventure Travel.
         General Health:
         The following diseases are prevalent:
             .   COVID-19
             .   D€I1gl£
             .   Zika
             .   Chikungiglyg
             .   Chagas Disease (T_I'5Lpanosomiasis)
             . Measles (Rubeloa)
             . Malaria
             . Leishmaniasis
             . Schistosomiasis (Bilharzia)
             . Travelers' Diarrhea


         The Ministry of Health has announced they will start an epidemiological plan at airports for those
         travelers coming from countries where there is a confirmation of Mpox outbreak: "To enter the
         country, they must report their health status and personal data in the epidemiological surveillance
         form, for medical follow-up".
             . Use the U.S. Centers for Disease Control and Prevention recommended mosquito repellents
               and sleep under insecticide-impregnated mosquito nets. Chemoprophylaxis is recommended
               for all travelers even for short stays.
             . Visit the U.S. Centers for Disease Control and Prevention website for more information
               about Resources for Travelers regarding specific issues in Venezuela.
         Road Conditions and Safety:
             . Avoid driving in Venezuela. If you do drive, drive defensively, as most drivers do not obey
               rules.
             . Do not drive at night outside major cities. Police and national guard checkpoints are
               mandatory, and criminals often set up fake checkpoints during nighttime to rob or kidnap
               victims.

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                 Road damage is not clearly marked.
                 Traffic jams are common within Caracas during most of the day and are frequently exploited
                 by criminals. Armed motorcycle gangs operate in traffic jams. Comply with demands as
                 victims may be killed for not complying.
                 Do not use buses due to high levels of criminal activity.
                 Venezuela experiences shortages in gasoline, and you should plan accordingly, especially
                 when travelling to distant or rural areas. Be aware that the quality of gasoline is not the same
                 as in the United States and may cause vehicle damage, requiring repairs and/or frequent
                 maintenance.
         Traffic Laws :
             . Child car seats and seatbelts are not required and are seldom available in rental cars and
               taxis.
             . Some Caracas municipalities have outlawed the use of handheld cell phones while driving.
             . Stops at National Guard and local police checkpoints are mandatory. Follow all National
               Guard instructions and be prepared to show vehicle and insurance papers and passports.
               Vehicles may be searched.
         Public Transportation: Subways, buses, trains, and other means of public transport in
         Venezuela do not have the same safety standards as in the United States.
         See our Road Safety_p3go for more information.
        Aviation Safety Oversight: The U.S. Federal Aviation Administration (FAA) has assessed that
        Venezuela's Civil Aviation Authority is not in compliance with International Civil Aviation
        Organization (ICAO) aviation safety standards for oversight of Venezuela's air carrier operations.
        Further information may be found on the FAA's safety assessment 18g8.
         The U.S. Department of Transportation issued an order suspending all nonstop flights between the
         United States and Venezuela. The Department of Homeland Security concluded that conditions in
         Venezuela threaten the safety and security of passengers, aircraft, and crew traveling to or from that
         country.
        Due to risks to civil aviation operating within or in the vicinity of Venezuela, the Federal Aviation
        Administration (FAA) has issued a Notice to Air Missions (NOTAM) and/or a Special Federal
        Aviation Regulation (SFAR). For more information, U.S. citizens should consult the Federal
        Aviation Administration's Prohibitions, Restrictions, and Notices. Emergency medical evacuation
        flights between the United States and Venezuela may not be possible.
         Maritime Travel:
         Mariners should not travel to Venezuela. If transiting near Venezuelan maritime boundaries, check
         for U.S. maritime advisories and alerts. Information may also be posted to the U.S. Coast Guard
         homeport website, and the NGA broadcast warnings website.
         We reiterate that the U.S. Department of State urges citizens not to travel to Venezuela or to
         attempt to enter Venezuela without a visa.
         Incidents of piracy off the coast of Venezuela remain a concern. Yachters should note that
         anchoring offshore is not considered safe. Marinas, including those in Puerto la Cruz and Margarita
         Island (Porlamar), provide only minimal security, and you should exercise a heightened level of
         caution in Venezuelan waters.


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                  EXHIBIT I




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Washington state's immigrant population:
2010-21
By Wei Yen, Ph.D.                                                                                       May 2023


Introduction                                                       Shares offemaies in each immigrant
                                                                   population group remained about the
This brief presents changes in Washington's
                                                                   same across the years, although the
immigrant population from 2010 to 2021.
                                                                   shares varied among the groups,
We grouped the state's population in four
                                                                   between 40% and 60%.
categories: U.S.-born citizens, naturalized
citizens, legal immigrants and                                     While the share of adults 18-64 declined
undocumented immigrants. Our data source                           in the U.S.-born citizen group to 58%, it
is the Census Bureau's American Community                          remdined the some in the immigrant
Survey (ACS) 1-year Public Use Microdata                           groups (ground 75% for ndturdlized
Sample files. Before we analyzed the ACS                           citizen group and legal immigrdnt group,
data, we applied an adjustment to the data                         and 90% for the undocumented
to account for the underreport of Medicaid                         immigrdnt group).
population in the ACS beginning in 2014.1
                                                                   The share of individuals with Hispanic
Estimates for 2020 are not available due to
                                                                   origin had a gradual but steady increase
data quality issues that year in the ACS
                                                                   in the U.S.-born citizen group (8% to
because of national data collection
                                                                   12%). However, the undocumented
challenges during COVID-19.2
                                                                   immigrant group share deciinedfrom
                                                                   54% to 39%.
Our main findings
                                                                   The shares of non-i-lisponic white
.   Immigrant population has increased by
                                                                   population declined in the U.S.-born
    29% in Washington during 2010-21, with
                                                                   citizen group (80% to 72%)3 and the
    a larger increase in the immigrant group
                                                                   iegoi immigrant group (32% to 23%).
    of nataralized citizens (37%), in 2021,
    the total immigrant population was                             The shares of non-l-lispanic Asians or
    1,149,000.                                                     Pacific Islanders increased in the legal



1 For more information on our adjustment to the ACS, see
https://ofm.wa.gov/sites/default/files/public/legacy/healthcare/healthcoverage/pdf/undercount medicaid.pdf.
2 For more information about data issues in the 2020 American Community Survey, see
https://ofm.wa.gov/sites/default/files/public/dataresearch/researchbriefs/brief106.pdf.
3 There is a strong reason to believe that large decline from 75.3% in 2019 to 71.5% in 2021 is mostly due to change
in the survey question adopted in 2021 ACS. See more details in the section "Non-Hispanic white."



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             immigrant group (27% to 36%) and the                                           Immigrant population in 2010-21
             undocumented immigrant group (27% to
                                                                                            Washington's total population increased by
             43%).
                                                                                            15% from 2010 to 2021 (7.7 million). At the
             in the adult population age 18-64, all                                         same time, U.S.-born citizen population
             groups except the legal immigrant group                                        increased by 13% and the immigrant
             had increased shares with a 4-year                                             population increased by 29%. Within the
             college degree or higher. The                                                  immigrant population, the naturalized
             undocumented immigrant group had the                                           citizen group had the largest increase, with
             largest change (22% to 47%).                                                   37%, while the legal immigrant group and
                                                                                            the undocumented immigrant group
             For all groups, shares of adults 18-64
                                                                                            increased by 20% and 23%.
             who were employed increased to the
             highest point in 2019 (above 70%) and
                                                                                            U.S.-born citizens accounted for 86.7% of
             then declined in 2021.
                                                                                            the total population in 2010 and 85.1% in
             Shares of adults 18-64 in low-income                                           2021. The share of naturalized citizens
             families (less than 200% of the federal                                        increased slightly from 6.1% to 73%. The
             poverty level) declined in all groups,                                         share of legal immigrants remained
             particularly in the undocumented                                               unchanged essentially, at about 3.6%. The
              immigrant group in which the share                                            share of undocumented immigrants also
             dropped by half (56% to 28%).                                                  remained unchanged, at about 3.8%

       Table 1. Washington population (in thousands) by immigration status: 2010-21




State total population              6,744           6,830      6,897    6,971       7,062       7,170     7,288    7,406          7,536     7,615         7,739         14.7%
U.S.-born citizen                   5,850           5,912      5,985    6,027       6,132       6,191     6,269    6,339          6,426     6,483         6,589         12.6%
Immigrant                             894             918        912      944         930         979     1,019    1,067          1,110     1,132         1,149         28.5%
 Naturalized citizen                  411             414        428      439         429         464       483      515            542       532           563         37.0%
 Legal immigrant                      236             237        227      232         240         262       287      288            279       293           283         20.0%
 Undocumented immigrant               247             268        257      274         261         254       249      264            289       307           304         22.6%


       Figure 1. Percentage of total population by immigration status, 2010-21: Washington
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              N   N      N    N     N       N            N     N    N     N     N     N     N     N      N    N    N      N           N      N      N    N    N   N
                      U.s.-born Citizen                        Naturalized Citizen                      Legal Immigrant               Undocumented Immigrant




       Office of Financial Management                                                                                                                                   2

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Changes in demographic                                                     differences in the shares of females
characteristics, 2010-21                                                   persisted. For example, while the share of
                                                                           females in the U.S.-born citizen group has
Sex                                                                        been slightly below 50%, the share in the
There were no statistically significant                                    naturalized citizen group and legal
changes in the share of females within any                                 immigrant groups has been higher, in the
of the immigrant population groups from                                    mid-50% and the share has been lower in
2010 to 2021. However, across the groups,                                  the undocumented immigrant group, in the
                                                                           mid-40%.


Figure 2. Percentage of female in population groups by immigration status, 2010-21: Washington

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                  U.S.-born Citizen             Naturalized Citizen                Legal Immigrant       Undocumented Immigrant




Children under 18                                                          The U.S.-born citizen group had the highest
                                                                           share, above 25%. The share was lowest in
From 2010 to 2021, the share of children
                                                                           the naturalized citizen group, below 5% in all
under 18 declined in the U.S.-born citizen,
                                                                           years except 2010. In the legal immigrant
naturalized citizen and legal immigrant
                                                                           group, the share dropped from
groups. In the undocumented immigrant
                                                                           approximately 20% to about 11%. Finally,
group, the change in the share was not
                                                                           the share in the undocumented immigrant
significant. There were, however,
                                                                           group remained between 5% and 10% at all
considerable differences across these four
                                                                           times.
groups in their shares of children under 18.




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      Figure 3. Percentage of children under 18 in population groups by immigration status, 2010-21:
      Washington

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                     U.S.-born Citizen                      Naturalized Citizen                                         Legal Immigrant                  Undocumented Immigrant



      Adults 18-64
      The only group that had a significant change                                                        share, at or slightly below 60%. The
      from 2010 to 2021 in the share of adults 18-                                                        undocumented immigrant group had the
      64 was the U.S.-born citizen group.                                                                 highest share, around 90%. For the
                                                                                                          naturalized citizen group and the legal
      When the four groups' shares are ranked,
                                                                                                          immigrant group, their shares were similar,
      the U.S.-born citizen group had the lowest
                                                                                                          between 70% and 80%.


      Figure 4. Percentage of adults 18-64 in population groups by immigration status, 2010-21:
      Washington

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                     U.S.-born Citizen                           Naturalized Citizen                                             Legal Immigrant              Undocumented Immigrant




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      Adults 65 and older                                                          higher in 2021 than in 2010, the change was
                                                                                   not statistically significant. Notable
      Washington's population has been aging
                                                                                   differences existed in the shares when we
      over the past decade due to Baby Boomers
                                                                                   compared the four groups. The naturalized
      entering the retirement age. This
                                                                                   citizen group had the highest share, about
      phenomenon manifested itself in the share
                                                                                   20%, followed by the U.S.-born citizen group
      of adults 65 and older in the U.S.-born
                                                                                   (around 15%), the legal immigrant group
      citizens. This group's increased from 12.5%
                                                                                   (around 10%) and the undocumented
      in 2010 to 16.6% in 2021. In all three
                                                                                   immigrant group (around 2.5%).
      immigrant groups, although the share was

      Figure 5. Percentage of adults 65 and older in population groups by immigration status, 2010-21:
      Washington

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                    U.S. born Citizen                  Naturalized Citizen                  Legal Immigrant       Undocumented Immigrant




      Hispanic origin
      Two groups, the U.S.-born citizen group and                                  born citizen was the lowest when we
      the undocumented immigrant group, had                                        compared all four groups. And despite the
      opposite trends in their shares of people                                    declining trend from mid-50% to
      with Hispanic origin. The share in the U.S.-                                 approximately 40% in the undocumented
      born citizen group rose steadily while the                                   immigrant group, its share remained the
      share in the undocumented immigrant                                          highest. The second highest share, between
      group had an overall decline. The shares in                                  30% and 35%, belonged to the legal
      the other two groups, naturalized citizen                                    immigrant group. The naturalized citizen
      group and legal immigrant group, show little                                 group had the third highest share, around
      change over time. Despite the steady                                         15%. Note that in the U.S.-born citizen
      increase, the share (around 10%) in the U.S.-                                group, the average annual change from



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     2010 to 2019 was an increase of                                                           This change from 2019 to 2021 is partially
     approximately a quarter of a percent                                                      due to a change first implemented in 2020
     (0.24%). However, from 2019 to 2021, the                                                  in how the U.S. Census Bureau asked
     average annual change was an increase of                                                  race/ethnicity questions in the American
     slightly over half of a percent (0.55%), more                                             Community Survey.4*
     than twice the change in previous years.

     Figure 6. Percentage of people of Hispanic origin in population groups by immigration status,
     2010-21: Washington

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                       U.S.-born Citizen                             Naturalized Citizen                   Legal Immigrant       Undocumented Immigrant




     Non-Hispanic white                                                                           Community Survey.5 If we apply the
                                                                                                  average annual decline from 2010 to 2019
     Changes in the shares of non-Hispanic
                                                                                                  to the 2020 and 2021 ACS for Washington,
     white persons are notable in the U.S.-born
                                                                                                  we should expect the non-Hispanic white
     citizen group and the legal immigrant
                                                                                                  share in the U.S.-born citizen group to be
     group, with declines in both groups.
                                                                                                  approximately 74.4% (This is true if we
     Changes in the other two groups were not
                                                                                                  assume the ACS race/ethnicity questions
     statistically significant. The change from
                                                                                                  did not change). In other words, it is
     75.3% in 2019 to 71.5% in 2021 among
                                                                                                  reasonable to attribute a nearly 3
     U.S.-born citizens was particularly large for
                                                                                                  percentage point decline (74.4%-71.5%) in
     this group. However, this large change is
                                                                                                  this group's share to the change based on
     mostly the result of the change in how the
                                                                                                  how the race/ethnicity questions were
     race questions were asked in the American
                                                                                                  asked in the ACS.



     4 For the change in the race/ethnicity questions, see https://www.census.gov/newsroom/blogs/random-
     samplings/2021/08/improvements-to-2020-census-race-hispanic-origin-question-designs.html.
     5 See the previous note for details about the change in the race/ethnicity questions in the ACS.



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  Across the four groups, there was a large                                       ranging between 20% and 35% and there was
  variation in the share of non-Hispanic white                                    no statistical difference between these two
  people. The U.S.-born citizen group had the                                     groups in any single year. The undocumented
  highest share. The naturalized citizen group                                    immigrant group had the lowest share,
  and the legal immigrant group had the second                                    between 11% and 15%.
  highest shares. These two groups had shares

  Figure 7. Percentage of non-Hispanic white in population groups by immigration status,
  2010-21: Washington

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                      U.S.-born Citizen            Naturalized Citizen                    Legal Immigrant         Undocumented Immigrant




  Non-Hispanic Asian and Pacific Islander                                         the increase started in 2014 and continued to
                                                                                  increase through 2021.
  The share of non-Hispanic Asians/Pacific
  Islanders in the U.S.-born citizen group had a                                  When compared across the four groups, the
  gradual and steady increase during 2010-21.                                     share of non-Hispanic Asian/Pacific Islander
  However, the average annual increase in                                         people was the highest in the naturalized
  2019-21 appeared to be much larger than                                         citizen group (more than 40%) and the
  any previous year-to-year increase. The                                         lowest in the U.S.-born citizen group (below
  larger increases in 2019-21 may be caused                                       5%). In the remaining two groups, their
  by the change in the ACS questions on                                           shares appear to be similar (between high
  race/ethnicity.                                                                 20% to mid-30%), except that the share in
                                                                                  the undocumented immigrant group
  In the naturalized citizen group, there was no
                                                                                  appeared to have a faster increase in recent
  apparent change. In the legal immigrant
                                                                                  years than the share in the legal immigrant
  group, there was an increase in 2013 and the
                                                                                  group.
  share afterwards remained at the increased
  level. In the undocumented immigrant group,




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      Figure 8. Percentage of non-Hispanic Asian or Pacific Islander people in population groups by
      immigration status, 2010-21: Washington

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                       U.S.-born Citizen          Naturalized Citizen        Legal Immigrant    Undocumented Immigrant




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      Changes in socio-economic                                                    However, in the last few years, this group's
      characteristics of adults 18-64                                              share had a rather fast increase, so much
                                                                                   that it was tied statistically with the highest
      from 2010 to 2021
                                                                                   share in the naturalized citizen group by
      Education                                                                    2021. Over time, this group's share
                                                                                   increased from 22% to 47%. The share in the
      The share of adults 18-64 years with a four-
                                                                                   legal immigrant group hovered around 30%,
      year college degree or higher increased in
                                                                                   which placed the group's share between the
      three of the four groups. The one with
                                                                                   second lowest and the lowest. The U.S.-born
      inconclusive trend was the legal immigrant
                                                                                   citizen group had a gradual yet steady
      group.
                                                                                   increase in its share (from below 30% to
      The highest share of the four groups was in                                  35%) and its rank among the four groups
      the naturalized citizen group and it                                         changed from the second highest to the
      increased from 33% in 2010 to 43% in 2021.                                   third highest.
      The undocumented immigrant group, for
      most of the years, had the lowest share.

      Figure 9. Percentage of adults aged 18-64 with a 4-year college degree or higher in population
      groups by immigration status, 2010-21: Washington

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                    U.S. born Citizen                 Naturalized Citizen                 Legal immigrant         Undocumented immigrant




      Employment
      The share of adults 18-64 years who were                                     recovering in 2021. For all four groups, the
      employed in each group showed an upward                                      share of the employed was at or above 60%.
      trend from 2010 to 2019 and then a decline                                   However, the share in the naturalized citizen
      from 2019 to 2021. The decline from 2019 to                                  group, between 75% and 80%, was
      2021 can be attributed to the COVID-19                                       consistently the highest in all years, except in
      pandemic because many businesses were                                        2021. The group with the lowest share at all



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      times was the legal immigrant group, with a                                          the second highest share in the last few years
      share between 60% and 75%. The share of                                              was the undocumented immigrant group. Its
      the U.S.-born citizen group had a narrow                                             share increased from 65% in 2010 to its
      range, between 70% and 75%, with a ranking                                           highest point of 78% in 2019 and then
      of the second highest early on and the third                                         dropped slightly to 76% in 2021.
      highest in the last few years. The group with

      Figure 10. Percentage of adults aged 18-64 who were employed in population groups by
      immigration status, 2010-21: Washington
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      Low income (family income below 200                                                  group were quite similar, dropping from
      percent of the federal poverty level)                                                high 20% to about 20%. Their shares were
      The share of adults 18-64 with low income                                            much lower than the shares in the other two
      dropped in all four groups from 2010 to                                              groups, especially in earlier years. The
      2021. In the legal immigrant group and the                                           undocumented immigrant group had the
      undocumented immigrant group, there was                                              highest share in earlier years, at about 50%.
      a slight increase from 2019 to 2021, but the                                         However, in the last two years, its share
      increase was not statistically significant for                                       dropped to a level similar to that of the legal
      either group. The shares in the U.S.-born                                            immigrant group, below 30%.
      citizen group and the naturalized citizen




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      Figure 11. Percentage with low family income (less than 200% of federal poverty level), adults
      aged 18-64 by immigration status, 2010-21: Washington
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                 U.S. born Citizen          Naturalized Citizen            Legal immigrant      Undocumented Immigrant




      Evolving demographic and socio-                             in the age range of 18-64, their share of
      economic characteristics of the                             having a 4-year college degree and beyond
      undocumented immigrants                                     was approaching 50% and was the highest
                                                                  of all groups in 2021. The proportion with
      Changes in the demographic and socio-
                                                                  low-income dropped by half, the largest
      economic characteristics of the
                                                                  decline of all groups. Their share of being
      undocumented immigrants are worth
                                                                  employed increased further and it was tied
      mention. In many cases, this group's
                                                                  with the highest share.
      changes were the most dramatic change
      during 2010-21. In the early years of this                  We did not attempt to determine the cause(s)
      period, the undocumented immigrants were                    for the changes in the characteristics of the
      nearly all in the age range of 18-64, mostly                undocumented immigrant population
      male, individuals of Hispanic origin, non-                  because doing so requires data we do not
      white, and non-Asian/Pacific Islander. For                  have and also requires a more complex
      those in the age range of 18-64, few had a                  analysis. However, the higher employment
      4-year college degree and beyond and most                   share, the dramatic increase in the share
      were in low-income, though the majority of                  holding a 4-year college degree and beyond,
      them were employed.                                         and the dramatic decrease in the share of
                                                                  low-income people appear to suggest that
      By the end of this period, although
                                                                  current undocumented immigrants were
      undocumented immigrants continued to be
                                                                  more likely to be here on expired temporary
      nearly all in the 18-64 age range, mostly
                                                                  documents (e.g., student visa and temporary
      male and non-white, most of them were
                                                                  work visa) than in earlier years.
      now no longer of Hispanic origin. For those




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Data source and notes                                      that distinction, we applied an algorithm
                                                           published in the journal of Labor Economics
Data source
                                                           by George Jo. Borjas to the ACS data.7 The
The original data source for this research                 Borjas algorithm uses existing information in
brief is the US Census Bureau's American                   federal surveys such as the Current
Community Survey (ACS) 1-year Public Use                   Population Survey and the ACS to impute a
Microdata Sample files for 2010 to 2019 and                non-citizen's legal status. Such information
2021. The Health Care Research Center at                   includes their arrival in U.S. before 1980,
the Office of Financial Management                         participation in public assistance programs,
adjusted the ACS sample weights to correct                 employment in government positions,
the undercount of Medicaid enrollment                      veteran or person currently in armed forces,
found in ACS beginning in 2014.6 This                      etc. Surveys may have sampling and
adjustment may have resulted in minor                      response errors that may result in under-
changes in estimates besides counts of                     report of non-citizens, probably more so of
Medicaid enrollment. We based estimates                    undocumented immigrants. Estimates of the
reported in this brief for 2014-20 and 2021                non-citizen populations in this brief may
on the adjusted ACS data.                                  contain those errors. In addition, there may
Immigrant status                                           be an over-report of naturalized citizens in
                                                           this brief since people born outside the U.S.
This brief classifies Washington's population
                                                           but to parents who are U.S. citizens are
into four groups according to their
                                                           classified as "naturalized citizens" in the
immigration statuses: U.S.-born citizen,
                                                           brief's analysis.
naturalized citizen, legal immigrant and
undocumented immigrant. U.S.-born citizen                  Missing income
and naturalized citizen are determined by                  The ACS data include a small number of
the citizenship and nativity data fields in the            records that have no income information.
ACS. If a person is a citizen and was born                 We excluded those records when we
native, that person is classified as U.S.-born             calculated the percentage of population in
citizen. A citizen reported to be a foreign-               low income.
born is classified as a naturalized citizen. The
remainder of the population are non-                       Statistical difference between estimates
citizens. The ACS does not have direct data                The difference between two estimates is
fields that can be used to classify a non-                 considered statistically significant if their
citizen as either legal immigrant or                       95% confidence intervals of the two
undocumented immigrant. To help make                       estimates do not overlap.




6 See footnote 1.
7 Boreas, GJ. The Labor supply of undocumented immigrants. Labor Economics 46(2017):1-13.



Office of Financial Management                                                                             12

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Appendixes
Table A1. Total population by immigration status (in percentage), Washington,
 2010-19 and 2021

 U.S.-born citizen                       86.7    86.6     86.8     86.5     86.8          86.3            86.0     85.6     85.3    85.1   85.1
 Naturalized citizen                       6.1     6.1     6.2      6.3          6.1          6.5          6.6      7.0      7.2     7.0    7.3
 Legal immigrant                           3.5     3.5     3.3      3.3          3.4          3.6          3.9      3.9      3.7     3.9    3.7
 Undocumented immigrant                    3.7     3.9     3.7      3.9          3.7          3.5          3.4      3.6      3.8     4.0    3.9
 Total population                        100      100      100     100       100              100         100      100      100     100    100

Table A2. Demographic characteristics by Immigration status (in percentage), total population,
Washington, 2010-19 and 2021


                     U.S.-born citizen           49.8    49.8    49.9     49.8     49.7         49.8        49.7     49.7    49.7   49.7   49.3
                     Naturalized citizen         55.9    54.7    55.1     55.8     55.1         55.1        54.5     55.6    54.8   54.4   54.4
 Female
                     Legal immigrant             56.8    56.4    54.5     54.7     54.7         53.9        55.0     53.4    52.6   55.2   52.8
                     Undocumented
                     immigrant                   43.6    44.3    44.7     42.5     43.6         43.4        45.4     44.2    45.4   42.7   44.8
                     U.S.-born citizen           27.1    26.8    26.7     26.6         26.5     26.4        26.2     26.2    26.0   26.0   25.6
                     Naturalized citizen          6.4     4.8     4.8      4.7          4.4         3.8      4.1      4.1     3.9    2.8    3.4
 Age 0-17
                     Legal immigrant             19.5    16.5    14.4     15.9     14.3         12.8        15.1    14.3     13.3   11.3   11.4
                     Undocumented
                     immigrant                    8.9     8.7     8.1      6.1          7.4         7.0      5.6      6.9     7.3    8.7    9.1
                     U.S.-born citizen           60.5    60.5    60.1     59.5         59.3     59.0        58.8     58.6    58.2   57.8   57.8
                     Naturalized citizen         74.1    75.7    76.5     75.8         75.4     76.0        74.1     74.4    74.0   74.4   75.4
 Age 18-64
                     Legal immigrant             71.6    72.8    73.3     72.1         74.3     76.0        75.4     74.0    77.3   78.7   76.6
                     Undocumented
                     immigrant                   89.6    89.7    90.0     92.7     89.9         90.5        92.2     90.4    90.8   89.3   88.5
                     U.S.-born citizen           12.5    12.7    13.3     13.8     14.2         14.6        15.0    15.2     15.7   16.2   16.6

 Age 65 and
                     Naturalized citizen         19.5    19.5    18.7     19.5         20.2     20.2        21.8     21.5    22.1   22.8   21.2
 older               Legal immigrant              8.9    10.7    12.3     12.0     11.5         11.2         9.5     11.6     9.4   10.1   12.0
                     Undocumented
                     immigrant                    1.5     1.6     1.9      1.2          2.6         2.5      2.2      2.7     1.9    2.0    2.3
                     U.S.-born citizen            8.3     8.7     8.7      9.2          9.5         9.6      9.7     10.1    10.2   10.5   11.6
                     Naturalized citizen         14.5    14.5    15.1     14.4     14.5         15.7        15.5     15.2    17.0   16.6   14.3
 Hispanic
                     Legal immigrant             33.3    31.0    34.2     29.3     34.8         35.0        34.8     34.6    31.9   32.1   34.0
                     Undocumented
                     immigrant                   54.4    52.0    55.3     54.1     49.7         49.7        49.5     45.8    45.3   41.0   39.4
                     U.S.-born citizen           79.5    79.1    78.4     78.1         77.2     77.0        76.8     76.1    75.7   75.3   71.5

 Non-Hispanic
                     Naturalized citizen         30.9    30.0    32.1     30.3     29.8         29.5        28.4     29.9    27.3   27.1   27.7
 white               Legal immigrant             31.6    33.2    28.1     28.9         24.3     25.8        25.2     23.2    24.0   21.2   22.8
                     Undocumented
                     immigrant                   15.4    12.9    14.1     13.2     14.6         11.6        11.9     11.8    10.8   12.9   14.1
                     U.S.-born citizen            3.3     3.3     3.5      3.5          3.6         3.5      3.8      3.8     4.0    4.0    4.3
 Non-Hispanic
 Asian and
                     Naturalized citizen         47.3    46.8    45.3     47.3     49.1         46.3        46.2     46.1    45.7   46.9   46.9
 Pacific             Legal immigrant             26.8    28.7    28.6     35.2     31.8         33.6        29.9     34.0    33.4   32.9   35.6
 Islander            Undocumented
                     immigrant                   27.4    30.2    26.7     27.5     32.1         36.2        34.8     37.0    39.0   40.4   42.7




Office of Financial Management                                                                                                                13

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Table A3. Education, employment and income by immigration status (in percentage): adults 18-64,
2010-19 and 2021


                     U.S.-born citizen                                                                            34.7
4-year college
                     Naturalized citizen
education or
higher               Legal immigrant                                                                              32.9
                     Undocumented immigrant
                     U.S.-born citizen                                                                            71.7
                     Naturalized citizen
Employed
                     Legal immigrant                                                                              65.1
                     Undocumented immigrant
                     U.S.-born citizen                                                                            19.9
Low-income
(below 200% O
FPL)
                 I   Naturalized citizen
                     Legal immigrant
                                              25.2   28.3   25.6   27.6   23.8   26.5   22.3   19.7   20.8 1931
                                                                                                                  31.0
                     Undocumented immigrant




Office of Financial Management                                                                                           14

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                EXHIBIT J




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:r HEALTH
v
                       Washington State Department of
                                                                     Washington
                                                                     State
                                                                     Department
                                                                     of ealth

All Births Dashboard
 County

            Top 50 Baby Names to         General Fertility Rate by    General Fertility Rate by     Crude Birth Rate by                 Crude Birth Rate by          Age Specific Birth Rate

<           WA Residents                 County                       Maternal Race and
                                                                      County
                                                                                                    County                              Infant Sex and County        by County
                                                                                                                                                                                                       >
    General Felt*tility Rate: Total # of Births to Women of All Ages per 1,000 women aged 15-44 years (WA Residents only)
    Data are available in this tab for years 2011-2022 at the State and County levels. Please use the slider to select a year. The last tab titled "Download Data Table" allows you to select
    the data you would like to download for analysis.
    Map (Select a Year)
    2022                                                                                                                                                                                     O <
                                                                                                     Sec-grazihlr      2022            2021     2020     2019    2018        2017    2016      20 ,
                                                                                                     State Total           53.5        54.?-54.5         55.7    58.5        eo.e    53.7      63
                                                                                                    Adams                  79.5        92.0  84.3        99.5    100.8       104.0   100.1     QUO
                                                                                                     Asotin                59.2        et _D     59.2    50.9    722         51 .B     5.8         5
                                                                                                    Benton                 et .8       64.0      63.7    55.3    68.3        70.0    75.8      72
                                                                                                     Chelan                55.9        573       57.9    54.9    63.4        54.0    69.5      71
                                                                                                     Clallam               46.9        56.9      57.3    55.9    57.8        64.2    63.5      64
                                                                                                     Clark                 55.4        57.0      55.6    59.3    59.3        e0.s    56.9       5E
                                                                                                     Columbia              61.5        48.4      53.7    50.2    53.2        50.3    55.3      se
                                                                                                     Cowlitz               64.0        et .7     64.7    55.3    55.7        59.4    56.4      et
                                                                                                    Douglas                65.5        55_3     e1 .5    54.5    ee.2        17.1    71.3      TE
                                                                                                     Ferry                 53.2        73.4      67. 1    T2.5   55.9        72.4    BD. 1     53
                                                                                                     Franklin              59. 1       70.4      73.8    78.1    79.4        84.9    89.3      QC
                                   General Fertility Rate per 1,000 women (aged 15-44)               Garfield              a7.7        81 .5     5B.4    58.8    78.8        89.7              se



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                 NR = Not Reliable. Rates are not reliable due to counts less than 17. ** = Suppression. Rates are suppressed when counts are between 1-9.
                 For more information, please click on the landing page: Mps://doh.wa.gov/data-and-statistical-reports/washington-tracking-network-wtn/birth-outcomes-data
    Y:/H'°EEFITi Citation: Washington State Department of Health, Center for Health Statistics, Birth Certificate Data, 2000-2022. Due to the current lack of Small                       TRACKING
                 Area Data Estimates from Office of Financial Management (OFM), the population data used to calculate rates in this dashboard come from the




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1                                                   The Honorable Judge John C. Coughenour
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7
                             UNITED STATES DISTRICT COURT
8                           WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
9
     STATE OF WASHINGTON; STATE OF                  NO. 2:25-cv-00127-JCC
10   ARIZONA; STATE OF ILLINOIS; and
     STATE OF OREGON,
11                                                  PLAINTIFF STATES' MOTION FOR
                              Plaintiffs,           PRELIMINARY INJUNCTION
12
        v.                                          NOTE ON MOTION CALENDAR:
13                                                  FEBRUARY 6, 2025
     DONALD TRUMP, in his official capacity
14   as President of the United States, U.S.
     DEPARTMENT OF HOMELAND
15   SECURITY; KRISTI NOEM, in her official
     capacity as Secretary of Homeland Security,
16   U.s. SOCIAL SECURITY
     ADMINISTRATION; MICHELLE KING,
17   in her official capacity as Acting
     Commissioner of the Social Security
18   Administration, U.S. DEPARTMENT OF
     STATE; MARCO RUBIO, in his official
19   capacity as Secretary of State, U.S.
     DEPARTMENT OF HEALTH AND
20   HUMAN SERVICES; DOROTHY PINK,
     in her official capacity as Acting Secretary
21   of Health and Human Services, U.S.
     DEPARTMENT OF JUSTICE; JAMES
22   MCHENRY, in his official capacity as
     Acting Attorney General, U.S.
23   DEPARTMENT OF AGRICULTURE;
     GARY WASHINGTON, in his official
24   capacity as Acting Secretary of Agriculture,
     and the UNITED STATES OF AMERICA,
25
                               Defendants .
26


     PLAINTIFF STATES' MOTION FOR                             ATTORNEY GENERAL OF WASHINGTON
                                                                      Civil Rights Division
     PRELIMINARY INJUNCTION                                        800 Fifth Avenue, Suite 2000
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                                                                          (206) 464-7744
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 1                                       I.     INTRODUCTION
2              The Fourteenth Amendment's Citizenship Clause emerged out of one of our Nation's
 3   darkest chapters and embodies one of its most solemn promises. It was passed and ratified
4    following the Civil War to overturn the Supreme Court's infamous holding in Died Scott v.
 5   Sandford, 60 U.S. 393 (1857), which denied citizenship to an entire class of persons-
 6   descendants of enslaved people. The Citizenship Clause repudiated Died Scott and reaffirmed
 7   the common law principle of jus soli, under which all individuals bom in the United States and
 8   subject to its jurisdiction are citizens. Its operation is automatic and its scope broad. It provides
 9   our Nation a bright-line and nearly universal rule under which citizenship cannot be conditioned
10   on one's race, ethnicity, alienable, or the immigration status of one's parents. And since its
11   adoption, the Supreme Court, Congress, and the Executive Branch have continuously affirmed
12   its foundational principle that birth in the United States confers citizenship, with all its benefits
13   and privileges.
14             President Trump and the federal government now seek to impose a modem version of
15   Died Scott. But nothing in the Constitution grants the President, federal agencies, or anyone else
16   authority to impose conditions on the grant of citizenship to individuals born in the United States.
17   The President's Executive Order of January 20, 2025-the Citizenship Stripping Order-
18   declares that children born to parents who are undocumented or who have lawful, but temporary,
19   status lack citizenship and directs federal agencies to deprive those individuals of their rights. It
20   is flatly contrary to the Fourteenth Amendment's text and history, century-old Supreme Court
21   precedent, longstanding Executive Branch interpretation, and the Immigration and Nationality
22   Act (INA). The Plaintiff States are therefore exceedingly likely to succeed on the merits of their
23   claims.
24             Absent an injunction, the Citizenship Stripping Order will cause substantial and
25   irreparable harm to the Plaintiff States and their residents. More than 150,000 newborn children
26   who are born each year in the United States will be denied citizenship under the Citizenship


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 1   Stripping Order because their parents are undocumented, more than 1,100 such children are born
2    in the Plaintiff States each month. These numbers represent only a conservative baseline because
 3   the Order also attempts to deny citizenship to children bom to parents with lawful, temporary
4    status. If implemented, the Citizenship Stripping Order will cause the Plaintiff States to lose
 5   substantial federal funds that are conditioned on their residents' citizenship and to incur
 6   immediate, substantial, and unbudgeted expenditures to implement the massive changes required
 7   to state programs and systems, none of which the Plaintiff States can recoup through this case or
 8   otherwise.
 9           The Plaintiff States will also suffer irreparable harm because thousands of children will
10   be born within their borders but denied full participation and opportunity in American society
11   and the Plaintiff States' communities. Children bom in the Plaintiff States will be rendered
12   undocumented, subject to removal or detention, and many left stateless. They will be denied
13   their right to travel freely and re-enter the United States, including the Plaintiff States. They will
14   lose their ability to obtain a Social Security number (SSN) and work lawfully in the Plaintiff
15   States as they grow up. They will be denied their right to vote, serve on juries, and run for certain
16   offices. And they will be placed into positions of instability and insecurity as part of a new,
17   Presidentially-created underclass in the United States.
18          In issuing the Temporary Restraining Order currently in place, the Court rightfully
19   recognized the blatant unlawfulness of the Citizenship Stripping Order and the grave harms it
20   will cause. ECF No. 43. A preliminary injunction is imperative to protect the Plaintiff States and
21   their public agencies, public programs, public fiscs, and state residents against the egregiously
22   illegal actions of the President and federal government. The Court should preliminarily enjoin
23   the implementation and enforcement of the Citizenship Stripping Order.
24

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 1                                      II.     BACKGROUND
2    A.     President Trump Issues the Citizenship Stripping Order on Day One of His
            Presidency
 3
            On January 20, 2025, President Trump issued an Executive Order entitled "Protecting
4
     the Meaning and Value of American Citizenship." ECF No. 1 112, Declaration of Lane Polozola,
 5
     Ex. 1. Section 1 of the Order declares that U.S. citizenship "does not automatically extend to
 6
     persons born in the United States" if (1) the individual's mother was "unlawfully present in the
 7
     United States and the father was not a United States citizen or lawful permanent resident at the
 8
     time of said person's birth", or (2) the "person's mother's presence in the United States at the
 9
     time of said person's birth was lawful but temporary ... and the father was not a United States
10
     citizen or lawful permanent resident at the time of said person's birth." Polozola Decl., Ex. l.
11
     Section 2 states that it is the "policy of the United States" that no department or agency of the
12
     federal government shall issue documents recognizing such persons as U.S. citizens or accept
13
     documents issued by State governments recognizing such persons as U.S. citizens. Id. This
14
     specific provision is effective for births occurring on or after February 19, 2025. Id. Section 3
15
     directs the Secretary of State, the Attorney General, the Secretary of Homeland Security, and the
16
     Commissioner of Social Security to "take all appropriate measures to ensure that the regulations
17
     and policies of their respective departments and agencies are consistent with this order," and
18
     mandates that officials cannot "act, or forbear from acting, in any manner inconsistent with this
19
     order." Id. Finally, the Order directs that "the heads of all executive departments and agencies
20
     shall issue public guidance within 30 days of the date of this order regarding this order's
21
     implementation with respect to their operations and activities." Id.
22
     B.     The Citizenship Stripping Order Will Immediately Disrupt Plaintiff States'
23          Programs and Upset the Lives of Hundreds of Thousands of Families
24          Citizenship confers the "right to full and equal status in our national community, a right
25   conferring benefits of inestimable value upon those who possess it." Fedorenko v. United States,
26   449 U.S. 490, 522 (1981) (Blackmun, J., concurring). At the highest level, "citizenship confers


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 1   legal, political, and social membership in the United States, thus creating paths to mobility."
2    Declaration of Caitlin Patler 11 9. It guarantees the opportunity to participate and belong in
 3   society-to live free from fear of deportation, vote, serve on a jury, and travel. ECF No. l W 55-
4    63, see Declaration of Mozhdeh Oskouian W 5-9, Declaration of David Baluarte 1111 12-15. It
 5   further provides the opportunity to achieve economic, health, and educational potential through
 6   the right to work legally and through eligibility for social supports, such as federally backed
 7   healthcare benefits, cash and food assistance during vulnerable times, and federal student
 8   financial aid. ECF No. l 1111 64-65, 71-90, Patler Decl. 111110-13, 16-22, Declaration of Tom
 9   Wong W 11-14, Declaration of Sarah Peterson W 5, 8-10.
10          By purporting to revoke birthright citizenship, the Citizenship Stripping Order seeks to
11   immediately deny these rights and benefits to more than 150,000 children bom each year in the
12   United States, condemning most to a life without authorized immigration status and some to
13   statelessness. ECF No. 1 113, Declaration of Shelley Lapkoff 1l1l 10, 16, Baluarte Decl. W 8-10,
14   Oskouian Decl. W 5-10. Instead of the right to full participation and belonging in their home
15   country-the United States-these children will be forced to live "in the shadow," under the
16   constant risk of deportation and unable to obtain work authorization as they grow up, interrupting
17   their "ability to count on the promise of the future." Patler Decl. W 20-21, see also ECF No. 1
18   W 56, 64-65, Oskouian Decl. W 5, 9-10, 12, Baluarte Decl. W 12-15.
19          "Denying birthright citizenship to children bom in the U.S. to undocumented parents will
20   create a permanent underclass of people who are excluded from U.S. citizenship and are thus not
21   able to realize their full potential." Wong Decl. 119. Indeed, the consequences will be severe and
22   long-lasting to the Plaintiff States and their communities, of which the children born under the
23   Order are a part. Undocumented students are less likely to complete high school or enroll in
24   higher education and will earn less at almost every stage of the lifetimes than their citizen
25   counterparts. ECF No. 1 1164, Patler Decl. W 10-12, Wong Decl. W 11-12, 14. They will be
26   more likely than their citizen peers to experience disease, depression, anxiety, and social


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 1   isolation. ECF No. 1 1] 64, Patter Decl. W 18-19, 22. Stated differently, "[b]irthright citizenship
2    is a cornerstone of the U.S. identity as a nation of immigrants, promoting social cohesion,
 3   opportunity, and mobility. Ending birthright citizenship would erode those principles and divide
4    our national community, creating and reinforcing vast inequality for generations to come." Patler
 5   Decl. 1127.
 6          The Citizenship Stripping Order will directly injure the Plaintiff States in other ways,
 7   too, including by directly reducing their federal funding through programs that the Plaintiff
 8   States administer, such as Medicaid, the Children's Health Insurance Program (CHIP), Title IV-
 9   E foster care and adoption assistance programs, and programs to facilitate streamlined issuance
10   of SSNs to eligible babies-among others. ECF No. l W 71-92, see Declaration of Charissa
11   Fotinos W 21-28, Declaration of Jenny Heddin 1111 11-21 , Declaration of Katherine Hutchinson
12   11119-13, Declaration of Jeffrey Tegen W 8-17, 21-26, Declaration of Krystal Colburn W 12-15,
13   Declaration of Nadine O'Leary W 19-22, Declaration of Jennifer Woodward 11 13, Declaration
14   of Aprille Flint-Gemer W 12-16, Declaration of Heidi Mueller W 16-30. In addition to these
15   direct and substantial financial losses, the Plaintiff States will also be required to immediately
16   begin modifying the funding, operational structure, and administration of large, statewide
17   programs to account for this change. ECF No. 1 W 93-101, Fotinos Decl. W 21-25, 28, Heddin
18   Decl. W 18-21, Hutchinson Decl. W 14-18, Tegen Decl. W 18-20, O'Leary Decl. W 7-13, 23,
19   Woodward Decl. W 14-18, Flint-Gerner Decl. W 16-18, Mueller Decl. W 31-39.
20                                        III.    ARGUMENT
21          A preliminary injunction is warranted where the moving party establishes that (1) it is
22   likely to succeed on the merits, (2) irreparable harm is likely absent preliminary relief, (3) the
23   balance of equities tips in the movant's favor, and (4) an injunction is in the public interest.
24   Winter v. Nat. Res. Def Council, Inc., 555 U.S. 7, 20 (2008). All factors strongly favor the
25   Plaintiff States here. The Court should enter a nationwide preliminary injunction to prevent the
26   cascade of irreparable and immediate harm that will follow if the Order is implemented.


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 1   A.     The Plaintiff States Have Standing to Challenge the Citizenship Stripping Order
2           The Plaintiff States have standing to obtain an injunction because the Citizenship
 3   Stripping Order harms both their sovereign and pecuniary interests. The Plaintiff States '
4    sovereign interests involve "the exercise of sovereign power over individuals and entities within

 5   the relevant jurisdiction." Aged L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S.
 6   592, 601 (1982). "[T]his involves the power to create and enforce a legal code, both civil and

 7   criminal." Id., see also Diamond v. Charles, 476 U.S. 54, 65 (1986) (the power to enforce a legal
 8   code "is one of the quintessential functions of a State," and gives the State a "direct stake     .in
 9   defending the standards embodied in that code") (cleaned up), "This interest is sufficient to
10   convey standing to ... challenge a federal [law] that preempts or nullifies state law."
11   Washington v. U.S. Food & Drug Admin., 108 F.4th 1163, 1176 (9th Cir. 2024).
12          Here, the Citizenship Stripping Order proclaims that thousands of the Plaintiff States'
13   residents are not subject to the jurisdiction of the United States. While that assertion is based on

14   a frivolous interpretation of the Fourteenth Amendment, see infra § III.B, if not enjoined the
15   Order would render these residents the legal equivalents of "foreign ministers" who enjoy
16   immunity from "national or municipal law." Schooner Exch. v. McFaddon, 11 U.S. 116, 138,
17   147 (1812), see also Davis v. Packard, 33 U.S. 312, 324 (1834) (affirming dismissal of civil suit
18   against diplomat whose status "exempted him from being sued in [New York] state court").
19   Because the Plaintiff States have a "'sovereign interest' in the retention of [their] authority" to
20   regulate individuals within their borders, they have standing to challenge the present attempt to

21   gut it. Washington, 108 F.4th at 1176 (quoting Snapp, 458 U.S. at 601).
22          Next, the Plaintiff States may seek redress for the direct and immediate economic and
23   administrative harms the Citizenship Stripping Order will impose. As the Supreme Court has
24   recognized, "[m]onetary costs are of course an injury[,]" United States v. Texas, 599 U.S. 670,
25   676 (2023), and such losses constitute "sufficiently concrete and imminent injury to satisfy
26   Article III," Dep 't of Com. v. New York, 588 U.S. 752, 767 (2019). Indeed, where the federal


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 1   government's action causes a direct reduction in the number of individuals a state entity serves-
2    and therefore a loss of revenue-the loss is unquestionably sufficient for standing. Bider v.
 3   Nebraska,       U.S.   1_ 1_ up
                                       143 S. Ct. 2355, 2365-66 (2023) (holding Missouri had standing to
4    challenge federal action cancelling student loans because state entity serviced loans under
 5   contract with the federal government and the state alleged the challenged action would cost it
 6   millions in fees "it otherwise would have earned under its contract"). The Ninth Circuit has
 7   likewise confirmed that states have standing to challenge unlawful federal action that will
 8   directly reduce the number of individuals eligible for federally backed programs like Medicaid.
 9   City & Cnty. of San Francisco v. U.S. Citizen & Immigr. Servs., 981 F.3d 742, 754 (9th Cir.
10   2020).
11            The Plaintiff States provide health, social, and administrative services to their residents
12   and will, as a result of the Order, lose substantial federal funds they currently receive. Thousands
13   of babies born each year will be impacted. At a minimum, there will be approximately 4,000 in
14   Washington, 5,200 in Illinois, 3,400 in Arizona, and 1,500 in Oregon. ECF No. l 113, Lapkoff
15   Decl. W 11-16. If denied citizenship, these children will no longer be eligible for programs the
16   Plaintiff States administer pursuant to federal law, including Medicaid, CHIP, and foster care
17   and adoption assistance programs. ECF No. l 111] 94-100, Fotinos Decl. 111] 21-28, Heddin Decl.
18   111] 6, 11-13, Tegen Decl. 111] 8-17, 23-25, Flint-Gerner Decl. 116, Mueller Decl. W 16-30. The
19   result is that the Plaintiff States will necessarily lose federal reimbursement dollars for services
20   provided through these programs. See Fotinos Decl. W 21-28 (Washington's Health Care
21   Authority (HCA) estimating likely loss of nearly $7 million per year if approximately 4,000
22   children become ineligible for Medicaid or CHIP coverage), Tegen Decl. W 23-25 (Arizona
23   Health Care Cost Containment System (AHCCCS) estimating expected reduction in federal
24   revenue to the state for medical care for children of $321,844,600 over the first 18 years of life
25   for the first cohort subject to the Order), Flint-Gerner Decl. W 12-14 (Oregon Department of
26   Human Services (ODHS) estimating that "even 45 fewer children being eligible for Title IV-E"


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 1   would reduce "Oregon's reimbursement by $3.4 million" and "even just eight fewer eligible
2    children per year equates to $596,850.49 in lost federal funding"), Heddin Decl. W 11-19
 3   (detailing how each loss of an eligible child will negatively impact Washington's foster care
4    reimbursements under Title IV-E), Mueller Decl. W 16-30 (same). These losses will further
 5   injure the Plaintiff States by harming children who are wards in their custody. See ECF No. l
 6   'w 89-90.
 7          The Plaintiff States will likewise suffer direct losses of federal reimbursements under the
 8   Social Security Administration's (SSA) longstanding Enumeration at Birth program. ECF No. 1
 9   W91-92, Hutchinson Decl. 11119-13 (detailing expected loss of$16,000 per year to Washington's
10   Department of Health (DOH) due to decrease in the number ofnewboms assigned SSNs at birth),
11   Colburn Decl. 1111 12-15 (revocation of birthright citizenship to children born in Arizona will
12   result in reduced EAB funding to the state), O'Leary Decl. W 19-22 (estimating loss to Illinois
13   of $21,788 to $38,129), Woodward Decl. W 12-13 (estimating loss to Oregon of more than
14   $7,230 per year).
15          If no preliminary injunction issues, the Plaintiff States also will suffer immediate and
16   significant operational disruptions and administrative burdens within state agencies and state-
17   run-healthcare facilities as they try to navigate the chaos and uncertainty the Citizenship
18   Stripping Order creates. ECF No. 1 W 93-101, see Declaration of Brian Reed 117 (detailing
19   disruptions to "services UW Medicine provides to newborns in the neonatal intensive care unit
20   (NICU)"), Fotinos Decl. W 25-28 (detailing HCA's need to develop extensive training and
21   guidance in response to a denial of birthright citizenship to children born in the United States,
22   which it estimates will require 7-8 FTEs and take two to three years to complete), Hutchinson
23   Decl. W 14- 18 (detailing Washington DOH's likely need to devote "substantial operational time,
24   manpower resources, and technological resources" to change Washington's vital records
25   system), Heddin Decl. W 20-21 (Washington's child-welfare agency will need to divert staff
26   resources from existing projects in order to amend and update processes related to Title IV-E


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 1   eligibility determinations and training), Tegen Decl. W 18-20 (estimating it will cost $2.3-4.4
2    million and require 12 months to update Arizona's three systems to determine eligibility for
 3   Medicaid coverage), O'Leary Decl. W 13, 23 (state-run healthcare facilities would incur new
4    administrative costs to implement new systems for registration of newborns), Flint-Gerner Decl.
 5   W 17-18 (identifying the "significant and costly administrative burden on [Oregon]" of
 6   developing a new system to determine the citizenship of children entering foster care system),
 7   Mueller Decl. W 31-39 (discussing the "immediate and detrimental effect on the operations and
 8   finances" of Illinois child welfare system). These harms and more are detailed below, and there
 9   is no doubt that they confer standing upon the Plaintiff States to challenge the Citizenship
10   Stripping Order.
11   B.     The Plaintiff States' Claims Are Likely to Succeed on the Merits Because Birthright
            Citizenship Is a Cornerstone of American Constitutional and Statutory Law That
12          Is Beyond Serious Dispute
13          The Plaintiff States will succeed on the merits because the Citizenship Stripping Order
14   unlawfully attempts to rob individuals born in the United States of their constitutionally
15   conferred and statutorily protected citizenship. A wall of Supreme Court, Ninth Circuit, and
16   Executive Branch authorities, as well as the INA, make clear that children born in the United
17   States in the coming weeks are citizens-just like all children born in the United States for more
18   than 150 years. The Court recognized this in issuing a TRO and should do so again by issuing a
19   preliminary injunction.
20          1.      Birthright Citizenship Is Enshrined in the Constitution
21          The meaning of the Fourteenth Amendment begins with the text. As the Supreme Court
22   has explained, "[t]he Constitution was written to be understood by the voters, its words and
23   phrases were used in their normal and ordinary as distinguished from technical meaning."
24   District of Columbia v. Heller, 554 U.S. 570, 576 (2008). The text is expressly broad: "All
25   persons born or naturalized in the United States, and subject to the jurisdiction thereof, are
26   citizens of the United States and of the State wherein they reside." U.S. Const. amend. XIV, § l


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 1   (emphasis added). The Citizenship Clause contains no exceptions based on the citizenship,
2    immigration status, or country of origin of one's parents. Rather, its only requirements are that
 3   an individual be bom "in the United States" and "subject to the jurisdiction thereof."
4              The only U.S.-born individuals excluded are those who are not subject to the jurisdiction
 5   of United States' law at birth-the children of diplomats covered by diplomatic immunity and
 6   children born to foreign armies at war against the United States on U.S. soil. Not excepted are
 7   children born in the United States, even if their parents are undocumented or here lawfully but
 8   on a temporary basis. They must comply with U.S. law, so too must their parents. Undocumented
 9   immigrants pay taxes, must register for the Selective Service, and must otherwise follow-and
10   are protected by-federal and state law just like anyone else within the United States' territorial
11   sweep. See Plyler v. Doe, 457 U.S. 202, 211 (1982) ("That a person's initial entry into a State,
12   or into the United States, was unlawful . .. cannot negate the simple fact of his presence within
13   the State's territorial perimeter. Given such presence, he is subject to the full range of obligations
14   imposed by the State's civil and criminal laws."). Indeed, it is absurd to suggest that
15   undocumented immigrants are somehow not subj ect to the jurisdiction of the United States. They
16   may be arrested and deported precisely because they are subject to the jurisdiction of the United
17   States.
18             The history of the Citizenship Clause confirms this longstanding, well-recognized
19   meaning of its plain language. Birthright citizenship stems from English common law's principle
20   ofjas soli-citizenship determined by birthplace. James C. Ho, Defining "American " Birthright
21   Citizenship and the Original Understanding of the 14th Amendment, 9 Green Bag 367, 369
22   (2006). In response to Dred Scott and the Civil War, Congress and the States adopted the
23   Fourteenth Amendment to reaffirm birthright citizenship as the law and "guarantee citizenship
24   to virtually everyone born in the United States," with only narrow exceptions. James C. Ho,
25   Birthright Citizenship, The Fourteenth Amendment, and State Authority, 42 U. Rich. L. Rev.
26   969, 971 (2008), see also Gabriel J. Chin & Paul Finkelman, Birthright Citizenship, Slave Trade


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 1   Legislation, and the Origins of Federal Immigration Regulation, 54 U.C. Davis L. Rev. 2215,
2    2227 (2021) ("Congress had indeed identified a category of people who were not allowed to be
 3   here, and who could be deported under federal law if found in the United States. Nevertheless,
4    through the Fourteenth Amendment, Congress made the children of illegally imported slaves
 5   and free blacks U.S. citizens ifbom in the United States."), Ho, Defining "American " Birthright
 6   Citizenship, supra at 369-72 (detailing ratification debate and concluding that "[t]ext and history
 7   confirm that the Citizenship Clause reaches all persons who are subject to U.S. jurisdiction and
 8   laws, regardless of race or alienable"), Garrett Epps, TNe Citizenship Clause: A "Legislative
 9   History," 60 Am. Univ. L. Rev. 331, 352-59 (2010) (detailing ratification debate), see also
10   Plyler, 457 U.S. at 214 ("Although the congressional debate concerning § 1 of the Fourteenth
11   Amendment was limited, that debate clearly confirms the understanding that the phrase 'within
12   its jurisdiction' was intended in a broad sense.").
13          This understanding of the Citizenship Clause is cemented by controlling U.S. Supreme
14   Court precedent which, more than 125 years ago, confirmed that the Fourteenth Amendment
15   guarantees citizenship to the children of immigrants bom in the United States. United States v.
16   Wong Kim Ark, 169 U.S. 649, 704 (1898). As the Supreme Court explained: "Every citizen or
17   subject of another country, while domiciled here, is within the allegiance and the protection, and
18   consequently subject to the jurisdiction, of the United States." Id. at 693 (emphasis added).
19   Consequently, the Court held that a child born in San Francisco to Chinese citizens, who could
20   not themselves become citizens, was an American citizen. Id. at 704. In reaching this conclusion,
21   the Court reasoned that the Fourteenth Amendment "affirms the ancient and fundamental rule of
22   citizenship by birth within the territory, in the allegiance and under the protection of the country,
23   including all children here born of resident aliens." Id. at 693 (emphasis added). The Court noted
24   that the only exclusions involved individuals who were not, in fact, subject to U.S. jurisdiction:
25   "children born of alien enemies in hostile occupation, and children of diplomatic representatives
26   of a foreign state[]-both of which .. . had been recognized exceptions to the fundamental rule


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 1   of citizenship by birth within the country.:ol Id. at 682. In language that remains apt, the Court
2    explained that the Citizenship Clause "is throughout affirmative and declaratory, intended to
 3   allay doubts and to settle controversies which had arisen, and not to impose any new restrictions
4    upon citizenship." Id. at 688.
 5            In addition to Wong Kim Ark, the Supreme Court has separately made clear that
 6   undocumented immigrants are "subject to the jurisdiction" of the United States. In Plyler v. Doe,
 7   the Court interpreted the Equal Protection Clause and explained that the term "within its
 8   jurisdiction" makes plain that "the Fourteenth Amendment extends to anyone, citizen or stranger,
 9   who is subject to the laws of a State, and reaches into every corner of a State's territory." 457
10   U.S. at 215. As the Court explained, "no plausible distinction with respect to Fourteenth
11   Amendment 'jurisdiction' can be drawn between resident aliens whose entry into the United
12   States was lawful, and resident aliens whose entry was unlawful." Id. at 211 n.l0. The Court
13   expressly confirmed that the phrases "within its jurisdiction" and "subject to the jurisdiction
14   thereof' in the first and second sentences of the Fourteenth Amendment have the same meaning.
15   Id.
16            These are merely the most notable examples of the judiciary's steadfast protection of the
17   Fourteenth Amendment's birthright-citizenship guarantee. The Supreme Court, the Ninth
18   Circuit, and other courts have repeatedly confirmed that individuals born in this country are
19   citizens subject to its jurisdiction regardless of their parents' status or country of origin. See, et. ,
20   INS v. Rios-Pineda, 471 U.S. 444, 446 (1985) (recognizing that child of two undocumented
21   immigrants "was a citizen of this country" by virtue of being "born in the United States"),
22   Perkins v. Elg, 307 U.S. 325, 328 (1939) ("[A] child bom here of alien parentage becomes a
23   citizen of the United States."). Indeed, during World War II, the Ninth Circuit affirmed a district
24   court's rejection of an attempt to strike from voter rolls 2,600 people of Japanese descent who
25
              1 Although the original understanding of the Fourteenth Amendment was that children born to tribal
     members are not subj ect to the United States' jurisdiction at birth, it is well established under a federal statute passed
26
     in 1924 that such children are granted U.S. citizenship at birth. See 8 U.S.C. § l40l(b).


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 1   were born in the United States. Regan v. King, 49 F. Supp. 222, 223 (N.D. Cal. 1942), aff'd, 134
2    F.2d 413 (9th Cir. 1943), cert. denied, 319 U.S. 753 (1943). As the district court explained, it
 3   was "unnecessary to discuss the arguments of counsel" challenging those individuals' citizenship
4    because it was "settled" that a child born "within the United States" is a U.S. citizen. Id. Even
 5   before Wong Kim Ark, the Ninth Circuit confirmed the same. Gee v. United States, 49 F. 146,
 6   148 (9th Cir. 1892) (Chinese exclusion laws "are inapplicable to a person born in this country,
 7   and subject to the jurisdiction of its government, even though his parents were not citizens, nor
 8   entitled to become citizens").2
 9           The Executive Branch, too, has long endorsed this understanding of the Citizenship
10   Clause. When the U.S. Department of Justice's Office of Legal Counsel (OLC) was asked in
11   1995 to assess the constitutionality of a bill that would deny citizenship to children unless a
12   parent was a citizen or permanent resident alien, OLC concluded that the "legislation is
13   unquestionably unconstitutional." Legislation Denying Citizenship at Birth to Certain Children
14   8orn in the United States, 19 Op. O.L.C. 340, 341 (1995). As OLC recognized, "Congress and
15   the States adopted the Fourteenth Amendment in order to place the right to citizenship based on
16   birth within the jurisdiction of the United States beyond question." Id. at 340. The phrase "subj ect
17   to the jurisdiction thereof," OLC explained, "was meant to reflect the existing common law
18   exception for discrete sets of persons who were deemed subject to a foreign sovereign and
19   immune from U.S. laws," such as "foreign diplomats." Id. at 342. OLC concluded: "Apart from
20   these extremely limited exceptions, there can be no question that children born in the United
21   States of aliens are subject to the full jurisdiction of the United States." Id. Thus, "as consistently
22   recognized by courts and Attorneys General for over a century, most notably by the Supreme
23

24
               2 Accord Chin v. United States, 43 App, D.C. 38, 42 (D.C. App. Ct. 1915) ("If it be true that Chin Wah
25   was bom of Chinese parents domiciled in California, and not employed in any diplomatic or official capacity, he
     became at his birth a citizen of the United States."), Moy Suey v. United States, 147 F. 697, 698 (7th Cir. 1906)
     ("Nativity gives citizenship, and is a right under the Constitution. It is a right that congress would be without
26
     constitutional power to curtail or give away.").


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 1   Court in United States v. Wong Kim Ark, there is no question that they possess constitutional
2    citizenship under the Fourteenth Amendment." Id.
 3          The Executive Branch has accepted this foundational understanding and built daily
4    government functions around the Citizenship Clause's plain meaning. For example, the U.S.
 5   Department of State is granted the authority under federal law to issue U.S. passports. 22 U.S.C.
 6   § 21 la. As explained in the State Department's Foreign Affairs Manual, "[a]ll children born in
 7   and subject, at the time of birth, to the jurisdiction of the United States acquire U.S. citizenship
 8   at birth even if their parents were in the United States illegally at the time of birth[.]" Polozola
 9   Decl., Ex. 4. The State Department's Application for a U.S. Passport confirms that for
10   "Applicants Born in the United States" a U.S. birth certificate alone is sufficient to prove one's
11   citizenship. Id., Ex. 5. And U.S. Citizenship and Immigration Services (USCIS) likewise
12   confirms in public guidance that "[i]f you were bom in the United States, you do not need to
13   apply to USCIS for any evidence of citizenship. Your birth certificate issued where you were
14   born is proof of your citizenship." Id., Ex. 6.
15          In short, with the stroke of a pen, the Citizenship Stripping Order seeks to overrule 150
16   years of consensus as to the Citizenship Clause's established meaning. But the Constitution does
17   not confer upon the President the authority to deny birthright citizenship to children born on
18   American soil. The Citizenship Stripping Order is unconstitutional, and the Plaintiff States are
19   overwhelmingly likely to succeed on the merits of their Fourteenth Amendment claim.
20          2.      Birthright Citizenship Is Protected Under the INA
21          The Plaintiff States are equally likely to prevail on their claim under the INA. That statute
22   faithfully tracks the Citizenship Clause's language, stating: "The following shall be nationals
23   and citizens of the United States at birth:[] a person born in the United States, and subject to the
24   jurisdiction thereof.]" 8 U.S.C. § l40l(a). Like any statute, it must be "interpret[ed] ... in
25   accord with the ordinary public meaning of its terms at the time of its enactment." Bostock v.
26   Clayton Cnty., 590 U.S. 644, 654 (2020). There is no doubt that the INA incorporates the


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 1   Citizenship Clause's broad grant of birthright citizenship. It uses identical language and the
2    legislative history confirms that it codified the Fourteenth Amendment's protections.3 See To
 3   Revise and Codyy the Nationality Laws of United States into a Comprehensive Nationality Code:
4    Hearings Before the Comm. on Immig. and Naturalization on H.R. 6127 Superseded by H.R.
 5   9980, 76th Cong., 1st Sess., at 38 (1940) (Section 201 language regarding citizenship at birth "is
 6   taken of course from the fourteenth amendment to the Constitution"), Nationality Laws of the
 7   United States, 76th Cong. 1st Sess., at 418 ("It accords with the provision in the fourteenth
 8   amendment to the Constitution[.]").4
 9            As a result, the INA incorporates the same bright-line and near-universal grant of
10   birthright citizenship as the Citizenship Clause itself. See George v. McDonough, 596 U.S. 740,
11   746 (2022) ("Where Congress employs a term of art obviously transplanted from another legal
12   source, it brings the old soil with it.") (cleaned up), Like the Citizenship Clause and Supreme
13   Court precedent interpreting it, the INA cannot be displaced by executive fiat. The Plaintiff
14   States are highly likely to succeed in showing that the Citizenship Stripping Order violates the
15   INA.
16   c.       The Citizenship Stripping Order Will Immediately and Irreparably Harm the
              Plaintiff States
17
              If not enjoined, the Citizenship Stripping Order will immediately and irreparably harm
18
     the Plaintiff States by injuring their sovereign interests and forcibly shifting unrecoverable
19
     financial costs and substantial administrative and operational burdens onto the Plaintiff States.
20
     Economic harm "is irreparable" when a state "will not be able to recover money damages,"
21
     Calzfornia v. Azan, 911 F.3d 558, 581 (9th Cir. 2018), including when money damages are not
22
     recoverable due to the sovereignty of the defendant, Idaho v. Coeur d'Alene Tribe, 794 F.3d
23

24            3 8 U.S.C. § 1401 was first enacted as Section 201 of the Nationality Act of 1940 and reenacted as Section
     301 of the Immigration and Nationality Act of 1952. See H.R. Rep. No. 82-1365 (1952), as reprinted in 1952
25   U.S.C.C.A.N. 1653, 1734 ("The bill carries forward substantially those provisions of the Nationality Act of 1940
     which prescribe who are citizens by birth."), id. at 1675-78 (1952 House Report discussing the Citizenship Clause
     as interpreted by Wong Kim Ark).
26
              4 Available at: https://babel.hathitrust.org/cgi/pt?id=mdp.39015019148942&seq=1.


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 1   1039, 1046 (9th Cir. 2015). And when "[t]he State will bear the administrative costs of changing
2    its system to comply" and is unlikely to recover those costs in litigation, the harm is irreparable.
 3   Ledbetter v. Baldwin, 479 U.S. 1309, 1310 (1986).
4           Under the new regime the Citizenship Stripping Order attempts to erect, the Plaintiff
 5   States will suffer irreparable and immediate harm to their public health programs. Medicaid and
 6   CHIP, created by federal law, support the Plaintiff States' provision of low-cost health insurance
 7   to individuals whose family incomes fall below eligibility thresholds and who are U.S. citizens
 8   or "qualified aliens." 42 U.S.C. § 1396b(v), 8 U.S.C. §§ 1611(a), (c)(1)(B), 42 C.F.R. § 435.406.
 9   The programs are administered by States but funded in part by the federal government. See
10   Fotinos Decl. W 4-7, 10-16. And under federal law, agencies like Washington's HCA must
11   provide Medicaid and CHIP coverage to citizens and qualified noncitizens whose citizenship or
12   qualifying immigration status is verified and who are otherwise eligible. Id. 11 17. To provide
13   legally mandated care, ensure that children within their jurisdiction have access to
14   comprehensive health insurance, and further the public health, certain states like Washington
15   also provide state-funded health insurance to undocumented children who otherwise are eligible
16   for Medicaid or CHIP. Id. W 4-5, 11-16, 23-24.
17          Washington's Medicaid and CHIP programs rely on significant federal funding to
18   operate-including federal reimbursements of between 50 and 65 percent of expenditures for
19   coverage provided to eligible children. Id. W 6, 14, 24, 26. In 2022, HCA administered coverage
20   for more than 4,000 children who, as citizens, were eligible for Medicaid or CHIP despite being
21   born to undocumented or non-qualifying mothers. Id. 1127. If those children were not citizens at
22   birth, they would be ineligible for Medicaid or CHIP and the cost of their care would shift to
23   Washington's state-funded CHP health coverage for children, resulting in an increase to State
24   expenditures of $6.9 million. Id. W 26-27. The Citizenship Stripping Order will impact at least
25   that many newborn children in Washington each year. Lapkoff Decl. 11 l l.
26


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 1           Nor can this harm be waved away as self-inflicted. These programs are established and
2    operated pursuant to federal law that dictates services states must provide. State providers like
 3   UW Medicine's Harborview hospital are required by federal law to provide emergency care.
4    Fotinos Decl. 1126, see 42 U.S.C. § 1395dd(b), 42 C.F.R. § 440.255(c). For children who would
 5   be eligible for CHIP but for their status, the State will necessarily lose the 65 percent federal
 6   reimbursement for emergency care that is provided. Fotinos Decl. 1126. Other Plaintiff States
 7   will similarly lose federal Medicaid and CHIP funding for babies stripped of citizenship. See
 8   Tegen Decl. W 23-25 (estimating that removal of birthright citizenship would reduce federal
 9   revenue to Arizona for medical care provided to children by $321,844,600 over the first 18 years
10   of life for the first cohort subject to the Order).
11           The Citizenship Stripping Order will likewise cause the direct loss of federal
12   reimbursements for services provided in state foster care systems. For example, Washington
13   State's Department of Children, Youth, and Families (DCYF), like other Plaintiff States' child
14   welfare agencies, receives federal Title IV-E funding for the administration of its foster care
15   program, including programs to support permanent placements and other critical functions.
16   Heddin Decl. 11114-10, Flint-Gerner Decl. W 4-11 (Oregon), Mueller Decl. W 16-30 (Illinois).
17   State reliance on Title IV-E is substantial: In federal financial year 2024, Washington received
18   $219 million in Title IV-E reimbursements. Heddin Decl. 1117. Under the Citizenship Stripping
19   Order, children born to undocumented parents will no longer be eligible under Title IV-E, the
20   Plaintiff States will thus bear the full cost of serving children in their foster care systems. Heddin
21   Decl. W 11-18, see also Flint-Gerner Decl. 1114 (estimating Oregon will lose $569,850 if even
22   eight children become ineligible and $3.4 million if even 45 children become ineligible under
23   Title IV-E), Mueller Decl. W 16-30 (detailing likely loss to Illinois of "significant share of
24   federal funds under Title IV-E").
25           The Plaintiff States will also face an immediate reduction in payments from SSA for
26   administration of the Enumeration at Birth program. Hutchinson Decl. 11 13, Colburn Decl.


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 1   111112-15, O'Leary Decl. W 19-22, Woodward Decl. W 12-13. Pursuant to contracts with SSA,
2    Plaintiff States' vital statistics agencies, like Washington's DOH, collect newborn birth data,
 3   format it, and transmit it to the SSA to facilitate the assignment of SSNs to newborn babies.
4    Hutchinson Decl. 11117-13. This is how almost all SSNs are assigned in the United States today.
 5   Id. 1110. In exchange, the SSA pays the State $4.19 for each SSN assigned through this process,
 6   for a total of nearly $440,000 per year. Id. 1112, see O'Leary Decl. 1119 (Illinois receives $4.19
 7   per SSN, for a total of just under $500,000 in FY 2025), Woodward Decl. 1112 (Oregon receives
 8   $4.82 per SSN, for a total of $158,381 in 2023), Colburn Decl. 1112 (Arizona received
 9   $936,469.38 for FY2025 through the EAB process). The loss of revenue will begin occurring
10   immediately if the Citizenship Stripping Order goes into effect and SSA ceases issuing SSNs to
11   children whose citizenship the federal government no longer recognizes.
12           Finally, the Plaintiff States' agencies will suffer additional immediate harms due to the
13   sudden and substantial new administrative and operational burdens created by the Order. The
14   Plaintiff States are required under federal law to verify the eligibility of the residents they serve
15   through programs like Medicaid and CHIP. Fotinos Decl. 111117-20, Tegen Decl. 1118. Likewise,
16   the Plaintiff States must confirm citizenship or a qualifying immigration status of children in
17   foster care to receive reimbursements under Title IV-E. Heddin Decl. 1120, Flint-Gerner Decl.
18   1117, Mueller Decl. 1131. State agencies that previously relied on a child's place of birth, birth
19   certificate, or SSN to automatically determine eligibility for federal programs will now be
20   required to create new systems to affirmatively determine the citizenship or immigration status
21   of every child born in their states to ascertain whether they are entitled to federally backed
22   services, as well as update policies, training, and guidance to operationalize these new systems.
23   See Fotinos Decl. 111125, 28 (necessary system changes for HCA would require 7-8 FTEs and
24   take two to three years), Tegen Decl. 1111 18-20 (cost of implementing necessary changes to
25   AHCCCS eligibility systems range from $2.3-4.4 million), see also Heddin Decl. 111120-21,
26   O'Leary Decl. 111113, 23, Flint-Gerner Decl. 111116-18, Mueller Decl. 111131-39.


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 1           In sum, the Plaintiff States will be forced to bear the costs of reforming their systems for
2    the administration of several programs due to the Citizenship Stripping Order. They will lose
 3   millions of dollars in federal reimbursements and be forced to expend significant resources
4    addressing the "chaotic" change the Citizenship Stripping Order requires. Hutchinson Decl. 11 16.
 5   These types of financial, operational, and administrative burdens, which cannot be avoided, are
 6   precisely the types of irreparable harm that warrant an injunction. See, et., City & Cnty. of Sari
 7   Francisco, 981 F.3d at 762 (affirming injunction where states showed "they likely are bearing
 8   and will continue to bear heavy financial costs because of withdrawal of immigrants from federal
 9   assistance programs and consequent dependence on state and local programs"), Ariz. Democratic
10   Party v. Hobbs, 976 F.3d 1081, 1084-86 (9th Cir. 2020) (entering emergency stay where sudden
11   election-law change would "send[] the State scrambling to implement and to administer a new
12   procedure" in less than two months), Doe v. Trump, 288 F. Supp. 3d 1045, 1083 (W.D. Wash.

13   2017) ("Throughout the time it will take [plaintiff organizations] to adequately build programs
14   to service other populations, the organizations will suffer irreparable harm.").
15   D.     The Equities and Public Interest Weigh Strongly in the Plaintiff States' Favor
16          The equities and public interest, which merge when the government is a party, could not
17   tip more sharply in favor of the Plaintiff States. Wolford v. Lopez, 116 F.4th 959, 976 (9th Cir.
18   2024). The Citizenship Stripping Order attempts to return our Nation to a reprehensible chapter
19   of American history when Died Scott excluded Black Americans from citizenship-a view of
20   citizenship soundly rejected by the people and their representatives through the Fourteenth
21   Amendment. See 19 Op. O.L.C. at 349 ("From our experience with Died Scott, we had learned
22   that our country should never again trust to judges or politicians the power to deprive from a
23   class born on our soil the right of citizenship."). The Court should not allow a return to a regime
24   where Americans born on United States soil are excluded from our citizenry based on their class,
25   race, status, or any other characteristic. This grave deprivation of rights belies any public interest
26   in the Order because "public interest concerns are implicated when a constitutional right has


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 1   been violated, .. . all citizens have a stake in upholding the Constitution." Betschart v. Oregon,
2    103 F.4th 607, 625 (9th Cir. 2024) (quotations omitted).
 3           The harms to Plaintiff States and their residents are not abstract. The Citizenship
4    Stripping Order deprives children born in the Plaintiff States of a foundational right enabling full
 5   participation in our democracy, as citizens may exercise their fundamental right to vote in
 6   federal, state, or local elections. U.S. Const. amend. XVI, ECF No. l 1157 (citing state
 7   constitutions). They may serve on federal and state juries. 28 U.S.C. § 1865(b)(1), ECF No. l
 8   1158 (citing state statutes). They may become the President, Vice President, or a member of
 9   Congress, and hold offices in the Plaintiff States. U.S. Const. art. II, § l, U.S. Const. art I, §§ 2-
10   3, ECF No. l 1161 (citing state laws). Children subject to the Citizenship Stripping Order will be
11   denied each of these rights and benefits they would have had if they were bom earlier.
12           The vast majority of those subject to the Order will be condemned to the additional harm
13   of living with undocumented legal status. Most of the babies denied citizenship will be left with
14   no legal immigration status and no prospects for legalization. Oskouian Decl. 11115-10. Children
15   left without legal status "will be at immediate risk of removal from the United States," including
16   "being at risk of being arrested and detained" during removal proceedings. Id. 119. Others will
17   likely become stateless, "left in legal limbo" with "no home country to return to voluntarily or
18   otherwise." Baluarte Decl. 11118-15. Statelessness would assign these children "a fate of ever-
19   increasing fear and distress." Trap v. Dulles, 356 U.S. 86, 102 (1958).
20           The harms of living in the United States without legal status are profound. One such harm
21   is the deprivation of one's fundamental right to travel: "Travel abroad, like travel within the
22   country ... may be as close to the heart of the individual as the choice of what he eats, or wears,
23   or reads. Freedom of movement is basic in our scheme of values." Aptheker v. Sec 'y of State,
24   378 U.S. 500, 505-506 (1964) (cleaned up). The Order deprives individuals of their right to travel
25   by denying eligibility to obtain a passport, 22 C.F.R. § 51.2, bars them from re-entry to the
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 1   United States, Oskouian Decl. 117, and makes them ineligible for identification needed for certain
2    domestic travel. Id. 11 II, 6 C.F.R. §§ 37.11(g), 37.5.
 3          Depriving children born and residing in the Plaintiff States of citizenship will further
4    harm their economic, educational, and mental health outcomes, depriving the Plaintiff States of
 5   the human capital and economic contribution that results from the full social and economic
 6   integration of youth into society. Without legal status, individuals have worse educational
 7   outcomes: One study found that undocumented immigrant youth had more than double the
 8   probability of high school non-completion, relative to U.S. citizens. Patler Decl. 11 10, see also
 9   Wong Decl. 1111 11-12 (finding 17.9% difference in unauthorized immigrants ages 18-24 with
10   high school diploma compared to citizens). There are multiple causes of the disparity in
11   education outcomes for undocumented students, including ineligibility for federal student
12   financial aid. 34 C.F.R. § 668.33(a), see also Patler Decl. 11 13 (institutional characteristics,
13   knowledge of future barriers, and feelings of despair and hopelessness also affect educational
14   trajectories). In addition, the impacts on eaming potential and mobility of undocumented status
15   are stark. Children left without lawful status due to the Order will not be eligible for employment
16   authorization. See 8 C.F.R. § 274a.12, Oskouian Decl. 1112, Baluarte Decl. 11 14. While citizens
17   and undocumented immigrants are both employed at similar rates, U.S. citizens earn
18   significantly more annual total income. Wong Decl. 1111 13-14, Patler Decl. 1110 n.1.
19          "[Ilmmigrant legal status is also a fundamental determinant of health." Patler Decl. 1117.
20   Children growing up undocumented experience "profound" health harms, "particularly with
21   regard to mental health and emotional wellbeing." Id. 1119. Barriers to health care, isolation and
22   stigma, exclusion from normal rites of passage in American life, and fear of deportation
23   contribute to undocumented individuals experiencing anxiety, chronic sadness, depression, and
24   hopelessness, as well as poorer physical health. Id. 111117-22. Furthermore, denial of critical cash
25   and food assistance to children who would have been eligible but for the Order will deprive them
26   of access to sufficient and healthy food and to shelter, warm clothing, and safety, "causing a


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 1   negative impact on children's health and risking increasing rates of child hunger." Peterson Decl.
2    111]7-10. An increase in the number of uninsured children will also exacerbate the harm to public
 3   health. Id. W 13-14, Fotinos Decl. 1124 (loss of federal eligibility for health coverage will "likely
4    result in a significant number of children who may go uninsured and receive only emergency
 5   care when absolutely necessary, leading to worse health outcomes").
 6           The Citizenship Stripping Order will additionally harm communities and civic life in the
 7   Plaintiff States. Threats to citizenship status trigger fear and cause young people to "distance
 8   themselves from their family, culture, and language[,]" and "[w]ithout lawful status, [young
 9   people] u .. cannot experience full belonging in U.S. culture and communities." Declaration of
10   Magaly Solis Chavez 11 12. That is because "citizenship confers legal, political, and social
11   membership in the United States," and is a "central determinant of immigrants' integration and
12   mobility." Patler Decl. W 9. "[D]enying citizenship to children born to undocumented parent(s)
13   would be catastrophically harmful for children's development, wellbeing, and mobility. These
14   harms would extend beyond the millions of impacted children themselves, impacting schools,
15   neighborhoods, communities and, indeed, our nation as a whole." Id. 11 27. The Citizenship
16   Stripping Order will create a permanent underclass of people excluded from American society,
17   impeding community integration, self-sufficiency, and a thriving democracy. See Baluarte Decl.
18   1115, Wong Decl. 118, Patler Decl. 11119, 27, Peterson Decl. 11117, 10, Solis Chavez Decl. 11117-12,

19   Oskouian Decl. 1114.
20           Finally, the federal government has no legitimate public interest in enforcing the
21   unlawful Citizenship Stripping Order. An executive order's "facially unconstitutional directives
22   and its coercive effects weigh heavily against leaving it in place." Santa Clara v. Trump, 250 F.
23   Supp. 3d 497, 539 (ND. Cal. 2017). The only justification offered is that the Citizenship
24   Stripping Order may deter unlawful immigration, a hypothetical rationale and political
25   motivation that can never justify an unlawful deprivation of constitutional rights. Indeed, the
26   entire point of the Citizenship Clause was to remove the weaponization of citizenship status as a


     PLAINTIFF STATES' MOTION FOR                       22              ATTORNEY GENERAL OF WASHINGTON
                                                                                Civil Rights Division
     PRELIMINARY INJUNCTION                                                  800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-CV-00127-JCC                                                  Seattle, WA 98104
                                                                                    (206) 464-7744
                                                                                      Supp.Add.147
          Case 2=z§%Sv9o8§28/9309*§5%%3?n81'l'Eé"Wt?%-J0889/921555 9344829 of 32




 1   policy tool. See 19 Op. O.L.C. at 347. The government has lawful means to effect immigration
2    policy. The Citizenship Stripping Order is not one of them.
 3   E.     A Nationwide Injunction Barring Implementation of the Citizenship Stripping
            Order Is Needed to Provide Complete Relief
4
            A nationwide injunction is necessary due to the extraordinary nature of the Citizenship
 5
     Stripping Order and the impossibility of fashioning an injunction of lesser scope that would
 6
     provide complete relief to the Plaintiff States. As the Ninth Circuit has explained, "[t]he scope
 7
     of an injunction is 'dependent as much on the equities of a given case as the substance of the
 8
     legal issues it presents,' and courts must tailor the scope 'to meet the exigencies of the particular
 9
     case."' Doe #I v. Trump, 957 F.3d 1050, 1069 (9th Cir. 2020) (quoting Azan, 911 F.3d at 584).
10
     Here, American citizenship cannot be made to hinge on the state in which a child is born without
11
     causing the Plaintiff States the harms detailed herein. If an injunction is limited in geographic
12
     scope, the Plaintiff States would suffer the same harms insofar as babies born in non-party states
13
     (who would otherwise have been citizens) travel or move to the Plaintiff States and obtain
14
     healthcare and foster care services at the Plaintiff States' expense. Expecting parents would be
15
     restricted from travel-essentially trapped in the Plaintiff States-rather than risk their baby's
16
     birth as a non-citizen in a different state. State-based citizenship would also be unworkable at
17
     airports and other international ports of entry, which are controlled by federal authorities and
18
     require uniform rules .
19
            In addition to these practical realities, the Supreme Court has acknowledged nationwide
20
     relief is necessary when "one branch of government [has] arrogated to itself power belonging to
21
     another." Biden, 143 S. Ct. at 2373 (reversing district court's refusal to issue preliminary
22
     injunction). The Citizenship Stripping Order's attempt to do precisely that-to unilaterally
23
     amend the Fourteenth Amendment and discard a federal statute-necessitates an injunction that
24
     preserves the status quo birthright citizenship guarantee as it has long existed: A uniform rule
25

26


     PLAINTIFF STATES' MOTION FOR                       23              ATTORNEY GENERAL OF WASHINGTON
                                                                                Civil Rights Division
     PRELIMINARY INJUNCTION                                                  800 Fifth Avenue, Suite 2000
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                                                                                    (206) 464-7744
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         Case 2=z§%Sv9o8§28/9309*§5%%3?n81'l'Eé"Wi=?%-J0889/921556 '3a4g3e630 of 32




 1   that draws no lines based upon the citizenship or immigration status of one's parents or the
2    location of one's birth within the United States.
 3                                       Iv.     CONCLUSION
4           Plaintiff States request that the Court issue a preliminary injunction barring the
 5   Citizenship Stripping Order's enforcement or implementation.
 6          DATED this 27th day of January 2025 .
 7                                                 NICHOLAS w. BROWN
                                                   Attorney General
 8
                                                   s/Lane M Polozola
 9                                                 COLLEEN M. MELODY, WSBA #42275
                                                   Civil Rights Division Chief
10                                                 LANE POLOZOLA, WSBA #50138
                                                   DANIEL J. JEON, WSBA #58087
11                                                 ALYSON DIMMITT GNAM, WSBA #48143
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16                                                 alyson.dimmittgnam@atg.wa.gov
17                                                 Attorneys for Plaint   State of Washington
18                                                 I certify that this memorandum contains 8395
                                                   words, in compliance with the Local Civil Rules.
19
                                                   KRIS MAYES
20                                                 Attorney General of Arizona
21                                                 s/Joshua Bendor
                                                   Joshua D. Bendor (AZ No. 03 1908)*
22                                                 Luci D. Davis (AZ No. 035347)*
                                                   Gabriela Monico Nunez (AZ No. 039652)*
23                                                 Office of the Arizona Attorney General
                                                   Firm State Bar No. 14000
24                                                 2005 N. Central Ave.
                                                   Phoenix, AZ 85004
25                                                 (602) 542-3333
                                                   Joshua.Bendor@azag.gov
26                                                 Luci.Davis@azag.gov

     PLAINTIFF STATES' MOTION FOR                        24           ATTORNEY GENERAL OF WASHINGTON
                                                                              Civil Rights Division
     PRELIMINARY INJUNCTION                                                800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-CV-00127-JCC                                                Seattle, WA 98104
                                                                                  (206) 464-7744
                                                                                    Supp.Add.149
        Case 2=z§%Sv9b8§28/93091§5%%3?n81'l'Eé"Wi=?%-J0889/921.557 9344831 of 32




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                                          ACL@azag.gov
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                                          Attorney General, State of lllinois
 5
                                          s/ Rebekah Newman
 6                                        REBEKAH NEWMAN, ARDC #6327372*
                                          Assistant Attorney General
 7                                        Special Litigation Bureau
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 9                                        Tel. (773) 590-6961
                                          rebekah.newman@ilag.gov
10
                                          *Pro hac vice
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12                                        DAN RAYFIELD
                                          Attorney General, State of Oregon
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                                          /s/ Carla A. Scott
14                                        CARLA A. SCOTT, WSBA #39947
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                                          Carla.A.Scott@doj .oregongov
18                                        Thomas.Caste11i@doj .oregongov
19                                        *Pro hac vice
                                          Attorneys for Plaint   State of Oregon
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     PLAINTIFF STATES' MOTION FOR            25              ATTORNEY GENERAL OF WASHINGTON
                                                                     Civil Rights Division
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                                                                         (206) 464-7744
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         Case 2=z§%Sv9o8§28/9309*§5%%3?n81'l'Eé"Wi=?%-J0889/921558 9344832 of 32




 1                                   CERTIFICATE OF SERVICE
2
            I hereby certify that the foregoing document was electronically filed with the United
 3
     State District Court using the CM/ECF system. I certify that all participants in the case are
4
     registered CM/ECF users and that service will be accomplished by the CM/ECF system.
 5

 6
     Dated this 27th day of January 2025 in Seattle, Washington.
 7
 8                                         s/ Tiphany Jennings
                                           Tiffany Jennings
 9                                         Paralegal
10
11
12
13
14
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     PLAINTIFF STATES' MOTION FOR                                     ATTORNEY GENERAL OF WASHINGTON
                                                                              Civil Rights Division
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                                                                                  (206) 464-7744
                                                                                    Supp.Add.151
             Case 238§8-881%9?a8¥!18'6%%3m'%'9Fé'l'Y 98d §88e/}Z'§,9 of.p4a38e 1 of 5




1                                                     The Honorable Judge John C. Coughenour
2
3
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6
7
                             UNITED STATES DISTRICT COURT
8                           WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
9
     STATE OF WASHINGTON; STATE OF                   NO. 2:25-cv-00127-JCC
10   ARIZONA; STATE OF ILLINOIS; and
     STATE OF OREGON,
11                                                   INDEX OF DECLARATIONS IN
                              Plaintiffs,            SUPPORT OF PLAINTIFF
12                                                   STATES' MOTION FOR
        v.                                           PRELIMINARY INJUNCTION
13
     DONALD TRUMP, in his official capacity
14   as President of the United States, U.S.
     DEPARTMENT OF HOMELAND
15   SECURITY; KRISTI NOEM, in her official
     capacity as Secretary of Homeland Security,
16   U.s. SOCIAL SECURITY
     ADMINISTRATION; MICHELLE KING,
17   in her official capacity as Acting
     Commissioner of the Social Security
18   Administration, U.S. DEPARTMENT OF
     STATE; MARCO RUBIO, in his official
19   capacity as Secretary of State, U.S.
     DEPARTMENT OF HEALTH AND
20   HUMAN SERVICES; DOROTHY PINK,
     in her official capacity as Acting Secretary
21   of Health and Human Services, U.S.
     DEPARTMENT OF JUSTICE; JAMES
22   MCHENRY, in his official capacity as
     Acting Attorney General, U.S.
23   DEPARTMENT OF AGRICULTURE;
     GARY WASHINGTON, in his official
24   capacity as Acting Secretary of Agriculture,
     and the UNITED STATES OF AMERICA,
25
                               Defendants .
26


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                                                                           (206) 464-7744
     CASE NO. 2:25-cv-00127-.ICC
                                                                             Supp.Add.152
          Case 238§8-881%9?a8¥!18'6%%3m'%'9Fé'l'Y 98d §?&e,P26.9 ofF>4a38e 2 of 5




 1       Declarations in Support of Plaintiff States' Motion for Preliminary Injunction
2
      ECF No.             Name                                      Title
 3

4                                               Managing Assistant Attorney General
         12           Lane Polozola               Wing Luke Civil Rights Division
5                                           Washington State Office of the Attorney General
 6
                                                         Senior Demographer
 7       13         Dr. Shelley Lapkoff           National Demographics Coiporation
8

9                                                     State Medicaid Director
         14        Dr. Charissa Fotinos         Washington State Health Care Authority
10
11                                                Deputy Secretary (`hief of Staff
         15            Jenny Heddie            Washington State Department of Children,
12                                                      Youth and Families

13
                                                     State Registrar and Office Director
14       16        Katherine Hutchinson                  Center for Health Statistics
                                                     Washington Department of Health
15
16                                            Service Line Administrator of Wolnen's and
         17             Briall Reed                       Children's Services
17                                                          UW Medicine
18
                                                          Associate Professor
19       18         Dr. Tom K. Wong           University of California, San Diego UJCSD)
20

21                                           Professor of Law and Senior Associate Dean for
         19          David C. Baluarte                      Academic Affairs
22                                                        CUNY School of Law
23
                                                  Associate Professor of Public Policy
24       20          Dr. Caitlin Patler            Goldman School of Public Policy
                                                   University of California, Berkeley
25

26


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                                                                              (206)464-7744
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          Case 2=9€§%-88199738818'6%%3m'%'9Fé'l'Y 98d 8?86/F2651 0f.F>4a38e 3 of 5




 1
      ECF No.            Name                                  Title
 2
 3
                                           Director of Washington's Office of Refugee and
4                                                       Inninigrant Assistance
         21         Sarah K. Peterson            Economic Services Administration
 5                                          Washington DepaMnent of Social and Health
                                                               Services
 6

 7       22        Magaly Solis Chavez
                                                        Executive Director
                                                         La Casa Hogan
 8

 9                                                  Chief Reporting Officer and
         24          Klystal Colburn                  Assistant State Registrar
10                                             Arizona Department of Health Services

11
                                                         Assistant Director
12
                                                 Division of Business and Finance
         25           Jeffrey Tegen            Arizona Health Care Cost Containment
13
                                                      System Administration
14

15                                                      Deputy State Registrar
         26          Nadine O'Lea1y                   Division of Vital Records
16                                              Illinois Depaitmeut of Public Health
17

18       27       Jennifer A. Woodward
                                                         State Registrar
                                                     Oregon Health Authority
19

20                                                           Director
         65        Aprille Flint-Gemer                Child Welfare Division
21                                             Oregon Department of Human Services

22
                                                              Director
23       66          Heidi E. Mueller        Illinois Department of Children and Family
                                                              Services
24

25                                                      Deputy Di1*ecto1°
         67         Mozhdeh Oskouiau
                                           Northwest Immigrant Rights Project (NWIRP)
26


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                                                                      Civil Rights Division
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                                                                         (206)464-7744
     CASE NO. 2:25-cv-00127-JCC
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         Case 2=9€§%-8819/7-38818'6%%3m'%'9Fé'l'Y 98d 888928 ofF>4a38e 4 of 5




1          DATED this 27th day of January 2025 .
2                                              NICHOLAS w. BROWN
                                               Attorney General
 3
                                               s/Lane M Polozola
4                                              COLLEEN M. MELODY, WSBA #42275
                                               Civil Rights Division Chief
 5                                             LANE POLOZOLA, WSBA #50138
                                               DANIEL J. JEON, WSBA #58087
 6                                             ALYSON DIMMITT GNAM, WSBA #48143
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12                                             Attorneys for Plaint   State of Washington
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                                               Attorney General of Arizona
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                                               s/Joshua Bendor
15                                             Joshua D. Bendor (AZ No. 03 1908)*
                                               Luci D. Davis (AZ No. 035347)*
16                                             Gabriela Monico Nunez (AZ No. 039652)*
                                               Office of the Arizona Attorney General
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20                                             Gabriela.MonicoNunez@azag.gov
                                               ACL@azag.gov
21
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23                                             KWAME RAOUL
                                               Attorney General, State of lllinois
24
                                               s/ Rebekah Newman
25                                             REBEKAH NEWMAN, ARDC #6327372*
                                               Assistant Attorney General
26                                             Special Litigation Bureau


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         Case 2=9€§%-8819/7-38818'6%%3m'%'9Fé'l'Y 98d 888%%9 ofF>4a38e 5 of 5




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                                         Tel. (773) 590-6961
 3                                       rebekah.newman@ilag.gov
4                                        *Pro hac vice
                                         Attorneys for Plaint   State of lllinois
 5
                                         DAN RAYFIELD
 6                                       Attorney General, State of Oregon
 7                                       /s/ Carla A. Scott
                                         CARLA A. SCOTT, WSBA #39947
 8                                       THOMAS H. CASTELLI, OSB #226448*
                                         Senior Assistant Attorneys General
 9                                       Oregon Department of Justice
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                                         (971) 673-1880
11                                       Carla.A.Scott@doj .oregongov
                                         Thomas.Caste11i@doj .oregongov
12
                                         *Pro hac vice
13                                       Attorneys for PIaint'State of Oregon
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             Case 2=9€§%-88199738818'6%%3m'%'9Fl'i'Y' 98d 88884 0f.p4a38e 1 of 4




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7
                             UNITED STATES DISTRICT COURT
8                           WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
9
     STATE OF WASHINGTON; STATE OF                      NO. 2:25-cv-00127
10   ARIZONA; STATE OF ILLINOIS; and
     STATE OF OREGON,
11                                                      DECLARATION OF LANE
                               Plaintiffs,              POLOZOLA IN SUPPORT OF
12                                                      PLAINTIFFS' MOTION FOR A
        v.                                              TEMPORARY RESTARAINING
13                                                      ORDER
     DONALD TRUMP, in his official capacity
14   as President of the United States, U.S.
     DEPARTMENT OF HOMELAND
15   SECURITY; BENJAMINE HUFFMAN, in
     his official capacity as Acting Secretary of
16   Homeland Security, U.S. SOCIAL
     SECURITY ADMINISTRATION;
17   MICHELLE KING, in her official capacity
     as Acting Commissioner of the Social
18   Security Administration, U.S.
     DEPARTMENT OF STATE; MARCO
19   RUBIO, in his official capacity as Secretary
     of State, U.S. DEPARTMENT OF
20   HEALTH AND HUMAN SERVICES;
     DOROTHY FINK, in her official capacity
21   as Acting Secretary of Health and Human
     Services, U.S. DEPARTMENT OF
22   JUSTICE; JAMES MCHENRY, in his
     official capacity as Acting Attorney
23   General, U.S. DEPARTMENT OF
     AGRICULTURE; GARY WASHINGTON,
24   in his official capacity as Acting Secretary
     of Agriculture, and the UNITED STATES
25   OF AMERICA,
26                             Defendants .


     DECLARATION OF LANE POLOZOLA                   1            ATTORNEY GENERAL OF WASHINGTON
                                                                         Civil Rights Division
     CASE NO. 2:25-cv-00127                                           800 Fifth Avenue, Suite 2000
                                                                          Seattle, WA 98104
                                                                             (206) 464-7744
                                                                               Supp.Add.157
          Case 2=9€§%-8819/7-38818'6%%3m'%'9Fl'i'Y' 98d 888823%5 ofF>4a38e 2 of 4




 1          I, Lane Polozola, declare as follows:
2           1.      I am over the age of 18, competent to testify as to the matters herein, and make
 3   this declaration based on my personal knowledge.
4           2.      I am a Managing Assistant Attorney General with the Wing Luke Civil Rights
 5   Division of the Washington State Office of the Attorney General. I am one of the attorneys
 6   representing Plaintiff State of Washington in the above-captioned matter.
 7          3.      The Plaintiff States in this matter filed this lawsuit today, January 21, 2025, and
 8   file their Motion for a Temporary Restraining Order concurrently herewith. The Motion seeks a
 9   Temporary Restraining Order to enjoin the President's Executive Order of January 20, 2025,
10   entitled "Protecting the Meaning and Value of American Citizenship."
11          4.      Pursuant to Federal Rule of Civil Procedure 65(b) and Western District of
12   Washington LCR 65(b)(l), counsel for the State of Washington called the office of the United
13   States Attorney for the Western District of Washington in advance of filing at 9:30am on January
14   21, 2025, to notify the office of the Plaintiffs' intention to file the Complaint and Motion for a
15   Temporary Restraining Order in the near term, and to note it for same-day hearing once filed.
16   Washington's counsel spoke with Joe Fonseca with the United States Attorneys' Office, Western
17   District of Washington. Counsel for Washington also emailed the United States Attorney for the
18   Western District of Washington and the Chief of the Civil Division, at 9:32am on January 21,
19   2025, to notify the office of Plaintiff States' intention to file the Complaint and Motion for a
20   Temporary Restraining Order in the near term. The Civil Chief let the State know that Brad
21   Rosenberg with the Civil Division's Federal Programs Branch would be the State's contact for
22   the case, and the State committed to send copies of the motion for Temporary Restraining Order
23   and all supporting papers via email once filed.
24          5.      Attached hereto as Exhibit 1 is a true and correct copy of the President Trump's
25   Executive Order, signed January 20, 2025, entitled "Protecting the Meaning and Value of
26   American Citizenship."


     DECLARATION OF LANE POLOZOLA                      2              ATTORNEY GENERAL OF WASHINGTON
                                                                              Civil Rights Division
     CASE NO. 2:25-cv-00127                                                800 Fifth Avenue, Suite 2000
                                                                               Seattle, WA 98104
                                                                                  (206) 464-7744
                                                                                    supp.Add.15a
           Case 2=9€§%-8819/7-38818'6%%3m'%'9Fl'i'Y' 98d 8888286 ofF>4a38e 3 of 4




 1          6.       Attached hereto as Exhibit 2 is a true and correct copy of the Agenda47: Day

2    One Executive Order Ending Citizenship for Children of lllegals and Outlawirig Birth Tourism,

 3   DonaldJTrump.com, dated May 30, 2023. This webpage was last accessed on January 21, 2025,

4    at          https://www.donaldjtrump.com/agenda47/agenda47-day-one-executive-order-ending-

 5   citizenship-for-children-of-i11egals-and-outlawing-birth-tourism.
 6          7.       Attached hereto as Exhibit 3 is a true and correct copy of an article by Tarini
 7   Parti and Michelle Hackman published in The Wall Street Journal, entitled, Trump Prepares for
 8   Legal Fight Over His 'Birthright Citizenship' Curbs (Dec. 8, 2024). This article was last
 9   accessed on January 21, 2025, at https://www.wsj.com/politics/policy/trump-birthrighb
10   citizenship-executive-order-battle-0900a291.
11          8,       Attached hereto as Exhibit 4 is a true and correct copy of the State Department's
12   Foreign Affairs Manual, 8FAM 301.1. This document was accessed on January 21, 2025, at
13   https://fam.state.gov/FAM /08FAM /08FAM030101.htmL
14          9.       Attached hereto as Exhibit 5 is a true and correct copy of the U.S. Department of
15   State's Application for A U.S. Passport Form, DS-11 04-2022 copy. This document was last
16   accessed on January 21, 2025, at https1//eforms.state.gov/Forms/ds11_pdf.pdf.
17          10.      Attached hereto as Exhibit 6 is a true and correct copy of I am a U.S. citizen:
18   How do Igetproof0fmy US. citizenshzp?, U.S. Citizenship and Immigration Services, M-560B
19   (October 2013) N copy. This document was last accessed on January 21, 2025, at
20   https://www.uscis.gov/sites/default/files/document/guides/A4en.pdf.

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22   ///

23   ///

24   ///

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     DECLARATION OF LANE POLOZOLA                     3              ATTORNEY GENERAL OF WASHINGTON
                                                                             Civil Rights Division
     CASE NO. 2:25-cv-00127                                               800 Fifth Avenue, Suite 2000
                                                                              Seattle, WA 98104
                                                                                 (206) 464-7744
                                                                                   Supp.Add.159
          Case 2=9€§%-8819/7-38818'6%%3m'%'9Fl'i'Y' 91-éd 888823%3 ofF>4a38e 4 of 4




 1          I declare under penalty of perjury under the laws of the State of Washington and the
2    United States of America that the foregoing is true and correct.
 3          DATED and SIGNED this 20th day of January 2025, at Seattle, Washington.
4
                                                  s/ Lane Polozola
 5                                                LANE POLOZOLA, WSBA #50138
                                                  Assistant Attorney General
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     DECLARATION OF LANE POLOZOLA                     4                 ATTORNEY GENERAL OF WASHINGTON
                                                                                Civil Rights Division
     CASE NO. 2:25-cv-00127                                                  800 Fifth Avenue, Suite 2000
                                                                                 Seattle, WA 98104
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                     POLOZOLA DECLARATION
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   AMER CAN C I ZENSH ]
                                                               EXECUTIVE ORDER


                                                                 January20, 2025




 By the authority vested in me as President by the Constitution and the laws of
 the United States of America, it is hereby ordered:
 Section 1. Purpose. The privilege of United States citizenship is a priceless and
 profound gift. The Fourteenth Amendment states: "All persons born or
 naturalized in the United States, and subject to the jurisdiction thereof, are
 citizens of the United States and of the State wherein they reside." That
 provision rightly repudiated the Supreme Court of the United States's shameful
 decision in Died Scott V. Sandford, 60 U.S. (19 How.) 393 (1857), which

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 misinterpreted the Constitution as permanently excluding people of African
 descent from eligibility for United States citizenship solely based on their race.
 But the Fourteenth Amendment has never been interpreted to extend
 citizenship universally to everyone born within the United States. The
 Fourteenth Amendment has always excluded from birthright citizenship
 persons who were born in the United States but not "subject to the jurisdiction
 thereof." Consistent with this understanding, the Congress has further
 specified through legislation that "a person born in the United States, and
 subject to the jurisdiction thereof" is a national and citizen of the United States
 at birth, 8 U.S.C. 1401, generally mirroring the Fourteenth Amendment's text.
 Among the categories of individuals born in the United States and not subject
 to the jurisdiction thereof, the privilege of United States citizenship does not
 automatically extend to persons born in the United States: (1) when that
 person's mother was unlawfully present in the United States and the father was
 not a United States citizen or lawful permanent resident at the time of said
 person's birth, or (2) when that person's mother's presence in the United States
 at the time of said person's birth was lawful but temporary (such as, but not
 limited to, visiting the United States under the auspices of the Visa Waiver
 Program or visiting on a student, work, or tourist visa) and the father was
 not a United States citizen or lawful permanent resident at the time of said
 person's birth.
 Sec. 2. Policy. (a) It is the policy of the United States that no department or
 agency of the United States government shall issue documents recognizing
 United States citizenship, or accept documents issued by State, local, or other
 governments or authorities purporting to recognize United States citizenship,
 to persons: (1) when that person's mother was unlawfully present in the United
 States and the person's father was not a United States citizen or lawful
 permanent resident at the time of said person's birth, or (2) when that person's
 mother's presence in the United States was lawful but temporary, and the


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 person's father was not a United States citizen or lawful permanent resident at
 the time of said person's birth.
 (b) Subsection (a) of this section shall apply only to persons who are born
 within the United States after 30 days from the date of this order.
 (c) Nothing in this order shall be construed to affect the entitlement of other
 individuals, including children of lawful permanent residents, to obtain
 documentation of their United States citizenship.
 Sec. 3. Enforcement. (a) The Secretary of State, the Attorney General, the
 Secretary of Homeland Security, and the Commissioner of Social Security shall
 take all appropriate measures to ensure that the regulations and policies of their
 respective departments and agencies are consistent with this order, and that no
 officers, employees, or agents of their respective departments and agencies
 act, or forbear from acting, in any manner inconsistent with this order.
 (b) The heads of all executive departments and agencies shall issue public
 guidance within 3O days of the date of this order regarding this order's
 implementation with respect to their operations and activities.
 Sec. 4. Definitions. As used in this order:
 (a) "Mother" means the immediate female biological progenitor.
 (b) "Father" means the immediate male biological progenitor.
 Sec. 5. General Provisions. (a) Nothing in this order shall be construed to
 impair or otherwise affect:
 (I) the authority granted by law to an executive department or agency, or the
 head thereof; or
 (ii) the functions of the Director of the Office of Management and Budget
 relating to budgetary, administrative, or legislative proposals.
 (b) This order shall be implemented consistent with applicable law and subject
 to the availability of appropriations.
 (c) This order is not intended to, and does not, create any right or benefit,
 substantive or procedural, enforceable at law or in equity by any party against


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 the United States, its departments, agencies, or entities, its officers, employees,
 or agents, or any other person.
 THE WHITE HOUSE,
    January 20, 2025.




                                                                       News

                                                              Administration

                                                                      Issues




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                                                            Washington, DC 20500




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            2024



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Agenda47: Day One Executive Order
Ending Citizenship for Children of
Illegals and Outlawing Birth Tourism
May 30, 2023

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 Agenda47: Day One Executive Order Ending Citizenship for Children of illegals a...




Mar-a-Lago, FL- In a new Agenda47 video, President Donald J. Trump announced
his plan to sign an executive order on Day One to end automatic citizenship for

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children of illegal aliens.

"As part of my plan to secure the border, on Day One of my new term in office, I will
sign an executive order making clear to federal agencies that under the correct
interpretation of the law, going forward, the future children of illegal aliens will not
receive automatic U.S. citizenship," President Trump said.

"My policy will choke off a major incentive for continued illegal immigration, deter
more migrants from coming, and encourage many of the aliens Joe Biden has
unlawfully let into our country to go back to their home countries."

PRESIDENT TRUMP'S PLAN TO DISCOURAGE ILLEGAL IMMIGRATION BY ENDING
AUTOMATIC CITIZENSHIP FOR THE CHILDREN OF ILLEGAL ALIENS AND
OUTLAWING BIRTH TOURISM

A DAY-ONE EXECUTIVE ORDER TO SHUT OFF A MAGNET FOR ILLEGAL
IMMIGRATION:

- On Day One, President Trump will sign an Executive Order to stop federal agencies
from granting automatic U.S. citizenship to the children of illegal aliens.

- It will explain the clear meaning of the 14th Amendment, that U.S. Citizenship
extends only to those both born in AND "subject to the jurisdiction" of the United
States.

- It will make clear that going forward, the children of illegal aliens will not be granted
automatic citizenship, and should not be issued passports, Social Security numbers,
or be eligible for certain taxpayer funded welfare benefits.

- It will direct federal agencies to require that at least one parent be a U.S. citizen or
lawful permanent resident for their future children to become automatic U.S.
citizens.

- This Executive Order ending automatic citizenship for the children of illegal aliens
will eliminate a major incentive for illegal immigration, discourage future waves of
illegal immigration to exploit this misapplication of citizenship, and encourage illegal
aliens in the U.S. to return home.


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 The Executive Order will also stop "Birth Tourism.H

- Through "Birth Tourism," tens of thousands of foreign nationals fraudulently enter
the U.S. each year during the final weeks of their pregnancies for the sole purpose of
obtaining U.S. citizenship for their child.

- Under the current erroneous interpretation, the children of these foreign nationals
are then eligible to receive a host of government benefits reserved for U.S. citizens,
including a myriad of welfare programs and taxpayer funded healthcare, as well as
chain migration and the right to vote.

- The Executive Order is part of a larger strategy to fully secure the Southern Border
starting on Day One. It will remove a major incentive for illegal aliens and other
foreign nationals to come to and remain in the United States in violation of our laws
and National sovereignty.

- The announcement of today's Executive Order follows a historical slate of hundreds
of executive actions, proclamations, and presidential memorandums on border
security and immigration that President Trump implemented while in office to
remake the immigration system in the United States for the interest of the American
people, including:

 Executive Order Implementing the Travel Ban and Pausing Refugee Admissions

 Executive Order on Border Security and Immigration Enforcement

 Presidential Memorandum on the Extreme Vetting of Foreign Nationals

 Presidential Memorandum to Create a National Vetting Center

 Executive Order to Unleash Interior Immigration Enforcement

 Executive Order to Block Federal Grants to Sanctuary Cities

- Presidential Memorandum Ordering DHS to Train National Guard Troops to Assist
with Border Enforcement

 Presidential Memorandum to End "catch and release" at the Border

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- Presidential Proclamation Suspending Entry Across Southern Border Outside Ports
of Entry to Bar Asylum Access

- Executive Order requiring the U.S. Government to Prioritize the Hiring of U.S.
Workers in the Administration of all Immigration Programs

- Executive Order on Aligning Federal Contracting and Hiring Practices with the
Interests of American Workers

- Presidential Proclamation Suspending Chain Migration, Visa Lottery, and All Non-
Essential Foreign Workers

- Presidential Proclamation on Suspension of Entry of Immigrants Who Will
Financially Burden the United States Healthcare System

 Presidential Memorandum to Cut Off Immigrant Access to the Welfare State

PRESIDENT TRUMP'S EXECUTIVE ORDER WILL FINALLY ENSURE THAT THE
FEDERAL GOVERNMENT NO LONGER ADHERES TO A PATENTLY INCORRECT
INTERPRETATION OF THE 14TH AMENDMENT:

- Constitutional scholars have shown for decades that granting automatic citizenship
to the children of illegal aliens born in the United States is based on a patently
incorrect interpretation of the 4th Amendment.

 The 14th Amendment extends federal citizenship to "[a]ll persons born or
naturalized in the United States, and subject to the jurisdiction thereof."

- The purpose of the 4th Amendment had nothing to do with the citizenship of
immigrants, let alone the citizenship of the children of illegal aliens. Its purpose was
to extend citizenship to people newly freed from slavery, whose status was left in
question after the infamous case Dred Scott v. Sandford.

- The framers of the l4tn Amendment made clear that "persons born in the United
States who are foreigners, aliens [or] who belong to the families of ambassadors or
foreign ministers" are not "subject to the jurisdiction" of the U.S.




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- For years, open-borders proponents have deliberately misinterpreted "subject to
the jurisdiction" in the 4th Amendment to mean merely subject to American law,
which is the case for anyone physically present in the United States.

- This twisting of the amendment's meaning and intent has caused America to
become one of the few countries in the world to extend citizenship to the children of
illegal aliens even if both parents are not citizens nor even legally present in the
United States, thus diluting the privileges that Americans are entitled to.

BIDEN'S OPEN BORDER POLICY IS A NATIONAL SECURITY, ECONOMIC, AND
HUMANITARIAN DISASTER:

- A record number of illegal aliens crossed the southern border in both 2021 and
2022. In the official numbers alone, there have been over 6.6 million illegal crossings
since Biden took office-but the true numbers are much higher.

- Bider has deliberately made his border disaster worse by abolishing Title 42 this
month, allowing for an additional 400,000 illegal aliens from all corners of the globe
to pour across our border each month.

- This invasion is wasting our resources, lowering our citizens' wages, poisoning our
communities with lethal drugs, and threatening our national security.

- Illegal immigration reduces American workers' wages by $99 to $118 billion each
year, with the burden falling most heavily on low-wage workers.

- Thousands of pounds of deadly drugs are pouring across our borders, poisoning
over l00,000 of our citizens each year. Fueled in large part by E3iden's border disaster,
fentanyl poisoning has become the leading cause ofdeatn for Americans between
the ages ofl8 and 45.

- Nearlyloo known or suspected terrorists were arrested at the border last year-
more than three times the total for the previous five years combined. Border arrests
of illegal alien murderers increased by over 1,900% and arrests of illegal alien drug
traffickers increased by 480% since 2020.

- E3iden's open border policy has also created a humanitarian crisis, with migrant
deaths reaching a record high last year and human smuggling arrests up 82% since

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TRANSCRIPT


Joe Bider has launched an illegal foreign invasion of our country allowing a record
number of illegal aliens to storm across our borders. From all over the world, they
came. Under E3iden's current policies even though these millions of illegal border
crossers have entered the country unlawfully, all of their future children will become
automatic U.S. citizens. Can you imagine?

They'll be eligible for welfare, taxpayer-funded healthcare, the right to vote, chain
migration, and countless other government benefits, many of which will also profit
the illegal alien parents. This policy is a reward for breaking the laws of the United
States and is obviously a magnet, helping draw the flood of illegals across our
borders.

They come by the millions and millions and millions. They come from mental
institutions, they come from jails- prisoners, some of the toughest, meanest people
you'll ever see. The United States is among the only countries in the world that says
that even if neither parent is a citizen nor even lawfully in the country, their future
children are automatic citizens the moment the parents trespass onto our soil. As
has been laid out by many scholars, this current policy is based on a historical myth,
and a willful misinterpretation of the law by the open borders advocates. There aren't
that many of them around.

It's an amazing. Who wants this? Who wants to have prisoners coming into our
country? Who wants to have people who are very sick coming into our country?
People from mental institutions coming into our country? And come they will,
they're coming by the thousands, by the tens of thousands.

As part of my plan to secure the border on Day One of my new term in office, I will
sign an executive order making clear to federal agencies that under the correct
interpretation of the law, going forward, the future children of illegal aliens will not
receive automatic U.S. citizenship. It's things like this that bring millions of people to
our country, and they enter our country illegally. My policy will choke off a major
incentive for continued illegal immigration, deter more migrants from coming, and
encourage many of the aliens Joe Biden has unlawfully let into our country to go
back to their home countries.

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They must go back. Nobody could afford this. Nobody could do this. And even
morally it's so wrong. My order will also end their unfair practice known as birth
tourism, where hundreds of thousands of people from all over the planet squat in
hotels for their last few weeks of pregnancy to illegitimately and illegally obtain US
citizenship for the child, often to later exploit chain migration to jump the line and
get green cards for themselves and their family members.

It's a practice that's so horrible, and so egregious, but we let it go forward. At least
one parent will have to be a citizen or a legal resident in order to qualify. We will
secure our borders and we will restore our sovereignty. Starting on Day One, our
country will be great again. Our country will be a country again. We'll have borders,
we'll have proper education, and we'll put America First.

Thank you.




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                  POLOZOLA DECLARATION
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https://www.wsj.com/politics/policy/trump-birthright-citizenship-executive-order-battle-O900a291




           POLITICS I POLICY



           Trump Prepares for Legal Fight ()ver
           His 'Birthright Citizenship' Curbs
           Many constitutional scholars and civil-rights groups have said a change
           can't be done through executive action

           By TariniParti [ Follow arzdMicheIIe Hackman Follow al               [



           Updated Dec. 8, 2024 9:16pm ET




           People riding the ferry to Ellis Island for a naturalization ceremony pass the Statue of Liberty. PHOTO;
           ALEX KENT/AFP/GETTY IMAGES


           WASHInGTOn-president-elect Donald Trump's transition team is drafting
           several versions of his long-promised executive order to curtail automatic
           citizenship for anyone born in the U.S., according to people familiar with the
           matter, as his aides prepare for an expanded legal fight.


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Trump, who has railed against so-called birthright citizenship for years, said
during his first term that he was planning an executive order that would outright
ban it. Such an order was never signed, but the issue remained a focus of
Trump's immigration proposals during his re-election campaign. He has said he
would tackle the issue in an executive order on day one of his second term.

Weeks before he takes office, Trump's transition team is now considering how
far to push the scope of such an order, knowing it would almost immediately be
challenged in court, according to a transition official and others familiar with the
matter. The eventual order is expected to focus on changing the requirements
for documents issued by federal agencies that verify citizenship, such as a
passport.

Through an executive order or the agency rule-making process, Trump is also
expected to take steps to deter what Trump allies call "birth tourism," in which
pregnant women travel to the U.S. to have children, who receive the benefit of
citizenship. One option on the table is to tighten the criteria to qualify for a
tourist visa, according to people familiar with the Trump team's thinking.
Tourist visas are most often issued for a period of 10 years, though the tourist
can't stay in the U.S. on each visit for longer than six months.




President-elect Donald Trump has said he would tackle birthright citizenship in an executive order on
day one of his second term. PHOTO; OLIVIERTOURON/AFP/GETTY IMAGES


Karoline Leavitt, a spokeswoman for the Trump transition, said the president-
elect "will use every lever of power to deliver on his promises, and fix our broken
immigration system once and for all."

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Some on the right have backed Trump's plans and argued that birthright
citizenship is a misinterpretation of the l4th amendment, which dates back to
the l9th century and in part granted full citizenship to former slaves. They have
also criticized birth tourism. Companies in China have attracted attention in
recent years for advertising such services, and airlines in Asia even started
turning away some pregnant passengers they suspected of traveling to give
birth.

"Because you happen to be in this country when your child is born, is not a
reason for that child to be a U.S. citizen. It's just silly, and the reliance on it in law
is utterly misplaced," said Ken Cuccinelli, a senior fellow at the Center for
Renewing America, a pro-Trump think tank, who previously served as deputy
secretary of Homeland Security.

Many constitutional scholars and civil-rights groups have said a change to
birthright citizenship can't be done through executive action and would require
amending the Constitution-a rare and difficult process. The most recent
amendment was ratified in 1992, more than 200 years after it was first proposed.

Trump on the campaign trail this year offered more details on what executive
action related to birthright citizenship could include compared with his first
term, a change that some backers took as an indication that he is more willing to
act on the issue.

Trump said he would sign a "day one" executive order directing federal agencies
to require a child to have at least one parent be either a U.S. citizen or legal
permanent resident to automatically become a U.S. citizen. It would also stop
agencies from issuing passports, Social Security numbers and other welfare
benefits to children who don't meet the new requirement for citizenship, the
president-elect's campaign had said.

"My policy will choke off a major incentive for continued illegal immigration,
deter more migrants from coming, and encourage many of the aliens Joe Biden
has unlawfully let into our country to go back to their home countries," Trump
said in a campaign video.

But the requirement that at least one parent be a U.S. citizen or legal permanent
resident would also affect children born to parents who immigrated legally

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through visas, excluding them from automatic citizenship.

"The new piece of it is them talking publicly about the mechanism they might try
to use to operationalize this unconstitutional plan," said Omar Jadwat, director
of the American Civil Liberties Union's Immigrants' Rights Project. "They just
can't do that consistent with the constitution."

                                                "Litigation is definitely going to
                                                follow," he added.

                                                The Supreme Court affirmed
                                                birthright citizenship in its 1898
                                                ruling in U.S. v. Wong Kim Ark. But
                                                critics of automatic citizenship
                                                argue Trump's proposed
                                                citizenship restrictions would be
                                                different from that case, which
                                                involved a child born to Chinese
                                                parents who were legal permanent
                                                residents in the U.S.

                                                Trump's allies say a legal fight that
Portrait of Wong Kim Ark, whose case affirmed
                                                makes its way to the Supreme
birthright citizenship. PHOTO; NATIONAL
ARCHIVES/GETTY IMAGES                           Court is the point of the executive
                                                order.

"Force the issue and see what happens," said Mark Krikorian, executive director
for the Center for Immigration Studies, a group favoring immigration
restrictions that was close to Trump's first administration. Even with the court's
conservative majority, Krikorian isn't optimistic about Trump's chances.

"I think they'll probably uphold the current interpretation of the l4th
Amendment," he said. "They're going to want to start that court fight as soon as
possible to see if they can see it through to the end before the administration
ends," he said.

Write to Tarini Patti at tarini.parti@wsj.com and Michelle Hackman at
miche11e.hackman@wsj.com


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Appeared in the December 9, 2024, print edition as 'Trump Set to Target 'Birthright' Citizens'

Videos




WSJ Opinion: Hits and                 WSJ Opinion: The              WSJ Opinion: Biden Goes
Misses of the Week                    Wildfires Reckoning           Out Kicking
                                      Arrives




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                26 Thoughtful Valentine's Day Gifts



                BANKING
                How to Choose the Best High-yield Savings Account for You



                BANKING
                Here Are Today's Best CD Rates




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               BANKING

               These Savings Accounts Pay Over 4% and Still Let You Write Checks



               BANKING
               The Best Savings Accounts Pay More than 5%-12 Times the National
               Average


               PERSONAL LOANS

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Ivanka Trump Says She Moved to $24M Miami Mansion To Protect Kids From 'Darkness' of Politics




Michelle Obama Confirms She Will Skip Inauguration as She Vanishes From Public Life




Melania Trump Hits Out at the Obamas Over 'Challenging' White House Move




Miami Beach Wants To Be the Next 'Blue Zone'-How Will It Get There?




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                     POLOZOLA DECLARATION
                                                          EXHIBIT 4




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                                UNCLASSIFIED (U)


                      8 FAM 300
               u.s. CITIZENSHIP AND
                    NATIONALITY
                           8 FAM 301
                       u.s. CITIZENSHIP
                               8 FAM 301.1
   ACQUISITION BY BIRTH IN THE UNITED
                                    STATES
                            (CT: CITZ-50; 01 -21 -2021)
                           (Office of Origin: CA/PPT/S/A)


8 FAM 301.1-1 INTRODUCTION
(cT:c1Tz-50;    01-21-2021)
a. U.S. citizenship may be acquired either at birth or through naturalization
   subsequent to birth. U.S. laws governing the acquisition of citizenship at birth
   embody two legal principles:
   (1) Jus soli (the law of the soil) - a rule of common law under which the place
         of a person's birth determines citizenship. In addition to common law,
         this principle is embodied in the 14th Amendment to the U.S. Constitution
         and the various U.S. citizenship and nationality statutes, and
   (2) Jus sanguinis (the law of the bloodline) - a concept of Roman or civil law
         under which a person's citizenship is determined by the citizenship of one
         or both parents. This rule, frequently called "citizenship by descent" or
         "derivative citizenship", is not embodied in the U.S. Constitution, but such
         citizenship is granted through statute. As U.S. laws have changed, the
         requirements for conferring and retaining derivative citizenship have also
         changed.
b. National vs. citizen: While most people and countries use the terms
   "citizenship" and "nationality" interchangeably, U.S. law differentiates between
   the two. Under current law all U.S. citizens are also U.S. nationals, but not all



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   U.S. nationals are U.S. citizens. The term "national of the United States", as
   defined by statute (INA 101 (a)(22) (8 U.S.C. 1101(a)(22)) includes all
    citizens of the United States, and other persons who owe allegiance to the
   United States but who have not been granted the privilege of citizenship:
   (1) Nationals of the United States who are not citizens owe allegiance to the
         United States and are entitled to the consular protection of the United
         States when abroad, and to U.S. documentation, such as U.S. passports
          with appropriate endorsements. They are not entitled to voting
         representation in Congress and, under most state laws, are not entitled to
         vote in Federal, State, or local elections except in their place of birth.
         (See 7 FAM 012 and 7 FAM 1300 Appendix B Endorsement 09.);
   (2) Historically, Congress, through statutes, granted U.S. non-citizen
         nationality to persons born or inhabiting territory acquired by the United
         States through conquest or treaty. At one time or other natives and
         certain other residents of Puerto Rico, the U.S. Virgin Islands, the
         Philippines, Guam, and the Panama Canal Zone were U.S. non-citizen
         nationals. (See 7 FAM 1120 and 7 FAM 1100 Appendix P.);
   (3) Under current law, only persons born in American Samoa and Swains
         Island are U.S. non-citizen nationals (INA 101(a)(29) (8 U.S.C. 1101(a)
         (29) and INA 308(1) (8 U.S.C. 1408)). (See 7 FAM 1125.); and
   (4) See 7 FAM 1126 regarding the citizenship/nationality status of persons
         born on the Commonwealth of the Northern Mariana Islands (CNMI).
c. Naturalization - Acquisition of U.S. Citizenship Subsequent to Birth :
   Naturalization is "the conferring of nationality of a State upon a person after
   birth, by any means whatsoever" (INA 101(a)(23) (8 U.S.C. 1101(a)(23)) or
    conferring of citizenship upon a person (see INA 310, 8 u.s.c. 1421 and INA
    311, 8 u.s.c. 1422). Naturalization can be granted automatically or pursuant
   to an application. (See 7 FAM 1140.)
d. "Subject to the Jurisdiction of the United States": All children born in and
   subject, at the time of birth, to the jurisdiction of the United States acquire
   U.S. citizenship at birth even if their parents were in the United States illegally
   at the time of birth :
   (1) The U.S. Supreme Court examined at length the theories and legal
         precedents on which the U.S. citizenship laws are based in U.S. V. Wong
         Kim Ark, 169 U.S. 649 (1898). In particular, the Court discussed the
         types of persons who are subject to U.S. jurisdiction. The Court affirmed
         that a child born in the United States to Chinese parents acquired U.S.
         citizenship even though the parents were, at the time, racially ineligible
         for naturalization,
   (2) The Court also concluded that: "The 14th Amendment affirms the ancient
         and fundamental rule of citizenship by birth within the territory, in the
         allegiance and under the protection of the country, including children here
         born of resident aliens, with the exceptions or qualifications (as old as the
         rule itself) of children of foreign sovereigns or their ministers, or born on



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       foreign public ships, or of enemies within and during a hostile occupation
       of part of our territory, and with the single additional exception of children
       of members of the Indian tribes owing direct allegiance to their several
       tribes. The Amendment, in clear words and in manifest intent, includes
       the children born within the territory of the United States, of all other
       persons, of whatever race or color, domiciled within the United States."
       Pursuant to this ruling:
       (a) Acquisition of U.S. citizenship generally is not affected by the fact
            that the parents may be in the United States temporarily or illegally;
            and that; and
       (b) A child born in an immigration detention center physically located in
            the United States is considered to have been born in the United
            States and be subject to its jurisdiction. This is so even if the child's
            parents have not been legally admitted to the United States and, for
            immigration purposes, may be viewed as not being in the United
            States.


8 FAM 301.1-2 WHAT IS BIRTH "IN THE UNITED
STATES"?
(CTJCITZ-45; 12-09-2020)
a. INA 101(a)(38) (8 U.S.C. 1101 (a)(38)) provides that "the term 'United
   States,' when used in a geographical sense, means the continental United
   States, Alaska, Hawaii, Puerto Rico, Guam, and the Virgin Islands of the
   United States."
b. On November 3, 1986, Public Law 94-241, "approving the Covenant to
   Establish a Commonwealth of the Northern Mariana Islands in Political Union
    with the United States of America", (Section 506(c)),took effect. From that
   point on, the Northern Mariana Islands have been treated as part of the
   United States for the purposes of INA 301 (8 u.s.c. 1401) and INA 308 (8
   u.s.c. 1408) (see 8 FAM 302.1)
c. The Nationality Act of 1940 (NA), Section 101(d) (54 Statutes at Large 1172)
   (effective January 13, 1941 until December 23, 1952) provided that "the term
   'United States' when used in a geographical sense means the continental
   United States, Alaska, Hawaii, Puerto Rico, and the Virgin Islands of the
   United States." The 1940 Act did not include Guam or the Northern Mariana
   Islands as coming within the definition of "United States."
   See the text of the 1940 Act on the Intranet, Acquisition of Citizenship,
   Legal and Regulatory Documents.
d. Prior to January 13, 1941, there was no statutory definition of "the United
   States" for citizenship purposes. The phrase "in the United States" as used in
   Section 1993 of the Revised Statues of 1878 clearly includes states that have
   been admitted to the Union (see 8 FAM 102.2).


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e. INA 304 (8 U.S.C. 1404) and INA 305 (8 U.S.C. 1405) provide a basis for
    citizenship of persons born in Alaska and Hawaii, respectively, while they were
    territories of the United States.


8 FAM 301.1-3 NOT INCLUDED IN THE
MEANING OF "IN THE UNITED STATES"
(CTJCITZ-1, 06-27-2018)
a. Birth on U.S. Registered Vessel On High Seas or in the Exclusive Economic
   Zone: A U.S.-registered or documented ship on the high seas or in the
   exclusive economic zone is not considered to be part of the United States.
   Under the law of the sea, an Exclusive Economic Zone (EEZ) is a maritime
   zone over which a State has special rights over the exploration and use of
   natural resources. The EEZ extends up to 200 nautical miles from the coastal
   baseline. A child born on such a vessel does not acquire U.S. citizenship by
   reason of the place of birth (Lam Mow v. Nagle, 24 F.2d 316 (9th Cir., 1928)).
     NOTE: This concept of allotting nations EEZs to give better control of
     maritime affairs outside territorial limits gained acceptance in the late 20th
     century and was given binding international recognition by the United
     Nations Convention on the Law of the Sea (UNCLOS) in 1982.
     Part V, Article 55 of the Convention states:
     Specific legal regime of the EEZ:
     The EEZ is an area beyond and adjacent to the territorial sea, subject to
     the specific legal regime established in this Part, under which the rights
     and jurisdiction of the coastal State and the rights and freedoms of other
     States are governed by the relevant provisions of this convention.
b. A U.S.-registered aircraft outside U.S. airspace is not considered to be part of
   U.S. territory. A child born on such an aircraft outside U.S. airspace does not
   acquire U.S. citizenship by reason of the place of birth.
     NOTE: The United States of America is not a party to the U.N. Convention
     on Reduction of Statelessness (1961). Article 3 of the Convention does
     not apply to the United States. Article 3 provides
           "For the purpose of determining the obligations of Contracting States under
           this Convention, birth on a ship or in an aircraft shall be deemed to have taken
           place in the territory of the State whose flag the ship flies or in the territory of
           the State in which the aircraft is registered, as the case may be."
     This is a frequently asked question.
c. Birth on U.S. military base outside of the United States or birth on U.S.
   embassy or consulate premises abroad:
   (1) Despite widespread popular belief, U.S. military installations abroad and
        U.S. diplomatic or consular facilities abroad are not part of the United


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         States within the meaning of the 14th Amendment. A child born on the
         premises of such a facility is not born in the United States and does not
         acquire U.S. citizenship by reason of birth,
   (2) The status of diplomatic and consular premises arises from the rules of
         law relating to immunity from the prescriptive and enforcement
         jurisdiction of the receiving State, the premises are not part of the
         territory of the United States of America. (See Restatement (Third) of
         Foreign Relations Law, Vol. 1, Sec. 466, Comment a and c (1987). See
         also, Persinger v. Iran, 729 F.2d 835 (D.C. Cir. 1984).
d. Birth on foreign ships in foreign government non-commercial service:
   (1) A child born on a foreign merchant ship or privately owned vessel in U.S.
         internal waters is considered as having been born subject to the
         jurisdiction of the United States. (See U.S. v. Wong Kim Ark.), and
   (2) Foreign warships, naval auxiliaries, and other vessels or aircraft owned or
         operated by a State and used for governmental non-commercial service
         are not subject to jurisdiction of the United States. Persons born on such
         vessels while in U.S. internal waters (or, of course, anywhere else) do not
         acquire U.S. citizenship by virtue of place of birth.
e. Alien enemies during hostile occupation:
   (1) If part of the United States were occupied by foreign armed forces against
         the wishes of the United States, children born to enemy aliens in the
         occupied areas would not be subject to U.S. jurisdiction and would not
         acquire U.S. citizenship at birth, and
   (2) Children born to persons other than enemy aliens in an area temporarily
       occupied by hostile forces would acquire U.S. citizenship at birth because
       sovereignty would not have been transferred to the other country. (See
       U.S. v. Wong Kim Ark.)


8 FAM 301.1-4 BIRTH IN u.s. INTERNAL
WATERS AND TERRITORIAL SEA
(cT:c1Tz-50; 01-21-2021)
a. Persons born on ships located within U.S. internal waters (except as provided
   in 8 FAM 301.1-3) are considered to have been born in the United States.
   Such persons will acquire U.S. citizenship at birth if they are subject to the
   jurisdiction of the United States. Internal waters include the ports, harbors,
   bays, and other enclosed areas of the sea along the U.S. coast. As noted
   above, a child born on a foreign merchant ship or privately owned vessel in
   U.S. internal waters is considered as having been born subject to the
   jurisdiction of the United States. (See U.S. v. Wong Kim Ark.)
b. Twelve Nautical Mile Limit: The territorial sea of the United States was
   formerly three nautical miles. (See, e.g., Cunard S.S. Co. v Mellon, 262 U.S.
   100, 122, 43 S. Ct. 504, 67 L. Ed. 894 (1923).) However, the three-mile rule


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   was changed by a Presidential Proclamation in 1988, implementing the
   territorial-sea provision of the 1982 U.N. Convention on the Law of the Sea.
   (Presidential Proclamation 5928, signed December 27, 1988, published at 54
   Federal Register 777, January 9, 1989.) As decreed by that Proclamation, the
   territorial sea of the United States henceforth extends to 12 nautical miles
   from the baselines of the United States determined in accordance with
   international law. (The Proclamation also stated that the jurisdiction of the
   United States extends to the airspace over the territorial sea.) (See Gordon,
   Immigration Law and Procedure, Part 8 Nationality and Citizenship, 92.03(2)
   (b) territorial limits.)
c. FAM guidance up until 1995 (7 FAM 1116.1-2 In U.S. Waters TL:CON-64, 11-
   30-95) advised that persons born within the 3-mile limit of the U.S. territorial
   sea were born "within the United States" and could be documented as U.S.
   citizens if they were also born subject to U.S. jurisdiction. Some
   commentators took this view as well, such as Gordon. Analysis of this issue
   undertaken in 1994-1995 revealed, however, that there is a substantial legal
   question whether persons born outside the internal waters of the United
   States but within the territorial sea are in fact born "within the United States"
   for purposes of the 14th Amendment and the INA.
d. Cases involving persons born outside the internal waters but within the U.S.
   territorial sea, must be referred to AskppTAdjudication@state.gov for
   coordination with L/CA, L/OES, and other appropriate offices within the United
   States government.
NOTE: This is not a public-facing e-mail address and public inquiries will not
be replied to.


8 FAM 301.1-5 WHAT IS BIRTH IN u.s.
AIRSPACE?
(CTJCITZ-45; 12-09-2020)
a. Under international law, the limits of a country's sovereign airspace correspond
   with the extent of its territorial sea. The outer limit of the territorial sea of the
   United States is 12 nautical miles from the coastline. Airspace above the land
   territory, internal waters, and territorial sea is considered to be part of the
   United States (Presidential Proclamation 5928, signed December 27, 1988,
   published at 54 Federal Register 777, January 9, 1989).
b. Comments on the applicability of the 14th Amendment to vessels and planes,
   are found in Gordon, Immigration Law and Procedure, Part 8, Nationality and
   Citizenship, Chapter 92, 92.03 (New York: Matthew Bender, 2007). This
   volume states:
     "The rules applicable to vessels obviously apply equally to airplanes. Thus
     a child born on a plane in the United States or flying over its territory
     would acquire United States citizenship at birth."



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c. Under the 1944 Convention on International Civil Aviation, articles 17-21, all
   aircraft have the nationality of the State in which they are registered, and may
   not have multiple nationalities. For births, the nationality law of the aircraft's
   "nationality" may be applicable, and for births that occur in flight while the
   aircraft is not within the territory or airspace of any State, it is the only
   applicable law that may be pertinent regarding acquisition of citizenship by
   place of birth. However, if the aircraft is in, or flying over the territory of
   another State, that State may also have concurrent jurisdiction.
d. Cases of citizenship of persons born on planes in airspace above the United
    States land territory or internal waters may be adjudicated by passport
    specialists at domestic passport agencies and centers or consular officers at
    posts abroad in accordance with 8 FAM 301.1-6.
e. Cases of persons born on planes in airspace outside the 12 nautical mile limit
    would be adjudicated as a birth abroad under INA 301 (8 U.S.C. 1401) or INA
    309 (8 U.S.C. 1409) as made applicable by INA 301(g).
f. Cases of persons born on a plane in airspace above the U.S. territorial sea (12
    nautical mile limit) must be referred to AskppTAdjudication@state.gov for
   consultation with L/CA.


8 FAM 301.1-6 DOCUMENTING BIRTH IN u.s.
WATERS AND u.s. AIRSPACE
(CTJCITZ-1, 06-27-2018)
a. Proof of birth in U.S. internal waters or U.S. airspace consists of a U.S. birth
   certificate certified by the issuing authority in the U.S. jurisdiction.
b. There is no U.S. Federal law governing the report of such births.
c. Generally speaking, U.S. Customs and Border Protection (CBP) would require
   some documentation of the birth, generally an excerpt of the ship's/aircraft's
   medical log or master/captain's log, reflecting the time, latitude, and longitude
   when the birth occurred.
d. For ships/aircraft in-bound for the United States, the parents would then be
   responsible for reporting the birth to the civil authorities in the U.S.
   jurisdiction where the vessel put into port. (See the Centers for Disease
   Control and Prevention (CDC) publication "Where to write for Birth
   Certificates.")
   (1) The parents will have to contact the state vital records office to determine
        the exact procedures for report such a birth ,
   (2) Parents should obtain a certified copy of the ship's medical log, airplane's
        log, or other statement from the attending physician or other attendant
        and attempt to obtain information on how to contact attendants in the
        future should further questions arise,




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   (3) If the mother and child were immediately taken to a U.S. hospital,
         authorities there may be of assistance in facilitating contact with the
         appropriate state authorities, and
   (4) It is unlikely that the vital records office in the parents' state of residence
         will issue such a birth certificate. Parents may be redirected to the vital
         records office in the state where the ship first put into port after the birth
         of the child.


8 FAM 301.1-7 NATIVE AMERICANS AND
ESKIMOS
(CTJCITZ-1, 06-27-2018)
a. Before U.S. v. Wong Kim Ark, the only occasion on which the Supreme Court
   had considered the meaning of the 14th Amendment's phrase "subject to the
   jurisdiction" of the United States was in Elk V. Wilkins, 112 U.S. 94 (1884).
   That case hinged on whether a Native American who severed ties with the
   tribe and lived among whites was a U.S. citizen and entitled to vote. The
    Court held that the plaintiff had been born subject to tribal rather than U.S.
    jurisdiction and could not become a U.S. citizen merely by leaving the tribe
    and moving within the jurisdiction of the United States. The Court stated
    that: "The Indian tribes, being within the territorial limits of the United
    States, were not, strictly speaking, foreign States, but they were alien
    nations, distinct political communities, with whom the United States might and
    habitually did deal through treaties or acts of Congress. They were never
    deemed citizens of the United States except under explicit provisions of treaty
    or statute to that effect, either declaring a certain tribe, or such members of it
    as chose to remain behind on the removal of the tribe westward, to be
    citizens, or authorizing individuals of particular tribes to become citizens upon
    application for naturalization."
b. The Act of June 2, 1924 was the first comprehensive law relating to the
    citizenship of Native Americans. It provided: That all non-citizen Indians born
    within the territorial limits of the United States be, and they are hereby,
    declared to be citizens of the United States: Provided, That the granting of
    such citizenship shall not in any manner impair or otherwise affect the right of
    any Indian to tribal or other property.
c. Section 201(b) NA, effective January 13, 1941, declared that persons born in
    the United States to members of an Indian, Eskimo, Aleutian, or other
    aboriginal tribe were nationals and citizens of the United States at birth.
d. INA 301(b) (8 U.S.C. 1401(b)) (formerly INA 301(a)(2)). in effect from
    December 24, 1952, restates this provision.


8 FAM 301.1-8 FOUNDLINGS


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(CTJCITZ-1, 06-27-2018)
a. Under INA 301(f) (8 U.S.C. 1401(f)) (formerly Section 301(a)(6)) INA), a child
   of unknown parents is conclusively presumed to be a U.S. citizen if found in
   the United States when under 5 years of age, unless foreign birth is
   established before the child reaches age 21.
b. Under Section 201(f) of the Nationality Act of 1940, a child of unknown
   parents, found in the United States, was presumed to have been a U.S. citizen
   at birth until shown not to have been born in the United States no matter at
   what age this might have been demonstrated.
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                    POLOZOLA DECLARATION
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                                                                                                                 QJ§1é3if:3ntrol No. 1405-0004
                                                                                                                 Expiration Date: 04-30-2025
                                            APPLICATION FOR A U.S. PASSPORT                                      Estimated Burden: 85 Minutes
                         Please read all instructions first and type or print in black ink to complete this form.
              For information or questions, visit travel.state.gov or contact the National Passport Information Center (NPIC) at
                                      1-877-487-2778 (TDD/TTY: 1-888-874-7793) or NPIC@state.gov.
                                               SECTION A. ELIGIBILITY TO USE THIS FORM
This form is used to apply for a U.S. passport book and/or card in person at an acceptance facility, a passport agency (by appointment
only), or a U.S. embassy, consulate, or consular agency (if abroad). The U.S. passport is a travel document attesting to one's identity and
issued to U.S. citizens or non-citizen U.S. nationals. To be eligible to use this form you must apply in person if at least one of the following
is true:
           J I am applying for my first U.S. passport           J My previous U.S. passport was either: a) issued under age 16,
           J I am under age 16                                      be issued more than 15 years ado: ct lost. stolen. or damaded


    Notice to Applicants Under Age 16: You must appear in person to apply for a U.S. passport with your parent(s) or legal guardian(s).
    See Section D of these instructions or travel.state.gov for more details.
    Notice to Applicants Ages 16 and 17: At least one of your parent(s) or legal guardian(s) must know that you are applying for a U.S.
    passport. See Section D of these instructions or travel.state.gov for more details.
    Notice to Applicants for No-Fee Regular, Service, Official, or Diplomatic Passports: You may use this application if you meet all
    provisions listed, however, you must consult your sponsoring agency for instructions on proper routing procedures before forwarding
    this application. Your completed passport will be released to your sponsoring agency and forwarded to you.
                                        SECTION B. STEPS TO APPLY FOR A u.s. PASSPORT
    1.   Complete this form (Do not sign until requested to do so by an authorized agent).
    2.   Attach one color photograph 2x2 inches in size and supporting documents (See Section D of these instructions).
    3.   Schedule appointment to apply in person by visiting our website or calling NPIC (see contact info at the top page).
    4.   Arrive for appointment and present completed form and attachments to the authorized agent who will administer the oath, witness
         you signing your form, and collect your passport fee.
    5. Track application status online at Passportstatus.state.gov.
    6. Receive new passport and original supporting documents (that you submitted with your application).
                                                SECTION c. HOW TO COMPLETE THIS FORM
Please see the instructions below for items on the form that are not self-explanatory. The numbers match the numbered items of the form.
1. Name (Last, First, Middle): Enter the name to appear in the passport. The name to appear in the passport should be consistent with
    your proof of citizenship and identification. If you have changed your name and are not eligible to use a DS-82 or DS-5504, you must
    use this form. Visit travel.state.gov/namechange for more information.
2. Date of Birth; Use the following format: Month, Date, and Year (MM/DD/YYYY).
3. Gender: The gender markers used are "M" (male), "F" (female) and "X" (unspecified or another gender identity). The gender marker
    that you check on this form will appear in your passport regardless of the gender marker(s) on your previous passport and/or your
    supporting evidence of citizenship and identity. If changing your gender marker from what was printed on your previous passport,
    select "Yes" in this field on Application Page 1. If no gender marker is selected, we may print the gender as listed on your
    supporting evidence or contact you for more information. Please Note: We cannot guarantee that other countries you visit or travel
    through will recognize the gender marker on your passport. Visit travel.state.gov/gender for more information.
4. Place of Birth: Enter the name of the city and state if in the U.S. or city and country as presently known.
5. Social Security Number: You must provide a Social Security number (SSN), if you have been issued one, in accordance with Section
    6039E of the Internal Revenue Code (26 U.S.C. 6039E) and 22 U.S.C 2714a(f). If you do not have a Social Security number, you must
    enter zeros in this field and submit a statement, signed, and dated, that includes the phrase, "I declare under penalty of pedury under
    the laws of the United States of America that the following is true and correct: I have never been issued a Social Security Number by
    the Social Security Administration." If you reside abroad, you must also provide the name of the foreign country where you reside. The
    U.S. Department of State must provide your SSN and foreign residence information to the U.S. Department of the Treasury which will
    use it in connection with debt collection and check against lists of persons ineligible or potentially ineligible to receive a U.S. passport,
    among other authorized uses. If you fail to provide the information, we may deny your application and the Internal Revenue Service
    (IRS) may enforce a penalty. Refer all questions on this matter to the nearest IRS office.
 e. Email: By providing your email you are consenting to us              7. Primary Contact Phone Number: If providing a mobile/cell
    communicating with you by email about your application.                 phone number you are consenting to receive calls and/or text
                                                                            messaging about your application.
8. Mailing Address Line 1 and 2 "In Care Of": For line 1 enter applicant's Street/RFD #, Q P.O. Box Q URB. For line 2, if you do not
    live at the address listed in this field, put the name of the person who lives at this address and mark it "In Care Of". If the applicant is
    a minor child, you must include the "In Care Of" name of the parent or adult registered to receive mail at this address.
g. List all other names you have used: Enter all legal names previously used to include maiden name, name changes, and previous
    married names. You can enter up to two names one in item A and one in item B. If only your last name has changed just enter your


-w
    last name. If you need more space to write additional names. please use a separate sheet of paper and attach it to this form.

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    DS-11 04-2022                                                                                                 Instruction Page 1 of 4
                                                                                                            Supp.Add.194
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                                          APPLICATION FOR A U.S. PASSPORT
                                  SECTION D. ATTACHMENTS TO SUBMIT WITH THIS FORM
             Once you have completed Application Pages 1 and 2, attach the supporting documents as outlined in this section.
1.   PROOF OF U.S. CITIZENSHIP information can be found on travel.state.gov/citizenship.
               Applicants Born in the United States                                    Applicants Born Outside the United States
Your evidence will be returned to you if it is not damaged, altered,        If we determine that you are a U.S. citizen, your lawful permanent
or forged. Submit an original or certified copy and a photocopy of          resident card submitted with this application will be forwarded to
the front and back if there is printed information on the back, of          U.S. Citizenship and Immigration Services.
one of the following documents:
                                                                                Claiming Citizenship through Naturalization of One or Both
     U.S. Birth Certificate that meets all the following requirements:          Parent's), submit all the following:
     O    Issued by the city, county, or state of birth                         O   Your parent(s) Certificate(s) of Naturalization
     O   Lists your full name, birthdate, and birthplace                        O   Your parents' marriage/certificate and/or evidence that you
     O   Lists your parent(s)' full names                                           were in the legal and physical custody of your U.S. citizen
     O   Lists date filed with registrar's office (must be within one               parent, if applicable
          year of birth)                                                        O   Your foreign birth certificate (and official translation if the
     O   Shows registrar's signature and the seal of the issuing                    document is not in English)
         authority                                                              O   Your evidence of admission to the United States for legal
     Fully valid, undamaged U.S. passport (may be expired)                          permanent residence and proof you subsequently resided
     Consular Report of Birth Abroad or Certification of Birth Abroad               in the United States
     Certificate of Naturalization or Citizenship
                                                                                Claiming Citizenship through Birth Abroad to At Least One U.S.
     Secondary documents may be submitted if the U.S. birth                     Citizen Parent, submit all the following:
     certificate was filed more than one year after your birth or if no         O    Your Consular Report of Birth Abroad (Form FS-240),
     birth record exists. For no birth record on file, submit a                      Certification of Birth (Form DS-1350 or FS-545), or your
     registrar's letter to that effect. For both scenarios, submit a                 foreign birth certificate (and official translation if the
     combination of the evidence listed below, with your first and last              document is not in English)
     name, birthdate and/or birthplace, the seal or other certification         O    Your parent's proof of U.S. citizenship
     of the office (if customary), and the signature of the issuing             O    Your parents' marriage certificate
     official.                                                                  O    Affidavit showing all your U.S. citizen parents' periods and
     O    A hospital birth record                                                    places of residence and physical presence before your
     O    An early baptismal or circumcision certificate                             birth (DS-5507)
     O    Early census, school, medical, or family Bible records
     O    Insurance files or published birth announcements (such as          Claiming Citizenship Through Adoption by a U.S. Citizen
          a newspaper article)                                               Parent(s), if your birthdate is on or after October 5, 1978,
     O    Notarized affidavits (or DS-10, Birth Affidavit) of older blood    submit evidence of all the following:
          relatives having knowledge of your birth may be submitted           O   Your permanent residence status
          in addition to some of the records listed above.                    O   Your full and final adoption
                                                                              O   You were in the legal and physical custody of your U.S.
                                                                                  citizen parent(s)
                                                                              O   You have resided in the United States
2. PROOF OF IDENTITY information can be found at travel.state.gov/identification.
Present your original identification and submit a front and back photocopy with this form. It must show a photograph that is a good likeness
of you. Examples include:
.   Driver's license (not temporary or learner's permit)              Federal, state, or city government employee identification
.   Previous or current U.S. passport book/card                       Certificate of Naturalization or Citizenship
.   Military identification
3. A RECENT COLOR PHOTOGRAPH See the full list of photo requirements on travel.state.gov/photos.
Attach one photo, 2x2 inches in size. U.S. passport photo requirements may differ from photo requirements of other countries. To avoid
processing delays, be sure your photo meets all the following requirements (Refer to the photo template on Application Page 1);

     Taken less than six months ago                                         No eyeglasses and head covering and no uniforms*
     Head must be 1-1 3/8 inches from the bottom of the                     Printed on matte or glossy photo quality paper
     chin to the top of the head                                            Use a plain white or off-white background
.    Head must face the camera directly with full face in view
*Head coverings are not acceptable unless you submit a signed statement verifying that it is part of recognized, traditional religious attire
that is customarily or required to be worn continuously in public or a signed doctor's statement verifying its daily use for medical purposes.
Glasses or other eyewear are not acceptable unless you submit a signed statement from a doctor explaining why you cannot remove them
(e.g., during the recovery period from eye surgery). Photos are to be taken in clothing normally worn on a daily basis. You cannot wear a
uniform, clothing that looks like a uniform, or camouflage attire.


     DS-11 04-2022                                                                                                   Instruction Page 2 of 4
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                                          APPLICATION FOR A U.S. PASSPORT
 4. PROOF OF PARENTAL RELATIONSHIP (FOR APPLICANTS UNDER AGE 16)
 Parents/guardians must appear in person with the child and submit the following:
 .    Evidence of the child's relationship to parents/guardian(s) (Example: a birth certificate or Consular Report of Birth Abroad listing the
      names of the parent(s)/guardian(s) and child)
 .    Original parental/guardian government-issued photo identification and a photocopy of the front and back (to satisfy proof of identity)
 If only one parent/guardian can appear in person with the child, you must also submit one of the following:
 .    The second parent's notarized written statement or DS-3053 (including the child's full name and date of birth) consenting to the
      passport issuance for the child. The notarized statement cannot be more than three months old, must be signed and notarized on the
      same day, and must come with a front and back photocopy of the second parent's government-issued photo identification.
 .    The second parent's death certificate (if second parent is deceased)
 .    Evidence of sole authority to apply (Example: a court order granting sole legal custody or a birth certificate listing only one parent)
 .    A written statement (made under penalty of perjury) or DS-5525 explaining, in detail, why the second parent cannot be reached
 OR

PROOF OF PARENTAL AWARENESS (FOR APPLICANTS AGES 16 AND 17)
We may request the consent of one legal parenVlegal guardian to issue a U.S. passport to you. In many cases, the passport authorizing
officer may be able to ascertain parental awareness of the application by virtue of the parent's presence when the minor submits the
application or a signed note from the parent or proof the parent is paying the application fees. However, the passport authorizing officer
retains discretion to request the legal parent's/legal guardian's notarized statement of consent to issuance (e.g., on Form DS-3053).
 5. FEES    Passport service fees are established by law and regulation (see 22 U.S.C. 214, 22 C.F.R. 22.1, and 22 C.F.R. 51.50-56) and
 are collected at the time you apply for the passport service. By law, the passport fees are non-refundable. Visit traveI.state.gov/
  passportfees for current fees and how fees are used and processed. Payment methods are as follows:
                 Applicant Applying in the United States                         Applicant Applying at a Passport Agency or
                         At Acceptance Facility                                            Outside the United States
      Passport fees must be made by check (personal, certified,                 We accept checks (personal, certified, cashier's, travelers),
      cashier's, travelers) or money order (U.S. Postal, international,         major credit cards (Visa, Master Card, American Express,
      currency exchange) with the applicant's full name and date of             Discover), money orders (U.S. Postal, international, currency
      birth printed on the front and payable to "U.S. Department of            exchange), or exact cash (no change provided). Make all fees
      State."                                                                   payable to the "U.S. Department of State."
      The execution fee must be paid separately and made payable .              If applying outside the United States: Please see the website of
      to the acceptance facility in the form that they accept.                  your embassy, consulate, or consular agency for acceptable
                                                                                payment methods.
  Other Services Requiring Additional Fee (Visit travel.state.gov for more details):
  .   Expedite Service: Only available for passports mailed in the United States and Canada.
  .   1-2 Day Delivery: Only available for passport book (and not passport card) mailings in the United States.
  .   Verification of a previous U.S. Passport or Consular Report of Birth Abroad: Upon your request, we verify previously issued
      U.S. passport or Consular Report of Birth Abroad if you are unable to submit evidence of U.S. citizenship.
      Special Issuance Passports: If you apply for a no-fee regular, service, official, or diplomatic passport at a designated acceptance
      facility, you must pay the execution fee. No other fees are charged when you apply.
                                                  SECTION E. HOW TO SUBMIT THIS FORM
Submitting your form depends on your location and how soon you need your passport.
.    Applicant Located Inside the United States: For the latest information regarding processing times, scheduling appointments, and
     nearest designated acceptance facilities visit travel.state.gov or contact NPlC.

    Applicant Located Outside the United States: In most countries, you must apply in person at a U.S. embassy or consulate for all
    passport services. Each U.S. embassy and consulate has different procedures for submitting and processing your application. Visit
    travel.state.gov to check the U.S. embassy or consulate webpage for more information.
_                           sEcTion F. RECEIVING youR PASSPORT AND SUPPORTING DocuMEnTs
    Difference Between U.S. Passport Book and Card: The book is valid for international travel by air, land, and sea. The card is not valid
    for international air travel, only for entry at land border crossings and seaports of entry when traveling from Canada, Mexico, Bermuda,
    and the Caribbean. The maximum number of letters provided for your given name (first and middle) on the card is 24 characters. If both
    your given names are more than 24 characters, you must shorten one of your given names you list on item #1 of Application Page 1.
    Separate mailings: You may receive your newly issued U.S. passport book and/or card and your citizenship evidence in two separate
    mailings. If you are applying for both a book and card, you may receive three separate mailings: one with your returned evidence, one
    with your newly issued book, and one with your newly issued card. All documentary evidence that is not damaged, altered, or
    forged will be returned to you. Photocopies will not be returned.
    Passport numbers: Each newly issued passport book or card will have a different passport number than your previous one.
    Shipping and Delivery Changes: If your mailing address changes prior to receipt of your new passport, please contact NPIC. NOTE:
    We will not mail a U.S. passport to a private address outside the United States or Canada.
    Passport Corrections, Non-ReceiptlUndeliverable Passports, and Lost/Stolen Passport: For more information visit travel.state.gov
    or contact NPIC.
     DS-11 04-2022                                                                                                Instruction Page 3 of 4
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                                         APPLICATION FOR A U.S. PASSPORT
                                                                    WARNING
False statements made knowingly and willfully in passport applications, including affidavits or other documents submitted to support this
application, are punishable by fine and/or imprisonment under U.S. law including the provisions of 18 U.S.C. 1001, 18 U.S.C. 1542, and/or
18 U.S.C. 1621. Alteration or mutilation of a passport issued pursuant to this application is punishable by fine and/or imprisonment under
the provisions of 18 U.S.C. 1543. The use of a passport in violation of the restrictions contained herein or of passport regulations is
punishable by fine and/or imprisonment under 18 U.S.C. 1544. All statements and documents are subject to verification.

      Failure to provide information requested on this form, including your Social Security number, may result in significant
                                      processing delays and/or the denial of your application.
                                                          run I u W I \ v w l i - l I l w l i u
If any of the below-mentioned acts or conditions have been performed by or apply to the applicant, a supplementary explanatory statement
under oath (or affirmation) by the applicant should be attached and made a part of this application.

I have not been convicted of a federal or state drug offense or convicted of a statutory "sex tourism" crime, and I am not the subject of an
outstanding federal, state, or local warrant of arrest for a felony; a criminal court order forbidding my departure from the United States; or
a subpoena received from the United States in a matter involving federal prosecution for, or grand jury investigation of a felony._
                                                         PRIVACY ACT STATEMENT
AUTHORITIES: Collection of this information is authorized by 22 U.S.C. 211 a et seq., 8 U.S.C. 1104, 26 U.S.C. 6039E, 22 U.S.C.
2714a(f), Section 236 of the Admiral James W. Nance and Meg Donovan Foreign Relations Authorization Act, Fiscal Years 2000 and
2001, Executive Order 11295 (August 5, 1966), and 22 C.F.R. parts 50 and 51 .

PURPOSE: We are requesting this information in order to determine your eligibility to be issued a U.S. passport. Your Social Security
number is used to verify your identity.

ROUTINE USES: This information may be disclosed to another domestic government agency, a private contractor, a foreign government
agency, or to a private person or private employer in accordance with certain approved routine uses. These routine uses include, but are
not limited to, law enforcement activities, employment verification, fraud prevention, border security, counterterrorism, litigation activities,
and activities that meet the Secretary of State's responsibility to protect U.S. citizens and non-citizen nationals abroad. Your Social
Security number will be provided to the U.S. Department of the Treasury and may be used in connection with debt collection, among other
purposes authorized and generally described in this section. More information on the routine uses for the system can be found in System
of Records Notices State-05, Overseas Citizen Services Records and Other Overseas Records and State-26, Passport Records.

DISCLOSURE: Providing information on this form is voluntary. Be advised, however, that failure to provide the information requested on
this form may cause delays in processing your U.S. passport application and/or could also result in the refusal or denial of your application.
Failure to provide your Social Security number may result in the denial of your application (consistent with 22 U.S.C. 2714a(f)) and may
subject you to penalty enforced by the Internal Revenue Service, as described in the Federal Tax Law on Instruction Page 1 (Section C) to
this form.
                                               PAPERWORK REDUCTION ACT STATEMENT
Public reporting burden for this collection of information is estimated to average 85 minutes per response, including the time required for
searching existing data sources, gathering the necessary data, providing the information and/or documents required, and reviewing the
final collection. You do not have to supply this information unless this collection displays a currently valid OMB control number. If you have
comments on the accuracy of this burden estimate and/or recommendations for reducing it, please send them to: Passport Forms Officer,
U.S. Department of State, Bureau of Consular Affairs, Passport Services, Office of Program Management and Operational Support, 44132
Mercure Cir, PO Box 1199, Sterling, Virginia 20166-1199.




   For more information about your application status, online tools, current fees, and
                   processing times, please visit travel.state.gov.




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                                                                              APPLICATION FOR A U.S. PASSPORT
                                                                                                                                                                                     et `¢ontrol            1405-0004
                                                                                                                                                                                       Expiration Date: 04/30/2025
                                                                                                                                                                                       Estimated Burden: 85 Minutes
                                                        Use black ink only. If you make an error, complete a new form. Do not correct.
                                     Select document(s) for which you are submitting fees:                                                                  _
                           l;'IU.s. Passport Book                                III U.S. Passport Card                          III B oth
                                   The U.S. passport card is M valid for international air travel. See Instruction Page 3
                                    l:IRegular Book (Standard)                                  l:ILarge Book (Non-Standard)




                                       'r'
                                  The large book is for frequent international travelers who need more visa pages.
                   1. Name Las
                                                                                                                                                                                         NFR
                                                                                                                                                         End. #I                             Exp.
                   First                                                                                                             Middle



                   2. Date of Birth (mm/dd/yyvy)l                               Gender (Readlnstruction Paga1L           Place of B           (CRY & State fin the U.S. or City & Count/v as it is presently known.
                                                                               M F X Changinggendermarke
                                                                              IIIIIIIII              Yes
                                                                                                         E
                    5. Social Security
                                                     NHr
                                                        be


  8. Mailing Address Line 1: StreeVRFD#, P.O. Box, or URBI
                                                            'F |                        6. Email (See application status at passnortstatus.state                  7. Primaw Qontact Phon_e Number




     dress Line I
F                                        We                                     app!!




  I                                                                                                                    Zip Con                                   guntry, I
t   Ly                                                                                                                                                                        Jutsiz              Lited States




  9. List all other names you have used. (Examples.' Birth Name, Maiden, Previous Marriage, Legal Name Change. Attach additional pages if needed.)                                                                    I

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   U)                     I/ I I II \ \ \                  'u
                                                           |-
                                                           m
                                                                       Identifying Documents -ApplicantorMother/Father/ParentlLegaI Guardian on Second Signature Line (ifidentilying minor)
                      I      O ,I           \                      III Driver's License   III State Issued ID Card  O Passport         E Military       E Other
                     II      I-
                             W l130
                                                \l
                                                                             Name
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   X                  \ Of                                         Issue Date                                                              Exp. Date                                                   State of
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                                                                  ID No
                                                                                          III                                III                             I           Country of
                                                                                                                                                                         Issuance

                                                           >       Identifying Documents -Applicant or MotherIFatherIParentILegal Guardian on Third Signature Line (if identifying minor)
   3:                                                      I=      I     I
   |-                                                                        Driver's License      In State Issued ID Card             O Passport          O Military            la Other
   on            Attach a color photograph                 m
              taken within the last six months                               Name

                                                                   Issue Date                                                              Exp. Date                                                  State of
  Q Acceptance Agent              Q (Vice)Consul USA              (mm/dd/yyyy)                                                                                                                        Issuance
                                                                                          ]                                      ]       (mm/dd/yyyy)                             ]      ]    ]
             la Passport Staff Agent
                                                                  ID No
                                                                                                             II                          III                            Country of
                                                                                                                                                                        Issuance
                                                                                I declare under penalty of perjury all of the following: 1) I am a citizen or non-citizen national of the United States and
                                                                                have not performed any of the acts listed under "Acts or Conditions" on page 4 of the instructions of this application
                              (Seal)                                            (unless explanatory statement is attached), 2) the statements made on the application are true and correct, 3) I have not
                                                                                knowingly and willfully made false statements or included false documents in support of this application, 4) the
                                                                                photograph attached to this application is a genuine, current photograph of me, and 5) I have read and understood the
                                                                                warning on page 4 of the instructions to the application form.



                                                                                                                             x
                                                                                                      Date
                                                                                                                                                 Applicant's Legal Signature - age 16 and older
            Signature of person authorized to accept applications

         By signing this form, /certify that I have provided the verbal
        oath and witnessed the applicanfshegal guardian's signature.                          III
                                                                                                Agent ID Number
                                                                                                                       n x
                                                                                                                                      MotherlFatherIParentILegal Guardian's Signature (if identifying minor)


                         Print Facility Name/Location
                                                                                              ]]]
                                                                                                Facility ID Number
                                                                                                                             x
                                                                                                                                      Mother/Father/parent/Legal Guardian's Signature (if identifying minor)
                   Nameof courier company (if applicable)

For Issuing Office Only              h Bk                  Card                     EF              Postage            Execution                 Other
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DS-11 04-2022                                                                                                                                                            Supp.Add.198Page 1 of 2
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          of Applicant (Last, £191, &,M[ddle)                                                                                             Date of Blrth (mm/dd/vvvv)

l'*"°"
 10. Parental Information
 Mother/Father/Parent - First & Middle Name (at Parent's Birth)                                     Last Name (at Parent's Birth)

LDate of Birth (mm/dd/yyyy)                   'Place of Birth (City & State if in the U.S. or City & Country as it is presently known) I           Gender        U.S. Citizen?
                                                                                                                                                      ElM        IIIYes




                            *
                                                                                                                                                                 El |\
 Mother/Father/Parent - First & Middle Name (at Parent's Birth)                              l      Last Name (at Parent's Birth)                     8X

 Date of Birth (mm/dd/yyyy                     Place of Birth (City & State if in the U.S. or City & Country as it is presently known)             Gender        U.S. Citizen?
                                                                                                                                                     l:lM
                                                                                                                                                                 El Yes
                                                                                                                                                     [3 F        l:lno
 11. Have you ever been married?      E l Yes l:l No If yes, complete the remaining items in #11.                                                    EIx
 Full Name of Current Spouse or Most Recent Spouse (Last, First &Middle) _ Date of Birth (mm/dd/yyyy)                                         Place of Birth



    U.S. Citizen?    Date of Marriage                                      Have you ever been widowed or divorced? Widow/Divorce D)ate
                                                                                                                                   at
 El Yes El No         (mm/dd/yyyy)                                                     E1Yes       NoE                (mm/dd/yyyy)

       . Additional Contact Phone Number                                           13. Occupation (if age 16 or older             14. Employer or School (if applicable)
                                                        E I Home El Cell
                                                        E I Work E
                                                          18. Travel Plans (I fn i , avm plane, I/:caan vvruc nuns /
 15. Height         16. Hair Color   17. Eye Color        Departure Date (mm/dd/yyyy)      Return Date (mm/dd/yyyy)          Countries to be visited



    19. Permanent Address (Complete ifp.o. 8ox is listed under Mailing Address Q if residence is different from Mailing Address. Do not list a P.O. Box.)
    Street/RFD # or URB                                                                                                                                    Apartment/Unit
                                                                                                                                                          lAp


 City                                                                                                                                 State         I zip Code



 20. Your Emergency Contact (Provide the information of a person not traveling with you to be contacted in the event of an emergency.)
 Nam_                                                                      Address: Street/RFD # or P.O. Boy                                                      Apartment/Unit



!-_
 City                                                          State       1.4 Phone ~
                                                                        Zip Cod                                    !                     Relationship


 21. Have you ever applied for or been issued a U.S. Passport Book or Passport Card?                      [ ] Yes l:l No          If yes, complete the remaining items in #21.
 Name as printed on your most recent passport book                                Aost recent passport book number Most recent passport book issue date (mm/dd/yyyy)



                                                                                           so            _
 Status of your most recent passport book:             I Submitting with application E l    o en [I Lost          n my possession I explreo
                                                                                                                                                        -        _
 Name as printed on your most recent passport           c a r *                   Most recent passport card number Most recent passport card issue ate (mm/dd/yyyy)


IStatus of your most recent passport card: IJ 5ubmlttlng wItl7 appllca lon

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                                                                                                         'r IJ In my possession (II explredl                                     I
 Name as it appears on citizenship evidence
                                                                                                                                  n
 E Birth Certificate SR       CR      City    Filed:                                  Issued:                          E Sole
                                                                                                                         Parent
 E Nat./Citz. Cert. USCIS USDC Date/Place Acquired:                                   A#

 E Report of Birth         Filed/Place:
 0 Passport C/R S/R See #21 #/DOI:
 E Other:
 E Attached :

 EPIC ofCitz EPIC oflD Eos-71 Eos-3053 E Ds-64 E Ds-5520 Eos-5525 EPAW E NPIC E IRL Ecirz w/s
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DS-11 04-2022                                                                   Clear Form                                              Supp.Add.199 Page 2 of 2
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                    POLOZOLA DECLARATION
                                                         EXHIBIT 6




                                                               supp.Add.2oo
If you were born in the United States, you do not need to apply           I am a u.s. citizen. My child will be born abroad or recently
to USCIS for any evidence of citizenship. Your birth certificate issued   was born abroad. How do I register his or her birth and
where you were born is proof of your citizenship.1                        u.s. citizenship?
If you were born outside the United States, but one or both               Please contact the U.S. Department of State or the U.S. Embassy
of your parents were U.S. citizens when you were born,                    or consulate in the country where your child will be born for more
you may still be a U.S. citizen. This is called citizenship through       information about eligibility requirements and how to register your
derivation. There are usually additional specific requirements, and       child's U.S. citizenship.
sometimes citizenship can be through a combination of a parent and
grandparent.
                                                                          I was born overseas. My birth and U.S. citizenship were
                                                                          registered with the U.S. Embassy or consulate.
 What documents are usually accepted as proof of u.s.                     I need a copy of the evidence of my citizenship. Whom
 citizenship?                                                             should I contact?
The most common documents that establish U.S. citizenship are:            Contact the U.S. Department of State. For more information, please
  » Birth Certificate, issued by a U.S. State (if the person was          see their Web site at www.state.gov.
    born in the United States), or by the U.S. Department of State
    (if the person was born abroad to U.S. citizen parents who            I was born overseas. I believe I was a U.S. citizen at birth
    registered the child's birth and U.S. citizenship with the U.S.       because one or both my parents were U.S. citizens when I
    Embassy or consulate),                                                was born. But my birth and citizenship were not registered
  » U.S. Passport, issued by the u.s. Department of State,                with the U.S. Embassy when I was born. Can I apply to
  » Certificate of Citizenship, issued to a person born outside the       have my citizenship recognized?
    United States who derived or acquired U.S. citizenship through a      Whether or not someone born outside the United States to a u.s.
    U.S. citizen parent, or                                               citizen parent is a u.s. citizen depends on the law in effect when
  » Naturalization Certificate, issued to a person who became             the person was born. These laws have changed over the years, but
    a u.s. citizen after 18 years of age through the naturalization       usually require a combination of the parent being a u.s. citizen when
    process.                                                              the child was born, and the parent having lived in the United States
                                                                          or its possessions for a specific period of time. Derivative citizenship
                                                                          can be quite complex and may require careful legal analysis.
 I was born in the United States. Where can I get a copy of
 my birth certificate?
                                                                          I was born overseas. One of my parents was a U.S.
Check with the Department of Health (Vital Records) in the U.S.           citizen but never lived in the United States. One of my
State in which you were born. For more information, visit the             grandparents was also a U.S. citizen. Could I have derived
National Center for Health Statistics web page at www.cdc.gov/            u.s. citizenship?
nchs/births.htm.
                                                                          If your parent was a U.S. citizen when you were born but had not
                                                                          lived in the United States for the required amount of time before
                                                                          your birth, but one of your grandparents was also a u.s. citizen
cAn exception to this rule exists regarding children born in the United   and had already met the residence requirements, then you may still
States to foreign diplomats.

A4--I am a U.S. citizen...How do I get proof of my U.S. citizenship?
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have derived U.S. citi£€%$l8.3
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                                                         son
govern derivative citizenship are quite precise and circumstances in
individual cases can be complex. For specific information on how           Key USCIS forms referenced                             Form #
the law applies, please check our Web site at www.uscis.gov, or            in this guide
the U.S. Department of State Web site at www.state.gov, or call
                                                                           Application for Certificate of Citizenship          N-600
USCIS Customer Service at 1-800-375-5283.
                                                                           Application for Replacement Naturalization          N-565
                                                                           Citizenship Document
I was born overseas. After I was born, my parent(s)
became naturalized U.S. citizens. Could I have derived U.S.                Other U.S. Government Services-Click or call
citizenship?
                                                                           General     www.usa.gov                      1-800-333-4636
If one of your parents naturalized after February 27, 2001, and            Information
you were a permanent resident and under 18 years old at the time,
then you may have automatically acquired U.S. citizenship. Before          New           www.welcometoUSA.gov
that date, you may have automatically acquired U.S. citizenship if         Immigrants
you were a permanent resident and under 18 years old when both             U.S. Dept.    www.state.gov                  1-202-647-6575
parents naturalized, or if you had only one parent when that parent        of State
naturalized.                                                               National      www.cdc.gov
However if your parent(s) naturalized after you were 18, then you          Center        www.cdc.gov/nchs               1-800-311-3435
will need to apply for naturalization on your own after you have           for Health    /birth.htm
been a permanent resident for at least 5 years.                            Statistics


How do I apply to have my citizenship recognized?
You have two options:
    You can apply to the U.S. Department of State for a U.S.
    passport. A passport is evidence of citizenship and also serves             For more copies of this guide, or information about
    as a travel document if you need to travel. For information about           other customer guides, please visit
    applying for a u.s. passport, see the u.s. Department of State              www.uscis.gov/howdoi.
    Web site at www.state.gov.
   If you are already in the United States, you also have the
   option of applying to USCIS using Form N-600, Application for                You can also visit www.uscis.gov to download
   Certificate of Citizenship. However you may find applying for                forms, e-file some applications, check the status of
   a passport to be more convenient because it also serves as a                 an application, and more. It's a great place to start!
   travel document and could be a faster process.
                                                                                If you don't have Internet access at home
How do I replace a lost, stolen, or destroyed Naturalization                    or work, try your local library.
Certificate or Certificate of Citizenship?
To apply to replace your Naturalization Certificate or Certificate              If you cannot find what you need, please call
of Citizenship issued by USCIS or by the u.s. Immigration and                   Customer Service at: 1-800-375-5283
Naturalization Service, file a Form N-565, Application for                      Hear/hg [mpg/fed TDD Customer Service:
Replacement Naturalization Citizenship Document. Filing instructions            1-800-767-1833
and forms are available on our Web site at www.uscis.gov.




                                                                                     Disclaimer:This guide provides basic information
                                                                                     to help you become generally familiar with our
                                                                                     rules and procedures. For more information, or
                                                                                     the law and regulations, please visit our Web
                                                                                     site. Immigration law can be complex, and it is
                                                                                     impossible to describe every aspect of every
                                                                                     process. You may wish to be represented by
                                                                                     a licensed attorney or by a nonprol9t agency
                                                                                     accredited by the 8oard of Immigration Appeals.




A4--I am a U.S. citizen...How do I get proof of my U.S. citizenship?
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M-560B (October 2013) N

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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   STATE OF WASHINGTON; STATE OF                      NO. 2:25-cv-00127
     ARIZONA; STATE OF ILLINOIS; and
10   STATE OF OREGON,
                                                        DECLARATION OF
11                             Plaintiffs,              DR. SHELLEY LAPKOFF
12      v.
13   DONALD TRUMP, in his official capacity
     as President of the United States, U.S.
14   DEPARTMENT OF HOMELAND
     SECURITY; BENJAMINE HUFFMAN, in
15   his official capacity as Acting Secretary of
     Homeland Security, U.S. SOCIAL
16   SECURITY ADMINISTRATION;
     MICHELLE KING, in her official capacity
17   as Acting Commissioner of the Social
     Security Administration, U. S .
18   DEPARTMENT OF STATE; MARCO
     RUBIO, in his official capacity as Secretary
19   of State, U.S. DEPARTMENT OF
     HEALTH AND HUMAN SERVICES;
20   DOROTHY FINK, in her official capacity
     as Acting Secretary of Health and Human
21   Services, U.S. DEPARTMENT OF
     JUSTICE, JAMES MCHENRY, in his
22   official capacity as Acting Attorney
     General, U.S. DEPARTMENT OF
23   AGRICULTURE; GARY WASHINGTON,
     in his official capacity as Acting Secretary
24   of Agriculture, and the UNITED STATES
     OF AMERICA,
25
                               Defendants .
26


     DECLARATION OF                                 1            ATTORNEY GENERAL OF WASHINGTON
                                                                         Civil Rights Division
     DR. SHELLEY LAPKOFF                                              800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                               Seattle, WA 98104
                                                                             (206) 464-7744
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 1          I, Shelley Lapkoff, declare as follows:
2           l.      I am over the age of 18, competent to testify as to the matters herein, and make
 3   this declaration based on my personal knowledge. If called to testify as a witness, I could and
4    would testify competently to the matters set forth below.
 5          2.      I am a Senior Demographer at National Demographics Corporation (NDC),
 6   which I joined in 2023. Founded in 1979, NDC is a firm dedicated to providing research and
 7   analysis services on demographic, districting, and redistricting issues to a variety of
 8   governmental and non-governmental clients. At NDC, as I have for more than 30 years, I
 9   specialize in conducting demographic and political redistricting analyses. Within the field of
10   demography, my area of expertise is applied demography, which includes the analysis of client
11   and third-party data, such as Census Bureau counts and estimates, data from state, federal and
12   local governments, and data from other research organizations.
13          3.      Prior to joining NDC, I earned a Ph.D. in Demography in 1988 and an M.A. in
14   Economics from the University of California, Berkeley in 1984. I received a B.A. with Honors
15   in Economics from the University of Maryland, College Park, in 1976. While in graduate school,
16   I founded my own demographic consulting firm, Lapkoff Demographic Research (LDR), in
17   1985, which provided consulting services and demographic analyses to government and non-
18   governmental clients. In 1992, LDR subsequently became Lapkoff & Gobalet Demographic
19   Research, Inc. (LDGR). And just recently, in 2023, LDGR merged with NDC. Additionally, I
20   have taught Applied Demography and presented seminars in the U.C. Berkeley Demography
21   Department. I have also been active in the Population Association of America (PAA) and have
22   been Chair of the PAA Committee on Applied Demography.
23          4.      I served as one of the principals of LDGR from its inception until joining NDC.
24   As President of LGDR and as a Senior Demographer with NDC, I have conducted and overseen
25   many demographic research projects. As a consultant and practitioner of applied demographics,
26   I help diverse types of clients. The work includes developing new methods (including

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 1   mathematical models) to forecast population and housing occupancy, assembling and analyzing
2    demographic data, evaluating demographic trends, preparing written reports on the findings, and
 3   making presentations on a variety of matters.
4           5.      At LGDR and now NDC, I have worked with more than 20 school districts,
 5   including the large San Francisco and Oakland Unified School Districts, many cities, special
 6   districts, and county boards of supervisors. National-level clients have included non-profits (Girl
 7   Scouts of the United States, United Way Worldwide) and the U.S. Department of Justice. These
 8   projects have often used client and third-party data, such as Census Bureau American
 9   Community Survey data, data from state and federal government (especially birth data from the
10   National Center for Health Statistics), and from research organizations like Pew Research
11   Center.
12             6.   I have worked with dozens of clients providing political redistricting services
13   after the 1990, 2000, 2010, and 2020 decennial Censuses. These types of demographic and
14   redistricting analyses have required expert use of Census data, including the American
15   Community Survey, and Geographic Information Systems (GIS) software.
16          7.      Over the years, I have served as an expert witness in several cases that involved
17   demographic analyses, including issues such as racial and disability discrimination cases,
18   housing discrimination against households with children cases, evaluations of school
19   desegregation plans, political redistricting that conforms to civil rights legislation and court
20   decisions, and developer fee justifications for school districts, among others.
21             8.   Attached as Exhibit A is a copy of my curriculum vitae listing my full experience,
22   prior publications, and list of cases where I have submitted a declaration or participated as a
23   consultant.
24          9.      NDC was retained by the State of Washington to determine the possible impact
25   of a revocation of birthright citizenship in Washington and other states. NDC was asked to
26   estimate the annual number of births to women who are unauthorized immigrants in Washington


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                                                                                  (206) 464-7744
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 1   and other states, and if possible, the number of births in which both the mother and father were
2    unauthorized immigrants. Under my direction and supervision, NDC prepared the analysis and
 3   report attached as Exhibit B, which reflects NDC's estimate of the number of such births
4    nationally and in Washington, Arizona, Illinois, and Oregon. The report details NDC's estimates,
 5   the methodology used, and the data sources and additional materials consulted and relied upon.
 6   It explains in detail the analysis and calculations for Washington and provides in Appendices C-
 7   F the calculations for our nationwide estimates, as well as the estimates for Arizona, Illinois, and
 8   Oregon based on the same methodology and data sources.
 9          10.     Nationwide. As explained in our report, we estimate that in 2022, there were
10   255,000 births to unauthorized mothers in the United States. We further estimate that there were
11   approximately 153,000 births in which both parents were unauthorized. Our nationwide
12   calculations are detailed in Appendix C.
13          11.     Washington. With respect to Washington, as explained in our report, we estimate
14   that in 2022, the last year for which complete data are available, there were approximately 7,000
15   births to unauthorized mothers in Washington. That represents 30 percent of births to all foreign-
16   born mothers and eight percent of all births to Washington residents. We further estimate that
17   there were approximately 4,000 births in which both parents were unauthorized, representing 17
18   percent of births to all foreign-born mothers, and five percent of all births to Washington
19   residents. In conducting our analysis, we reviewed data from a variety of independent sources as
20   well as official federal and state government databases in an effort to best estimate using reliable
21   sources the number of births to unauthorized mothers and parents. Our methodology, data
22   sources, and full analysis are explained further in our attached report.
23          12.     NDC has also performed the same analysis for the number of births in Arizona,
24   Illinois, and Oregon. Our analysis for these states used the same methodology and data sources
25   as the Washington calculations.
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 1          13.     Arizona. As shown in Appendix D to our report, we estimate that in 2022, the
2    last year for which complete data are available, there were approximately 6,000 births to
 3   unauthorized mothers in Arizona. We further estimate that there were approximately 3,400 births
4    in which both parents were unauthorized. In conducting our analysis, we reviewed data from a
 5   variety of independent sources as well as official federal and state government databases in an
 6   effort to best estimate using reliable sources the number of births to unauthorized mothers and
 7   parents in Arizona.
 8          14.     Illinois. Likewise, as shown in Appendix E, we estimate that in 2022, the last
 9   year for which complete data are available, there were approximately 9,100 births to
10   unauthorized mothers in Illinois. We further estimate that there were approximately 5,200 births
11   in which both parents were unauthorized. In conducting our analysis, we reviewed data as with
12   other states, including data from a variety of independent sources as well as official federal and
13   state government databases in an effort to best estimate using reliable sources the number of
14   births to unauthorized mothers and parents in Illinois.
15          15.     Oregon. We conducted the same analysis for Oregon. As shown in Appendix F,
16   we estimate that in 2022, the last year for which complete data are available, there were
17   approximately 2,500 births to unauthorized mothers in Oregon. We further estimate that there
18   were approximately 1,500 births in which both parents were unauthorized. For our Oregon
19   calculation, like other states, we reviewed data from a variety of independent sources as well as
20   official federal and state government databases in an effort to best estimate using reliable sources
21   the number of births to unauthorized mothers and parents in Oregon.
22          16.     I have reviewed President Trump's Executive Order, "Protecting the Meaning
23   and Value of American Citizenship," which states that birthright citizenship does not extend to
24   children who are born to (1) a mother who is unlawfully present in the United States and a father
25   who is a not a citizen or lawful permanent resident at the time of said person's birth, or (2) a
26   mother lawfully present but here on a temporary basis and a father who is not a citizen or lawful


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                                                                                   (206) 464-7744
                                                                                     Supp.Add.207
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 1   permanent resident at the time of said person's birth. The analysis described here and in NDC's
2    report addresses only a subset of children likely covered by the Executive Order. At this time,
 3   we do not have an estimate of the number of births from immigrants lawfully present in the
4    United States but here on a "temporary basis," which the Executive Order does not define. The
 5   birth estimates provided above and in NDC's report are therefore lower than the full number of
 6   children that would be affected by the Executive Order. In other words, our estimates reflect
 7   only a conservative baseline of the number of children bom in the United States and Washington,
 8   Arizona, Illinois, and Oregon, who will be denied citizenship under the Executive Order.
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     DECLARATION OF                                  6              ATTORNEY GENERAL OF WASHINGTON
                                                                            Civil Rights Division
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1           I declare under penalty of perjury under the laws of the State of Washington and the
2    United States of America that the foregoing is true and correct.
 3          DATED and SIGNED this 20th day of January 2025, at Oakland, California.
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                                                  DR. SHELLEY LE              FF

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     DECLARATION OF                                   7                 ATTORNEY GENERAL OF WASHINGTON
                                                                                Civil Rights Division
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                         LAPKOFF DECLARATION
                                                          EXHIBIT A




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                               Curriculum Vitae for Shelley Lapkoff

                                           Shelley Lapkoff, Ph.D.
                                              Demographer
           National Demographics Corporation/Lapkoff & Gobalet Demographic Research, Inc.
                                   SLapkoff@NDCResearch.com


Senior Demographer at National Demographics Corporation since 2023. President and Principal, Lapkoff
& Gobalet Demographic Research, Inc., since 1992, and founder and owner of Lapkoff Demographic
Research before that. In 2023, National Demographics Corporation and Lapkoff & Gobalet Demographic
Research, Inc. merged.

Lecturer, University of Calu'ornia, Berkeley, Demography Department, 1995 and 2001.

Education and Honors

Ph.D.   Demography, University of California, Berkeley, 1988

M.A.    Economics, University of California, Berkeley

A.B.    Economics, With Honors, University of Maryland

Guest Lecturer, Business School, University of California, Berkeley

NICHHD Training Grant, University of California, Berkeley, 1984-86

University of California Graduate Fellowship, 1982-84



Professional Experience

Dr. Lapkoff has provided demographic services to school districts since 1985. In 1989 she founded
Lapkoff Demographic Research, and since 1992 she has been the President and a Principal of Lapkoff &
Gobalet Demographic Research, Inc. In 2023, she became Senior Demographer at National
Demographics Corporation.

She has provided consulting and research services to public K-12 school districts throughout the San
Francisco Bay Area and California, as well as to community colleges, cities, voting jurisdictions, the
Department of Housing and Urban Development, and the Department of Justice. She has provided
expert testimony in several court cases involving political redistricting, school desegregation, developer
fee challenges, and housing discrimination. Dr. Lapkoff is recognized as a national leader in the f'ield of
school district demography, and she is a past Chair of the Applied Demography Committee of the
Population Association of America.




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Papers and Professional Presentations

Political Districting
 Who Must Elect by District in California? A Demographer's Perspective on Methods for Assessing
Racially Polarized Voting," with Shelley Lapkoff. Chapter 18 in Emerging Techniques in Applied
Demography, Hoque, M. Nazrul, Potter, Lloyd B. (Eds.), 2015.
 How much is enough and how much is too much? Measuring Hispanic political strength for redistricting
purposes," with Jeanne Gobalet, 2012 Population Association of America Annual Meeting.
 Voting Rights Act Issues in Political Redistricting," with Jeanne Gobalet, 1993 Population Association
of America Annual Meeting.
Invited Speaker, "Demographers and the Legal System," International Conference on Applied
Demography, Bowling Green University, 1992.
 Changing from At-large to District Election of Trustees in Two California Community College Districts: A
Study of Contrasts," with Jeanne G. Gobalet, Applied Demography, August 1991.



School and Child Demography
 Who Attends Private Schools?" with Magali Barbieri and Jeanne Gobalet, 2014 Applied Demography
Conference, San Antonio, TX.
 Measuring Variations in Private School Enrollment Rates Using Acs Estimates," with Magali Barbieri and
Jeanne Gobalet, 2014 American Community Survey Users Conference, Washington, DC.
 Five Trends for Schools," Educational Leadership, March 2007, Volume 64, No. 6, Association for
Supervision and Curriculum Development (with Rose Maria Li).
 Studies in Applied Demography," Session Organizer at the 2006 Population Association of America
Annual Meeting.
 California's Changing Demographics: How New Population Trends Can Affect Your District," 2004
California School Boards Association Annual Meeting.
Panelist, "School Demography" session, 2004 Southern Demographic Association Annual Meeting.
 Where Have All the Children Gone?" Poster, 2004 Population Association of America Annual Meeting.
 Using Child-Adult Ratios for Estimating Census Tract Populations," 1996 Population Association of
America Annual Meeting.
 How to Figure Kids," American Demographics, January 1994.
 Neighborhood Life Cycles," 1994 Population Association of America Annual Meeting.
 Enrollment Projections for School Districts," Applied Demography, Spring 1993.
Projecting Births in a California School District," 1993 Population Association of America Annual
Meeting.
 School District Demography," Session Organizer and Chair, 1994 Population Association of America
Annual Meeting.
 School District Demography," Roundtable Luncheon Organizer, 1992 Population Association of America
Annual Meeting.


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"National Demographic Trends," presentation to the National Association of Business Economists, 1990.
"Demographic Trends and Long-range Enrollment Forecasting," presentation at the Redwood Leadership
Institute, Sonoma County, California, 1990.
"Projections of Student Enrollment in the Pleasanton Unified School District," 1989 Population
Association of America Annual Meeting.


General Demography
"Forecast of Emeritus Faculty/Staff Households on a University Campus," with Jeanne Gobalet, 2000
Population Association of America Annual Meeting.
"Communicating Results: Practical Approaches Suited to Decision-Oriented Audiences," Panelist. 2000
Population Association of America Annual Meeting.
"Fiscal Impacts of Demographic Change: Focus on California," Session Organizer and Chair. 1995
Population Association of America Annual Meeting.
Discussant for "Evaluating the Accuracy of Population Estimates and Projections," 1992 Population
Association of America Annual Meeting.
"Intergenerational Flows of Time and Goods: Consequences of Slowing Population Growth," with Ronald
Lee, Journal of Political Economy, March 1988.
"A Research Note on Keyfitz' 'The Demographics of Unfunded Pension'," European Journal of Population,
July 1991.
"Pay-as-you-go Retirement Systems in Nonstable Populations," Working Paper, U.C. Berkeley
Demography Group, 1985.
"Assessing Long-run Migration Policy as a Solution to the Old Age Dependency Problem," paper
presented at the 1985 Population Association of America Annual Meeting




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            Cases in which Dr. Lapkoff provided expert testimony
Smith et al. v. City of Oakland, Case No. 4:19-cv-05398-JST, 2023. I was retained by
Plaintiffs' counsel to provide demographic analyses of the numbers of Oakland's rental
units and shares of renters with an ambulatory disability. Plaintiffs alleged that the city's
current rent program was disproportionately affecting households that contain a member
with an ambulatory disability. Specifically, I was asked to: estimate the number and share
of Oakland's renter households that include at least one member with an ambulatory
disability, estimate the number and share of Oakland renter households with at least one
member who uses a wheeled mobility device (a wheelchair or scooter), as well as those
that include at least one member who uses mobility devices more generally (wheelchairs,
scooters, walkers, crutches, or canes), estimate the number of existing Oakland rental units
that were subject to state or federal accessible design and construction requirements when
built, and consider the effect that adding various numbers of accessible units to Oakland's
rent control program would have on the opportunity for people with ambulatory disabilities
to rent an accessible covered unit, and thereby gain protections against rising rent. I
believe there has been no ruling on this case yet.

United States v. Mid-America Apartment Communities, Inc., et al., 2013-18. The U.S.
Department of Justice sued a national apartment management company for designing and
constructing large apartment buildings that allegedly discriminated against those with a
disability. Dr. Lapkoff was retained to evaluate the potential impact of the defendants'
alleged discrimination, by region. Using Census surveys and analyzing Mid-America
Apartment Communities' building data, Dr. Lapkoff estimated that 9.5 percent of
households potentially renting units in Mid-America units would be expected to contain a
person with a vision or ambulatory disability, a rate that is likely to rise in the future. The
Justice Department obtained $1 l .3 million settlement of disability-based housing
discrimination from Defendant.

United States of America ex rel., Curtis Lackey and Craig MacKenzie v. City of Dallas,
Texas and Housing Authority of City of DaIIas, Texas, 2012. I was retained by legal
counsel for the Dallas Housing Authority (DHA) to evaluate claims that the actions of the
DHA promoted racial segregation. My analysis of Census data, DHA data, and U.S.
Department of Housing and Urban Development (HUD) data, showed that neighborhoods
containing much of the public housing became minority-concentrated after the
developments were built, that renovations were made to all the older housing projects
under DHA control, that over the decades, DHA had provided a variety of housing options
for persons receiving housing assistance, and that DHA is now part of an innovative
program to encourage voucher holders to lease units in integrated neighborhoods. In short,
I provided a broader context than Plaintiff" s expert and showed the intention, efforts, and
results of DHA's proactive measures to promote racial integration. DHA's Motion to
Dismiss was accepted by the court.

Redwood Christian School v. Alameda County, Calzfornia, 2006-2007. The County of
Alameda denied a conditional use permit submitted by Redwood Christian School, which
wanted to build a new facility. The School's enrollments declined. When the application

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was denied, the School sued the County for damages, arguing that its enrollment decline
would not have occurred if the building permit had been granted. I provided expert
testimony that the decline was not associated with denial of the building permit. The court
found for the County.

United States ofAnlerica, vs. Donald Sterling et al., 2006-2009. The lawsuit, filed by the
Justice Department in August 2006, alleged that the defendants, Donald T. Sterling, his
wife Rochelle Sterling, and the Sterling Family Trust, engaged in discriminatory rental
practices on the basis of race, national origin, and familial status (having children under
18) at various apartment buildings that they own and manage in Los Angeles. Among other
things, the suit alleged that the defendants discriminated against non-Korean tenants and
prospective tenants at buildings the defendants owned in the Koreatown area of Los
Angeles. LGDR was hired by the Department of Justice to investigate these claims. We
had access to all tenant records in the Koreatown buildings. Using both time series and
cross-sectional analyses of the tenant records, as well as an analysis of Census data, we
found a disproportionate decline in the number of Hispanic and African American renters.
Sterling was required to make the largest monetary payment ever required by the U.S.
Department of Justice, at the time, in the settlement of a case alleging housing
discrimination in the rental of apartments.

Thompson v. HUD, 2002-2005. MJG-95-309. The U.S. Department of Housing and
Urban Development (HUD) and the City of Baltimore were sued by the ACLU over the
siting of public housing. The U.S. Department of Justice hired me to investigate Baltimore
neighborhoods' demographic characteristics at the time public housing was built and used
Census data to reconstruct the housing mix in Baltimore's neighborhoods from 1940 to the
present. My analysis showed that in many cases, the neighborhood ethnic mix changed
after public housing was sited. I also reviewed the various changes in HUD policies
regarding the delivery of public housing ranging from large housing developments to
Section 8 vouchers and projects, and then to smaller developments and scattered sites.
There were many experts in this case, and I was the one most quoted by the judge - I
believe that this was because I worked hard to make sure that my report was impartial.

Project Sentinel v. Herman Christensen, Jr., 1994-95. Project Sentinel, a nonprofit
corporation, sued an apartment owner for discriminating against children under its
occupancy standards. I analyzed unpublished Census data on residential patterns of
children and provided an expert deposition. The case was settled out of court.

Ridgeview Builders, Inc., v. Pittsburg Uny'ied School District, 1991.
Ridgeview Builders sued the Pittsburg Unified School over imposition of fees on
residential development. Dr. Lapkoff was an expert witness for the school district. Her
report discussed the development's impact on school enrollments and analyzed the school
district's report that justified the fees when they were imposed. The court upheld the
district's imposition of fees.

Michelle Porter, et al., v. Davis Really Company, et al., 1983. In this fair housing case,
Michelle Porter (an African American) sued the Davis Realty Company for housing

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discrimination. While still in graduate school, I provided expert testimony for the plaintiff
that indicated that the real estate agent had directed Ms. Porter to African American
neighborhoods. Plaintiff won the highest damages award for housing discrimination ever
received up to that time.

Shappell Industries, Inc., v. Milpitas Uny'ied School District, 1989-1990.
Shappell Industries sued the school district over imposition of developer fees. Dr. Lapkoff
provided an expert declaration discussing flaws in the District's fee justification. Shappell
Industries won in trial court, however, the decision was overturned in appellate court,
which found that Dr. Lapkoff s expert declaration was inadmissible due to timing.




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                          LAPKOFF DECLARATION
                                                           EXHIBIT B




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Births to Unauthorized Immigrants in the States of
Washington, Arizona, Illinois, and Oregon
Prepared by National Demographics Corporation, January 18, 2025

Executive Summary
National Demographics Corporation (NDC) was asked to estimate the annual number of births in
Washington and other states to women who are unauthorized immigrants, and if possible, the
number of births in which both the mother and father were unauthorized immigrants .

For 2022, the year for which the most recent set of data are available, we estimate that:
   1. There were approximately 7,000 births to unauthorized mothers in Washington, representing
       30 percent of births to all foreign-born mothers and eight percent of all births to the state's
       residents.
    2. There were approximately 4,000 births in Washington in which both parents were
       unaudiorized, representing 17 percent of births to all foreign-born mothers, and live percent
       of all births to the state's residents.

While these estimates do not perfecdy predict the number of unauthorized births in 2025, they
currency provide the best approximation of the likely magnitude of unauthorized births in 2025.

The starting point for these estimates is an analysis by the Center for Immigration Studies (CIS) for
the year 2014. We considered two factors to update the 2014 estimate: 1) The trend in births to all
foreign-born mothers, and 2) The trend in the unauthorized total population. For estimating the
number of births in which hot/9 parents were unauthorized immigrants, we used survey results about
married couples from the Migration Policy Institute (MPI). Additionally, we used other sources to
make alternative estimates to confirm the primary estimates provided.

We also have estimated the corresponding number of births nationally and for the states of Arizona,
Illinois, and Oregon, as set forth in the Appendices to this report.


CIS-Estimated Births to Unauthorized Mothers in 2014
For Washington, CIS estimated 6,554 births to unauthorized mothers in 2014, representing 7.3
percent of the state's total births (Table 1) and 30 percent of the state's births to foreign-born
mothers. To our knowledge, the CIS report is the only published estimate of the number of births
to unauthorized immigrant mothers by state.

Pew Research Center (Pew) estimated births to unauthorized immigrants for the entire United
States, but not by state. Their analysis showed approximately 275,000 total births to unauthorized
                                                                                                     1



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immigrants in the U.S. in 2014, representing about 7.0 percent of all births (Passel and Cohn, 2016) .
CIS' comparable estimate for the U.S. is 297,073 births, or 7.5 percent of all births in 2014.

 Table 1. Washington Estimated 2014 Births, by Mother's Nativity and Immigration Status
                                     Mother                         Births       Percent
                        Unauthorized Foreign-Bom                     6,554         7.3%

                         Authorized Foreign-Bom                     15,217         17.0o/0

                                  Native Born                       67,            -in.
                                                                                     'yr 7
                                                                                        ,0,;-,

                                      Total                         89,746         100%
                 Source: Camarota, Ziegler, and Richwine, Center for Immigration Studies (2018)


The methodology used by CIS is reasonable. Their 2014 estimates were based 011 data from the
Census Bureau's 2012-2016 American Community Survey (ACS), for which 2014 is the middle year.
The authors used a variation of the residual method to estimate the size of the unauthorized
immigrant population from the ACS. This method of estimation is commonly used by researchers,
including those at the Pew Research Center and the Center for Migration Studies (CMS). To
determine which foreign-born ACS respondents may be unauthorized immigrants, CIS Erst
eliminated those who are least likely to be unauthorized. The resulting subset of respondents was
then weighted based on known cha.racteristics of unauthorized immigrants (such as age, gender,
region, and country of origin) as reported by the Department of Homeland Security (DHS).

Updating the CIS Estimate for 2022
Since the publication of their 2014 estimates, CIS has not released subsequent estimates. Our
calculations update those 2014 estimates using more recent data 011 births to foreign-born mothers
and an analysis of the share of the foreign-born population that is unauthorized.

We considered multiple methodologies to estimate the number of births to unauthorized mothers
for more recent years. Wfe chose the methodology detailed below because it is the most reliable
method based on the available data. Because CIS did not publish the specific fields and calculations
used in their 2014 estimates, there is 110 way to reliably recreate their methodology with more recent
ACS data without engaging in guesswork. We illstead updated their data based on 2014 to 2022
population trends.

In this report, we build on the CIS 2014 birth count and consider two additional factors to estimate
how the number of births changed over time:

    1. Change in the number of births to foreign-born mothers. \Vhile data are not available
       on the number of births to unauthorized women, there are reliable data on the number of
       births to all foreign-born women. If the number of births to foreign-born mothers increased


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        from 2014 to 2022, we would expect the number of births to unauthorized foreign-born
        mothers to also increase, all else equal.

    2. Change in the unauthorized share of the foreign-born population. To evaluate whether
       the trend in the number of births to unaudlorized mothers is expected to mirror die trend in
       the number of births to foreign-bom mothers, we considered whether the total population
       of the foreign born changed in the same way as Me total population of the unauthorized
       population. The simplest way to do so is to calculate the share of the foreign-born
       population that is unauthorized and how that share has changed over time.

Each of dlese factors is discussed in detail below.

Secondarily, we use two different methods to estimate the share of unauthorized mothers with
unauthorized partners. These methods are also discussed below.

Change in the Number of Births to Foreign-Born Mothers
While official data on the number of births to unauibodged foreign-born mothers are not available,
state-level data are readily available for all foreign-born mothers. A standard U.S. birth certificate
includes the birthplace of the mother. The most reliable data on mothers' immigrant status is
available from the National Center for Health Statistics (NCHS), which collects data from every
state. According to the NCHS data, between 2014 and 2022, the number of births to foreign-born
women increased by 6.1 percent. All else equal, we would expect births to unauthorized women to
also increase by 6.1 percent during that period.



                                             NCHS Births to Foreign-Born
                               2014                       22.187
                               2022                       23.547

                           Difference                       _360

                       I Percent Change |



Change in the Unauthorized Share of the Foreign-Born Population
As shown in Table 2 above, the number of births to foreign-born mothers increased by 6.1 percent
over the nine-year period from 2014 to 2022. Unauthorized mothers are a subset of all foreign-born
mothers. However, the unauthorized population may have a different birth trend than all foreign-
born mothers. To evaluate that possibility, we consider one additional factor.



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As mentioned above, data are not available on the growth in the number of births to unauthorized
modelers. But estimates of the totalpopz/lation of the foreign-born and estimates of the unauthorized
totalpopu/ation are readily available. These data allow us to compare how similar the population
trends are between the unauthorized population and the overall foreign-born population.

Table 3 shows how the foreign-born population changed between 2014 and 2022, while Table 4
shows how the unauthorized population changed during the same period. As Table 3 shows,
between 2014 and 2022, the foreign-born population grew by 24 percent.

                 Table 3. Estimates of Washington's Foreign-Born Population
                                             2012-2016 ACS            2022 ACS           Change
           Foreign-Bom Population                957,185              1,188,392            24%
               Source: Census Bureau 2012-2016 5-Year ACS dataset and 2022 1-Year ACS dataset


Although the ACS does not directly estimate the unauthorized total population, ee organizations
provide estimates of that count-the Pew Research Center, the U.S. Department of Homeland
Security (DHS), and the Center for Migration Studies (CMS). They estimate the unauthorized
population changed by a rate between 21 and 30 percent from 2014 to 2022, as shown in Table 4.
Averaging the three estimates yields an estimated 25 percent growth rate for the unauthorized
population over that period.



                                                   2014                 2022             Change
                      DHS                        280.000              340_000

                                                 250.000              325.000

                       CMS                       234.100              290.648

                    Average of Change Estimates for 2014-2022
                                                       |=[ (2017) a                   in (2024)

                                                                           l (2024)


Thus, the total foreign-born population grew by 24 percent while we estimate that die lulauthorized
population grew by an estimated 25 percent. Since the unauthorized population has a (slightly)
higher growth rate than the overall foreign-born population, we assume that the number of births
follow similar trends.

Using the same data from Tables 3 and 4, we calculate the unauthorized population as a share of the
total foreign-born population. For Washington, there is only a slight difference in the unauthorized
share of the foreign-born population - 26.6 percent in 2014 and 26.8 percent in 2022. It is such a
                                                                                                        4



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small difference that it is tempting not to adjust for the slight difference in the trend between the
unauthorized and all foreign-born populations. But for completeness, we include the adiustrnent in
this report. Detailed calculations are shown in Table 5. The percentage change in the unauthorized
share of die foreign-born population is 0.8 percent, or less than one percent, from 2014 to 2022.
This percentage change, shown in column D, is used to generate a multiplier, shown in column E, to
adjust our final estimate of births to unauthorized mothers in 2022.

  Table 5. Estimates of Washington's Unauthorized Share of the Foreign-Born Population

                    (A)               (B)               (C)                (D)            (E)
              Unauthorized       Unauthorized         Change in          Percent       Adjustment
 Source         Share of           Share of          Share, 2014 to     Change in          for
              Foreign-Born,      Foreign-Born,           2022             Share        Calculations
                   2014              2022               (B-A)             (C/A)           (1-D)
 DHS              29.3%               28.6%                -0.60/0        -2.2%           97 . 8o/o

 Pew              26. 1o/0            77.3%                1.20x.0         4.70;
                                                                             I 0          104.70/0
 CMS              24.5o/0             24.5%                0.0%            0.0%           100.0%
 Average          26.6%               26.8%                0.2%            0.8%           100.8%



NDC's Estimate of Births to Unauthorized Mothers
Based on the above analysis, we make two updates to the CIS 2014 estimate of births to
unauthorized mothers:
   1. First, we adjust the number of births to reHect the change in the number of births to
      foreign-bom mothers between 2014 and 2022.
    2. Next, we adjust de number of births to reflect the change in the unauthorized share of the
        total foreign-born population from 2014 to 2022.

As shown in Table 6, we estimate 7,014 births to unauthorized mothers in 2022. This takes into
account the overall change in births to foreign-born women between 2014 and 2022, as well as the
change in the unauthorized population share during that period.




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 Table 6. Calculating Births to Unauthorized Washington Mothers in 2022
                                                                                             Adjustment for
                                                                      Change i.n
                                                                                              Change in
                                                                     Foreign-Born
 Statistic                                   2014 Births                                     Unauthorized             2022 Births
                                                                     Births, 2014-
                                                                                              Share, 2014-
                                                                         2022
                                                                II                      II
                                                                                                 2022
 Estimate                                        6,554                   6.1%                   100.8%                      "7
                                                                                                                            .r   ,014

Rounding 7,014 to reHect the imprecision in the data sources, we ardene at an estimate of 7,000
bit:hs to unauthorized mothers in 2022 in \Vashington.

Using the same methodology described above, we calculated the number of 2022 births nationwide
to women who are unauthorized. \Ve estimate there are 255,000 births in the U.S. to women who
are unauthorized. See Appendix C for corresponding tables culminating in this result.



Estimating Births to Two Unauthorized Parents
One question we were asked to investigate is how many births in \\'/ashington to unauthorized
immigrant mothers are likely to also have unautboriqjed immigrantfaiberx. 111 general, there is much less
information collected about faders. Information about fathers is optional on may state's birth
certificates. We found 110 published estimates of births to unauthorized mothers that also report the
father's legal status.

However, we found one source of data on marked couples and their unauthorized status. The
Migration Policy Institute (IWPI, 2019) estimated that 57 percent of unauthoijzed residents who are
manned have an unauthorized spouse' As that is the best available estimate, we calculate that 57
percent of children born to unauthorized mothers also have unaudiorized fathers. The other 43°/0 of
the births to unauthorized mothers occur i11 mixed-status relationships, with a11 unauthorized
mother and a legal resident or U.S. citizen father.

Available data on the marital status of women giving birTh lend credence to this approach. Using
data from the ACS, we see that 78 percent of all women (native and foreign-born) who reported
giving birth in 2022 were married. Notably, an even higher percentage of foreign-born mothers (82
percent) are married. This supports the use of MPI's manage data as a proxy for the immigration
status of fathers when estimating births to 1u1authonlzed foreign-born mothers.




1 1\[PI's estimates are based on a methodology that xmputes unauthorized status using U.S. Census Bureau 2015-19 Annencan
Communrty Survey (ACS) and 2008 Survey of Income and Program Pamapatmon (slpp) data, weighted to 2019 unauthorized
xnnnrugrant population estimates provided by .Jennifer Van Hook of The Pennsylvania State Umversrty,
                                                                                                                                    6




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Using this approach, NDC estimates about 4,000 births in W/ashington in 2022 in which neither
parent was an authorized immigrant or U.S. citizen, as shown in Table 7. The corresponding
national figure is 153,000 births in which both parents are unauthorized.

           Table 7. Calculating Births to Unauthorized Washington Parents in 2022
                                                                      Estiinated
                                                   Estimated
                                                                      births with
                 NDC estimate of births to         share with
                                                                     unauthorized
                 unauthorized mothers             unauthorized
                                                                      mother and
                                                     father
                                                                         father
                             '7
                              /   ,014                57.4%               4,029



Alternative Authorized-Spouse Percentage
It is possible that couples with children differ from all married couples, or that unmarried mothers
are even more likely to have an unauthorized spouse than married women. Extrapolating from a
variety of secondary sources, NDC estimates that approximately 80 percent of births to
unauthorized mothers may have an unauthorized father. See Appendix A for detailed calculations.

Using the 80 percent figure would increase the estimated number of births in which both parents
were unauthorized immigrants to about 5,700 births annually. This suggests that the 57 percent
figure from the MPI survey is conservative.


Summary
NDC reviewed data from a variety of independent sources as well as official federal and state
government databases in a search for counts of the unauthorized population and the number of
births to unauthorized mothers each year. As described in detail above, our best estimate uses the
following data sources:
        National Center for Health Statistics (NCHS) counts of births per year to foreign-born
        mothers,
        The United States Census Bureau American Community Survey (ACS) estimates of the
        foreign-born population,
        The Center for Immigration Studies (CIS) estimate of the number of births to unauthorized
        mothers in 2014,
        The Pew Research Center, Department of Homeland Security (DHS), and Center for
        Migration Studies (CMS) estimates of the total unauthorized population, and,
        Migration Policy Institute (NIPI) estimates of due marital status of unauthorized immigrants.

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Our best estimate from these data is that in Washington in 2022, there were approximately 7,000
babies born to unauthorized mothers, of whom approximately 4,000 also have an unauthorized
father.

Additional States
We used the same methodology to review additional states and the nation as a whole. Rather than
repeating the discussion of methodology for each one, we simply include the corresponding tables
and conclusion for each state in an attached appendix.




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Appendix A: Alternative Calculations on the Legal Status of Fathers

Some of the children born to unauthorized mothers have authorized fathers (either citizen or
otherwise authorized). To our knowledge, no one has surveyed or estimated the number or percent
of births to unauthorized mothers that also have an unauthorized father. 111 the report above, we
estimate this figure at 57 percent from a survey of married couples.

An alternative approach described here is to consider the composition of households with at least
OIls unauthorized member. The percentage of unauthorized adults in such households is used to
estimate the probability that an unauthorized mother would have an unauthorized partner. For
example, if all households were 100 percent filled with unauthorized members, an unauthorized
mother would have a 100 percent probability of being in partnership with an unauthorized man. If
roughly half the members of die household were unaudlorized, she would have a roughly 50 percent
probability of being in partnership with an unauthorized man.

Data estimates are available on the number of authorized and unauthorized people in households
that contain at least one unauthorized person. However, these data include children. In our
calculations below, we subtract children from both the authorized and unauthorized populations to
obtain a count of adults living in households with at least one unauthorized person. As Table A- 1
shows, 81 percent of adults in households that contain at least one unauthorized member are
unauthorized.

    Table A-1. Composition of Washington Households with at Least One Unauthorized
                                       Member
                      Unauthorized         Authorized          Total              Pereent
 Source
                       Population          Population        Population         Unauthorized
 Total Population         340,000           230,000            570,000              60°/o
                                       I                                    I
 Children                 42,532            160,000            202,532              21o/0

 Adults                 297,468            70,000          367,468                  81 %
Sources: Connor (2024) mln, Capp, Fix, and Zone (2016), DHS.

\\be need to make one small mathematical adjustment to the 81 percent figure in Table A-1 to obtain
the probability that an unauthorized mother would have an unauthorized partner. The 81 percent
figure includes the mothers themselves who are, by definition, unauthorized. We need to subtract
these women from both the numerator and denominator so they are not in the probability
calculation. Table A-2 shows these calculations assuming dire are 7,000 unaudiorized mothers -
our estimate for 2022. This changes the percent unauthorized from 81.0 percent to 80.6 percent.




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                                 Table A-2. Probability Calculation
                                  Unauthorized          Authorized                 Total           Percent
 Source
                                   Population           Population               Population      Unauthorized
                                                    I                       I
 Adults                               297,468             70,000                   367,468          81 .0°/0
                                                    I                       I
 Unauthorized Mothers                  -I/ ,000              0                      7,000           100°/o
                                                    I                       I
 Adults Excluding
                                      290,468             70,000                   360,468          80.6°/o
 Mothers



Table A-3 shows the estimated number of births in which both parents are unauthorized. Will
7,000 mothers and 80.6 probability of being in partnerslup with an unauthorized man, we calculate
5.641 births in which both parents are unauthorized.


    Table A-3. Alternative Estimate of Both Parents being Unauthorized in Washington
                                                                                Unauthorized
                                                                                 Population
                                                                       Il

                 2022 Births to Unauthorized Mothers                               7,000
                                                                       Il

                 Probability of the Father Being
                                                                                   80.6°/o
                 Unauthorized
                 2022 Births with Both Parents Unauthorized                        5,641


Conclusion

Just as our original estimate methodology looked only at married couples, for this methodology we
make the assumption that the mother and father live together, as we have 110 data to adjust the
numbers to account for situations where the mother and father do not live together.

\Ve estimate that approximately 5,700 is an alternative estimate for the number of births where
neither the mother nor the father is authorized.

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       parents

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Appendix B: Sources of Data on Immigrants
For this report, NDC collected data from academic studies, government agencies, and independent
organizations. Each source is described in detail below.

Government Agencies
Data from official government sources is regarded as authoritative and reliable.
       National Center for Health Statistics (NCHS)
       NCHS serves as the principal health statistics agency in the United States and operates under
       the umbrella of the Centers for Disease Control and Prevention (CDC). NCHS collects birth
       data from all 50 states and the District of Columbia through the Vital Statistics System,
       which includes birth certificates filed with state health departments. The NCHS uses
       standardized forms and methods for collecting birth data, ensuring consistency and
       comparability across States and over time.

       American Community Survey (ACS)
       The American Community Survey (ACS) is an ongoing survey conducted by the U.S. Census
       Bureau that collects detailed demographic, social, economic, and housing information about
       the U.S. population. The ACS employs a scientifically designed sampling method that
       ensures the data collected is representative of the entire U.S. population. Each year, about
       3.5 million households participate in the survey, providing a broad and diverse data set. By
       collecting data annually, the ACS is particularly useful for tracking changes in demographic
       trends over time.

       Office of Immigration Statistics (OIS)
       The Office of Immigration Statistics is housed within the Department of Homeland Security
       (DHS), the federal agency responsible for immigration enforcement. The OIS often
       collaborates with academic institutions to enhance the quality and utility of its data. This
       collaboration can involve peer review processes that further validate findings.

Independent Organizations
These organizations are widely regarded as authorities on immigration and their research is cited
frequency in legal proceedings and policy debates .
        Center for Immigration Studies (CIS)
        Founded in 1985, CIS is a nonprofit research organization that focuses on immigration
        policy issues, often advocating for reduced immigration levels in the United States. Critics of
        CIS often argue that it has a political agenda that promotes anti-immigration views.

        Dr. Steven Camarota, Director of Research, Center for Immigration Studies
        Dr. Camarota holds a Ph.D. in American Government from the University of Virginia. He
        is currency the Director of Research at the Center for Immigration Studies, where he has
                                                                                                    12



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           authored numerous reports analyzing U.S. Census Bureau data as it relates to issues of
           immigration and citizenship.
           Dr. Camarota's research has been cited in high profile cases, including /lrz3ona w. United
             air (2072). He has experience testifying before congressional committees2 and providing
           expert testimony in legal proceedings.3

          Pew Research Center
          Founded in 2004, the Pew Research Center is a nonpartisan, nonprofit research organization
          based in Washington, D.C., known for its data-driven studies on a broad range of topics,
          including demographics and immigration. The Center does not take policy positions or
          advocate for specific policies.

          Dr. Jeffrey S. Passel, Senior Demographer, Pew Research Center
          Dr. Passel is widely recognized for his demographic expertise and as one of the nation's
          premier experts on immigration. He developed demographic methods for estimating the
          unauthorized immigrant population that are widely used by scholars in many fields. As a
          senior demographer at the Pew Research Center, he authored and contributed to significant
          reports on the size and characteristics of the undocumented immigrant population, which
          are frequency cited in legal and academic discussions. Dr. Passel previously held positions at
          the Urban Institute and the U.S. Census Bureau. He holds a Ph.D. from]ohns Hopkins
          University.

          Dr. Passel has testified before congressional committees and federal agencies.4 His research
          has been cited in high profile cases including /re 0/m v. United Maier (2072). Dr. Passel has
          also provided expert testimony in court cases over the past four decades.5

          Migration Policy Institute (MPI)
          Founded in 2001, MPI is a nonpartisan research organization based in Washington, D.C., on
          the study of migration and immigration policy in the United States and globally. The institute
          conducts in-depth research, produces reports, and provides analysis on a wide range of
          immigration-related topics, including legal and illegal immigration. The institute employs a
          team of experienced researchers, demographers, and policy analysts who produce high-
          quality, rigorous studies.

           Dr. Randy Capps, Director of Research for U.S. Programs, Migration Policy
           Institute



2 Wee Fixed/ Cost; of t/ye Preftdentk Exeetztiee Action on I/ezftegration, Hearing Before the H. Comm. on Oversight & Gov 't
Reform, 113th Cong. (Mar. 17, 2015).
3 Fir y. Kohueb. 309 F.Supp.3d 1048 (2018).
4 Imtze; Peeing Hifpanies in the Federal Law/ép/aee, Meeting of t/ye Eqtta/ E/ep/oyetent Opp0ettmtttw Co/w/winton. (October 23, 2008) .
5 Ct/01410 e. Be/drzge, 674 F. Supp. 1089 (1987).
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         Dr. Capps is a prominent researcher and demographer known for his work on immigration
         and migration policy for the Migration Policy Institute. He has provided research cited in
         legal proceedings.6 Dr. Capps holds a Ph.D. from the University of California, Berkeley.

         Center for Migration Studies (CMS)
         Founded in 1964 and affiliated with the Catholic Church, CMS is a nonprofit research
         organization based in New York City that focuses on issues related to immigration. The
         Center collaborates with academic institutions and researchers, which adds to its credibility.
         Many of its staff and affiliated researchers are respected scholars in the field of migration
         studies.

         Dr. Robert Warren, Senior Visiting Fellow, Center for Migration Studies
         Dr. Warren served as a demographer for 34 years with the United States Census Bureau and
         the former Immigration and Naturalization Service (INS). He is now a Senior Visiting
         Fellow at the Center for Migration Studies of New York.

         Dr. Warren has authored and coauthored numerous reports focusing on the size and
         characteristics of the undocumented immigrant population in the U.S. His work is often
         referenced in policy debates and legal proceedings. Dr. Warren's contributions to
         immigration research have made him a respected authority in the field. He holds a Ph.D.
         from Columbia University.

         FWD.us
         FWD.us is a nonprofit organization founded in 2013 by a group of technology leaders,
         including Mark Zuckerberg (Meta Platforms and Facebook), Reid Hoffman (Linkedln), and
         others, with the aim of advocating policies that benefit the tech industry, including
         immigration reform that makes it easier for skilled workers to enter and remain in the U.S.

         Dr. Phillip Connor, Senior Demographer, FWD.us
         Formerly a researcher at the Pew Research Center, Dr. Connor now serves as Senior
         Demographer for FWD.us. He holds a Ph.D. from Princeton University and has published
         peer-reviewed studies on immigration.




6 Rodrzgue W. Fin un, Civil Action No.: 2:15-cv-2317-BHH (2016) .
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Appendix C: United States
\Y/e estimate the United States in 2022 saw 255,000 births to unauthorized mothers, of which we
estimate 153,000 also had unauthorized fathers. Our calculations are shown in the following tables:


 Table 1. Estimated 2014 U.S. Births, by Mother's Nativity
           Mother's Nativity           - Births - Percent
     Unauthorized Foreign-bonl            291,     . 750/0
       Authorized Foreign-born            493,509     12.4%
              Native Born                3,180,564    80.1%
                     Total                           3,971,146         100%
 Source: Camarota, Ziegler, and Richwine, Center for Innnuig-ration Studies
 (2018)


 Table 2. Births to Foreign-Born Mothers 'm the U.S.

                                             NCHS Births to
               Year
                                              0oreign-Bom
                                     II

               2014                               872,256
                                     Il

               2022                               832,728
           Difference                              -39,528
        Percent Change                             -4.5%


 Table 3. Estimates of U.S. Foreign-Born Population
                                          2012-2016 ACS          2022 ACS          Change
     Foreign-Born Total
                                           42,194,354           46,182,177          9.5%
         Population
 Source: Census Bureau 2012-2016 5-Year ACS dataset and 2022 1-Year ACS dataset


 Table 4. Estimates of the U.S. Unauthorized Population
                 2014                2022            Change
  DHS         11,460,000          10,990,000          -4. 10/0

  Pew         11,100,000          11,000,000          -0.9%
  CMS         10,912,300          10,939,004           0.2%
 Average of Change Estimates for 2014-2022                               -1.6°/>
 Sources: DHS estimates from Baker and Warren (2024).
 Pew estimates from Passel 311d Krogstad (2024).
 CMS estimates from CMS (2022) and Warren (2024).
                                                                                                     15



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Table 5. Estimates of U.S.'s Unauthorized Population Compared to Foreign-Bonl Population

                     (A)            (B)                    (C )               (D)
               Unauthorized    Unauthorized          Change in              Pereent                (E)
                                                                                               Adjustment for
 Source          Share of        Share of           Share, 2014 to         Change in
                                                                                                Calculations
               Foreign-Born,   Foreign-Born,            2022                 Share
                    2014           2022                                                            (1-D)
                                                           (B-A)             (C/A)
           I                                    I                                          I

 DHS              27.2%           23.8%                    -3.4%            -12.4%                 87.6°/0
           I                                    I

 Pew              26.3%           23.8%                    -2.5%             -9.5%                 90.5%
 CMS              25.9%           23.7%                    -2.2%             -8.4%                 91 .6O/0
                                                I

 Average          26.4%           23.8%                    -2.7%            -10.1%                 89.9%




Table 6. Calculating U.S. Births to Unauthorized Mothers in 2022
                                                    Adjustment for
                                    Change in         Change in
Statistic     2014 Births         Foreign-Born      Unauthorized                 2022 Births
                                Births, 2014-2022    Share, 2014-
                                                  I    I
                                                        2022
Estimate           297,073             -4.5%                       89.9%             :
                                                                                   2 »,012




Table 7. Calculating U.S. Births to Unauthorized Parents in 2022
                                 Estimated share             Estimated births with
NDC estimate of births to
                                with unauthorized           unauthorized mother and
unauthorized mothers
                                      father                         father
           255,012                    60.0°/o                          153,007




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Table A-1: Composition of U.S. Households with at Least One
Unauthorized Member
                    Unauthorized        Authorized            Total                      Percent
Source
                     Population         Population          Population                 Unauthorized
                                                             I                    I
Total Population         10,990,000         10,160,000             21,150,000              52%
                                                             I                    I
Children                  1,454,051          5,470,000             6,924,051               21 °/o
                                                             I                    I
Adults                    9,535,949          4,690,000             14,225,949             67 .0%




Table A-2: Probability Calculation
                        Unauthorized        Authorized               Total               Percent
Source
                         Population         Population             Population          Unauthorized
                   II                  II                                         II

Adults                    9,535,949          4,690,000             14,225,949             6 .00"0
                   II                  Il                                         II

Unauthorized
                          255,000               0                   255,000               100%
Mothers             I                                                             I
Adults Excluding
                          9,280,949          4,690,000             13,970,949             66.4%
Mothers



Table A-3: Alternative Estimate of Both Parents being
Unauthorized in the U.S.
                                                  Unauthorized
                                                    Population
                                                 I
2022 Births to Unauthorized Mothers                      255,000
Probability of the Father Being Unauthorized             66.4°/o
2022 Births with Both Parents Unauthorized               169,397




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Appendix D: Arizona
\Yee estimate Arizona in 2022 saw 6,000 births to unauthorized mothers, of which we estimate 3,400
also had unaudlodzed fathers. Our calculations are shown in the following tables:

 Table 1. Estimated 2014 Arizona Births, by Mother's Nativity
              Mother's Nativity                Births     Percent
           Unauthorized Foreign-born                       . 9,430     .   10.9°/o
            Authorized Foreign-born                           8,233         9.5%
                 Native Bom                                   68,612       79.5%
                     Total                                    86,275       100%
 Source: Camarota, Ziegler, and Richwine, Center for Immigration Studies (2018)




                                             NCHS Births to
                 Year
                                              0oreign-Born
                  2014                              18.909
                  2022                                 .521
                                                       ~




              Difference
          Percent Change



 Table 3. Estimate of Arizona's Foreign-Bom Total Population

 Foreign-Born Total Population 1
                                 I   2012-2016 ACS
                                        901,548
                                                        2022 ACS
                                                          962,688
                                                                                     I     Change
                                                                                            6.8%
 Source: Census Bureau 2012-2016 5-Year ACS dataset and 2022 1-Year ACS dataset



 Table 4. Estimates of Arizona's Unauthorized Foreign-Born Total Population
                                         2014              2022            Change
 DHS                                    350,000           290,000          -1 -.10"o             .a




 Pew                                    325,000           250,000           - 2 1 0 xo
 CMS                                    27 ,000           248,976           -10.1%
 Average of Change Estimates for 2014-2022                                                 -16.8°/o
 Sources: DHS estimates from Baker (2017) and Baker and WZIICH (2024).
 Pew estimates from Passel and Krogstad (2024).
 CMS estimates from CMS (2022) and Waned (2024) .


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Table 5. Estimates of Arizona's Unauthorized Population Compared to 0oreign-Born
Population

                                                   (B)                        (C)                   (D)                (E)
                      (A)                     Unauthorized                Change in               Percent        Adjustment
                  Unauthorized
SOUICC                                          Share of                  Share, 2014          Change 'm             for
                Share of Foreign-
                                              Foreign-Born,                 to 2022              Share           Calculations
                    Born, 2014
                                                  2022                       (B-A)                (C/A)                (1-D)
            I                             I                                                I

D HS                    38.6°/0                  30. 1%                     -8. /0:               -22.4%               77.6%
Pew                     36.0%                    26.0°/o                    -10.1%                -28.0%               72.0%
CMS                     30.7%                    25.9%                      -4.9%                 -15 . 8%             84.2°/o
Average                 35.2%                    27.3%                      -7.9%                 -22.1%               77.9%




Table 6. Calculating Arizona Births to Unauthorized Mothers in 2022
                                                       Adjustment for
                                         Change in
                                                         Change in
                                                       Foreign-Born
Statistic                    2014 Births                                           Unauthorized             2022 Births
                                                       Births, 2014-
                                                                                    Share, 2014-
                                                           2022
                                                  II                         II
                                                                                       2022            Il

Estimate                          9,430                        -17_90/0                -'7.9°/0                6,033




Table 7. Calculating Arizona Births to Unauthorized Parents in 2022
                                                                                   Estimated births with
NDC estimate of births                    Estimated share with
                                                                                  unauthorized mother and
to unauthorized mothers                   unauthorized father
                                                                                           father
                6,033                             56 . 50/'0                                   3,410




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Table A-1: Composition of Arizona Households with at Least One Unauthorized
Member

                     Unauthorized           Authorized         Total                    Percent
Source
                      Population            Population       Population               Unauthorized

Total Population        290,000              220,000           510,000                    57%
Children                 37,215              140,000           17      ,215               21%
Adults                  252,785               80,000           332,785                   76.0%
                                                                                  I




Table A-2: Probability Calculation

                            Unauthorized          Authorized              Total             Percent
Source
                             Population           Population            Population        Unauthorized
                                              I                    I
Adults                            252,785           80,000               332,785                76.0o/0
                                              I                    I
Unauthorized Mothers               6,000               0                      6,000              100°/o
                                              I                    I
Adults Excluding
                                  246,785           80,000               326,785                75.5°/o
Mothers



Table A-3: Alternative Estimate of Both Parents being Unauthorized in
Arizona
                                                           Unauthorized
                                                            Population
2022 Births to Unauthorized Mothers                                       6,000
                                                               I

Probability of the Father Being Unauthorized                   I
                                                                          75.5%
2022 Births with Both Parents Unauthorized                                4,531




                                                                                                          20




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Appendix E: Illinois
\Yee estimate Arizona in 2022 saw 9,100 births to unauthorized mothers, of which we estimate 5,200
also had unaudlodzed fathers. Our calculations are shown in the following tables:


 Table 1. Estimated 2014 Illinois Births, by Mother's Nativity
           Mother's Nativity              - Births - Percent
      Unauthorized Foreign-boni           . 13,94 . 8.8%
       Authorized Foreign-boni               18,380    11. 0/'0
              Native Bom                  . 124,500 . 79 . 5o40
                      Total                            156,654         100%
 Source: Camarota, Ziegler, and Richwine, Center for Innnuig-ration Studies
 (2018)


 Table 2. Births to Foreign-Born Mothers in Illinois
                                        NCHS Births
               Year                      to Foreign-
                                             Born
                                   II

               2014                          35,386
                                   Il

               2022                          27,041

         Difference                          -8,345
       Percent Change                        -23.6%


 Table 3. Estimate of Illinois's Foreign-Born Total Population
                                  I 2012-2016 ACS    2022 ACS                 Change
      Foreign-Born Total
                                       1,791,568      1,810,100                 1 .0%
             Population
 Source: Census Bureau 2012-2016 5-Year ACS dataset and 2022 1-Year ACS
 dataset

 Table 4. Estimates of Illinois's Unauthorized Foreign-Born Total Population
                                                  2014               2022     Change
 DHS                                           530,000             420,000     -20.80/<

 Pew                                           450,000             400,000     -11 .1°/c

 CMS                                     I
                                               454,600             429,361     -5.60/<

 Average of Change Estimates for 2014-2022                                     -12.5%
 Sources: DHS estimates from Baker (2017) and Baker and Warrexl (2024).
 Pew estimates from Passel and Krogstad (2024).
 CMS estimates from CMS (2022) and Waned (2024).
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Table 5. Estimates of Illinois's Unauthorized Population Compared to Foreign-Born
Population
                                                                                          (E )
                  (A)               (B)                   (C)              (D)         Adjustment
             Unauthorized      Unauthorized            Change in         Percent
                                                                                           for
SOUICC         Share of          Share of             Share, 2014 to    Change in
                                                                                       Calculation
             Foreign-Born,     Foreign-Born,              2022            Share
                                                                                            s
                     2014           2022                 (B-A)            (C/A)
                                                                                          (1-D)
DHS                 29.6%          23.2%                  -6.4%           -21.6°/o       78.4%
Pew                 25. 1%         22.1°/o                -3.0%           -12.0°/o       88.0%
CMS                 25.4%          23.7%                  - 1 .7o/0       -6.5%          93.5%
Average             26.7%          23.0%                  -3.7%           -13.4%         86.6°/>




Table 6. Calculating Illinois Births to Unauthorized Mothers in 2022
                              Change in            Adjustment for
                             Foreign-Bom            Change in
Statistic     2014 Births                                              2022 Births
                             Births, 2014-          Unauthorized
                                 2022              Share, 2014-2022
Estimate            13,774      -23.6%                  86.6°/o            9,119


Table 7. Calculating Illinois Births to Unauthorized Parents in 2022
                                                              Estimated births with
NDC estimate of births        Estimated share with
                                                             unauthorized mother and
to unauthorized mothers       unauthorized father
                                                                      father
            9,119                     5*. 1 °»"o                       5,211




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Table A-1: Composition of Illinois Households with at Least One Unauthorized
Member
                   Unauthorized        Authorized         Total          Percent
Source
                     Population        Population      Population     Unauthorized
                                                                              I
Total Population        420,000             460,000             880,000                48°/o
Children                61 139              230,000             291,139                21%
                                                                              I
Adults                  358,861             230,000             588,861              60.9%




Table A-2: Probability Calculation
                            Unauthorized           Authorized               Total                Percent
Source
                             Population            Population             Population           Unauthorized
                                              II                                          Il

Adults                            358,861             230,000              588,861                60 . 9%
                                              II                                          Il

Unauthorized Mothers               9,100                0                   9,100                 100%
                                                                                          Il

Adults Excluding
                                  349,761             230,000              579,761                60.3%
Mothers


Table A-3: Alternative Estimate of Both Parents being Unauthorized in Illinois
                                                                      Unauthorized
                                                                       Population
                                                                 I
2022 Births to Unauthorized Mothers                                        9,100
                                                                 Il

Probability of the Father Being Unauthorized                              60.3%
2022 Births with Both Parents Unauthorized                                 5,490




                                                                                                     23




                                                                                   Supp.Add.240
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Appendix F: Oregon
We estimate Oregon in 2022 saw 2,500 births to unauthorized mothers, of which we estimate 1,500
also had unauthorized fathers. Our calculations are shown in the following tables:


 Table 1. Estimated 2014 Oregon Births, by Mother's Nativity
              Mother's Nativity                     Births                                   Percent
         Unauthorized Foreign-bom           I
                                                    3,416
                                                          I
                                                                                              7.8%
          Authorized Foreign-born                   4,933                                     11.2%
                Native Bom                          35,67"                                    81 .0°/o

                        Total                                       44,026                    100%
Source: Camarota, Ziegler, and Richwine, Center for Innnnigration Studies (2018)


 Table 2. Births to Foreign-Bom Mothers in Oregon

                                          N CH S Births to
                                           Foreign-Born

              2014
              2022                                 .140
           Difference
       Percent Change


 Table 3. Estimate of Oregon's Foreign-Born Total Population
                       2012-2016 ACS     2022 ACS I       Change
 Foreign-Born Total
                                  390,613                 420,943                  7.8%
     Population
 Source: Census Bureau 2012-2016 5-Year ACS dataset and 2022 1-Year ACS dataset



 Table 4. Estimates of Oregon's Unauthorized Foreign-Bonl Total Population
                                  2014           2022           Change
 DHS                               NA             NA                NA
                                                                   '7
 Pew                             130,000        120,000          - / .7%

 CMS                             121 ,200       116,395          -4.0%
Average of Change Estimates for 2014-2022                                                 -5.8%
 Sources: DHS estimates from Baker (2017) and Baker and Warren (2024).
 Pew estimates from Passel and Krogstad (2024).
 cMs estimates from cms (2022) and Waned (2024).

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 Table 5. Estimates of Oregon's Unauthorized Population Compared to Foreign-Born
 Population

                         (A)            (B)                (C)              (D)             (E )
                Unauthorized       Unauthorized        Change in          Pereent        Adjustment
 SOUICC           Share of           Share of          Share, 2014      Change in            for
                Foreign-Born,      Foreign-Bom,          to 2022           Share         Calculations
                     2014              2022               (B-A)            (C/A)            (1-D)
            I

 DHS                     NA             NA                 NA               NA                  NA
 Pew                    33.3%          28.5%              -4.8%            - 14.3%          85.7%
 CMS                    31 .0o/0       27.7%              -3.4%           -10.9°/o          89. 1°/o

 Average                32.2%          28.1%              -4.1%            -12.6°/o         87.4%




 Table 6. Calculating Oregon Births to Unauthorized Mothers in 2022
                                             Adjustment for
                              Change in
                                               Change in
                             Foreign-Bom
 Statistic    2014 Births                    Unauthorized      2022 Births
                             Births, 2014-
                                              Share, 2014-
                                 2022
                                                  2022
 Estimate               3,416        -16.2%             87 . 4%             2,502




 Table 7. Calculating Oregon Births to Unauthorized Parents in 2022
                                                                Estimated births with
 NDC estimate of births            Estimated share with
                                                               unauthorized mother and
 to unauthorized mothers           unauthorized father
                                                                        father
                2,502                      61 .2o/0                       1,532



Note: data are not available for the alternative calculations of births when both parents are
unauthorized.




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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   STATE OF WASHINGTON; STATE OF                      NO. 2:25-cv-00127
     ARIZONA; STATE OF ILLINOIS; and
10   STATE OF OREGON,
                                                        DECLARATION OF
11                             Plaintiffs,              DR. CHARISSA FOTINOS
12      v.
13   DONALD TRUMP, in his official capacity
     as President of the United States, U.S.
14   DEPARTMENT OF HOMELAND
     SECURITY; BENJAMINE HUFFMAN, in
15   his official capacity as Acting Secretary of
     Homeland Security, U.S. SOCIAL
16   SECURITY ADMINISTRATION;
     MICHELLE KING, in her official capacity
17   as Acting Commissioner of the Social
     Security Administration, U. S .
18   DEPARTMENT OF STATE; MARCO
     RUBIO, in his official capacity as Secretary
19   of State, U.S. DEPARTMENT OF
     HEALTH AND HUMAN SERVICES;
20   DOROTHY FINK, in her official capacity
     as Acting Secretary of Health and Human
21   Services, U.S. DEPARTMENT OF
     JUSTICE, JAMES MCHENRY, in his
22   official capacity as Acting Attorney
     General, U.S. DEPARTMENT OF
23   AGRICULTURE; GARY WASHINGTON,
     in his official capacity as Acting Secretary
24   of Agriculture, and the UNITED STATES
     OF AMERICA,
25
                               Defendants .
26


     DECLARATION OF                                 1            ATTORNEY GENERAL OF WASHINGTON
                                                                         Civil Rights Division
     DR. CHARISSA FOTINOS                                             800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                             Seattle, WA 98104-3188
                                                                             (206) 464-7744
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 1           I, Dr. Charissa Fotinos, declare as follows:
2            1.     I am over the age of 18, competent to testify as to the matters herein, and make
 3   this declaration based on my personal knowledge.
4            2.     I am the State Medicaid Director for the Washington State Health Care Authority
 5   (HCA). I have been employed with HCA since October l, 2013 and held this position since
 6   2022.   As State Medicaid Director, I am responsible for executive level oversight and
 7   administration of the Washington Apple Health (Medicaid) program, which provides more than
 8   two million Washington residents with integrated physical and behavioral health services. In this
 9   role I oversee Medicaid and the Children's Health Insurance Program (CHIP) in Washington,
10   which are programs governed by federal rules and supported by federal funding, but
11   administered by the State. I have also served, since 2022, as HCA's Behavioral Health Medical
12   Director.

13           3.     Before beginning my role as State Medicaid Director in 2022, I served in the same
14   role in an acting capacity beginning in 2021. I have served as the Deputy Chief Medical Officer
15   since 2013. Prior to joining HCA, I served as Chief Medical Officer for Public Health-Seattle &
16   King County for 10 years and have served as a physician faculty member at the Providence
17   Family Medicine Residency Program. By way of formal training and medical practice, I am
18   board certified by the American Board of Family Medicine in Family Medicine and by the
19   American Board of Preventive Medicine in Addiction Medicine. I hold a Master of Science in
20   evidence-based health care from Oxford University, Kellogg College, in England, and an M.D.
21   from the University of Colorado Health Sciences Center.
22           4.     HCA is the designated single state agency responsible for administering
23   Washington's Medicaid program and Children's Health Insurance Program (CHIP), federal
24   programs regulated by the U.S. Department of Health and Human Services. Medicaid and CHIP
25   are jointly funded by both state and federal dollars, though at different rates, as explained below.
26   HCA also administers some state funded health care programs, including the Children's Health


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 1   Program (CHP) and the recently launched Apple Health Expansion (which in July 2024 began
2    providing coverage for individuals 19 and older who do not qualify for other Apple Health
 3   (Medicaid) programs due to immigration status).
4           5.      As explained below, Washington Apple Health is an umbrella term or "brand
 5   name" for all Washington State medical assistance programs, including Medicaid. HCA is
 6   Washington's Medicaid authority, its behavioral health authority, and functions as the largest
 7   purchaser of health coverage in Washington. It is a leader in ensuring Washington residents have
 8   access to services and interventions that support health, and it is committed to whole-person
 9   care, integrating physical and behavioral health services for better results and healthier
10   communities in Washington. HCA purchases health care for nearly 2.8 million people through
11   Apple Health (Medicaid) and other programs. Apple Health programs serve approximately 1.9
12   million individuals per month in Washington.
13          6.      Medicaid is the federally matched medical aid program under Title XIX of the
14   Social Security Act (and Title XXI of the Social Security Act for the Children's Health Insurance
15   Plan) that covers the Alternative Benefit Package (ABP), Categorically Needy (CN) and
16   Medically Needy (MN) programs. The program is a state and federal partnership with states
17   funding a portion of the program (as noted, usually up to 50 precent). In Washington, as noted,
18   Medicaid is provided under the name Apple Health. It provides coverage for a broad array of
19   services, including preventative care and other health care services.
20          7.      The table below illustrates the state fiscal year 2025 forecasted expenditure
21   dollars in the thousands for the physical health, non-behavioral health services, side of HCA's
22   programs. Funds are broken out by federal (GFF) and state (GFS) expenditures. Medicaid]
23   includes funds associated with all Title XIX eligibility groups. CHIP2 includes children covered
24   under Title XXI. State only3 programs in Washington include Medical Care Services (MCS),
25   Children's Health Plan (CHP), post-partum coverage for non-citizen pregnant women and the
26   Apple Health Expansion (AHE), among others. States, including Washington, use federal


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 1   Medicaid funds for the Alien Emergency Medical (AEM) program, which is also known as
 2   Emergency Medicaid.
 3

 4                  FY 2025 HCA PH Forecasted Expenditures ($s in Thousands)
 5                                                   GFF              GFS                 Total
 6    Medicaid                                     6,427,949        3,222,626            9,650,575

 7    CHIP (Children)                               105,594           55,974              161,569

 8    AEM                                            31,828           20,527              52,355

 9    Non-Citizen Pregnant Women through
10    post-partum                                                                         82,168
                                                     31,799          50,369
11    CHP                                                                                 60,067
                                                     4,553            55,514
12    MCS                                               181           18,593              18,774
13
      AHE (includes AEMfor AHE clients)              31,738          102»775              134,514
14
      Total                                        6,633,644        3,526,378           10,160,022

15

16
              8.    Within the Information Technology Innovation and Customer Experience
17
     Administration at HCA, roughly 350 state staff are responsible for determining eligibility for
18
     Apple Health programs, providing customer service, and managing eligibility policy for the
19
     majority of state and federally-backed Apple Health programs serving approximately 1.9 million
20
     Washingtonians. In addition to providing direct access to the programs, this administration is
21
     responsible for coordinating with the Department of Social and Health Services (DSHS) for
22
     administering Supplemental Security Income (SSI)-related and Long-Term Services and
23
     Supports Medicaid programs for the aged, blind or disabled populations.
24
              9.    Medicaid eligibility is comprised of three income methodologies: Modified
25
     Adjusted Gross Income (MAGI) methodology, non-MAGI methodology, and deemed eligibility
26


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 1   (SSI recipients or Foster Care/Adoption support coverage). Programs under MAGI rules include
2    coverage for adults aged 19-64, pregnant women, families, and children. Programs under non-
 3   MAGI rules include aged, blind or disabled populations. Deemed eligibility means that a person
4    is granted coverage based on their categorical relationship to the program. For example, a person
 5   receiving SSI automatically receives full scope Medicaid coverage. All programs have the same
 6   level of coverage. With our community, state, and national partners, HCA is committed to
 7   providing evidence-based, cost-effective services that support the health and well-being of
 8   individuals, families, and communities in Washington State.
 9          10.     Federal Medicaid rules direct states to look at income and residency rules first
10   and then determine whether someone is a citizen or has a satisfactory immigration status to
11   determine eligibility. Individuals who are undocumented and do not have a lawful, qualifying
12   immigration status, are not eligible for federal Medicaid or other benefits. The limited exception
13   involves the federal program for undocumented or non-qualified individuals to receive
14   emergency medical care coverage if they are otherwise eligible for Medicaid. This is also known
15   as Emergency Medicaid. In Washington, this is available through the limited Alien Emergency
16   Medical (AEM) program. This program covers emergency health care for a limited set of
17   qualifying emergent medical conditions. Individuals must be categorically relatable to an
18   existing Medicaid program-in other words, they must meet the income or other requirements-
19   but not be eligible for a program solely due to immigration status requirements. As part of the
20   Medicaid program, this is a joint federal and state funded program and is available to non-
21   pregnant individuals with emergent medical conditions, including labor and delivery for
22   pregnant clients, breast and cervical cancer, dialysis treatment and some long-term care services .
23   When individuals who are undocumented or non-qualified receive emergency coverage under
24   AEM, the federal matching rate is 50 percent, meaning that federal funds cover 50 percent of the
25   cost and state funds cover 50 percent of the cost.
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 1          11.     Coverage programs for children are also provided under the name Apple Health
2    for Kids. From a public-facing standpoint, Washington's Apple Health covers all kids regardless
 3   of immigration status up to 317 percent of the Federal Poverty Limit (FPL). Funding for the
4    coverage, though, depends on a child's eligibility for different programs.
 5          12.     Below 215 percent of the FPL, for children who are citizens or qualified and
 6   authorized immigrants, the funding for this coverage is through Medicaid.
 7          13.     Between 215 and 317 percent of the FPL, for children who are citizens or
 8   qualified and authorized immigrants, the funding for this coverage comes through CHIP, and
 9   households pay a minimal premium for kids coverage. CHIP is a federally matched health
10   coverage program that expands coverage to children above the Medicaid cutoff. Washington's
11   CHIP offers comprehensive healthcare coverage to children through age 18, who reside in
12   households with incomes between 215 percent and 317 percent of the FPL, whereas Medicaid
13   covers eligible children below that range.
14          14.     While provided in Washington under the name Apple Health, coverage provided
15   under the CHIP program operates separately from Medicaid on the funding side. Historically,
16   CHIP federal match has been 65 percent. It was increased as high as 88 percent for a period of
17   time in recent years, but now is at 65 percent. This means that coverage provided to eligible
18   children under the CHIP funding structure results in federal funds covering a higher portion of
19   the expenses. Children who would have been eligible for Washington's CHIP-funded coverage
20   programs had they met immigration status requirements can receive coverage through the state-
21   funded Apple Health for Kids (CHP).
22          15.     Apple Health also covers all pregnant women regardless of immigration status
23   with income at or below 215 percent of the FPL. This is possible because their unborn children
24   are deemed covered at conception, so even though the mother may not have a legal immigration
25   status, the child will be bom a U.S. citizen and is therefore eligible under CHIP from conception
26   through birth. After the child is born, the child (as a U.S. citizen) can remain covered under


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 1   Medicaid while the mother is no longer covered under the federal program. Historically,
2    Washington's annual federal CHIP award totals about $250 million. That funding, combined
 3   with the appropriate state funds, can be used for many purposes including prenatal health care
4    for immigrants who might not qualify for Medicaid.
 5           16.    As of December 2024, HCA administers Medicaid and CHIP funded coverage
 6   for more than 860,000 children in Washington. HCA estimates that coverage on a per-child basis
 7   costs approximately $2,844 per year on average for physical health care coverage. For this
 8   coverage, Washington expended approximately $2.37 billion with approximately $1.3 billion
 9   coming from the federal government under Medicaid and CHIP. With respect to the state-only
10   funded CHP, there were approximately 30,000 children covered. Additionally, the State
11   expended approximately $60 million with approximately $4.5 million from the federal
12   government under Medicaid as part of AEM (for emergency medical services).
13           17.     Under federal law, HCA must provide Medicaid and CHIP coverage to citizens
14   and qualified noncitizens whose citizenship or qualifying immigration status is verified and who
15   are otherwise eligible. Applications for coverage are processed either through the Washington
16   Healthplanfinder (administered by the Health Benefit Exchange) where eligibility is based on a
17   MAGI determination or through the Department of Social and Health Services (DSHS) for other
18   eligible individuals. Citizenship or eligibility status is one eligibility factor that HCA must verify
19   for Apple Health (Medicaid and CHIP) coverage. There are multiple ways that HCA verifies
20   citizenship or immigration status to determine eligibility.
21           18.     Generally speaking, for MAGI-based coverage, HCA first uses an individual's
22   Social Security Number (SSN) along with the individual's name and date of birth to
23   automatically check the SSN with the Social Security Administration (SSA) in order to confirm
24   identity and citizenship through what is called the "federal hub." For individuals who declare to
25   be lawfully present and have a SSN, HCA uses the SSN, name, and date of birth to confirm an
26   individual's status with the Department of Homeland Security. For individuals who have an SSN


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 1   and declare to be a citizen, but for whom citizenship cannot be automatically verified, HCA will
2    request verification from the individual of their citizenship. And when an individual is applying
 3   for Classic Apple Health/non-MAGI through DSHS, SSN and citizenship are automatically
4    verified through an interface with the SSA.
 5           19.    In instances where citizenship is not or cannot be verified by those automatic
 6   means (such as where an individual claims to be a citizen or have a qualifying status but HCA
 7   cannot verify it through the automatic process because the individual lacks an SSN), an
 8   individual can be approved for Medicaid/CHIP coverage based on their attestation and given a
 9   reasonable opportunity to provide verification. On that issue, a declaration of citizenship or
10   satisfactory immigration status may be provided in writing, and under penalty of perjury by an
11   adult member of the household, an authorized representative, or someone acting for the
12   applicant. States must provide otherwise eligible individuals with a "reasonable opportunity
13   period" to verify their satisfactory immigration status. Individuals making a declaration of a
14   satisfactory citizenship or immigration status are furnished at least 90 days of coverage in order
15   to resolve any unverified issues. If an individual's status is found to be unsatisfactory before the
16   90 days, their eligibility is determined and their coverage closed. If at the end of the 90 days, the
17   individual still has not resolved their status, they can have an additional 90 days to continue
18   working towards resolution. This is a manual process in which HCA works to verify an
19   individual's citizenship or status on a case-by-case basis. It is administratively burdensome for
20   both the individual and for HCA staff.
21          20.      HCA's Application for Health Care Coverage is the form individuals can use to
22   apply for Apple Health and is thus one way HCA can determine whether the individual is eligible
23   for free or low-cost health care coverage through Apple Health (Medicaid), Apple Health for
24   Kids and Apple Health for Kids with Premiums (also known as CHIP), or other state-funded
25   programs. As part of that application, individuals must submit their (or if applying for their child,
26   their child's) Social Security Number (SSN), date of birth, immigration information if

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 1   applicable, and income information. As the application explains, HCA uses SSNs and other
2    immigration document numbers to determine eligibility.
 3          21,     I understand that the President has issued an Executive Order that will deny
4    birthright citizenship to children born in Washington depending on their parents' citizenship or
 5   immigration status. The federal government's policy of ending birthright citizenship for children
 6   born in the United States based on their parent(s)' non-citizen/immigration status will have a
 7   variety of widespread impacts on Washington's medical benefits programs, including a decrease
 8   in receipt of proper medical care for children born in Washington and increased operational and
 9   administrative costs for Washington.
10          22.     In addition to impacts on those subj ect to this new policy will have a direct impact
11   on HCA's administration of its healthcare programs and the amount of federal funding
12   Washington receives to reimburse medical expenses for children in Washington.
13          23.     Washington has made tremendous strides in reducing the number of uninsured
14   individuals. Many immigrants are direct beneficiaries of this progress. In 2007, Washington
15   became one of the first states to adopt a local policy to cover all kids with income up to 312
16   percent of the federal poverty level regardless of immigration status. Washington has continued
17   to improve and broaden coverage options for children residing in Washington and worked to
18   streamline the application process and make public-facing materials easy to understand for
19   parents seeking coverage for themselves and their children. This is possible using both state and
20   federal Medicaid and CHIP dollars as appropriate. Evidence shows that uninsured individuals
21   suffer significant negative health impacts and the economic impacts of an increase in the
22   uninsured rate could be severe.
23          24.     Washington's current Medicaid and health benefits programs are structured
24   around the significant reimbursements from the federal government, and any loss of funding
25   would have serious consequences for HCA and those individuals it serves. The federal
26   government action of taking away birthright citizenship from children born in Washington will


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 1   result in babies being born as non-citizens with no legal status. That will result in direct loss of
2    federal reimbursements to the State for coverage provided to those children because eligibility
 3   for federally matched programs such as Medicaid and CHIP depend on the individual's
4    eligibility under federal law, which necessarily depends on their citizenship or immigration
 5   status. In particular, federally matched coverage to many children that would have been provided
 6   under Medicaid or CHIP will very likely be lost, since those programs are not available to
 7   unauthorized individuals aside from Emergency Medicaid/AEM coverage. This will necessarily
 8   result in a shift to the State of funding responsibility for this group of children, which poses a
 9   direct threat to the ability of the State to provide meaningful healthcare to all in need without
10   interruption. It will also likely result in a significant number of children who may go uninsured
11   and receive only emergency care when absolutely necessary, leading to worse health outcomes
12   as they grow up and more expensive care through emergency procedures. Indeed, if infants or
13   children go insured, they are not likely to be immunized, which puts them, their families, and
14   the communities at higher risk of infectious disease.
15           25.     Additionally, there will be substantial uncertainty and administrative burdens for
16   HCA in providing coverage to pregnant women and their unborn children. As noted above,
17   Washington is able to provide coverage to all pregnant women, regardless citizenship status, for
18   prenatal care under the CHIP program because the unborn children are covered under CHIP. If
19   the children are no longer to be citizens at birth, HCA will be left in limbo to determine whether
20   coverage to those vulnerable pregnant women will be able to be covered, and if so, under what
21   program. This is likely to pose a significant barrier to HCA providing streamlined coverage to
22   women in need. In particular, HCA will need to do additional outreach to families, make systems
23   changes and dedicate additional employee time to support understanding families' ongoing
24   eligibility based on their child's citizenship at birth. This will put HCA and hospitals in a difficult
25   and complex situation, requiring us to dedicate additional resources to understanding new or
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 1   unclear eligibility requirements and complicating providers' ability to be paid for services
2    provided.
 3          26.      The removal of birthright citizenship is also like to cause coverage lapses, or at a
4    minimum, result in direct shifts to the State with respect to the cost of funding healthcare
 5   coverage for children who would have otherwise been eligible for Medicaid and/or CHIP. These
 6   are not impacts that can be avoided. For example, with respect to emergency care, the State and
 7   its providers will be required to absorb costs that would normally be recoverable through federal
 8   reimbursements under Medicaid and CHIP. Hospitals must provide emergency medical care
 9   under federal law, including EMTALA and the relevant Emergency Medicaid provisions. They
10   cannot turn patients away as a general rule. Such emergency services, if provided to a child
11   otherwise eligible for Medicaid but for their immigration status, will still be covered in part by
12   the federal government at the 50 percent match rate for Medicaid. However, if a child is a citizen
13   and covered under CHIP, such services would be covered and reimbursed at the 65 percent match
14   rate. If that same child is deemed a non-citizen at birth (and thus is ineligible for CHIP), the State
15   will be left to pay for that care. Indeed, Washington's state-funded Children's Health Program
16   (CHP) would provide coverage, as is required under state law. As a result, for each child that
17   would be eligible for CHIP but for their new non-citizen status, the State will lose the 65 percent
18   federal reimbursement for any emergency care provided-solely because the child, now as a
19   non-citizen, would not be eligible for CHIP.
20          27.      This poses an immediate risk to HCA's federal funding stream used to provide
21   healthcare coverage to vulnerable Washington newborns and children. In state fiscal year 2022,
22   there were 4,367 children bom to unauthorized and non-qualifying mothers whose labor and
23   delivery was covered by AEM (Emergency Medicaid). Those children, by being bom in the
24   United States and deemed citizens, were eligible for Medicaid or CHIP programs. If this number
25   of children became ineligible due to a loss of citizenship and moved to the State-funded CHP
26   coverage, that would result in a loss of $6.9 million in federal reimbursements to Washington


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 1   and a corresponding increase to State expenditures of the same amount, based on the current
 2   expenditures for the complete physical and behavioral health package of benefits. Additionally,
 3   the state would no longer be able to use the CHIP to pay for pre-natal services/expenses for the
 4   non-citizen mother. Those services would presumably shift to state-only funded coverage.
 5   Maintaining pre-natal care and services is important for health outcomes for both the mother and
 6   child/fetus. Those costs associated with this pre-natal care shifting to a state-only program is not
 7   included here.
 8          28.       In order to respond and update its practices in light of the federal government's
 9   new policy, HCA will also need to develop updated comprehensive training for staff, partners,
10   and healthcare providers. For example, HCA will likely need to update its training and guidance
11   around which children are citizens and therefore eligible for Medicaid and CHIP programs, and
12   which must be funneled into state-only programs. This is a significant burden. This will likely
13   require the work of several members of the eligibility policy team (at least 7-8 FTEs) because it
14   would require changes touching several areas of internal expertise. Based on my team's
15   estimation, this would likely take around two to three years to complete given the need to modify
16   internal policies, public guidance, and formal rules, update training, and coordinate with state
17   agencies like DSHS. We estimate that it may require training for up to 2,000 staff and will require
18   coordination with staff in administrative hearings, communications, and for our external
19   community partners. It may also require additional legislative solutions at the state level.
20   Ultimately, this is counterintuitive, puts the health of children at risk, creates unfunded care
21   mandates for already overburdened hospital systems and unwinds all the progress that has been
22   achieved to ensure that all Washingtonians have access to affordable care .
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 1          I declare under penalty of perjury under the laws of the State of Washington and the
 2   United States of America that the foregoing is true and correct.
 3          DATED and SIGNED this 2lS' day of January 2025, at Olympia, Washington.
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 6                                                Medicaid and Behavioral Health Medical Director
                                                  Washington State Health Care Authority
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                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
     STATE OF WASHINGTON; STATE OF                  NO. 2:25-cv-00127
10   ARIZONA; STATE OF ILLINOIS; and
     STATE OF OREGON,
11                                                  DECLARATION OF
                               Plaintiffs,          JENNY HEDDIN
12
        v.
13
     DONALD TRUMP, in his official capacity
14   as President of the United States, U.S.
     DEPARTMENT OF HOMELAND
15   SECURITY; BENJAMINE HUFFMAN, in
     his official capacity as Acting Secretary of
16   Homeland Security, U.S. SOCIAL
     SECURITY ADMINISTRATION;
17   MICHELLE KING, in her official capacity
     as Acting Commissioner of the Social
18   Security Administration, U. S .
     DEPARTMENT OF STATE; MARCO
19   RUBIO, in his official capacity as Secretary
     of State, U.S. DEPARTMENT OF
20   HEALTH AND HUMAN SERVICES;
     DOROTHY FINK, in her official capacity
21   as Acting Secretary of Health and Human
     Services, U.S. DEPARTMENT OF
22   JUSTICE; JAMES MCHENRY, in his
     official capacity as Acting Attorney
23   General, U.S. DEPARTMENT OF
     AGRICULTURE, GARY WASHINGTON,
24   in his official capacity as Acting Secretary
     of Agriculture, and the UNITED STATES
25   OF AMERICA,
26                             Defendants .


     DECLARATION OF JENNY HEDDIN                             ATTORNEY GENERAL OF WASHINGTON
                                                                     Civil Rights Division
     CASE NO. 2:25-cv-00127                                       800 Fifth Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744
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 1          I, Jenny Heddin, declare as follows:
2           l.      I am over the age of 18, competent to testify as to the matters herein, and make
4    this declaration based on my personal knowledge.
4           2.      I am the Deputy Secretary-Chief of Staff for the Washington State Department
 5   of Children, Youth, and Families (DCYF). I served as the Finance Director for Children's
 6   Administration from 2013 until the creation of DCYF in 2018. I also served as the Chief
 7   Financial Officer for DCYF from its creation until serving as DCYF's Director of Strategic
 8   Initiatives and Collaboration. I became DCYF's Chief of Staff on October 6, 2023. In these
 9   various roles, I oversaw administration of the Title IV-E grant, financial activities for child
10   welfare including foster care and now programmatic functions including foster care. I hold a
11   master's degree in Public Administration and have worked for Washington for 20 years.
12          3.      DCYF is a cabinet-level agency focused on the well-being of children. Its vision
13   is to ensure that Washington state's children and youth grow up safe and healthy-thriving
14   physically, emotionally, and academically, nurtured by family and community. DCYF is the lead
15   agency for child welfare services that support children and families to build resilience and health,
16   and to improve educational outcomes. It partners with state and local agencies, tribes, and other
17   organizations in communities across the state of Washington. It focuses on supporting children
18   and families at their most vulnerable points, giving them the tools they need to succeed.
19   According to brain science, laying a strong foundation early in life critically impacts healthy
20   development. And addressing trauma, especially at critical transition points in the lives of youth,
21   helps ensure successful transition into adulthood. To truly give all children the great start in
22   school and life they deserve, DCYF was created to be a comprehensive agency exclusively
23   dedicated to the social, emotional, and physical well-being of children, youth and families-an
24   agency that prioritizes early learning, prevention, and early intervention at critical points along
25   the age continuum from birth through adolescence.
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 1          4.      DCYF administers Washington's child welfare system which is funded in part
2    through an annual appropriation based on an open-ended formula grant entitlement operated by
4    the U.S. Department of Health and Human Services (HHS) Federal Foster Care Program under
4    Title IV, Subpart E of the Social Security Act (Title IV-E).
 5          5.      Title IV-E reimburses DCYF for a portion of the maintenance, administrative,
 6   and legal costs associated with caring for children placed in foster care. The state provides foster
 7   care services to children who are in danger of imminent physical harm from abuse or neglect,
 8   have been abused or neglected, are abandoned, or who have no parent capable of providing
 9   adequate care so that the children are in circumstances that endanger their psychological or
10   physical development. It provides Title IV-E reimbursable services to achieve permanency for
11   the children through family reunification, adoption, guardianship, or another approved living
12   arrangement. Title IV-E also partially reimburses expenses associated with permanent placement
13   of children through guardianship or adoption.
14          6.      While the state provides care for all children in foster care within its jurisdiction,
15   it is only reimbursed through Title IV-E for expenses associated with children who meet Title
16   IV-E eligibility requirements, including being United States citizens or qualifying non-citizens.
17   DCYF receives federal reimbursements for many of the expenses associated with the care of
18   dependent children eligible for Title IV-E. Services provided to individuals who are
19   undocumented or who do not have a qualifying immigration status, are not eligible for federal
20   Title IV-E reimbursement. Those individuals are also not entitled to other federally funded
21   benefits such as Medicaid. DCYF is also entitled to reimbursements for many types of
22   administrative and legal costs incurred in serving Title IV-E children.
23          7.      Title IV-E's "Adoption Assistance Program" is designed to facilitate the timely
24   permanence for children whose special needs or circumstances would otherwise make them
25   difficult to place. Under federal law, DCYF receives Title IV-E funding for the administrative
26   functions of the Adoption Assistance Program, including portion of a monthly stipend paid to


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 1   the adoptive parents to assist with the cost of caring for the child. In addition, Title IV-E also
2    provides for reimbursement for a onetime payment towards the cost of the adoption of a Title
4    IV-E eligible child. The maximum amount a family can receive in Washington is $1500. Title
4    IV-E reimburses the state for a portion of any ongoing legal and administrative expenses
 5   including the determination and redetermination of eligibility, fair hearings and appeals, rate
 6   setting, and other costs directly related only to the administration of the adoption assistance
 7   program. It also includes the administration of any grievance procedures, negotiation and review
 8   of adoption agreements, post-placement management of subsidy payments, recruitment of
 9   adoptive homes, placement of the child in the adoptive home, case reviews conducted during a
10   specific preadoptive placement for children who are legally free for adoption, case management
11   and supervision prior to a final decree of adoption, a proportionate share of related agency
12   overhead, referral to services, development of the case plan, home studies, and a proportionate
13   share of the development and use of adoption exchanges.
14          8.      Title IV-E's "Guardianship Assistance Program," like the Adoption Assistance
15   Program, assists with the expense of achieving permanency for the dependent child. When a
16   child is placed with a qualifying relative, the agency can receive partial reimbursement for
17   related expenses and the monthly stipend provided to the relative guardian to assist with the cost
18   of caring for the child, as well as for the same kind of legal and administrative services as
19   provided for under the Adoption Assistance Program.
20          9.      Title IV-E's "Foster Care Program," provides partial reimbursement for the
21   regular costs of supervising and providing foster care services to children, including eligible
22   youth up to their twenty-first birthday. This includes payments to cover the cost of (and the cost
23   of providing) food, clothing, shelter, daily supervision, school supplies, a child's personal
24   incidentals, liability insurance with respect to a child, reasonable travel to the child's home for
25   visitation, and reasonable travel for the child to remain in the school in which the child is enrolled
26   at the time of placement. In the case of institutional care, it also includes the administration of


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 1   providing all the services detailed above. The state can also claim reimbursement for part of the
2    cost establishing eligibility, training of staff and foster parents, and ongoing case management
4    so long as the child remains eligible and requires services.
4           10.     Under the "Foster Care Program," the state can also claim reimbursement for part
 5   of the cost of providing legal representation to the child and the parents throughout the
 6   dependency process, including any permanency proceedings. In Washington, the Office of Civil
 7   Legal Aid is the agency that administers the Children's Representation Program. This program's
 8   mission is to underwrite and oversee the delivery of effective standards-based, trauma-informed,
 9   and culturally-competent attorney representation for children subject to dependency and
10   termination of parental rights proceedings in Washington State. The Office of Public Defense is
11   the agency that administers the parents' representation program by contracting with attorneys in
12   all thirty-nine counties in Washington to represent indigent parents, custodians, and legal
13   guardians involved in child dependency and termination of parental rights proceedings. The
14   available reimbursement under Title IV-E is used, in part, to fund these programs.
15          11.     The amount of federal funds that Washington is entitled to under Title IV-E
16   depends on the number of Title IV-E eligible children and the type of services they receive.
17   Among the criteria for eligibility is the requirement that the child be a United States citizen or
18   eligible non-citizen. The amount Washington receives is partly based on Washington's
19   "penetration rate," which is then used to determine the amount Washington will be reimbursed
20   for providing services. The penetration rate describes the proportion of Title IV-E eligible
21   children in foster care in relation to the total number of children in foster care, pursuant to the
22   definition of foster care in 45 CFR 135520. Certain reimbursable program administration costs
23   are determined using a formula that is calculated on the number of hours spent in reimbursable
24   activities multiplied by the penetration rate percentage. The fewer children that are eligible for
25   Title IV-E, the lower the penetration rate. The lower the penetration rate, the lower the potential
26   reimbursement to the state and the greater the cost to the state.


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 1           12.     Title IV-E also partially reimburses Washington for the cost of direct care for
2    Title IV-E eligible children placed with fully licensed foster caregivers who receive a payment
4    for the children placed in their care. Again, the exclusion of a child from the pool of reimbursable
4    expenses reduces the amount that Washington is reimbursed, leaving the state to bear the full cost
 5   of caring for the child.
 6           13 ,    Title IV-E also partially reimburses the state for a percentage of the legal and
 7   administrative services afforded to children and families involved in dependency, adoption and
 8   guardianship proceedings. Legal services include legal representation of the child, the
 9   appointment and services of Guardians ad Litem, one time court costs and fees associated with
10   adoption and guardianship. Covered administrative services include case studies, recruitment of
11   foster parents, referral to services, case management, data collection, data storage, and a
12   proportionate share of agency overhead. The reimbursement formulas for these services are also
13   calculated based on the expenses associated with total number of Title IV-E eligible children
14   and a reduction in the total number of eligible children shifts the costs for those children entirely
15   to the State.
16           14.     Notably, in order for Washington to be eligible for the payments under the Foster
17   Care Maintenance Program and the Adoption Assistance Program, Title IV-E requires that
18   DCYF make reasonable efforts to finalize children's permanent plans and that children in foster
19   care have case plans in which DCYF files a petition to terminate the parental rights of the
20   children's parents when children have been in foster care for fifteen of the most recent twenty-
21   two months, unless an exception applies. Many caregivers are only able to adopt children in
22   foster care or serve as their legal guardians because of the financial support provided to defray
23   the costs associated with the adoption proceeding and through the ongoing monthly assistance
24   payment for these high needs children. Washington receives federal money through Title IV-E's
25   Adoption Support Program and Guardianship Support Program to provide this assistance, which
26   contributes to children timely achieving permanency. The exclusion of a child from the pool of


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 1   children who are eligible for reimbursement of permanency expenses and assistance payments
2    puts Washington in a no-win situation: it must either suffer the reduced amount that Washington
4    is reimbursed and thereby increase its financial responsibility for children's permanency
4    assistance programs, or avoid the increase in state financial responsibility of permanency
 5   assistance by maintaining children in foster care and delaying their permanency, which will also
 6   carry financial consequences because the State is not fulfilling Title IV-E's mandate that it make
 7   reasonable efforts to finalize children's permanency plans and file petitions to terminate the
 8   parental rights of the children's parents when children have been in foster care for the requisite
 9   period of time. Moreover, not only is extending children's length of stay in foster care damaging
10   to children, but it will still increase the costs to the state if there is a reduction in the pool of Title
11   IV-E eligible children.
12            15.    Because the penetration rate depends on the number of children eligible for Title
13   IV-E funding, each decrease in the number of children eligible for Title IV-E funding negatively
14   affects the total amount of federal funding that Washington receives under Title IV-E for foster
15   care maintenance, adoption support, and guardianship support, and associated legal,
16   administrative, and training costs. In November 2024, Washington had a penetration rate of 58.6
17   percent for children in traditional foster care.
18            16.    The median length of stay for a child in out-of-home care that is longer than seven
19   days is nearly two years-727 days. If a child is ineligible for Title IV-E because they are not a
20   citizen, DCYF cannot receive federal reimbursements for any of the services provided to that
21   child.
22            17.    In federal fiscal year 2024, DCYF received approximately $219 million in
23   reimbursable Title IV-E expenses serving eligible children. This includes about $160 million in
24   reimbursements for foster care expenditures, $55 million in adoption support reimbursements,
25   and $4 million in guardianship support reimbursements, all including administrative costs. And
26   many of those who enter DCYF's care are infants and newborns. In 2022, 2,087 children under


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 1   the age of 1 entered DCYF's services for out-of-home care. Of those, 1,039 were newborns. In
2    2023, 1,481 under the age of 1 entered DCYF's services for out-of-home care, and 701 were
4    newborns.
4           18.     I understand that the President has issued an Executive Order directing that
 5   individuals born to two unauthorized non-citizen parents are not to be deemed United States
 6   citizens. The federal government's policy of ending birthright citizenship for children born in
 7   the United States based on their parent(s)' non-citizen/immigration status will have program
 8   wide negative impacts on DCYF's administration of childcare subsidies for families, and foster
 9   care, adoption assistance guardianship assistance and extended foster care programs and
10   associated legal, administrative, and training functions.
11          19.      The state laws and regulations that govern DCYF's Child Welfare Programs
12   were specifically crafted to comply with the requirements for Title IV-E in anticipation that the
13   financial partnership between the State and Federal government would maximize resources
14   available to ensure that children and families residing in the state have the opportunity to thrive
15   in safe, healthy environments. The federal government's stripping of birthright citizenship from
16   children will result in babies being born in Washington as non-citizens, rendering the cost of
17   their care non-reimbursable under Title IV-E. Washington will continue to provide services to
18   those children, but any resulting reduction in the reimbursement rate will reduce the resources
19   available to serve the entire population of children in foster care, including children who are U.S.
20   citizens. Washington will continue to have administrative, legal, and training costs associated
21   with the children no longer eligible for Title IV-E. Without reimbursement, the resources
22   available to provide for those services for the entire population of children in foster care will be
23   reduced as well.
24          20.     DCYF is required by federal law to verify the citizenship status of all children
25   receiving foster care support under Title IV-E, in order to determine the child's eligibility.
26   DCYF's service to children may begin as soon as they are born, so those determinations must be


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 1   made with respect to newborns. Currently, the primary method of citizenship verification is
2    through birth certificates issued by other state agencies. DCYF relies on those birth certificates
4    to determine whether children are eligible under Title IV-E.
4           21.     If DCYF is no longer able to rely on birth certificates to make eligibility
 5   determinations, it will need to amend its processes related to Title IV-E eligibility
 6   determinations. It will also require DCYF to update or amend existing trainings regarding
 7   eligibility determinations to account for the change in birthright citizenship. These necessary
 8   process changes will demand staff time that would have been spent on other projects to better
 9   serve the children and families of Washington.
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 1          I declare under penalty of perjury under the laws of the State of Washington and the
2    United States of America that the foregoing is true and correct.
4           DATED and SIGNED this 20th day of January 2025, at Olympia, Washington.
4                                                            I   (   L   1


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                                                  JENNY HEDDIN
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                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
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     STATE OF WASHINGTON; STATE OF                      NO. 2:25-cv-00127
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11                                                      DECLARATION OF
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19   RUBIO, in his official capacity as Secretary
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     DOROTHY FINK, in her official capacity
21   as Acting Secretary of Health and Human
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22   JUSTICE; JAMES MCHENRY, in his
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 1          I, Katherine Hutchinson, declare as follows:
2           1.      I am over the age of 18 and have personal knowledge of the matters herein.
 3          2.      I am the State Registrar and Office Director at the Washington Department of
4    Health's (DOH) Center for Health Statistics. I have held this position for 2.5 years, and have
 5   been with DOH since 2008. As State Registrar, I oversee Washington's system of vital
 6   statistics, including the registration of vital events, such as births, and the issuance of vital
 7   records, including birth certificates. I am also familiar with DOH's relationship with the U.S.
 8   Social Security Administration, and DOH's role in SSA's "Enumeration at Birth" program for
 9   issuance of Social Security Numbers (SSNs) to babies born in Washington.
10          3.      DOH's mission is to protect and improve the health of all people in Washington
11   state. In carrying out that mission, it administers programs and provides services that touch the
12   lives of all Washingtonians and visitors to the State. DOH regulates healthcare facilities and
13   oversees the Center for Health Statistics, among other things. As the office of the State
14   Registrar, the Center is responsible for the registration, preservation, amendment, and release
15   of official state records of all births, deaths, fetal deaths, marriages and divorces that occur in
16   Washington. It also participates in the U.S. Social Security Administration's Enumeration at
17   Birth program, enabling parents to request issuance of an SSN at or shortly after the time a
18   baby is bom, as part of completing the standard birth filing forms in Washington.
19          4.      One primary function of the DOH is to oversee registration and release of birth
20   certificates. As background, the U.S. Department of Health and Human Services, National
21   Center for Health Statistics (NCHS) develops standard form certificates for vital events, which
22   it recommends that the States adopt to maintain nationwide uniformity in the system of vital
23   statistics. Washington has adopted the U.S. standard form birth certificate, with few
24   modifications. See Wash. Admin. Code § 246-491.
25          5.      The Washington form to register a birth and obtain a birth certificate is called
26   the Washington State Birth Filing Form and is completed upon the birth of a newborn child.


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 1   Generally speaking, it requires entry of information about the child and birthplace, information
2    about the mother and father, and information for hospital use only. The form asks for
 3   information about the parents, including place of birth and their SSN if they have one, though
4    they are not required to include that information. The form does not contain fields for
 5   immigration or citizenship status of a baby's parents. Thus, Washington birth certificates do
 6   not collect parental immigration or citizenship status information.
 7          6.      Neither does Washington's form to register a birth contain any field for
 8   immigration or citizenship status of the baby. Babies born in Washington have always been
 9   considered U.S. citizens, and Washington birth certificates have always been proof of U.S.
10   citizenship sufficient to obtain a U.S. passport or SSN. Thus, Washington birth certificates
11   contain no information or representation about a baby's immigration or citizenship status.
12          7.      As part of the Birth Filing Form, parents are asked whether they wish to get an
13   SSN for their children. They select either a "Yes" or "No" box when completing the form.
14           8.     After the newborn's parents complete the Birth Filing Form, the hospital sends
15   the information electronically to DOH through an electronic birth system called WHALES
16   (Washington Health and Life Event System). DOH and the local public health jurisdiction then
17   use that information to creates and register a birth certificate with the State.
18          9.      The option to request issuance of an SSN at the time of birth is an option on
19   Washington's Birth Filing Form because Washington participates in the U.S. Social Security
20   Administration's Enumeration at Birth program. The EAB program is a process by which
21   babies bom in the United States may obtain an SSN based on the submission of information
22   from the State's vital statistics agency (like DOH in Washington) rather than a separate
23   application to the SSA and identity/citizenship confirmation process.
24          10.     The Birth Filing Form asks for the parents' SSNs. Parents born outside the
25   United States can apply for and receive an SSN for their child born in the United States without
26   including their own SSNs. Currently, because children born in the United States are U.S.


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 1   citizens, they are eligible for SSNs regardless of their parents' immigration status. The EAB
2    process facilitates a streamlined application and issuance of SSNs to U.S. Citizen babies bom
 3   in Washington. To DOH's knowledge, based on its agreement with the SSA, more than 98
4    percent of parents in the United States voluntarily request an SSN for their newborns through
 5   the EAB program.
 6          II.     After a healthcare facility receives a completed Birth Filing Form indicating
 7   that an SSN is sought for a newborn child, it sends the required information to DOH, and DOH
 8   in tum sends the required birth record information to the SSA in the prescribed format for the
 9   purpose of SSA issuing an SSN to the newborn child. The information sent must include the
10   child's name, date of birth, place of birth, sex, mother's maiden name, father's name if listed
11   on the birth registration document, the mother's address, the birth certificate number, and the
12   parents' SSNs if available.
13          12.     In exchange for administering this program and formatting and transmitting
14   certain data to the SSA, DOH receives federal funding from the SSA. Through a contract in
15   place with the SSA, the State currently receives $4.19 per SSN assigned through the EAB
16   process, up to nearly $440,000 per year. Under the agreement, DOH only sends EAB records
17   and information to the SSA for enumeration of infants born within the past 12 months, and it
18   receives payment only for records received for births in the current month and the prior two
19   months. Further, the number of records processed and available for reimbursement is reduced
20   by the number of births that are assigned an SSN in SSA Field Offices after the parent has
21   applied for EAB at the hospital. In other words, DOH is only reimbursed for those SSNs
22   assigned through EAB.         The annual payment received through the EAB program is
23   approximately 7 percent of the Center's annual budget, and DOH uses those funds to support
24   the payment of administrative and operational costs for the Center.
25          13.     If children born in Washington become ineligible for SSNs because they are no
26   longer citizens, DOH will lose federal funds because there will be a decrease in the number of


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 1   SSN applications sent through the EAB process. For example, if there is an annual decrease of
2    approximately 4,000 newborn children eligible for SSNs in Washington and the SSA declines
 3   to issue SSNs for those children, DOH stands to lose approximately $16,000 per year. Based
4    on my experience, I anticipate that DOH would in fact see an even larger decrease in the
 5   number of children eligible to obtain an SSN because data quality may decrease, making it
 6   hard to provide enough information to SSA to get an SSN assigned.
 7          14.     DOH also anticipates additional negative impacts based on the loss of birthright
 8   citizenship to newborns in Washington. If it were no longer the case that all children born in
 9   the United States are U.S. citizens at birth and the newborn registration process had to be
10   amended to provide for verification of the parents' citizenship or immigration status,
11   Washington's vital records system would have no immediate way to reflect this significant
12   change. It would instead require substantial operational time, manpower resources, and
13   technological resources from the Center and healthcare facilities in Washington to respond to
14   the change. Indeed, the Center endeavors to avoid deviation from the national standard in order
15   to preserve interoperability of data systems. Modifying required birth certificate information
16   would require significant system changes for the Center and additional rulemaking by DOH.
17          15.     Historically, the National Center for Health Statistics within the U.S. Centers
18   for Disease Control and Prevention (NCHS) has reviewed and revised U.S. standard vital form
19   certificates every 10-15 years only, by way of a years-long collaborative process with state
20   vital records officers and public health experts. Even ifNCHS were to develop and promulgate
21   a new U.S. standard birth certificate that included fields for immigration or citizenship
22   information, adoption of a new form by DOH would additionally require notice-and-comment
23   rulemaking, which cannot occur overnight. See Wash. Admin. Code § 246-491-149(1).
24          16.     It would be chaotic if a change to U.S. citizenship at birth were implemented
25   without sufficient time to prepare. A change of such scale would place significant new burdens
26   on DOH and the Center in particular. DOH would need to determine what changes are required


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 1   to birth certificates and what new information may need to be collected. Once determined,
2    DOH would need to work with NCHS to promulgate a new U.S. standard birth certificate for
 3   Washington's adoption. DOH then would have to promulgate a new rule to effectuate the
4    changes.
 5          17.     Meanwhile, approximately 80,000 babies are bom every year in Washington.
 6   That is an average of more than 200 babies per day. It is unclear what would be required or
 7   requested of DOH in connection with the registration of births that were to occur prior to the
 8   implementation of updated birth certificates, since birth certificates are proof of U.S.
 9   citizenship. DOH is not currently equipped to handle those new burdens, for example, it is hard
10   to know how we would go about determining the immigration status or citizenship of every
11   newborn (or their parents) when their immigration status is unclear to us, and whose job it
12   would be to make that determination. Most births are assisted births, and hospitals and
13   midwives are the ones who collect and transmit birth registration information to DOH.
14   Furthermore, all information we receive is self-reported, we have no way to verify it, and we
15   do not receive information concerning the parents' immigration or citizenship status.
16          18.     Furthermore, implementing any changes to              the Washington birth
17   certificate-an electronic system comprised of distinct end-user interfaces for medical
18   providers to input data for transmission to DOH, on the one hand, and files DOH can transmit
19   to the SSA, for example, on the other-would require substantial, unbudgeted expenditures by
20   DOH.
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 1          I declare under penalty of perjury under the laws of the State of Washington and the
 2   United States of America that the foregoing is true and correct.
 3          DATED and SIGNED this 20th day of January 2025 at Tumwater, WA.
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                                                             A


 5
                                                  Katherine Hutchinson
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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE
 9   STATE OF WASHINGTON; STATE OF                      NO. 2:25-cv-00127
     ARIZONA; STATE OF ILLINOIS; and
10   STATE OF OREGON,
                                                        DECLARATION OF
11                             Plaintiffs,              BRIAN REED
12      v.
13   DONALD TRUMP, in his official capacity
     as President of the United States, U.S.
14   DEPARTMENT OF HOMELAND
     SECURITY; BENJAMINE HUFFMAN, in
15   his official capacity as Acting Secretary of
     Homeland Security, U.S. SOCIAL
16   SECURITY ADMINISTRATION;
     MICHELLE KING, in her official capacity
17   as Acting Commissioner of the Social
     Security Administration, U. S .
18   DEPARTMENT OF STATE; MARCO
     RUBIO, in his official capacity as Secretary
19   of State, U.S. DEPARTMENT OF
     HEALTH AND HUMAN SERVICES;
20   DOROTHY FINK, in her official capacity
     as Acting Secretary of Health and Human
21   Services, U.S. DEPARTMENT OF
     JUSTICE, JAMES MCHENRY, in his
22   official capacity as Acting Attorney
     General, U.S. DEPARTMENT OF
23   AGRICULTURE; GARY WASHINGTON,
     in his official capacity as Acting Secretary
24   of Agriculture, and the UNITED STATES
     OF AMERICA,
25
                               Defendants .
26


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                                                                         Civil Rights Division
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 1          I, Brian Reed, declare as follows:
2           1.      I am over the age of 18, competent to testify as to the matters herein, and make
 3   this declaration based on my personal knowledge.
4           2.      I am the Service Line Administrator of Women's and Children's Services for UW
 5   Medicine. In this role, I oversee strategy, planning, and operations for the provision of women's
 6   and children's services across the UW Medicine hospitals and clinics in the greater Seattle area.
 7   My Responsibilities include overseeing daily operations, engaging in strategic planning, and
 8   ensuring financial stewardship of the programs. I hold a bachelor's degree in Recreation Therapy
 9   from Eastern Washington University and a master's degree in Health Administration from the
10   University of Washington. I have accumulated over 10 years of experience in Women's health
11   and possesses 15 years of experience in the healthcare industry.
12          3.      UW Medicine operates UW Medical Center, at its Montlake and Northwest
13   campuses, along with Harborview Medical Center, the only Level l Trauma Center in
14   Washington, Alaska, Montana, and Idaho. All three of these facilities care for pregnant mothers
15   and newborns. In 2024, UW Medicine helped deliver 4307 babies and served 890 newborns in
16   its neonatal intensive care units (NICU). Doctors employed and trained by UW Medicine also
17   work at Seattle Children's Hospital to provide pediatric care.
18          4.      I understand that the President of the United States has issued an Executive Order
19   directing that individuals born in the United States to two unauthorized non-citizen parents are
20   not to be deemed United States citizens. The federal government's policy of ending birthright
21   citizenship   for children born in the United States based on their parent(s)' non-
22   citizen/immigration status will have a variety of impacts on UW Medicine, including an increase
23   in the operational and administrative costs for UW Medicine's hospital sites.
24          5.      When families do not have insurance coverage for their children bom or treated
25   at UW Medicine facilities, UW Medicine tries to work with the family to assess whether the
26   child is eligible for publicly funded forms of health insurance, including federally funded


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 1   Medicaid and Children's Health Insurance Program (CHIP), and state-funded programs,
2    including the Children's Health Plan (CHP). The UW admissions team meets with new patients
 3   to review their insurance benefits. If the patient has no insurance coverage, then the admissions
4    team contacts UW Medicine's financial counselors. Those financial counselors work with the
 5   patients to complete an intake appointment, where the counselors will screen patients for
 6   insurance options. And if it appears that the child is eligible for a form of public health insurance
 7   coverage, UW Medicine's staff assists the family with submitting applications for this coverage.
 8          6.      The current UW Medicine process for screening newborns for health insurance
 9   coverage relies on the fact that babies born in a Washington hospital site are citizens and are
10   eligible for federally funded Medicaid and CHIP. Because UW Medicine can no longer rely on
11   newborns being citizens, it will have to build a new pathway in its eligibility screening process
12   to assist the parents of non-citizen newborns in applying for the appropriate public benefits
13   programs. This will also require UW Medicine to revise internal and patient facing materials to
14   account for the loss of birthright citizenship. This work will involve significant staff time and
15   other administrative resources .
16          7.      The disruption to UW Medicine's process for screening newborns for public
17   insurance coverage will most significantly impact the services UW Medicine provides to
18   newborns in the neonatal intensive care unit (NICU). Children in the NICU require around-the-
19   clock care, and many of them are brought to the NICU immediately or shortly after being bom
20   in one of UW's hospital sites. Over 95% of admissions to UW Medicine NICUs are from the
21   UWMC High-Risk Perinatal Program, one of the highest risk obstetric services in the nation. In
22   addition, UW Medicine has special expertise in managing the most fragile growth-restricted and
23   premature fetuses and newborns. The change in eligibility for coverage for newborns, and
24   changes in assisting patients in navigating and applying for public coverage, will add additional
25   burdens on UW Medicine staff who are focused on providing top notch care to newborns.
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 1          I declare under penalty of perjury under the laws of the State of Washington and the
2    United States of America that the foregoing is true and correct.
 3          DATED and SIGNED this 20th day of January 2025 at Seattle, Washington.
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                                                    3444.4-z€894¢a4
 5                                                BRIAN REED
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     DECLARATION OF BRIAN REED                        4                 ATTORNEY GENERAL OF WASHINGTON
                                                                                Civil Rights Division
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   STATE OF WASHINGTON; STATE OF                      NO. 2:25-cv-00127
     ARIZONA; STATE OF ILLINOIS; and
10   STATE OF OREGON,
                                                        DECLARATION OF
11                             Plaintiffs,              TOM K WONG
12      v.
13   DONALD TRUMP, in his official capacity
     as President of the United States, U.S.
14   DEPARTMENT OF HOMELAND
     SECURITY; BENJAMINE HUFFMAN, in
15   his official capacity as Acting Secretary of
     Homeland Security, U.S. SOCIAL
16   SECURITY ADMINISTRATION;
     MICHELLE KING, in her official capacity
17   as Acting Commissioner of the Social
     Security Administration, U.S.
18   DEPARTMENT OF STATE; MARCO
     RUBIO, in his official capacity as Secretary
19   of State, U.S. DEPARTMENT OF
     HEALTH AND HUMAN SERVICES;
20   DOROTHY FINK, in her official capacity
     as Acting Secretary of Health and Human
21   Services, U.S. DEPARTMENT OF
     JUSTICE, JAMES MCHENRY, in his
22   official capacity as Acting Attorney
     General, U.S. DEPARTMENT OF
23   AGRICULTURE; GARY WASHINGTON,
     in his official capacity as Acting Secretary
24   of Agriculture, and the UNITED STATES
     OF AMERICA,
25
                               Defendants .
26


     DECLARATION OF                                 1            ATTORNEY GENERAL OF WASHINGTON
                                                                         Civil Rights Division
     DR. TOM. K. WONG                                                 800 Fifth Avenue, Suite 2000
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 1          I, Tom K. Wong, declare as follows:
2           1.      I am over the age of 18, competent to testify as to the matters herein, and make
 3   this declaration based on my personal knowledge. If called to testify as a witness, I could and
4    would testify competently to the matters set forth below.
 5          2.      I am a tenured Associate Professor at the University of California, San Diego
 6   (UCSD). I work in the Political Science Department, which U.S. News & World Report
 7   consistently ranks as one of the top ten political science departments nationally. I first joined the
 8   Department at UCSD in 2012, and became an Associate Professor with tenure in 2016. At
 9   UCSD, I am the Director of the U.S. Immigration Policy Center (USIPC), which I founded in
10   2018, and the Director of the Human Rights and Migration Studies Program Minor.
11          3.      Prior to this, I served as an advisor to the White House Initiative on Asian
12   Americans and Pacific Islanders (WHIAAPI), where I co-led on the immigration portfolio,
13   during the 2015-2016 academic year. I received a Ph.D. in Political Science from the University
14   of California, Riverside in 2011 .
15          4.      I am an expert on U.S. immigration policy. I have written two peer-reviewed
16   books and dozens of peer-reviewed journal articles, book chapters, and reports on this subject.
17   My most recent article represents one of the first randomized survey experiments done on a
18   sample of undocumented immigrants that sheds light on how local cooperation with federal
19   immigration enforcement officials affects the day-to-day behaviors of unauthorized immigrants .
20          5.      In my work, I regularly estimate the size and the characteristics of the
21   unauthorized immigrant population using U.S. Census American Community Survey (ACS)
22   microdata. This work has been used in my academic publications, reports that I have written for
23   think tanks, white papers written for Congressional offices, and in sworn testimony that I have
24   given to the Senate Judiciary Committee on immigration-related matters. Substantively, this
25   work involves comparing outcomes between U.S. citizens and those without legal status, which
26   is the core of the analysis I present below.


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 1            6.      I have attached a true and complete copy of my curriculum vitae as Exhibit A to
2    this Declaration, which includes a list of all of my publications over the past ten years.
 3           7.       I have been retained by the State of Washington to analyze data related to possible
4    impacts of denying birthright citizenship to certain children bom in the United States. I share my
 5   opinions below of how the denial of birthright citizenship will impact children who are born
 6   non-citizens, the methodology and analysis I conducted to reach those opinions, and the data
 7   used to demonstrate differences across multiple social and economic indicators to compare
 8   outcomes for U.S. citizens versus non-citizens.
 9            8.      I understand that the federal government has taken action to deny birthright
10   citizenship to certain children born to undocumented parents. In my opinion, denying birthright
11   citizenship to children born in the U.S., but who have undocumented parents, will create a
12   permanent underclass of people whose societal and economic integration will be severely
13   impaired throughout the course of their entire lifetimes. One way to evaluate this impact is to
14   compare outcomes between U.S. citizens and those who live in the U.S. without legal status.
15   Indeed, the status quo gives U.S. citizenship to children born in the U.S., but who have
16   undocumented parents. Denying birthright citizenship to these children would make them
17   unauthorized immigrants just like their parents .
18           9.       In the analysis below, I use the Warren (2014) methodl to estimate likely
19   unauthorized immigrants in the 2023 American Community Survey (ACS) microdata one-year
20   me? I then compare outcomes between U.S. citizens and those who live in the U.S. without legal
21   status across a range of indicators of societal and economic integration. The data show clear
22   patterns, wherein unauthorized immigrants do worse when compared to U.S. citizens across
23   these indicators of societal and economic integration. This confirms the conclusion that denying
24   birthright citizenship to children bom in the U.S. to undocumented parents will create a
25
              1 Warren, Robert. "Democratizing data about unauthorized residents in the United States: Estimates and
     public-use data, 2010 to 2013." Journal on Migration and Human Security 2, no. 4 (2014): 305-328.
26
              2 This represents the most recently available ACS microdata.


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 1   permanent underclass of people who are excluded from U.S. citizenship and are thus not able to
2    realize their full potential. Not only would this newly created underclass of people stand to lose,
 3   but American society and the economy would also be harmed from their lack of societal and
4    economic integration.
 5          Indicators of Societal and Economic Integration
 6          10.     Living in the U.S. without legal status means having to live with the constant fear
 7   of deportation and the absence of work authorization. But living "in the shadows," as
 8   unauthorized immigrants do, affects societal and economic integration in numerous other ways.
 9   One indicator of societal integration is whether a person is in school. Another indicator of
10   societal integration is educational attainment. These two indicators speak to human capital,
11   wherein more people who are in school and more educational attainment mean more human
12   capital accrues to society. Indicators of economic integration are whether a person is employed,
13   income, and poverty. These three indicators speak to economic contributions, wherein higher
14   employment, higher income, and lower poverty, mean higher economic contributions. I discuss
15   each indicator and differences between U.S. citizens and unauthorized immigrants below.
16          11.     School. Regarding whether a person is in school, the data show clearly that U.S.
17   citizens are significantly more likely to be in school when compared to likely unauthorized
18   immigrants. For example, for U.S. citizens between the ages of eighteen and twenty-four, 48.2
19   percent are in school. For likely unauthorized immigrants between the ages of eighteen and
20   twenty-four, only 26.4 percent are in school. This 21.8 percent difference is highly statistically
21   significant. As Table l shows, not only are U.S. citizens significantly more likely to be in school
22   when compared to likely unauthorized immigrants, but this pattern holds across all age groups.
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 1                                                Table 1
2
           Age Group           % In School - U.S.           % In School -               Difference
 3                                  Citizen                    Likely
                                                            Unauthorized
4                                                            Immigrant
              18-24                   48.2%                     26.4%                     +21.8%
 5

 6            25-34                   10.2%                      4.6%                     +5.6%

 7            35-44                    5.1%                      2.3%                     +2.8%

 8
              45-54                    3.0%                      1.6%                     +1.4%
 9
              55-64                    1.5%                      1.0%                     +0.5%
10
               65+                     0.7%                      0.5%                     +0.2%
11
12

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            12.       Educational Attainment. In terms of educational attainment, I analyze
14
     differences between U.S. citizens and likely unauthorized immigrants when it comes to whether
15
     a person has a high-school diploma. The data show clearly that U.S. citizens are significantly
16
     more likely to have a high-school diploma when compared to likely unauthorized immigrants.
17
     For example, for U.S. citizens between the ages of eighteen and twenty-four, 77.5 percent have
18
     a high-school diploma. For likely unauthorized immigrants between the ages of eighteen and
19
     twenty-four, only 59.6 percent have a high-school diploma. This 17.9 percent difference is highly
20
     statistically significant. As Table 2 shows, not only are U.S. citizens significantly more likely to
21
     have a high-school diploma when compared to likely unauthorized immigrants, but this pattern
22
     also holds across all age groups. In fact, the gap between the percentage of U.S citizens who
23
     have a high-school diploma and the percentage of likely unauthorized immigrants who have a
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     high-school diploma is widest at the sixty-five an older age group. More specifically, for U.S.
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     citizens who are sixty-five or older, 73.7 percent have a high-school diploma. For likely
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     DECLARATION OF                                    5                ATTORNEY GENERAL OF WASHINGTON
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 1   unauthorized immigrants who are sixty-five or older, only 29.7 percent have a high-school
2    diploma. This 44.0 percent difference is highly statistically significant.
 3
                                                  Table 2
4

 5         Age Group             % High-School              % High-School               Difference
                                 Diploma - U.S.            Diploma - Likely
 6                                  Citizen                 Unauthorized
                                                              Immigrant
 7            18-24                   77.5%                     59.6%                     +17.9%
 8
              25-34                   81.3%                     55.0%                     +26.3%
 9
              35-44                   76.5%                     43.7%                     +32.8%
10
              45-54                   75.6%                     38.0%                     +37.6%
11
12            55-64                   75.8%                     38.9%                     +36.9%

13             65+                    73.7%                     29.7%                     +44.0%

14

15
            13.       Employment. When it comes to employment, employment rates are largely
16
     similar when comparing U.S. citizens to likely unauthorized immigrants. Table 3 shows
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     employment rates for those who are in the labor force for U.S. citizens and likely unauthorized
18
     immigrants by age group .
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 1                                                Table 3
2
          Age Group           % Employed -        % Employed - Likely                 Difference
 3                             U.S. Citizen      Unauthorized Immigrant
             18-24                91.1%                     92.2%                       -1.1%
4
             25-34                95.7%                     96.6%                       -0.9%
 5

 6           35-44                96.5%                     96.8%                       -0.3%

 7           45-54                97.0%                     96.9%                       +0.1%

 8           55-64                97.3%                     96.5%                       +0.8%
 9
              65+                 97.3%                     96.6%                       +0.7%
10

11
12          14.      Annual Total Income. Despite similar employment rates, income varies

13   significantly between U.S. citizens and likely unauthorized immigrants, which demonstrates the

14   gap in eaming potential for unauthorized workers. This makes vivid the "undocumented penalty"

15   that comes with living in the U.S. without legal status. Regarding annual total income, the data

16   show clearly that U.S. citizens eam significantly more annual total income when compared to

17   likely unauthorized immigrants. For example, for U.S. citizens between the ages of eighteen and

18   twenty-four, average annual total income is $24,899.43. For likely unauthorized immigrants

19   between the ages of eighteen and twenty-four, average annual total income is $23,857.68. This

20   $1,041 .75 difference is highly statistically significant. Despite annual total income being higher

21   for likely unauthorized immigrants between the ages of twenty-five and thirty-four when

22   compared to U.S. citizens between the ages of twenty-five and thirty-four, the income

23   disadvantage for unauthorized immigrants grows and becomes more significant over time. For

24   U.S. citizens between the ages of thirty-five and forty-four, average annual total income is

25   $69,623.08. For likely unauthorized immigrants between the ages of thirty-five and forty-four,

26   average annual total income is $63,236.55. This $6,386.53 difference is highly statistically


     DECLARATION OF                                    7              ATTORNEY GENERAL OF WASHINGTON
                                                                              Civil Rights Division
     DR. TOM. K. WONG                                                      800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                                    Seattle, WA 98104
                                                                                  (206) 464-7744
                                                                                    supp.Add.283
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 1   significant. Between the ages of forty-five and fifty-four, the income disadvantage for
2    unauthorized immigrants is at its widest. For U.S. citizens between the ages of forty-five and
 3   fifty-four, average annual total income is $75,845.63 For likely unauthorized immigrants
4    between the ages of forty-five and fifty-four, average annual total income is $52,534.81 This
 5   $23,310.82 difference is highly statistically significant. As Table 4 shows, the income
 6   disadvantage for unauthorized immigrants persists for the rest of their working lifetimes.
 7   Altogether, from the ages of eighteen to sixty-four, U.S. citizens will earn an estimated
 8   $455,717.35 more in annual total income, which translates into a 19.5 percent difference, when
 9   compared to likely unauthorized immigrants.
10

11                                                Table 4

12         Age Group              Annual Total             Annual Total              Difference
                                  Income - U.S.           Income - Likely
13                                   Citizen               Unauthorized
                                                            Immigrant
14
              18-24                 $24,899.43               $23,857.68             +$1,041.75
15
              25-34                 $50,902.85              $55,784.47               -$4,881.62
16
              35-44                 $69,623.08              $63,236.55              +$6,386.53
17

18            45-54                 $75,845.63              $52,534.81              +$23,310.82

19            55-64                 $65,276.56              $45,249.78              +$20,026.78

20             65+                  $48,638.26              $29,591.35              +$19,046.91
21

22
            15.       Poverty. Lastly, the data show clearly that poverty is more pronounced among
23
     likely unauthorized immigrants when compared to U.S. citizens. For example, whereas 15.6
24
     percent ofU.S. citizens between the ages of eighteen and twenty-four live at or below the federal
25
     poverty line, the commensurate percentage for likely unauthorized immigrants between the ages
26


     DECLARATION OF                                   8              ATTORNEY GENERAL OF WASHINGTON
                                                                             Civil Rights Division
     DR. TOM. K. WONG                                                     800 Fifth Avenue, Suite 2000
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                                                                                   Supp.Add.284
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 1   of eighteen and twenty-four is 18.0 percent. This 2.4 percent difference is highly statistically
2    significant. As Table 5 shows, the poverty disadvantage for unauthorized immigrants persists
 3   across all age groups except for likely unauthorized immigrants between the ages of fifty-five
4    and sixty-four. As Table 5 also shows, the poverty disadvantage for unauthorized immigrants is
 5   widest for unauthorized immigrants sixty-five years and older. Whereas 10.4 percent of U.S.
 6   citizens sixty-five years and older live at or below the federal poverty line, the commensurate
 7   percentage for likely unauthorized immigrants sixty-five years and older is 15.9 percent. This
 8   5.4 percent difference is highly statistically significant.
 9

10                                                 Table 5

11         Age Group             % Poverty - U.S.        % Poverty - Likely               Difference
                                     Citizen               Unauthorized
12                                                          Immigrant
13            18-24                    15.6%                  18.0%                          -2.4%

14            25-34                     8.5%                       9.9%                      -1.4%
15            35-44                     8.1%                       10.5%                     -2.4%
16
              45-54                     7.3%                       8.2%                      -0.9%
17
              55-64                     9.5%                       7.7%                      +1.8%
18
               65+                     10.4%                       15.9%                     -5.5%
19

20

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     DECLARATION OF                                      9                 ATTORNEY GENERAL OF WASHINGTON
                                                                                   Civil Rights Division
     DR. TOM. K. WONG                                                           800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                                         Seattle, WA 98104
                                                                                       (206) 464-7744
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 1          I declare under penalty of perjury under the laws of the State of Washington and the
2    United States of America that the foregoing is true and correct.
 3          DATED and SIGNED this 21st day of January 2025, at San Diego, California.
4

 5
                                                  DR. TOM K. WONG
 6

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     DECLARATION OF                                   10                ATTORNEY GENERAL OF WASHINGTON
                                                                                Civil Rights Division
     DR. TOM. K. WONG                                                        800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                                      Seattle, WA 98104
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                                 WONG DECLARATION
                                                           EXHIBIT A




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                                                  TOM K WONG, PH.D.
                                        Email: tomkwong@ucsd.edu | Cell: (951) 907-9989




APPOINTMENTS

2019 -            DIRECIQR, U.S. IMMIGRATION POLICY CENTER (USIPC)
                  University of California, San Diego

2018 - 2021       APPOINTED MEMBER (GUBERNATORIAL APPOINTMENT)
                  STATE OF CALIFORNIA CENSUS COMPLETE COUNT COMMITTEE

2017 -            ASSOCIATE PROI=ESSOR (W/TENURE), POLITICAL SCIENCE
                  University of California, San Diego

2016              ADVISOR, IMMIGRATION PORTFOLIO
                  WHITE HOUSE INITIATIVE ON ASIAN AMERICANS AND PACIFIC ISLANDERS

2016 -            SENIOR FELLOW
                  CENTER FOR AMERICAN PROGRESS

2013 -            DIRECTOR, INTERNATIONAL MIGRATION STUDIES PROGRAM MINOR
                  CO-DIRECTOR, HUMAN RIGHTS AND MIGRATION PROGRAM MINOR
                  University of California, San Diego

2012 - 2017       ASSISTANT PROFESSOR, POLITICAL SCIENCE
                  University of California, San Diego


EDUCATION

2011              PH.D. IN POLITICAL SCIENCE
                  University of California, Riverside

2005              B.A. no POLITICAL SCIENCE
                  University of California, Riverside
                  Magna COM       Ade



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       Oxford University Press.
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JOURNAL ARTICLES

(11) Tom K. Wong and Karina Shklyan. 2024. "The Impact of Interior Immigration Enforcement on the Day-to-Day
       Behaviors of Undocumented Immigrants," jovial of Raw, Etbiaifig/, and P0/25265. [Research Design: TK\X/;
        Analysis: TKW; Literature Review: TKV(/, KS]

(10) Tom K. Wong, Andrea Silva, and Karina Shklyan. 2022. "The Effect of Intergovernmental Policy Confect on
       Immigrants' Behavior: Evidence from a Survey Experiment in California," PM/Zu; vol. 52 no. 1: 107-132.
        [Research Design: TKW; Analysis: TKW; Literature Review: TKV(/, AS, KS]

(9) Tom K. Wong, S. Deborah Kang, Carolina Valdivia, Josefina Espino, Michelle Gonzalez, and Elia Peralta. 2021 .
       "How Interior Immigration Enforcement Affects Trust in Law Enforcement," Perfpeftiver on Po/#im vol. 19 no.
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(8) Justin Gest, Ian M. Keysil, and Tom K. Wong. 2019. "Protecting and Benchmarking Migrants' Rights: An Analysis
        of the Global Compact for Safe, Orderly and Regular Migration," International/Migration
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(7) Tom K. Wong, Angela Garcia, and Carolina Valdivia. 2018. "The Political Incorporation of Undocumented
        Youth," Sonia/ Prob/aim vol. 66 no. 3: 356-372. [Research Design: TKW; Analysis: TKW; Literature Review:
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       Encourage Unauthorized Immigration from Mexico? An Empirical Analysis of the Moral Hazard of
        Legalization," Inter/zationa/Il/Iigralion vol. 55 no. 2: 159-173. [Research Design: TKW; Analysis: TKW;
        Literature Review: TKW, HK]

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       Determinants of Applying for Deferred Action for Childhood Arrivals (DACA)," Iaternationa/Migration Review
       vol. 50 no. 3: 699-727. [Research Design: TKW; Analysis: TKW; Literature Review: TKV(/, AG]
       C-Span, Associated Press

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       Immigration Status: Results and Implications from the PERSON Survey," fownal oflléfégralion and Him/fran
       X69/rig vol. 2 no 4: 287-304. [Research Design: TKW; Analysis: TKW; Literature Review: TKV(/, DW, JMA,
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        6 no 3: 381-399.

(2) Tom K. Wong and Justin Gest. 2013. "Organizing Disorder: Indexing Migrants' Rights and International
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(l) Tom K. Wong. 2012. "The Politics of Interior Immigration Control in the United States: Explaining Local
        Cooperation with Federal Immigration Authorities," fovea/ of Ez'bi1ZK and Migration Stzfdiex vol. 38 no. 5: 737-
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POLICY REPORTS

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       for American Progress.

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         U.S. Immigration Policy Center (USIPC) at UC San Diego.

(21) Tom K. Wong, Maya Lu, and Lily Arnirjavadi. 2022. No Aaferimn Valery 2022: Hatneming Z/ye Power 0f Nat¢/ra/2364
       Cifigenf. Chicago, IL and Lajolla, CA: National Partnership for New Americans (NPNA) and U.S.
       Immigration Policy Center (USIPC) at UC San Diego. [Research Design: TKW; Analysis: TKW, ML, LA;
       Literature Review: TKW1

(20) Tom K. Wong, et al. 2022. Swf/ey of DACA Rempientf Underxroref I/98 I/fzportanre off Pat/way to Ciiiem/Qip.
        Washington, D.C.: Center for American Progress. [Research Design: TKW, Analysis: TKW, Literature
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        Center for American Progress.

(18) Tom K. Wong, et al. 2020. Nepali TPS Holden" Ma/ée Xégnéranl Contrihz/fiom" to /Mferira. Washington, D.C.: Center
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(17) Tom K. Wong et al. 2020. A/mid Change; to tea DACA Program/w and COVID-79, DACA Reqbientx are Fired Up and
       Ciyica/ Engaged. Washington, D.C.: Center for American Progress. [Research Design: TKW; Analysis: TKW;
       Literature Review: TKW, et al.]

(16) Tom K. Wong. 2020. CO VID-79 and i/98 Rem4/Qing of U.§. I/42/fzégrafi0n P0/29? Empirim/9 E94/mating Z/ye Myi/9 of
        Iwwzgration and Direave. Lajolla, CA: U.S. Immigration Policy Center (USIPC) at UC San Diego


(15) Tom K. Wong et al. 2019. DACA Refipiezm' Live/Z/90041, Far/fri/ief, and Sense 0f§ew/rigy Are at Stake T/ai; Noyw7la€r.
       Washington, D.C.: Center for American Progress. [Research Design: TKW, Analysis: TKW, Literature
       Review: TKV(/, et aL]

(14) Tom K. Wong and Vanessa Cecelia. 2019. Seeking Aiy/4/m: Part 2. Lajolla, CA: U.S. Immigration Policy Center
       (USIPC) at UC San Diego. [Research Design: TKW; Analysis: TKW; Literature Review: TKW]

(13) Tom K. Wong, Sebastian Bonilla, and Anna Coleman. 2019. See/Qing A9y/rf/72.* Pan.L 7. La Jolla, CA: U.S.
       Immigration Policy Center (USIPC) at UC San Diego. [Research Design: TKW; Analysis: TKW; Literature
       Review: TKV(/1

(12) Tom K. Wong, Jeremiah Cha, and Erika Villareal-Garcia. 2019. T/ae Im/*Dart of ClQaqgef /0 Z/ye PM/if C/94139 Run/e on
        Undom//wanted Iwwzgrant; Living in I/ae U.§. LaJoHa, CA: U.S. Immigration Policy Center (USIPC) at UC San
        Diego. [Research Design: TKW; Analysis: TKW; Literature Review: TKW, JC]

(l 1) Tom K. Wong, et al. 2019. Detetwwe, DiiP/4691496414 and Deal/9: T/a8 Im/*Dari of t/ae Border Wall on Undomwzenled
        Imm4<ra/2on. La Jolla, CA: U.S. Immigration Policy Center (USIPC) at UC San Diego. [Research Design: TKW;
        Analysis: TKW; Literature Review: TKW, et al.]

(10) Tom K. Wong, et al. 2019. Fred;/red Fedora/isw: How Dixfowni Mwfzgrazioia ET we/wifi Po/ide; Ajj@n' Undowfffenfed
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       Analysis: TKW; Literature Review: TKW, et al]


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       Immigration Policy Center (USIPC) at UC San Diego. [Research Design: TKW; Analysis: TKW; Literature
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       Progress.

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       D.C.: Center for American Progress. [Research Design: TKV(/, Analysis: TKW; Literature Review: TKW, et
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       Washington, D.C.: Center for American Progress. [Research Design: TKV(/, Analysis: TKV(/, Literature
       Review: TKW, et aL]

(3) Tom K. Wong et al. 2015. Raw/zirfrow 4 Nationwide SWWQJ0fDACA Rwipienix I//mtrate I/ae Prograw'x Iwpad.
        Washington, D.C.: Center for American Progress. [Research Design: TKV(/, Analysis: TKV(/, Literature
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       C/9i/drefa Crofxiigg1*/ae Borden Washington, D.C.: Center for American Progress.

(II Tom K. Wong. 2013. Undowwfeiaied No Zl/lore: A Nation/ide A114/Ji; olD rred Aa'ionfor Cb!/d/9oodAmva/J Q AQ 4 ) .
        Washington, D.C.: Center for American Progress.


BOOK CHAPTERS

(5) James Hollifield and Tom K. Wong. 2022. "The Politics of International Migration." In Mzgration T/9609: Ta//Qing
       Aaron" Dimip/inet (4th" edidonl, edited by Caroline B. Brettell and James F. Hollifleld. Routledge.

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       Stanford University Press.

(3) Tom K. Wong. 2014. "Nation of Immigrants or Deportation Nation? Analyzing Deportations and Returns in the
       United States, 1892-2010." In T/y8 Nation and It; Prop/ex Cilium", Denizen", and Migrants, edited by john SW.
       Park and Shannon Gleeson. Routledge.

(2) James F. Hollifieid and Tom K. Wong. 2014. "The Politics of International Migration: How Can We 'Bring the
        State Back In'?" In Mégralion T/9600/: T4/king Aaron" Diffip/ine; (ltd edition), edited by Caroline B. Brettell and
       James F. Hollifield. Roudedge.

(II Karthick Ramakrishnan and Torn K. Wong. 2010. "Partisanship, Not Spanish: Explaining Municipal Ordinances
         Affecting Undocumented Immigrants." In Ta/eWg Lam/ Control: In/wggration Po/Z9 I6/2v25w in U.§`. Cities and
         States, edited by Monica W. Varsanyi. Stanford University Press.


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WORKS UNDER REVIEW/IN PROGRESS (SELECTED LIST)

(Book Project) DACA: Undocumented Youth and the Politics of Immigrant Illegality
       This project leverages nearly a decade of surveying DACA recipients about their economic,
       societal, and civic integration. These surveys span the Obama, Trump, and Biden administrations, and
       include both the periods before and after the rescission of DACA. NPR, CNN, Washington Post, New York
       Times, NBC News, CNBC, Atlantic, Vox, Forbes, 538, Politifact, WNYC, C-Span, Associated Press

(Book Project) The Impact of Immigration Enforcement on Undocumented Immigrants.
       This project draws from a first-of-its-kind probability-based survey of undocumented immigrants. This
       project includes several survey experiments that uncover how the day-to-day behaviors of undocumented
       immigrants, as well as the trust that they have in public institutions, is affected by differential levels of local
       law enforcement cooperation with federal immigration enforcement officials. Washington Post, NPR, KPBS,
       USA Today, City Lab, Chicago Tribune, Factcheck.org

(Book Project) Tom K. Wong. "Immigration, White Nationalism, and the Great Replacement Theory: Who Believes,
       Why do They Believe, and What Can be Done."
       The Great Replacement Theory is a conspiracy theory subscribed to be White nationalists that states that
       immigration is being used to replace the native-born White population in the U.S. with people of color (i.e.,
       "White genocide"). Previously relegated to the fringes of American society,
       the Great Replacement Theory has emerged as a serious threat to pluralistic values, as recent mass shootings
       wherein shooters have left manifestos espousing the Great Replacement Theory have made clear. News
       media and other polling suggest that as many as one-third of Republicans (Washington Post) or one-half of
       native-born White Americans (SPLC) believe in some variant of the Great Replacement Theory. This book
       project examines the determinants of belief in the Great Replacement Theory, explores why individuals
       believe that immigration is being weaponized to replace native-born Whites, the extent to which those who
       believe are willing to resort to political violence, and what can be done to stop this.


RESEARCH GRANTS (As FACULTY MEMBER)

    $800,000, Coulter Foundation, "U.S. Immigration Policy Center," 2021-2024
    $150,000, Private Donor, "U.S. Immigration Policy Center," 2021-2023
    $820,000, Multiple Funders, "U.S. Immigration Policy Center," 2019-2021
    $341,127, Multiple Funders, "U.S. Immigration Policy in the 21st Century," 2017-2019
    $22,500, UCSD USMEX Fellowship, 2016-2017
    $16,000, UCLA Institute for Research on Labor and Employment, 2015-2016
    3365,000, MacArthur Foundation, 2015-2017 (partially awarded, terminated after the DAPA program was enjoined by
    the U.S. Supreme Court)
    $25,000, UCSD Frontiers of Innovation Scholars Program Grant, 2015-2016
    $15,000, UCSD Faculty Career Development Program Grant, 2014-2015
    $30,000, Unbound Philanthropy, 2014
    $100,000, U.S. Department of Homeland Security IDACA), 2013
    $30,000, Center for American Progress, 2013
    $10,000, UCSD Center for International, Comparative, and Area Studies Grant, 2013
    $10,000, UCSD Academic Senate, 2013
    $1,500, UCSD Diversity, Equity, and Inclusion Grant, 2013




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TEACHING AT UCSD

   Diversity, Equity, and Inclusion Teaching Award, 2014-2015
   The Politics of Immigration (upper-division, 280 students)
   International Human Rights Law: Rights of Migrants (upper-division, 200 students)
   The Politics of Multiculturalism (upper-division, 100 students)
   Immigration Politics and Policy (graduate seminar, 4 students)
   Undergraduate Honors Seminar (upper-division, 15 students)

INVITED PRESENTATIONS - (LAST UPDATED 6/2018)
2018 I         "Surveying Undocumented Immigrants." UC Berkeley, June 12, 2018.

               "The Integration of DACA Recipients." Scripps College, May 3, 2018.

               "The Impact of the Trump Administration's Immigration Policies on Undocumented Immigrants:
               Evidence from Survey Experiments." Race, Ethnicity, and Politics Workshop, Northwestern
               University, April 13, 2018.

               "Immigrant Political Incorporation." UC Migration Conference, UCSD, March 2, 2018.

               "The Future of DACA." Columbia University, February 22, 2018.

               "Immigration and DACA in the Age of Uncertainty, Middlebury College, February 20, 2018.

2017 I         "The Future of U.S. Imrnigradon Policy in the Age of Trump." Citizenship and Equality Colloquium,
               University of Colorado, November 16, 2017.

               "The Determinants and Effects of Sanctuary Policies." Cornell University, November 9-10, 2017.

               "The Determinants and Effects of Sanctuary Policies." Presentation at the 2017 APPAM Fall
               Research Conference, Chicago, IL, November 2-4, 2017.

               "Immigration and the U.S. Constitution." Seminar at the Robert H. Smith Center for the
               Constitution at James Madison's Montpelier, Orange, VA, July 31-August 2, 2017.

               "The Determinants of U.S. Itnmigradon Policy." University of California, Santa Barbara, June 1,
               2017.

               "Paths to Legal Status for Undocumented Immigrants." Presentation at the CLINIC annual
               conference, Atlanta, GA, May 25, 2017.

               "The Effects of Sanctuary Policies on Crime and the Economy." Presentation at the Sanctuary Cities
               Convening, New York City Council, New York, NY, March 27-28, 2017.

               "The Future of U.S. Immigration Policy in the Age of Trump." Yankelovich Center for Social
               Science Research, University of California, San Diego, March 15, 2017.

               "Child Migration." World Migration Report workshop, International Organization for Migration
               (ION) Geneva, Switzerland, March 9-10, 2017.


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             "The Politics of Immigration." American Academy of Arts and Sciences, San Diego Program
             Committee, University of California, San Diego, February 9, 2017.

2016 I       "Post-Elecdon Panel." Center for Comparative Immigration Studies (CCIS), University of California,
             San Diego, November 21, 2016.

             "Mobilizing Immigrant Comrnunides in the Age of Trump." Tulane University, October 14, 2016.

             "Immigrant Integration and the Obama Administration: DACA, DAPA, and Implications for the
             2016 Presidential Election." Institute for Research on Labor and Employment, UCLA, April 28,
             2016.

             "Mobilizing Low-Propensity Voters of Color: Towards an Electorate That Reflects a Changing
             America." Presentation at the Asian Americans Advancing justice conference, Los Angeles, CA,
             March 31, 2016.

             "Immigrants in American Society." Presentation at KPBS, San Diego, CA, March 21, 2016.

             "Immigration Policy." Presentation to Mi Far ilia Vota, Riverside, CA, January 14, 2016.

2015 I       "The European Refugee Crisis." Center for Comparative Immigration Studies (CCIS), the European
             Studies Program, the Lifelong Learning Program of the EU, and the Scholars Strategy Network
             (SSN), University of California, San Diego, October 27, 2015.

             "U.S. Immigration Politics and the 2016 Presidential Election." Presentation at the Wilson Center,
             WaslNngton DC, October 26, 2015.

             "The Political Incorporation of Undocumented Youth." Presentation at the "Challenging Borders"
             conference, University of California, Riverside, October 23, 2015.

             "The Consequences of Inequality: Why Does it Matter and How." Symposium on Capital in the 21 st
             Century with Thomas Piketty, University of California, San Diego, October 22, 2015.

             "U.S. Immigration Politics and Policy." Presentation at the U.S. Consulate in Tijuana, October 13,
             2015.

             "UC National Summit on Undocumented Students." University of California Office of the President,
             May 7-8, 2015.

             "Irregular Migration." Presentation at the "Politics and Policies of International Migration: Europe
             and the U.S." conference, University Libre de Bruxelles, Belgium, April 28-29, 2015.

             "Opportunities and Limits of the Executive Actions Proposed by President Obama." Presentation at
             the Mexican Ministry of Foreign Affairs, Mexico City, Mexico, April 13-14, 2015.

             "Administrative Relief Implementation and Impact Project." Presentation at the Center for
             Migration Studies (CMS), New York, NY, March 25, 2015.

             "Research Roundtable." Presentation at the "Ready America: Implementing Immigration Action"
             conference, Washington DC, February 9-11, 2015.



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2014 I           "Insights from Implementing DACA for Administrative Relief." Presentation at the National
                 Immigrant Integration Conference, Los Angeles, CA, December 16, 2014.

                 "Deferred Action for Childhood Arrivals." American Immigration Council (AIC), Washington, D.C.,
                 November 7, 2014.

                 "Immigration Policy and the November 2014 Midterm Elections." California Immigrant Policy
                 Center (CIPC), October 29, 2014.

                 "The Many Paths to Legal Status: Results and Implications from the PERSON Survey." Presentation
                 to the Center for Migration Studies (CMS), New York, NY, September 29, 2014.

                 "The Congressional Politics of Interior Immigration Enforcement." Presentation at the "Migration
                 During Economic Downturns" workshop, German Historical Institute, Washington, DC, April 4-5,
                 2014.

                 "Mapping DACA Renewals." Presentation to U.S. Citizenship and Immigration Services (USCIS),
                 March 13, 2014.

                 "Latino Politics: Left, Right, or Down the Middle?" Presentation at the Hispanic Radio annual
                 conference, San Diego, CA, March 10, 2014.

2013 I           "Undocumented No More: A Nationwide Analysis of Deferred Action for Childhood Arrivals."
                 Center for Comparative Immigration Studies (CCIS), University of California, San Diego, October 2,
                 2013.

                 "DACA Turns 1." Presentation at the Center for American Progress, Washington, DC, August 15,
                 2013. [Televised on CSPAN]

                 "The Prospects for Comprehensive Immigration Reform." Presentation at the Mexican Ministry of
                 Foreign Affairs, Mexico City, Mexico, August 12, 2013.

                 "A Look at the Stats: How \X/ill Congressional Representatives Vote on Comprehensive Immigration
                 Reform?" Presentation at the "Changing Face of America" conference, University of California,
                 Berkeley, May 3, 2013.

                 "Will Comprehensive Immigration Reform Pass? Predicting Legislative Support and Opposition to
                 CIR." Center for Comparative Immigration Studies (CCIS), Univeristy of California, San Diego,
                 April 29, 2013.

                 "Race, Ethnicity, the 2012 Elections, and the Politics of Comprehensive Immigration Reform."
                 Presentation at the Beyond I/ae Headline; speaker series, UCLA, February 26, 2013.

                 "International Migrants Bill of Rights (IMBR) Initiative." Georgetown Law School, Washington, DC,
                 February 8-9, 2013.

PROFESSIONAL ACTIVITIES

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    Advisory Board, Center for Comparative Immigration Studies (CCIS), 2012-2018
    Advisory Board, Integrated Voter Engagement study, 2016
    Advisory Board, Unbound Philanthropy, 2015-2017
    APSA, Executive Committee, Migration and Citizenship Section, Treasurer, 2012-2015
    APSA, Migration and Citizenship Section Program Co-Chair, 2018
    Editorial Board, ]0i1i"aa/ ofEz'baio and Migration ftiidiof (]EMS), 2024-2028
    Editorial Board, foiiiwai 0fZl/[igratioii and Ha/aaa fooiiiigi QMHS), 2014-present
    Editorial Board, Po/itiof, Groan, and Ideatitiof (PGI), 2016-present
    Editorial Board, Po/ig/, 2016-present
    Editorial Search Committee, Poifpootioof 0a Po/itiof Editor-in-Chief search committee, 2022-2023
    Executive Committee, Center for Comparative Immigration Studies (CCIS), 2015-2018
    MPSA, International Relations and Domestic Politics Section Program Chair, 2016
    WPSA, (lm)Migration and Citizenship Section Program Chair, 2015, 2017
    WPSA, Dissertation award committee, 2016

PUBLIC SCHOLARSHIP

Wong is one of the country's top experts on immigration politics and policy. Wong and his work have been
covered by The New YE/e Tiwef, The Lox Ange/ex Timex, The Lim/aington Post, NPR and major media outlets across the
country in hundreds of articles. A sample can be found here: https:/ /usipc.ucsd.edu/media/index.html




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                               UNITED STATES DISTRICT COURT
8                             WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
9
     STATE OF WASHINGTON; STATE OF                      NO. 2:25-cv-00127
10   ARIZONA; STATE OF ILLINOIS; and
     STATE OF OREGON,
11                                                      DECLARATION OF
                               Plaintiffs,              DAVID c. BALUARTE
12
        v.
13
     DONALD TRUMP, in his official capacity
14   as President of the United States, U.S.
     DEPARTMENT OF HOMELAND
15   SECURITY; BENJAMINE HUFFMAN, in
     his official capacity as Acting Secretary of
16   Homeland Security, U.S. SOCIAL
     SECURITY ADMINISTRATION;
17   MICHELLE KING, in her official capacity
     as Acting Commissioner of the Social
18   Security Administration, U. S .
     DEPARTMENT OF STATE; MARCO
19   RUBIO, in his official capacity as Secretary
     of State, U.S. DEPARTMENT OF
20   HEALTH AND HUMAN SERVICES;
     DOROTHY FINK, in her official capacity
21   as Acting Secretary of Health and Human
     Services, U.S. DEPARTMENT OF
22   JUSTICE; JAMES MCHENRY, in his
     official capacity as Acting Attorney
23   General, U.S. DEPARTMENT OF
     AGRICULTURE; GARY WASHINGTON,
24   in his official capacity as Acting Secretary
     of Agriculture, and the UNITED STATES
25   OF AMERICA,
26                             Defendants .


     DECLARATION OF                                 1            ATTORNEY GENERAL OF WASHINGTON
                                                                         Civil Rights Division
     DAVID c. BALUARTE                                                800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                               Seattle, WA 98104
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 1          I, David C. Baluarte, declare as follows:
2            l.     I am over the age of 18, competent to testify as to the matters herein, and make
 3   this declaration based on my personal knowledge.
4           2.      I am a Professor of Law and the Senior Associate Dean for Academic Affairs at
 5   CUNY School of Law in New York. My professional and scholarly focus is and has long been
 6   on immigration, refugee, and statelessness protection, and international human rights issues .
 7          3.      Prior to joining CUNY School of Law in 2024, I held numerous academic
 8   positions at Washington and Lee University School of Law in Lexington, Virginia, from 2013
 9   to 2023. As a Clinical Professor of Law, I founded the Immigrant Rights Clinic and designed a
10   clinical curriculum in which students represented immigrants in federal removal proceedings
11   and state court custody matters. In addition to the Immigrant Rights Clinic, I taught classes on
12   Immigration Law, Transnational Law, Refugee Protection and Human Rights, and Civil
13   Litigation. Prior to my time at Washington and Lee University School of Law, I also was a
14   Practitioner-in-Residence in the International Human Rights Law Clinic at American University
15   Washington College of Law, where I co-taught a year-long clinic seminar and supervised
16   students in their representation of individuals and communities in international human rights
17   litigation and advocacy, as well as their representation of asylum seekers. I also taught a class
18   on Asylum and Refugee Law in that position. In this role, I also conducted multiple funded
19   projects, including a project to establish a pilot clinic for stateless persons in the United States
20   (funded through the United Nations High Commissioner for Refugees) and a cross-clinical
21   partnership focused on protecting and promoting nationality rights in the Bahamas.
22          4.      I have researched and published extensively on issues related to immigration,
23   refugee, and statelessness in particular. For example, in 2017, I published an article in the Yale
24   Human Rights and Development Law Journal on issues related to statelessness, entitled The Risk
25   of Statelessness.' Reasserting a Rule for the Protection of the Right to Nationality, 19 Yale Hum.
26   Rts. & Dev. L.J. 47 (2017). Before that, in 2015, I published an article in the Georgetown


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 1   Immigration Law Journal entitled Life after Limbo: Stateless Persons in the United States and
2    the Role of lnternational Protection in Achieving a Legal Solution, 29 Geo. Imm. L.J. 351
 3   (2015). In addition to those law review articles (and numerous others), I have also published
4    multiple short journal articles and reports on issues related to statelessness and other
 5   immigration, refugee, and human rights issues. For example, in 2020, I published an article in
 6   the Brown Journal of World Affairs entitled Protecting Stateless Refugees in the United States.
 7   In 2012, I authored a report entitled Citizens of Nowhere, which was co-published by the United
 8   Nations High Commissioner for Refugees (UNHCR) and the Open Society Justice Initiative.
 9   That report was the first comprehensive review of U.S. jurisprudence relating to statelessness.
10           5.       As a scholar focused on statelessness issues, I have also served as an expert
11   consultant in numerous roundtable matters, advised on a variety of legal issues related to
12   statelessness, and engaged with civil society on these issues. I have also delivered numerous
13   speaking engagements on statelessness issues in multiple academic and civil society convenings.
14   I was a founding Steering Committee Member of the American Network on Nationality and
15   Statelessness and am currently an Advisory Council Member with the Institute on Statelessness
16   and Inclusion.
17           6.       The term "stateless" refers to individuals and populations who are "not
18   considered as a national by any State under the operations of its law." That definition comes
19   from the 1954 Convention Relating to the Status of Stateless Persons and has acquired customary
20   international law status. In essence, stateless individuals are citizens or nationals of no country.
21   They include individuals who are not recognized as a national under the laws of any country or
22   certain individuals outside the county of their presumptive nationality who are denied the
23   protection, assistance, or recognition by that country. An expert meeting on statelessness issues
24   in 2010 offered a useful and recognized functional definition of statelessness, stating that an
25   individual is stateless "if all states to which he or she has a factual link fail to consider the person
26   as a national." Polly J. Price, Stateless in the United States: Current Reality and a Future


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 1   Prediction, 46 Vanderbilt J. Transnat'l L. 443, 451 (2021) (discussing the 2010 Expert Meeting
2    on the Concept of Stateless Persons at Prato, Italy). The State Department's Bureau of
 3   Population, Refugees, and Migration likewise recognizes this understanding of what it means to
4    be stateless, explaining that "[a] stateless person is someone who, under national laws, does not
 5   enjoy citizenship - the legal bond between a government and an individual - in any country."l
 6   As I have written previously, "to be stateless is to have no nationality, which the U.S. Supreme
 7   Court has called 'a fate of ever increasing fear and distress' that is 'deplored by the international
 8   community of democracies."' Life after Limbo: Stateless Persons in the United States and the
 9   Role of lnternational Protection in Achieving a Legal Solution, 29 Geo. mm. L.J. 351, 352
10   (2015).
11             7.      Worldwide, the United Nations Commissioner for Refugees has found that there
12   are at least 4.4 million stateless people and recognizes that the actual number is believed to be
13   substantially higher due to the fact that many countries do not report statelessness data. In the
14   United States, the Center for Migration Studies, which is recognized as having conducted the
15   most rigorous analysis to date on the issue, estimates that as of 2020, there were approximately
16   218,000 U.S. residents, spread across all 50 states, that are potentially stateless or at risk of
17   becoming stateless.2 Numerous causes are recognized as driving statelessness in the United
18   States and elsewhere, including gaps in nationality laws (including laws restricting acquisition
19   of citizenship, laws restricting the right of women to pass on their nationality to their children,
20   and laws relating to children born out of wedlock and during transit), discrimination against
21   minorities, lack of birth registration and birth certificates, birth to stateless parents, political
22   changes and transfers of territory, and other administrative oversights and procedural problems
23   (such as destruction of official records).
24

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               1 Available at: https1//www.state.gov/other-policy-issues/statelessness/.
26
               2 Available at: https1//cmsny.org/wp-content/uploads/2020/01/8tatelessnessReportFinal.pdf


     DECLARATION OF                                            4                ATTORNEY GENERAL OF WASHINGTON
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 1           8.      While there are likely more than 200,000 individuals in the United States who are
2    potentially stateless or at risk of being stateless today, that number is generally limited to one
 3   generation. The reason is that under the existing rule of birthright citizenship in the U.S., children
4    born in the United States are citizens regardless of their parents' citizenship, status, or country
 5   of origin. In other words, the United States currently has a relatively minor statelessness problem
 6   when compared with other countries around the world, in large part because of the longstanding
 7   and brightline rule of birthright citizenship. If the established rule of birthright citizenship in the
 8   United States were to change to exclude children born to undocumented mothers or parents,
 9   however, the number of stateless children would increase dramatically.
10           9.      This likely outcome of modifications to the Fourteenth Amendment's birthright
11   citizenship rule in the United States has been discussed at length in the academic literature on
12   statelessness issues. One key article that details the mechanisms by which the number stateless
13   individuals would increase if there were a change to the United States' established rule of
14   birthright citizenship is Professor Polly Price's Stateless in the United States: Current Reality
15   and a Future Prediction, 46 Vanderbilt J. Transnat'l L. 443 (2021). As Professor Price explains,
16   "[s]tatelessness, already present in the United States, would be increased by these restrictions
17   [on birthright citizenship]" for two reasons: "(l) statelessness already exists in the Western
18   Hemisphere, from which many, if not most, unauthorized migrants come to the United States,
19   and (2) new restrictions will extend statelessness to second or subsequent generations, as well as
20   create statelessness for some children even when the parent has a recognized nationality." Id. at
21   446. In terms of the number of individuals who might be rendered stateless under a change to
22   the U.S. birthright citizenship rules, one study estimated that a prospective denial of birthright
23   citizenship to children born to unauthorized immigrants would create in the United States a
24   population of up to 13 .5 million native-bom, but stateless, children by 2050. See Margaret Stock,
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     DECLARATION OF                                      5               ATTORNEY GENERAL OF WASHINGTON
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 1   The Cost to Americans and America of Ending Birthright Citizenship, National Foundation for
2    American Policy (March 2012).3
 3           10.     In my view, there are three ways that the number of stateless individuals in the
4    United States would multiply at an exponential rate should the established birthright citizenship
 5   rule be limited. The first is that there are already individuals who are stateless in the United
 6   States today. If those individuals have children who are not U.S. citizens and do not
 7   automatically acquire another nationality through their parents' country of origin, those children
 8   too will become stateless. This is essentially the creation of a second generation of stateless
 9   individuals. Second, the number of stateless individuals would be increased because some
10   parents, due to the laws of their country of origin, may be nationals of that country but are
11   prohibited from transmitting citizenship to their children born abroad (i.e., in the United States) .
12   This is essentially the creation of a new generation of stateless individuals in the United States.
13   And third, there are individuals who are nationals of other countries that nonetheless reside here
14   in the United States. Under a reasonable interpretation of their country of origin's nationality
15   laws, they may be able to pass that citizenship to their children, but despite a credible claim, their
16   country of origin may refuse to recognize a claim to citizenship for numerous reasons (such as
17   record keeping issues, political issues or disagreements with the United States, or discrimination
18   against certain racial, ethnic, or religious groups of which the individual is a member).
19           11.     The impacts are not purely hypothetical. As I have explained in prior work,
20   whatever the exact size of the stateless population, birthright citizenship limits the size of the
21   population put into the legal limbo that is being statelessness in the United States. Indeed, the
22   Fourteenth Amendment's birthright citizenship rule has provided a guarantee that statelessness
23   cannot be reproduced in the United States. One example is Kuwaiti Bidoons (a group that lacks
24   a nationality in their homeland), who fled the first Gulf War to the United States and can count
25   on U.S. citizenship for their children who are bom here. Those children would otherwise be
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             3 Available at: https1//nfap.com/pdf/NFAPPolicyBrief.BirthrightCitizenship.March20l2.pdf.


     DECLARATION OF                                         6                ATTORNEY GENERAL OF WASHINGTON
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 1   stateless. As noted above, due to country-specific nationality laws, nationals of some countries
2    cannot transmit their own nationality to children who are born abroad. But if those children are
 3   born in the United States, they automatically gain American citizenship. The Bahamas presents
4    another example of this phenomenon in the Western hemisphere: Bahamian women are not
 5   permitted to pass their nationality to children bom abroad. And in Haiti and some other Western
 6   hemisphere countries, crumbling birth-registration systems make it difficult to substantiate
 7   nationality claims for children who are born abroad. Other noted profiles of individuals who are
 8   stateless or likely stateless in the United States have been recognized in the literature, including
 9   in the 2020 CMS Report, which provides an extensive description of such groups in the United
10   States. Taking these cases into consideration, the potential problem of statelessness in the United
11   States would be substantially larger if the current birthright citizenship rule is changed or limited.
12           12.     The harm of individuals becoming stateless is significant to the individual and to
13   the United States as a whole. For an individual, U.S. immigration law does not explicitly
14   recognize statelessness, nor does it provide humanitarian protection to relieve stateless persons
15   of their suffering. Stateless individuals are instead treated like other unauthorized migrants in
16   the United States. This means that a limitation on birthright citizenship in the United States will
17   have the effect of immediately increasing the population of undocumented individuals here, and
18   in fact will create a permanent growing class of undocumented individuals. And because of their
19   stateless status, these individuals do not have a home country to return to voluntarily or
20   otherwise. They must simply remain in the United States with no citizenship or status at all.
21           13.     The personal harm is substantial to these individuals-many of whom will be
22   children if birthright citizenship is denied to them. Some stateless individuals may be able to
23   apply for and obtain protection from removal or a form of temporary relief, but neither those
24   forms of relief nor a path to nationality or citizenship are guaranteed. If requests for those
25   protections are not granted and the individual is put into removal proceedings and ordered
26   removed, they may be subject to mandatory detention while immigration officials try to execute


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 1   those efforts-which will fail because no other nation will recognize the stateless individual and

2    accept them. And for individuals subsequently released or who have not entered removal
 3   proceedings, they are left in legal limbo. They have no nationality or legal status in the United

4    States or elsewhere.

 5           14.     Being stuck in this limbo comes with serious consequences. Stateless individuals

 6   face significant barriers to participating in the economy because, without a legal status, they

 7   cannot obtain authorization from the government to work legally. They also lack access to many

 8   social welfare or government services programs and cannot be involved in the political process.

 9   While they are here in the United States, they must navigate without consular assistance matters

10   involving protection, travel documentation, and judicial proceedings. Instead, they must live

11   with the permanent threat of detention or being put into removal proceedings, and they cannot

12   return to a country of origin and pursue a life where political, economic, and social participation

13   is possible.

14           15.     In essence, individuals who are stateless in the United States are part of a
15   permanent underclass of people with no path to citizenship. They face increased insecurity and

16   instability in their daily lives, restrictions on their ability to freely travel, detrimental employment

17   and economic consequences as a result of their status that severely limit their upward mobility,

18   and overall they must navigate their lives in American society without being fully part of society.

19   This harm can be hard to quantify but cannot be understated-for individuals who are stateless

20   there is simply no safe place to go. Limiting birthright citizenship in the United States will
21   exponentially increase the number of individuals put into this situation and vastly expand the

22   scope of those harms to those individuals, their families, and the United States at large.

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     DECLARATION OF                                      8                ATTORNEY GENERAL OF WASHINGTON
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 1          I declare under penalty of perjury under the laws of the State of Washington and the
 2   United States of America that the foregoing is true and correct.
 3          DATED and SIGNED this 20th day of January 2025, at New York, NY.
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 6                                                David C. Baluarte
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     DECLARATION OF                                   9                 ATTORNEY GENERAL OF WASHINGTON
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     DAVID c. BALUARTE                                                       800 Fifth Avenue, Suite 2000
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   STATE OF WASHINGTON; STATE OF                      NO. 2:25-cv-00127
     ARIZONA; STATE OF ILLINOIS; and
10   STATE OF OREGON,
                                                        DECLARATION OF
11                             Plaintiffs,              DR. CAITLIN PATLER
12      v.
13   DONALD TRUMP, in his official capacity
     as President of the United States, U.S.
14   DEPARTMENT OF HOMELAND
     SECURITY; BENJAMINE HUFFMAN, in
15   his official capacity as Acting Secretary of
     Homeland Security, U.S. SOCIAL
16   SECURITY ADMINISTRATION;
     MICHELLE KING, in her official capacity
17   as Acting Commissioner of the Social
     Security Administration, U. S .
18   DEPARTMENT OF STATE; MARCO
     RUBIO, in his official capacity as Secretary
19   of State, U.S. DEPARTMENT OF
     HEALTH AND HUMAN SERVICES;
20   DOROTHY FINK, in her official capacity
     as Acting Secretary of Health and Human
21   Services, U.S. DEPARTMENT OF
     JUSTICE, JAMES MCHENRY, in his
22   official capacity as Acting Attorney
     General, U.S. DEPARTMENT OF
23   AGRICULTURE; GARY WASHINGTON,
     in his official capacity as Acting Secretary
24   of Agriculture, and the UNITED STATES
     OF AMERICA,
25
                               Defendants .
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     DECLARATION OF                                 1            ATTORNEY GENERAL OF WASHINGTON
                                                                         Civil Rights Division
     DR. CAITLIN PATLER                                               800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                               Seattle, WA 98104
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 1          I, Caitlin Patler, PhD, declare as follows:
2           l.      I am over the age of 18, competent to testify as to the matters herein, and make
 3   this declaration based on my personal knowledge. If called to testify as a witness, I could and
4    would testify competently to the matters set forth below.
 5          2.      I am an Associate Professor of Public Policy at University of California (UC),
 6   Berkeley Goldman School of Public Policy. I am a faculty affiliate of the Berkeley
 7   Interdisciplinary Migration Initiative, the Berkeley Population Center, and the Institute for
 8   Research on Labor and Employment. Prior to joining the UC Berkeley faculty, I was an
 9   Associate Professor of Sociology at UC Davis, where I was a Chancellor's Fellow and helped
10   establish the Global Migration Center. I received a Ph.D. in Sociology from the University of
11   California Los Angeles (UCLA) in 2014. I have a Master of Arts and Bachelor of Arts degrees
12   in Sociology, both from UCLA.
13          3.      My research focuses on the origins and reproduction of inequality in the United
14   States through an examination of immigration laws, legal statuses, and law enforcement
15   institutions as drivers of socioeconomic and health disparities. I also study the spillover and
16   intergenerational consequences of legal vulnerability and structural inequality for the health and
17   wellbeing of older adults, young adults, youth, and children. I have written over 50 peer-
18   reviewed journal articles and book chapters, commentaries, and research reports on these
19   subjects.
20          4.      I have received several internationally competitive awards. In 2021, I received
21   the American Sociological Association (ASA) Section on Mental Health Best Publication
22   Award. In 2019, I received the Pacific Sociological Association (PSA) Distinguished
23   Contribution to Sociological Perspectives award. In 2018, I received the ASA Latina/o
24   Sociology Section Distinguished Contribution to Research article award. My work has been
25   supported with nationally and internationally competitive grants from the ASA, the National
26   Academy of Education/Spencer Foundation, the National Science Foundation, the Russell Sage


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 1   Foundation, and the Sociological Initiatives Foundation, among others. As a recognized expert
2    on issues related to immigration law enforcement, in 2024, I presented summaries of research
 3   before the National Academies of Science, Engineering and Medicine Committee on Population.
4           5.      My work has been presented to courts to aid in their consideration of issues
 5   concerning the rights of immigrants. In 2020, I authored a declaration to the United States
 6   District Court, Central District of California, analyzing the health profiles of certain individuals
 7   detained at Adelanto Detention Facility in 2013-14 who would have been classified as having
 8   "High-Risk conditions" by the Centers for Disease Control (CDC) for purposes of their
 9   vulnerability to COVID-19. See Reply Brief for Petition at Ex. 7, Hernandez-Roman et al. v.
10   Chad F. Wolf et al., No. 5:20-cv-00768-TJH-PVC (C.D. Cal., May 21, 2020). In 2019, I co-
11   authored an amicus brief to the United States Supreme Court summarizing empirical research
12   on the Deferred Action for Childhood Arrivals ("DACA") program. See Amici Curiae Brief of
13   Empirical Scholars in Support of Respondents, Dep 't of]-Iomeland Sec. et al. v. Regents of the
14   Univ. ofS. Cal., et al., Nos. 18-587, 18-589, 18-588 (U.S. Oct. 9, 2019). In 2018 and 2015,
15   research I did as part of my analysis of the implementation of the injunction in Rodriguez v.
16   Robbins, 804 F.3d 1060 (9th Cir. 2015), rev 'd in part, Jennings v. Rodriguez, 138 S.Ct. 830
17   (2018), was judicially noticed by the Court. See Order, Rodriguez v. Robbins, No. 13-56706,
18   ECF No. 133 at *4 (9th Cir. Oct. 28, 2015). My research has been cited in at least four federal
19   courts of appeals and two federal district courts, as well as by the Department of Homeland
20   Security in its response to public comments on the proposed Rule on Deferred Action for
21   Childhood Arrivals (DACA) CIS No. 2691-21, DHS Docket No. USCIS-2021-0006, (Aug.
22   2022), as well as its Notice of Implementation of Keeping Families Together, CIS No. 2779-24,
23   DHS Docket No. USCIS-2024-0010 (Aug. 2024). I have served as an expert on the economic
24   and social impacts of US immigration detention in the California Senate Judiciary Committee.
25          6.      I have attached a true and complete copy of my curriculum vitae as Exhibit A to
26   this Declaration, which includes a list of all of my publications over the past fifteen years.


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 1          7.       I have been retained by the State of Washington to provide a review of the
2    research and academic literature on the impacts of denying birthright citizenship to certain
 3   children born in the United States, particularly with regard to education and health. In addition
4    to my own research, I have reviewed a large body of peer-reviewed research on the
 5   socioeconomic and health disparities resulting from immigration law and legal statuses. I rely
 6   on my own research and this academic literature to inform my opinions.
 7          8.       I have attached as Exhibit B to this Declaration a complete list of all references
 8   cited herein.
 9          9.       My research and the academic literature show that citizenship confers legal,
10   political, and social membership in the United States, thus creating paths to mobility. In contrast,
11   undocumented immigrants are excluded from legal, political, and social membership, and thus
12   face thwarted opportunities for mobility. In a comprehensive review of research on the
13   integration of immigrants in the US, the National Academies of Sciences, Engineering, and
14   Medicine concluded that immigrant legal status is a central determinant of immigrants'
15   integration and mobility: "Given the significant potential to alter individuals' life chances, legal
16   status has become a new axis of social stratification, similar to other social markers such as social
17   class, gender, and race" (Waters, Pineau, and National Academies 2015:148), a "fundamental
18   determinant of immigrant integration" (Hamilton, Patler, and Hale 2019:2). This is because the
19   rights and benefits of citizenship structure access to opportunities, benefits, and resources not
20   available to undocumented immigrants. These benefits include, e.g., federal loan support for
21   higher education, access to the formal labor market, and access to health insurance and medical
22   care, cash assistance, and other social services (Hamilton, Patler, et al. 2019, Perreira and
23   Pedroza 20 19). Undocumented immigration status also takes on negative social meaning through
24   processes of politicization, stigmatization, and racialization (Asad and Clair 2018, Massey,
25   Durand, and Pren 2016). In this way, citizenship advantage and undocumented disadvantage are
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 1   legally and socially produced, rather than stemming from innate or biological features of human
2    beings.
 3             10.    My research and the academic literature has identified citizenship advantage and
4    corresponding undocumented disadvantage in educational outcomes among undocumented
 5   immigrants who came to the US as children, with implications for their long-term mobility.l
 6   Undocumented immigrant children attend K-12 schools alongside US citizen children, and many
 7   do not realize they are undocumented, or the stakes of undocumented status, until they reach
 8   adulthood and become aware of the barriers they face to higher education and the formal labor
 9   market (Gonzales 2011, 2016). This realization, coupled with the corresponding fear of
10   deportation and lack of support and information, can keep some undocumented immigrant
11   children from completing high school (Jefferies 2014). One representative sample of Latina/o
12   young adults (age 18-26), captured in the California Young Adult Study (CYAS), found that
13   undocumented immigrant youth had more than double the probability of high school non-
14   completion, relative to US citizens (16% and 7%, respectively), even after controlling for
15   demographic and socioeconomic background and educational tracking (Patler 2018: 16).
16             ll,    Undo cumente d        educational      disadvantage       persists    after    high    school:
17   undocumented Latino youth in the CYAS had a predicted probability of 66% of enrolling in
18   post-secondary education, compared to 82% among the US-born control group (Patler
19   2018:1096). Another study, using a large, nationally representative sample of US households
20

21            1 A large and established body of research identifies educational, labor market, occupational, and other
     disadvantages among undocumented US adults and older adults. See e.g., Hall, Greenman, and Farkas 2010 ("Our
22   estimates reveal a gross 17 percent wage disparity between documented and undocumented Mexican immigrant
     men, and a 9 percent documented-undocumented wage disparity for Mexican immigrant women. When worker
23   human capital and occupation are held constant, these wage gaps reduce to 8 and 4 percent, respectively. We also
     find large differences in returns to human capital with undocumented Mexican immigrants having the lowest
24   wage returns to human capital and having very slow wage growth over time"), Hirokazu Yoshikawa et al.,
     Unauthorized Status and Youth Development in the United States: Consensus Statement of the Society for
25   Research on Adolescence, 27(1) J. Rsch. Adolesc. 4, 6 (2017) (workers with unauthorized status face worse work
     conditions, higher rates of working below minimum wage, and lower rates of wage growth), Flores Morales 202 l
     (arguing that there is a "continuity of exclusion via policies" that "magnify inequalities on the basis of
26
     immigration status and racialization in older age.")


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 1   captured in the Survey of Income and Program Participation (SIPP), compared undocumented
2    and documented Mexican and Central Americans aged 18-24, concluding: "our results indicate
 3   that legal status matters: we find that the odds of college enrollment are about four times higher
4    for documented immigrants than their undocumented peers" (Greenman and Hall 2013: 1492) .
 5          12.     Undocumented legal status also shapes the ability to persist and excel once
 6   enrolled in college, both at the community college and university levels. Analyzing CYAS data,
 7   one study found higher rates of discontinuous community college enrollment among
 8   undocumented students, relative to their non-immigrant peers (Terriquez 2014). While another
 9   study using administrative data from the CUNY system found that "undocumented students
10   either perform as well as or outperform their legal-status peers, particularly compared to
11   citizens," in community college and four-year college graduation rates and cumulative college
12   GPA, this is likely due to selection into these experiences, that is, more disadvantaged
13   undocumented immigrant students are likely to have been unable even to access these
14   experiences (Hsin and Reed 2020). Furthermore, undocumented Latino immigrants in the CUNY
15   system from 2002-2012 show evidence of achievement decline across their semesters of
16   enrollment, relative to documented and naturalized citizen peers (Kreisberg and Hsin 2020).
17          13.     There are numerous reasons for undocumented immigrants' difficulty persisting
18   and excelling in higher education. Undocumented immigrants cannot access federally funded
19   financial aid or work study. Terriquez found that: "the most common reason for withdrawing
20   from community college was not being able to afford college," reported by 81% of
21   undocumented students compared to 43% of their US citizen and lawful permanent resident
22   (LPR) peers (Terriquez 2014: 1313). Structural factors including financial barriers and
23   institutional characteristics were also associated with reduced educational achievement among
24   Latino undocumented immigrants in the CUNY system (Kreisberg and Hsin 2020). Qualitative
25   research from children of working-class Latino immigrants in Los Angeles found that although
26   undocumented and US citizen children attended schools together and had similar social

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 1   incorporation processes, "knowledge of future barriers to college attendance" led to "a decline
2    in educational motivation" among some undocumented children (Abrego 2006). Another study,
 3   using qualitative interview data from 37 undocumented college students in Massachusetts and
4    North Carolina found that "even when undocumented students gain access to higher education,
 5   barriers to legal status generate chronic feelings of despair and hopelessness that persist
 6   throughout their educational trajectories" (Basso Vienrich and Torres Stone 2022:1). See also
 7   (Williams 2016) (finding feelings of exclusion among undocumented university students).
 8          14.     In contrast, undocumented students' educational outcomes improve when
 9   structural barriers are removed and supports are enacted, e.g., through in-state tuition policies
10   that make college more affordable, through relief from removal and access to work authorization
11   via the Deferred Action for Childhood Arrivals (DACA) program, or through access to
12   citizenship via the Immigration Reform and Control Act (IRCA). One study using Current
13   Population Survey data from 1999-2012 found that "the policy of granting in-state tuition to
14   undocumented students does attain its intended goal and increases Mexican non-citizen college
15   enrollment rates by 4 percentage points" without impacting rates for native-bom students
16   (Amuedo-Dorantes and Sparker 2014:21, see also Kaushal 2008). A longitudinal qualitative
17   study of undocumented immigrant youth before and after the passage of California's in-state
18   tuition policy provides context for the potential mechanisms for these changes: the policy not
19   only provided a more affordable path to higher education, but also "immediately relieved
20   stigma" and "provided a socially acceptable identity" (Abrego 2008:709).

21          15.     The DACA program also led to increased rates of high school completion
22   (Hamilton, Patter, and Savinar 2020), though there is more mixed evidence of DACA's impact
23   on higher education, likely due to many DACA recipients feeling compelled to work while work
24   authorization is valid, given the temporary nature of the program (Hamilton et al. 2020, Hsin
25   and Ortega 2018, Pope 2016). The educational gains from DACA may also have varied by the
26   age of the recipient, suggesting that "policy makers should ensure that opportunities to


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 1   permanently legalize status are available to immigrants as early as possible in the life course"
2    (Hamilton, Patler, and Langer 2021 : l).
 3          16.     Unlike temporary legalization programs, access to citizenship provides a much
4    clearer path to higher education and socioeconomic mobility. The case of IRCA underscores the
 5   importance of citizenship: utilizing data from the 2000 decennial census and a rigorous causal
 6   identification strategy, Cortes shows that "immigrant youth who were granted legal status under
 7   IRCA are 13.9 percentage points more likely to enroll in college," signifying a "25% increase
 8   over the base college enrollment of 55%" (Cortes 2013:430, 432). The study concludes that
 9   "immigrant youth are more likely to enroll in college when legal barriers are removed and
10   financial barriers lowered" (ibid). In summary, US citizenship creates structural opportunities
11   and paths to educational mobility, while undocumented status imposes barriers to mobility.
12          17.     My research and the academic literature shows that immigrant legal status is also
13   a fundamental determinant of health, including mental and physical health (Bacong and Menjivar
14   2021, CastaNeda et al. 2015). Federal laws governing immigration status and immigrants' rights,
15   as well as state and local laws defining benefits based on citizenship, not only structure access
16   to health care (e.g., through (in)eligibility for Medicaid or access to preventative care outside of
17   community clinic settings), but also structure access to health-protective resources (e.g., through
18   state and local policies that (dis)allow access to state-sponsored public benefits or increase or
19   decrease immigration law enforcement, which can lead to delayed care) (Cabral and Cuevas
20   2020, Hamilton, Patler, et al. 2019, Perreira and Pedroza 2019, Wallace et al. 2019).
21          18.     These structural disadvantages, combined with other disadvantages imposed by
22   undocumented status (e.g., disadvantaged socioeconomic status that leads to poverty,
23   housing/food insecurity, and neighborhood/school disadvantage, chronic exposure to
24   deportation fear and/or discrimination based on racialized legal status, etc.) have severe
25   consequences for health: "Undocumented individuals are more likely to report greater depression
26   and social isolation, higher rates of hypertension with longer length of hospital stay, greater


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 1   anxiety and post-traumatic stress, and higher levels of acculturative stress compared to
2    documented immigrants" (Cabral and Cuevas 2020:874). In addition, "undocumented
 3   immigrants present more advanced stage diseases, such as breast cancer and HIV
4    infection...than their documented counterparts" at the initiation of treatment (Cabral and Cuevas
 5   2020:874). Although some research finds undocumented immigrants have lower levels of
 6   physician-diagnosed health outcomes such as asthma or hypertension, "this may be a result of
 7   undocumented immigrants having limited access to healthcare," for the purposes of receiving
 8   diagnoses in the first place (Cabral and Cuevas 2020, see also Hamilton, Hale, and Savinar
 9   2019). In summary, the cumulative effects of the adversities created by legal status increase risk
10   of disease and poor mental and physical health.
11          19.     The health harms of immigration policies determining immigrant legal status and
12   rights are profound for undocumented children, particularly with regard to mental health and
13   emotional wellbeing. As undocumented children grow up in the United States, they become
14   increasingly aware of the implications of their legal status and living in "an in-between social
15   position where one's social identity (as an immigrant or an American) is not recognized or
16   reflected by society" (Hamilton, Patler, et al. 2019:6, see also Gonzales and Chavez 2012,
17   Gonzales, Suarez-Orozco, and Dedios-Sanguineti 2013, Suarez-Orozco et al. 2011). Formal
18   exclusion from mainstream rites of passage in adolescence and young adulthood (e.g., getting a
19   driver's license or job, going to college) can cause many young undocumented immigrants to
20   feel hopeless and isolated (Gonzales 2011). Emotional wellbeing is further harmed by negative
21   public portrayals of undocumented immigrants: "children's identities, feelings of self-worth,
22   friendships, and relationships with school-based adults are compromised as they become aware
23   of the hostile and disparaging portrayal of unauthorized immigrants in the media, as well as of
24   the common stigma associated with being undocumented" (Hamilton, Patler, et al. 2019:6, see
25   also Abrego 2006, Gonzales et al. 2013, Patler 2014, Suarez-Orozco et al. 2011). Qualitative
26   studies, based on interviews with undocumented youth, describe some of the emotional and


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 1   physical manifestations of distress related to undocumented immigration status: "Many
2    participants spoke of their anxieties, of chronic sadness, of depression, of overeating or
 3   undereating, of difficulties sleeping, and of a desire simply to never get out of bed. Participants
4    talked about exacerbation of chronic diseases like high blood pressure, chronic headaches,
 5   toothaches, and bodily pain"(Gonzales et al. 2013: 1187).
 6          20.     Undocumented status also creates chronic deportation worry: "children growing
 7   up in the shadow of undocumented status live with what is likely an immeasurable ever-present
 8   stress of the threat of the deportation of a loved one or potentially themselves" (Suarez-Orozco
 9   and Yoshikawa 2013:66, see also Abrego 2006, Gonzales 2011). This chronic stress is
10   exacerbated following the actual detention or deportation of a loved one can cause further harm
11   to wellbeing: In a qualitative study of children aged 11-18 who had experienced parental
12   detention, "Younger children were reported to cry inconsolably, wake with night terrors, and
13   cling to their remaining parents. Children of all ages reported loss of appetite or overeating, self-
14   isolation, trouble sleeping or being unable to get out of bed, headaches, stomach pain, and
15   dizziness" (Patler and Gonzalez 2020:896, see also Brabeck 2010, Patler et al. In press, Patler
16   and Gonzalez 2023).
17          21.     In these ways, undocumented immigration status interrupts children's ontological
18   security-the ability to count on the promise of the future, which is central to trust: "Lack of
19   ontological security is at the core of emotions [undocumented immigrant youth] must contend
20   with, from frustration, fear, shame, and depression to anxiety about their future" (Vaquera,
21   Aranda, and Sousa-Rodriguez 2017:298, see also Gonzales et al. 2013). Experts in child and
22   adolescent development conclude: "These compromised ecologies lead to far from optimal
23   developmental contexts for children of unauthorized parents" (Suarez-Orozco and Yoshikawa
24   2013:66).
25          22.     The legal, political, and social exclusion faced by undocumented children can
26   lead to poorer health. One study analyzed survey data from the 2005-2017 waves of the

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 1   California Health Interview Survey (CHIS) and found higher rates of poor self-reported health
2    and among undocumented Latina/o immigrants who came to the US as children, compared to
 3   their naturalized citizen counterparts (Hamilton, Patler, and Savinar 2022). Another survey of
4    middle- and high school aged Latino youth in North Carolina found higher rates of anxiety
 5   among undocumented adolescents, compared to documented peers (Potochnick and Perreira
 6   2010).
 7            23.   In the most extreme cases, despair about blocked paths to mobility caused by
 8   legal status can lead to self-harm, suicidal ideation, or even suicide itself: "Eighteen-year-old
 9   Joaquin Luna Jr. came to the U.S. with his parents as a 6-month-old infant. Growing up in the
10   small town of Mission, Texas, among his American-born peers, this church-attending, guitar-
11   playing, strong student had hoped to become the first in his family to pursue college. Despairing
12   that his undocumented status would block his ability to achieve his dreams to go to college,
13   however, he took his life on November 25, 201 l" (Gonzales et al. 2013:1175). Unfortunately,
14   research suggests mental health issues are not likely to be addressed through access to healthcare
15   alone: Interviews with undocumented immigrant college students, some of whom can access
16   mental healthcare services through student health plans, showed that treatment was viewed by
17   some as "futile because it could not address underlying immigration-related issues" (Cha,
18   Enriquez, and Ro 2019: 193).
19            24.   State and federal policies and administrative programs that more directly address
20   immigration status-related stressors may improve mental health, at least in the short-term.
21   Qualitative research shows that in-state tuition policies gave immigrant youth in California an
22   improved sense of wellbeing and renewed optimism about the future (Abrego 2008).
23   Quantitative analyses of National Health Interview Survey (NHIS) support these conclusions,
24   providing some evidence of improved self-related health and reduced psychological distress
25   among noncitizen Mexican adults associated with in-state tuition policies, as well as increased
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 1   psychological distress associated with policies that ban in-state tuition access (Kaushal, Wang,
2    and Huang 2018).
 3          25.     The Deferred Action for Childhood Arrivals (DACA) program addressed some
4    of the formal and informal exclusion faced by young undocumented immigrants by providing
 5   relief from the immediate threat removal and granting work authorization. Multiple research
 6   studies find strong evidence of DACA's association with improvements to self-reported health
 7   and psychological distress (Patler, Hamilton, and Savinar 2021, Patter and Pirtle 2018,
 8   Venkataramani et al. 2017). Moreover, the health-promoting impacts of DACA were
 9   intergenerational: analyses of US birth records found that DACA-eligible Latina mothers gave
10   birth to healthier infants, on average, compared to ineligible Latina immigrants (Hamilton,
11   Langer, and Patler 2021). Another study, analyzing CHIS data found that following DACA's
12   initiation, DACA-eligible Latina mothers reported improved health among their US citizen
13   children who were, on average, under five years old (Patler et al. 20 19). However, given DACA's
14   temporary nature and the formal efforts to rescind it, improvements to health among DACA-
15   eligible immigrants and their children may not have been sustained (Patler et al. 2019, 2021).
16   Evidence from programs providing permanent access to citizenship (IRCA) is more promising:
17   One study analyzed US birth records and found that in areas with higher concentration of IRCA
18   applications, infants' average birth weights increased and the likelihood of low birthright births
19   was reduced by 5 to 15% (Timilsina 2023).
20          26.     In summary, undocumented immigration status and the disadvantages it confers
21   can lead to poorer physical and emotional health among undocumented immigrants.
22   Unaddressed, these harms may be long-term and intergenerational (Torres and Young 2016).
23          27.     Based on my own research and having reviewed the literature on the impacts of
24   citizenship and immigration status' on education and health, my expert opinion is that denying
25   citizenship to children bom to undocumented parent(s) would be catastrophically harmful for
26   children's development, wellbeing, and mobility. These harms would extend beyond the millions


     DECLARATION OF                                   12              ATTORNEY GENERAL OF WASHINGTON
                                                                              Civil Rights Division
     DR. CAITLIN PATLER                                                    800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                                    Seattle, WA 98104
                                                                                  (206) 464-7744
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 1   of impacted children themselves, impacting schools, neighborhoods, communities and, indeed,
2    our nation as a whole. Birthright citizenship is a cornerstone of the U.S. identity as a nation of
 3   immigrants, promoting social cohesion, opportunity, and mobility. Ending birthright citizenship
4    would erode those principles and divide our national community, creating and reinforcing vast
 5   inequality for generations to come.
 6          I declare under penalty of perjury under the laws of the State of Washington and the
 7   United States of America that the foregoing is true and correct.
 8

 9          DATED and SIGNED this 20th day of January 2025, at Berkely, California.
10
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12                                                 Caitlin Patter, PhD
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     DECLARATION OF                                   13                ATTORNEY GENERAL OF WASHINGTON
                                                                                Civil Rights Division
     DR. CAITLIN PATLER                                                      800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                                      Seattle, WA 98104
                                                                                    (206) 464-7744
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                            PATLER DECLARATION
                                                         EXHIBIT A




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                                  CAITLIN PATLER
                                         patler@berkeley.edu
                                         www.caitlinpatler.com
                                             January 2025

PROFESSIONAL POSITIONS

UMZWVJZW of Can/fwia-Berke/ey

2023-present       Associate Professor, Goldman School of Public Policy

                   Faculty Affiliate: Berkeley Interdisciplinary Migration Initiative (BIMI), Berkeley
                   Population Center (BPC), Institute for Research on Labor and Employment (IRLE)

                   Fellow, Transactional Records Access Clearinghouse (TRAC) (2018-present)

UMZWVJZW 0f Ca/9814124-DaW;

2016-2023          Associate Professor, Department of Sociology

                   Chancellor's Faculty Fellow, 2022-2027

                   UC Davis Academic Senate Distinguished Teaching Award, 2021

                   Executive Committee Member/Co-founder: UC Davis Global Migration Center

                   Advisory Committee: Office of Public Scholarship and Engagement, 2019-2023

                   Faculty Affiliate: Center for Poverty & Inequality Research; Human Rights Program;
                   Race, Ethnicity, and Immigration Research Cluster, Social Control Research Cluster

                   Immigration Associate, UC-México Program (2018-2023)

                   Assistant Professor, Department of Sociology, 2016-2021

2018 - 2020        Postdoctoral Fellow, National Academy of Education/Spencer Foundation

UMZWVJZW 0fCa/ fwia-Irvine

2014 - 2016        UC President's Postdoctoral Fellow, Department of Criminology, Law and Society

                   Affiliate: Center for Demographic and Social Analysis

EDUCATION
2014               Ph.D. Sociology, UCLA
                   Di;Jen'az'io11.' "Young and Undocumented: The Impacts of Legal Status on the
                   Incorporation of Immigrant Young Adults"

2009               M.A. Sociology, UCLA

2003               B.A. Sociology with College Honors, Magna Cum Laude, Minor in Chicana/Chicano
                   Studies, UCLA
                                                                                                  Patter CV - 1



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PUBLICATIONS (*indicates student/trainee co-author)

Edited Volumes

1. Patler, Caitlin and Bradford S. Jones. Under Review. "The US Deportation System." REF' R¢/.r.re// Sage
     Fozmdalion fozzma/ oft/96 Maia/ Sfienret

Peer-Reviewed ]ournal Articles

1. Saadi, Altar, Caitlin Patler, and Paola Langer.* In Press. "Duration in immigration detention and health
     harms." ]/LMA Neff/or/é Open

2.   Patler, Caitlin, Altar Saadi, and Paola Lan8-e1:.* In Press. "The health-related experiences of detained
     immigrants with and without mental illness." fownal oflléfggrafiofi and Her/fb

3.   Patler, Caitlin and Paola Langer* In Press. "Has population mental health returned to pre-pandemic
     levels, among and between racialized groups and by immigration status?" Sonia/ Swiewe 29"MedZW1e-Menz'a/
     H8n/t/9.

4.   Langer, Paola,* Caitlin Patter, and Erin Hamilton. 2024. "Adverse infant health outcomes increased
     after the 2016 presidential election among U.S.-born and foreign-born mothers." Dewograp/o/. 61 (4) :
     1211-1239.

5.   Franco, Konrad,* Caitlin Patler, and Whitney N. Laster Pirtle. 2024. "COVID-19's Unequal Toll:
     Differences in Health-Related Quality of Life by Gendered and Racialized Groups." fownal 0f Hea/t/9 and
     $06241 Be/aawior. 65(1): 60-74.

6.   Patler, Caitlin. 2024. "Blurring the Borders of Reentry: Socioeconomic Reintegration among
     Noncitizens following Release from Immigration Detention." Sofia/ Prob/ww. 71 (41: 975-995.

7. Patler, Caitlin and Gabriela Gonzalez. 2023. "\X/ellbeing, changes to academic behavior, and resilience
     among families experiencing parental immigration imprisonment." A/werimn Behavioral Xrientiré

8.   Erin Hamilton, Caitlin Patter, and Robin Savinat.* 2022. "Immigrant Legal Status Disparities in Health
     among 1St- and 1.5-Generadon Latinx Immigrants in California." Pojw/ation Rexeawb and Po/Z9 Review. 41 :
     1241 -1260.

9. Franco, Kon1:ad,* Caitlin Patler, and Keramet Reiter. 2022. "Punishing Status and the Punishment
   Status Quo: Solitary Confinement in U.S. Immigration Detention Facilities, 2013-2017." P;/wA"/mfent 8°
     $06269/_ 24(2):170-195.

10. Patler, Caitlin, Shannon Gleeson, and Matthias Schonlau. 2022. "The Impact of Immigrant Legal Status
    and Human Capital on Legal Knowledge and Claims-Making in Low Wage and Unregulated Labor
    Markets." Sonia/ Prob/ww. 69(2): 356-379.

11. Saadi, Altar, Caitlin Patler, and Maria-Elena de Trinidad Young. 2021. "Cumulative Risk of Immigration
     Prison Conditions on Health Outcomes among Detained Immigrants in California." fownal 0f Rmia/ aim'
     Et/mir Hea/t/9 Diiparitieit 29: 1-15.

12. Hamilton, Erin, Caitlin Patler, and Paola Langer.* 2021. "The Life Course Timing of Legalization:
    Evidence from the DACA Program." S0624/.r.' $`20/0g2m/ Rwearfbfor 4 Djnwfif Ulm/d. 7:1-14.

13. Patler, Caitlin, Altaf Saadi, Maria-Elena de Trinidad Young, and Konrad Franco* 2021. "Release from
    US Immigration Detention May Improve Physical and Psychological Stress and Health: Results from a
    Two-Wave Panel Study in California." Sonia/ Xfiewe d?'Medirine-Menla/ H8a/1/9. l: 1-11.
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14. Patler, Caitlin and Altaf Saudi. 2021. "Risk of Poor Outcomes with COVID-19 Among Detained
    Immigrants: A Cross-sectional Study." fownal of]/72/migrant mill/Iinorigy Hea/I/9. 23(4): 863-866.

15. Patler, Caitlin, Jo Hails, and Erin Hamilton. 2021. "Paths to Mobility: A Longitudinal Evaluation of
    Earnings among Latina/o DACA Recipients in California." Aweriran Belaawioral Xrientifé 65(9): 1146-1164.

16. Hamilton, Erin, Paola Langer*, and Caitlin Patler. 2021. "DACA's Association with Birth Outcomes
    among Mexican-Origin Mothers in the United States." De/wograp/ay. 58(3): 975-985.
       .    Included in curated selection of Dwfograpby articles on immigration.

17. Gonzalez, Gabriela* and Caitlin Patter. 2021. "The Educational Consequences of Parental Irnfnigradon
    Detention." $0620/082ml Perfpedivex. 64(2): 301-320.

18. Patler, Caitlin, Erin Hamilton, and Robin Savinar.* 2021. "The Limits of Gaining Rights while
    Remaining Marginalized: The Deferred Action for Childhood Arrivals (DACA) Program and the
    Psychological Wellbeing of Latina/o Undocumented Youth." $06241 Forney. 100(1): 246-272

19. Hamilton, Erin, Caitlin Patler, and Robin Savinal:.* 2021. "DACA's Mixed Impacts on Education and
    Employment among Young Adult Immigrants in California." Sonia/ Prob/ewf. 68(3): 675-695.

20. Patler, Caitlin and Gabriela Gonzalez.* 2021. "Compounded Vulnerability: The Consequences of
    Immigration Detention for Institutional Attachment and System Avoidance in Mixed-Immigration Status
    Families." Soda/ Prob/war. 68(4): 886-902.

21. Saadi, Altar, Maria Elena De Trinidad Young, Caitlin Patter, Jeremias L Estrada, and Homer Venters.
    2020. "Understanding U.S. Immigration Detention: Reaffirming Rights and Addressing Social-Structural
    Determinants of Health." H64/I/9 and Hz/wan RQ/9A']0¢/rnal 22(1): 187-198.

22. Patler, Caitlin, Erin Hamilton, Kelsey Meagher,* and Robin Savinar.* 2019. "Uncertainty about DACA
    May Undermine its Positive Impact on Health for Recipients and their Children." H64/tb Ajairx. 38(5) :
    738-745.

2.3. Hamilton, Erin, Caitlin Patter, and Jo Haile. 2019. "Growing up without Status: The Integration of
    Unauthorized Children and Children of Unauthorized Parents." Xotio/ogy Co/fipari". 13(6): 1-14.

24. Patler, Caitlin, Jeffrey O. Sacha, and Nicholas Branic.* 2019. "The Black BOX within a Black BOX:
    Solitary Confinement Practices in a Subset of U.S. Immigrant Detention Facilities." fownal 0fP0/*m/412019
    Refeaw/9. 35(4): 435-465.

25. Patler, Caitlin. 2018. "Undocumented Disadvantage, Citizen Advantage, or Both? The Comparative
    Educational Outcomes of Second and l.5-Generation Latino Young Adults." International Migration
    Rgpjgy/. 52(4):1080-1110.

26. Patler, Caitlin. 2018. "To Reveal or Conceal: How Diverse Undocumented Youth Navigate Legal Status
    Disclosure." §0630/0Cgira/ Perfpeflivef. 61(6): 857-873.

27. Patler, Caitlin. 2018. "Citizens but for Papers: Undocumented Youth Organizations, And-Deportation
    Campaigns, and the Reframing of Citizenship." $06241 Prob/ew; 65 (1): 96-115.
      .    Selected for inclusion in Sonia/ Prob/ew; 2019 curated issue on immigrants' incorporation

28. Patler, Caitlin and Whitney N. Laster Pirtle. 2018. "From Undocumented to Lawfully Present: Do
    Changes to Legal Status Impact Psychological \X/ellbeing Among Latino Immigrant Young Adults?" Maia/
    Sfiewe 8° Medicine. 199(1):39-48.


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29. Patler, Caitlin and Nicholas B1:anic.* 2017. "Patterns of Family Visitation during Immigration
    Detention."       Rate!!Sage Fo9/ndatioia foal/ of t/ae Soda/ Xdenfex 3(4):18-36.
30. Patler, Caitlin and Tanya Golan-Boza. 2017. "The Fiscal and Human Costs of Immigration Detention
    and Deportation in the United States." S0020/0gy Cowpaxf. 11(11):1-9.

31. Patler, Caitlin and Roberto G. Gonzales. 2015. "Framing Citizenship: Media Coverage of Anti-
    Deportation Cases Led by Undocumented Immigrant Youth Organizations." fozzma/0fEt/mir and
     Migration Szwdiex 41 (9) :1453-1474.

Peer-Reviewed Book Chapters, Commentaries, 8: Book Reviews

32. Patler, Caitlin, Gabriela Gonzalez, Monica Cardenas Guzman,* and Guillermo Perez Gallardo.* 2024.
      "If I talk about it, I start crying: Children's Responses to Parental Imprisonment in US Immigration
      Prisons." In In/fzégmlion Deletion and UXorial Hafiz, edited by Michelle Peterie. Routledge.

33. Diaz, Chanelle, Altaf Saadi, Joseph Nwadiuko, and Caitlin Patler. 2023. "Beyond Inevitable: Advancing
    research to address the multilevel health impacts of structural racism in the US immigration prison
    system." H64/I/9 Akin". 42(l O): 1448-1455

34. Patler, Caitlin, Altaf Saudi and Ahilan Arulanantham. 2023. "Looking Back: Decarcerating Immigration
    Prisons as a Tool for Improved Health." Awerz'm1¢]0w/¢a/0fP¢/8/i6 H8a/1/9. 113(7): 732-735

35. Patler, Caitlin, Kristina Skull, and Katie Dingeman. 2019. "Detention and Deportation." in T/98 Roz/l/edge
    International Hanfdhoo/e 0f Mzgraiion Stzfdief, Sewiad Edition., edited by S. J, Gold and S. J, Nawyn. London and
    New York: Routledge.

36. Patler, Caitlin. 2016. "Everyday Illegal: When Policies Undermine Immigrant Families." Coiftewporag
    X080/0g)/:A f0zzma/0fRevie114r. 45: 597-599. (Book Review).

37. Patler, Caitlin. 2014. "Racialized Illegality: The Convergence of Race and Legal Status among Black,
    Latino and Asian-American Undocumented Young Adults." In Carty, Victoria, Rafael Luévano and Tekle
    Woldemikael, Eds. So/oo/or; old Soon/aero Co/roioo too/oégrooti" in Did/ogoe: New Coooorfoliow in PoOr/io Socio/ogy.
    Lexington Press.

38. Patter, Caitlin C. 2010. "Alliance-Building and Organizing for Immigrant Rights: The Case of the
     Coalition for Humane Immigrant Rights of Los Angeles," in Milkman, Ruth et al. (editors), Lou/-H7486
     Worker Otganiqing a1zd Adwra9/: Tlye LA. Zl/[ode/. Ithaca, Cornell University Press.

Research Reports, Policy Briefs, Op-Eds, and Other Publications

1. Patler, Caitlin. 2024. "Immigration Policy." Berkeley PM/if Po/ig/ foe/rm/. Spring/Summer 2024.

2. Patler, Caitlin, Altaf Saadi, Maria-Elena de Trinidad Young, Konrad Franco* 2023. "Release from
     Detention Reduces Stress and Improves Health Among Detained Immigrants." UC Davis Center for
     Poverty and Inequality Research 11(7) .

3.   Hamilton, Erin, Paola Langer,* and Caitlin Patler. 2021. "DACA Associated with Improved Birth
     Outcomes Among Mexican-Immigrant Mothers." UC Davis Center for Poverty and Inequality Research
     10(31 .

4.   Patler, Caitlin,Jackie Gonzalez, and Hamid Yazdan-Panah. 2021. Immigrant Detention and COVID-
     19: A Tragic Call to Action for Federal and State Officials. Harvard Immigration Initiative Policy Brief 7.


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5. Franco, Konrad,* Caitlin Patler, and Kerarnet Reiter. 2020. Solitary Confinement in U.S. Immigration
   Prisons, 2013-2017. UC Davis Global Migration Center.
     • Reprinted in Border Ctiwino/0326; blog by Oxford University Faculty of Law
6. Hamilton, Erin, Caitlin Patter, and Robin Savinar.* 2020. "DACA Enables Mobility, but its Uncertain
   Future Undermines Benefits for Recipients." UC Davis Center for Poverty and Inequality Research 9(2) .

7. Patler, Caitlin and Erin Hamilton. 2020 (June 18). "Supreme Court decision is welcome news for
   DACA recipients but program remains vulnerable." Opinion-Editorial, COM/Iatlerf.

8. Patler, Caitlin, Altaf Saadi, and Hamid Yazdan-Panah. 2020. "Immigrant detention, COVID-19, and
    opportunities for action." Co-published by UC Davis Global Migration Center, Physicians for Human
    Rights, and Immigrant Defense Advocates.
      .   Spanish language version published by E1 Observatorio de LegislaciOn y Politica Migratoria at the
          Colegio de la Frontera Norte, "Centros de detenciOn de inmigrantes y COVID-19. Lecciones decide
          Estados Unidos y oportunidades Para la acciOn" (with Altaf Saadi, Hamid Yazdan-Panah, and
          Ariadna QuiNares Navarette) .

9. Hibel, Leah and Caitlin Patler. 2019 (August 27). "\X/hat will Indefinite Detention Do to Migrant Kids?
   The Evidence is Clear: No Detention Center is Safe and Healthy for Children." Opinion-Editorial, T/y8
    New York To/wer.

10. Patler, Caitlin, Erin Hamilton, and Robin Savinar*. 2018. "DACA Uncertainty May Undermine its
    Positive Impact on Psychological Wellbeing." UC Davis Center for Poverty Research.

11. Patler, Caitlin. 2018. "The Impact of Deferred Action for Childhood Arrivals IDACA) on the
    Psychological Wellbeing of Young Immigrants." Scholars Strategy Network.

12. Patler, Caitlin and Jorge Cabrera. 2015. "From Undocumented to D/ICA/fzentedx Benefits and
    Limitations of the Deferred Action for Childhood Arrivals (DACA) Program, Three Years Following its
    Announcement." UCLA Institute for Research on Labor and Employment.

13. Patler, Caitlin. 2015. "The Economic Impacts of Long-Term Immigration Detention in Southern
    California." UCLA Institute for Research on Labor and Employment.

14. Terriquez, Veronica, Uriel Rivera, and Caitlin Patler. 2013. "Leaders on Campus and in the Community:
    The Civic and Educational Pathways of California Dream Network Members." University of Southern
    California Center for the Study of Immigrant Integration.

15. Terriquez, Veronica, John Rogers, Alejandra Johnson-Vargas, and Caitlin Patter. 2013. "Powerful
    Learning: The Impact of CHIRLA's Wise Up! On Members' Educational and Civic Pathways."
    University of Southern California Center for the Study of Immigrant Integration and UCLA Institute for
    Democracy, Education, and Access.

16. Terriquez, Veronica and Caitlin Patter. 2012. "Aspiring Americans: Undocumented Youth Leaders in
    California." University of Southern California Center for the Study of Immigrant Integration.

17. Patler, Caitlin and Lauren D. Appelbaum. 2011. "Reaching the Dream: The Federal DREAM Act, the
    California Dream Act and Undocumented Student Activism." UCLA Institute for Research on Labor
    and Employment Research & Policy Brief No. 10.


GRANTS, FELLOWSHIPS & AWARDS (Since PhD)

Grants
                                                                                                 Patter CV - 5



                                                                                       Supp.Add.324
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2024-2026       Peder Sather Center for Advanced Study, UC Berkeley, "Exploring Undocumented
                Immigrants' Experiences Across National Contexts," Co-Principal Investigator (PI, Co-
                PI Syn rove Bendixsen)

2024-2025       Institute for Research on Labor and Employment, UC Berkeley, "Sanctuary
                Immigration Policies and infant health," PI

2021-2025       National Science Foundation, "Depopulating Holding Centers during the COVID-19
                Pandemic," PI (Co-PI: Altaf Saadi)

2021-2023       Russell Sage Foundation, "Reuniting Families: Understanding the impact of immigration
                prison decarceradon due to the COVID-l9 pandemic on detained immigrants and their
                families," PI (Co-PI: Altaf Saadil

2021-2023       French American Cultural Exchange Thomas Jefferson Fund, "Immigrant Legal Status
                and Integration Across Four National Contexts," PI (Co-PI: Marie Mallet Garcia)

2020-2022       UC Davis Office of Research, "UC Davis Global Migration Center: Research, Policy
                and Action on Vulnerable, New, and Temporary Migrants," Co-PI (PI: Giovanni Peri,
                Co-Pls: Leticia Saucedo, Robert Irwin, Robyn Rodriguezl

2019-2020       Hellman Foundation, "The DACA Longitudinal Study IDLSI," PI

2019-2020       UC Davis Academic Senate Faculty Research Grant, "How Does Uncertainty about
                DACA Impact Participants? Evidence from the DACA Longitudinal Study," PI (Co-PI:
                Erin Hamilton)

2018-2021       National Science Foundation, "Effects of a Precarious Future on Youth Health and
                \X/ellbeing," PI (Co-PI: Erin Hamilton)

2018-2019       University of California-Mexico Initiative, "Debunking the Deportation Myths: The
                Economic, Social and Human costs of Detaining and Deporting Undocumented
                Immigrants," Co-PI (Co-PIs: Robert Irwin, Giovanni Peri, Leticia Saucedo)

2018-2019       Sociological Initiatives Foundation, "Deferred Action for Childhood Arrivals (DACA)
                Study: Wave Two," PI (community partner: Dream Team Los Angeles)

2018-2019       UC Davis Center for Regional Change Faculty Research Award, "Evaluating the
                Impacts of the Tenure and Termination of the Deferred Action for Childhood Arrivals
                Program on Immigrant Young Adults in California, 2012-2020," PI (Co-PI Erin
                Hamilton)

2018-2019       UC Davis Institute for Social Sciences junior Faculty Research Grant, "From
                Undocumented to Lawfully Present: Do Changes to Legal Status under DACA Impact
                Immigrant Youth?" PI

2017-2018       UC Davis Academic Senate Faculty Research Grant, "The Impact of the Deferred
                Action for Childhood Arrivals (DACA) Program on the Wellbeing of Undocumented
                Californians," Co-PI IPI: Erin Hamilton)

2016-2018       The Russell Sage Foundation, "The Impacts of Long-Term Immigration Detention on
                Individuals, Households and Communities," PI


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2016              Fund for the Advancement of the Discipline, supported by American Sociological
                  Association and the National Science Foundation, "Collateral Consequences of
                  Immigration Detention: The Impacts of Long-Term Parental Detention on Children
                  and Households," PI

2014-2016         Sociological Initiatives Foundation Action Research Project Grant, "Assessing the
                  Educational and Economic Trajectories, Civic Engagement, and Health Status of
                  Deferred Action for Childhood Arrivals (DACA) Program Applicants," PI (community
                  partner: Dream Team Los Angeles)

2015              UCLA Institute for Research on Labor and Employment Research Grant, "Collateral
                  Consequences of Immigration Detention: The Impacts of Long-Term Parental
                  Detention on Children and Households," PI

2014              UCLA Institute for Research on Labor and Employment Research Grants, PI


Fellowships

2018-2019         National Academy of Education (NAEd)/Spencer Foundation Post-Doctoral
                  Fellowship, "From Undocumented to Lawfully Present: Do Changes to Legal Status
                  under DACA Impact Educational Inequality among Latino Immigrant YouthP"

2014-2016         UC President's Postdoctoral Fellowship

Awards

2022              UC Davis Chancellor's Fellow. "Honors the achievements of outstanding faculty
                  members early in their careers."

2021              American Sociological Association Section on Mental Health Best Publication
                  Award (for Patler, Caitlin, Erin Hamilton, and Robin Savinar. 2021. "The Limits of
                  Gaining Rights while Remaining Marginalized: The Deferred Action for Childhood
                  Arrivals (DACA) Program and the Psychological \Y/ellbeing of Laina/o Undocumented
                  Youth." Sonia/ Form". 100(1): 246-272)

2021              UC Davis Distinguished Undergraduate Teaching Award. "Presented to
                  outstanding instructors who have greatly impacted their students."

2019              Pacific Sociological Association Distinguished Contribution to Sociological
                  Perspectives Award (for Paper, Caitlin. 20l8."To Reveal or Conceal: How Diverse
                  Undocumented Youth Navigate Legal Status Disclosure." §0r30/0gira/ Penrpeftiwf. 61 (6)
                  857-873). From the award letter: "[the article] stood out for the smart, timely, and
                  important questions posed, robust data, and overall excellent sociological analysis."

2018              American Sociological Association Latina/o Sociology Section Distinguished
                  Contribution to Research Article Award (for "Patler, Caidin and Whitney L. Pirtle.
                  "From Undocumented to Lawfully Present: Do Changes to Legal Status Impact
                  Psychological Wellbeing Among Latino Immigrant Young Adults?" UXorial Srienre 69°
                  Medifiife. 199(1):39-48.

2017              UC Davis Diversity & Inclusion Initiative Award for: "Building Bridges and Brave
                  Spaces: Towards Documenting and Integrating Undocumented Voices at UC Davis"



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2015                UC Irvine ADVANCE Program for Equity and Diversity Career Development
                    Award

2015                Early Career Workshop Award, Law and Society Association

2014                American Sociological Association Spivack Program in Applied Social Research and
                    Social Policy Community Action Research Award


COURSES TAUGHT
UC Bed/ée/ey
Public Policy 205: Capstone
Public Policy 290: US Immigration Policy

UC Devi;
SOC 4: Irnrnigradon and Opportunity
SOC 4H: Immigration and Opportunity with College Honors
SOC 103: Evaluation Research Methods
SOC 195: Crimmigradon
SOC 295: International Migration

ADDITIONAL TRAINING
2024    Difference-in-Differences, Arnold Ventures
2019    Treatment Effects Analysis, StaNsdcal Horizons
2019    Longitudinal Data Analysis, Statistical Horizons
2017    OpEd Project "Write to Change the World"
2017    Multi-Level Models, StataCorp
2011    Qualitative Data Analysis with Dedoose
2009    Immigration Law, UCLA School of Law
2008    Immigrants' Rights Law, UCLA School of Law


INVITED LECTURES & KEYNOTES (Since PhD)

"Immigration Detention and Later Life Health Disparities." National Academies of Sciences, Engineering,
and Medicine Committee on Population (CPOP) Seminar on Criminal Justice Involvement and Later Life
Health Disparities, March 2024

"Government Data in Migration Research: Advantages, Pitfalls, and Examples," UCLA Center for the Study
of International Migration, May 2022

"Immigration Status and Psychological Well-Being: Evidence from the DACA Program," Keynote speaker,
Ackerman Lecture Series on Equality and Justice, Marxe School of Public and International Affairs, Baruch
College, CUNY, November 2019.

"Immigration Detention and its Consequences for Individuals, Families, and Communities," The
Conversation, Davis, CA. January 2019.

"Immigration Status and Psychological Wellbeing: A Representative Study of the DACA Program in
California, 2012-2016." Columbia University. February 2018; University of California Davis Mental Health
Initiative. May 2019.

"Citizens but for Papers:" Undocumented Youth Organizations, Anti-Deportadon Campaigns & The
Reframing of Citizenship, American River Community College Department of Sociology. December 2020,
May 2019, December 2018, May 2018.
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"Legal Apartheid?: A Dialogue about Life under Mass Incarceration and Mass Deportation," American
Sociological Association Annual Conference Special Session, Philadelphia, PA. August 2018.

"Blurring the Borders of Sigma: Socioeconomic Reintegration among Noncitizens following Imprisonment,"
UC Davis Hemispheric Institute on the Americas. Davis, CA. February 2018.

"DACA and Psychological Wellbeing," University of California Sacramento Center, Sacramento, CA.
February 2018.

"How to Write a Successful Fund for the Advancement of the Discipline Proposal," Invited panelist,
American Sociological Association Annual Conference, Montreal, Canada. 2017.

"Immigrant Rights Activism Going Forward," UC Berkeley. 2017.

"Qualitative Research Methods: In-Depth Interviewing in Hard-to-Reach Populations," UC Davis Sociology,
2016.

"Released but not Free: Socioeconomic Reintegration Following Long-Terrn Detention," UC Davis
Migration Research Cluster, 2016.

"Bonding Out: Judicial Decision-Making in Immigration Bond Hearings," UC Merced, 2015.

"The Role of Empirical Work in Legal Analysis and Policy Advocacy," UCLA School of Law, 2015.

"Immigration Detention and Re-Entry in Southern California," UC Irvine, 2015.

"'Citizens but for Papers? Anti-Deportation Campaigns and the Reframing of Citizenship by Pro-Immigrant
Organizations and the Media," UCLA Institute for Research on Labor and Employment, 2015.

"Bonding Out: Judicial Decision-Making in Immigrant Bond Hearings," Center for Demographic and Social
Analysis, UC Irvine, 2015.

"Research Methods in Hard-to-Reach Populations: Planning, Implementing, and Analyzing Qualitative and
Quandtadve Research." University of Southern California. 2010, 2013, 2014


SELECTED CONFERENCES, PRESENTATIONS & ORGANIZED PANELS (Since PhD)

"Immigration and the Criminal Legal System." Population Association of America Annual Meeting. 2023
(Organized panel) .

"Immigrant apprehension, surveillance, and deportation." American Sociological Association Annual
Meeting. 2024 (Organized regular session) .

"Marriage and family formation in immigrant communities." American Sociological Association Annual
Meeting. 2024 (Organized regular session).

"Undocumented immigration status and family inequality." American Sociological Association Annual
Meeting. 2024 (Organized regular session) .




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The U.S. 2016 Election & Racialized Health Outcomes for Infants Born to US-born & Immigrant
Mothers." Population Association of America Annual Meeting. 2022 (with Paola Langer* and Erin Hamilton)

 ICE Apprehensions in the U.S. Interior, 2014-2018." Population Association of America Annual Meeting.
2021 (with Konrad Franco*)

 Compounded Vulnerability: The Consequences of Immigration Detention for Institutional Attachment and
System Avoidance in Mixed-Immigration-Status Families." La MigraciOn Actual en America del Norte:
DetenciOn, DeportaciOn, Retorno. Mexico City, Mexico. 2019 (with Gabriela Gonzalez*)

 DACA's Mixed Impacts on Education and Employment among Young Adult Immigrants in California"
American Sociological Association. New York, NY. 2019 (with Erin Hamilton and Robin Savinar*)

 Uncertainty about DACA May Undermine its Positive Impact on Health for Recipients and their Children"
American Sociological Association. New York, NY. 2019 (with Erin Hamilton and Robin Savinar*)

 Immigration Detention and Families." Debunking Deportation Myths Conference. Davis, CA. 2019.

 Solitary Confinement Practices in a Subset of U.S. Immigrant Detention Facilities." American Sociological
Association. Philadelphia, PA. 2018 (with jeffrey Sacha and Nicholas Branic*) .

 Degrees of Inequality: The Diminished Returns to Human Capital for Workers with a Criminal Record."
Population Association of America. Denver, CO. 2018 (with Angela Carter*).

 Solitary Confinement Practices in a Subset of U.S. Immigrant Detention Facilities." Southern Sociological
Association Meeting. New Orleans, LA. 2018 (with Jeffrey Sacha and Nicholas Branic*).

The Impact of Immigrant Legal Status and Human Capital Accumulation on Legal Knowledge and Claims-
Making in Low Wage and Unregulated Labor Markets." American Sociological Association Conference.
Montreal, Canada. 2017 (with Shannon Gleeson and Matthias Schonlau).

 The Socioeconomic Reintegration of Noncitizens following Incarceration and Detention." UC Annual
International Migration Conference. Berkeley, CA. 2017.

 The Impacts of Long-Term Immigration Detention on Socioeconomic Reintegration." UC Davis Social
Control Cluster. 2017.

 Assessing the Educational and Economic Trajectories, Civic Engagement, and Health Status of Deferred
Action for Childhood Arrivals (DACA) Program Applicants." American Sociological Association
Conference. Seattle, WA. 2016.

 Legal Status and Patterns of Family Visitation During Immigration Detention," American Sociological
Association Conference. Seattle, WA. 2016.

 Legal Status and Patterns of Family Visitation During Immigration Detention," Russell Sage Foundation,
New York NY. 2015.

 Undocumented Disadvantage, Citizen Advantage, or Both? Comparative Educational Outcomes of Second
and 1.5-Generation Latino Young Adults." American Sociological Association Conference. Chicago, IL. 2015.

 Released But Not Free: The Impacts of Immigration Detention and Reentry on Employment, Housing, and
Family Relationships," Law and Society Association Conference. Seattle, WA. 2015.

 Released But Not Free: The Impacts of Immigration Detention on Employment and Reentry," Blurring the
                                                                                                 Patter CV - 10



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Border: Deporting Denizens in the 21st Century Conference. Merced, CA. 2015.

"Cross-National Perspectives on Immigration Detention and Deprivation of Liberty," International Borders
of Crimmigration Conference, Leiden, Netherlands. 2014


PROFESSIONAL AFFILIATIONS & SERVICE

Editorial Board Member, Sonia/ Prob/ew; (August 2021-June 2027)

Reviewer, Journals and Books: AIMS PM/if Hen/t/9, A/fzerimn Behavioral Sf28n/i/4 Aweriran fozzrnal 0f§orio/ogy,
Afwriran Soriolo8im/ Review, Conte/fzporag Et/anograp/ay, Coniewporagy S06i0/0gy, Dewograp/o/, ET/Wir and Rads/ Sin/diet,
Her/th Ajairx, Infernatiofwl Zl/Izgratioif Review, fozzrwl ofEz'/94126 and Mzgration SzWdief, fovea/ of f-lea/I/9 and $06241
86/9492013 foznwal ofIm/4249441 and It/Iinorig Health, f0%nwa/ ofll/Iarriage and FQMZQ, Law 89° Po/iry, Roz/I/edge, Rozwfan
29° Lift/996/d, $06241 Prob/wif, Maia/ Form, Sonia/ $029446 Q9"Zl/Iedidne, $06269 and Mental Health, $0680/0gy Co/tfpafx,
Xorio/0gy 0fEd¢/mlion, §06i0/0gy 0fRaw and Et/814i6294 §0€i;/J." Soriolo8im/ Reteatv/Qfor 4 Dyna/wir War/d


Reviewer, Research Grants: National Science Foundation, Russell Sage Foundation (Presidential Grants,
Research Grants, Pipeline Grants, Visiting Scholars), William T. Grant Foundation

Mentorship Programs
. Robert Wood Johnson Foundation Health Policy Research Scholars, Home campus mentor (2021-
   present)
  Robert Wood Johnson Foundation Health Policy Research Scholars, Career Coach (2018-present)
  Hispanic Serving Institutions (HSII Pathways Faculty Mentor (2019-2021)
  Russell Sag Foundation Doctoral Research Grant mentor (2024-present)

Professional Memberships and Affiliations
.  American Sociological Association
    o Latina/o Sociology Distinguished Contribution to Research Article Award Committee, 2018-2019
    o Spivack Program in Applied Social Research, Advisory Panel Member, 2015-2018
    o Section on Inequality, Poverty and Mobility: Sessions Organizer, 2018; Graduate Student Mentorship
        Program participant, 2018; Membership Committee Chair, 2014-2016
    o Section on Sociology of Law, Undergraduate Research Paper Award Committee, 2013
    o Section on International Migration, Roundtable Presider, 2013
   Crimmigration International Net of Studies (CINETS), Affiliate
   Law and Society Association, Member
   Population Association of America, Member
    University of California Criminal justice and Health Consortium, Member (2015-2016)
    University of California Consortium on Law and Social Sciences, Member (2015-2016)


SELECTED MEDIA COVERAGE

    Interviewed for 1*/ae D42 Can/rnian, "City Council to consider reaffirming Berkeley sanctuary city due to
    deportation threats." Jan 2025.

     Interviewed for Berkeley Ney/J, 'Trump may be planning a sharp, extended conflict with California,
     experts say."Jan 2025.

    Interviewed for X414 fare Zl/[erm/gy New, "Bay Area immigrants react to Trump's plan for mass
    deportation." December 2024.

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Interviewed for Gazetteer fan Frawiwo, "With Trump's reign looming, fusion centers pose risk to
sanctuary city policies." December 2024

Interviewed for t/a8 D429 Can/rnian, "UC Berkeley issues advisory to international students ahead of
Trump inauguration." December 2024.

Interviewed for i/98 D 1 Can/rnian, "Scary to face' International students encounter uncertainty under a
Trump presidency." November 2024.

Interviewed for Taxer; Obvetwer, "How mass deportations would 'devastate' Texas." October 2024.

Interviewed for Mot/aerjoner, "What happens to a dream deferred? The fate of Dreamers, once at the
center of the immigration debate, has become nightmare." June 2024.

Interviewed for KQED, "Practice of Solitary Confinement Still an Issue in California" (radio), August
2022.

Interviewed for In/Migrant Lives Podcast, "Impact of detention and electronic monitoring on
immigrant children's wellbeing," $01 IE02, November 2023.

Interviewed for KQED "ICE Overusing Solitary Confinement in California, Lawmakers Worry" sprint) ,
August 2022.

Interviewed for Sarrawento Bee, "Howjoe Biden's immigration plan works, and what it would mean for
California." January 2021 .

Research on solitary confinement in immigrant detention facilities featured by KQED, "ICE Misusing
Solitary Confinement for COVID-19 Quarantine. Detainees Say," October 2020.

Interviewed for NBC Affiliate KCRA, "California leaders react to SCOTUS DACA ruling." June 2020.

Research featured by International Comorfiz/m oflnyettégativefoarna/iffy, "U.S. isolates detained immigrants
from majority-black countries at high rate, study finds," April 2020.

Interviewed for Do//af Morning Newt, "Did Trump's big talk, action on DACA affect the health of DACA
beneficiaries," May 2019.

Interviewed by 1*/ae G/ohe Port about immigration and crime, November 2018

Interviewed by 1*/ye Ca/mM Aggie, "Reality of ICE detention facilities subject of UC Davis professor's
paper," November 2018

Interviewed about immigration detention and immigration court by Snopes.com, August 2018

Interviewed for Public Radio International IPRI), "DACA recipients saw their mental health improve.
Now, advocates fear its end will have the opposite effect," November 2017

DACA research cited in T/ye Af/414120 article, "From 'Dream Jobs' to Bussing Tables Again: The end of
DACA would mean the end of economic mobility for hundreds of thousands of people," September
2017

DACA research cited in CNN article, "The American nightmare Dreamers fear," September 2017

DACA research cited in Voxm/42 article, "9 Facts that explain DACA," September 2017
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Interviewed for Hgg/   Re/avant podcast with Jack Rico about the rescinding of the DACA program,
September 2017

Interviewed for KFBK news radio about the rescinding of the DACA program, September 2017

Research on DACHA's impacts on psychological wellbeing featured on Valley Public Radio, NPR Central
California, July 2017

Research on DACA's impacts on psychological wellbeing featured by University of California News,
"Immigration status has health implications for young Latinos, study shows," July 2017

Research on DACA's impacts on psychological wellbeing featured by D42 De/wwrat, "Immigration status
has health effects on young Latinos," June 2017

Guest Post, "From Undocumented to DACAmented: Can Changes to Legal Status Impact Psychological
Wellbeing? American Sociological Association Section on Inequality, Poverty, and Mobility. (with
Whitney N. Laster Pirie), June 2017

Guest Blog Post, "From Undocumented to DACAmented: Can Changes to Legal Status Impact
Psychological \X/ellbeing?" ImmigrationProf Blog, A Member of the Law Professors Blog Network. (with
Whitney N. Laster Pirie), June 2017

Guest Blog Post, "From Undocumented to DACAmented: Can Changes to Legal Status Impact
Psychological Wellbeing?" Youth Circulations Blog. (with Whitney N. Laster Pirtle), June 2017

Research featured by the American Sociological Association, "Private Detention of Immigrants Deters
Family Visits, Study Finds," August 2016

Interviewed for: Kandil, Caitlin Yoshiko. 'jails Serve Inmates and Immigrants." Lo; Angela; Timex, July 29,
2016

Interviewed for: Change, Monro. "Oakland Man Facing Deportation for Nonviolent Drug Crime." Ear!
Be Express, August 11, 2015




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                            PATLER DECLARATION
                                                         EXHIBIT B




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      Assembly Bill 540 on Undocumented Students in California." Law and Social Inquiry
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      Patterns Of Latino Undocumented Youth." Latino Studies 4(3):212-31 .

Amuedo-Dorantes, Catalina, and Chad Sparker. 2014. "In-State Tuition for Undocumented
     Immigrants and Its Impact on College Enrollment, Tuition Costs, Student Financial Aid,
     and Indebtedness." Regional Science and Urban Economics 49:11-24. doi:
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      Through Intersections of Legal Status and Race." Journal of lmmigrant and Minority
      Health 23: 1092-1104. doi: https://doi.org/l0.l007/sl0903-02l-0l162-2.

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       Latinx Undocumented Students: Illegality and Threats to Emotional Well-Being." Socius
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      Immigrant Children and Families: A Quantitative Exploration." Hispanic Journal of
      Behavioral Sciences 32(3):241-361. doi: 10.1177/0739986310374053.

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       Documentation Status as a Determinant of Health." Journal of RaciaI and Ethnic Health
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       to Undocumented Students' Use of Mental Health Services." Social Science & Medicine
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       Postsecondary Educational Access." The American Economic Review 103(3):428-32.

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      Contexts in the Transition to Adulthood." American Sociological Review 76(4):602-19.

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      Oakland: University of California Press.

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      Illegality in the Lives of Undocumented 1.5-Generation Latino Immigrants in the United
      States." Current Anthropology 53(3):255-81 .
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Gonzales, Roberto G., Carola Suarez-Orozco, and Maria Cecilia Dedios-Sanguineti. 2013. "No
      Place to Belong: Contextualizing Concepts of Mental Health Among Undocumented
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      Mexican and Central American Immigrant Youth." Social Forces 91(4): 1475-98.
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       Outcomes among Mexican-Origin Mothers in the United States." Demography
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Hamilton, Erin, Caitlin Patter, and Paola Langer. 2021. "The Life Course Timing of
       Legalization Evidence from the DACA Program." Socius: Sociological Research for a
       Dynamic World7:1-14.

Hamilton, Erin, Caitlin Patler, and Robin Savinar. 2021. "Transition into Liminal Legality:
      DACA's Mixed Impacts on Education and Employment among Young Adult Immigrants
      in California." Social Problems 68(3):675-95 .
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       Health Among First- and 1.5-Generation Latinx Immigrants in California." Population
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Hamilton, Erin R., Jo Mhairi Hale, and Robin Savinar. 2019. "Immigrant Legal Status and
       Health: Legal Status Disparities in Chronic Conditions and Musculoskeletal Pain Among
       Mexican-Born Farm Workers in the United States." Demography 56(1): 1-24. doi:
       10.1007/sl3524-018-0746-8.
Hamilton, Erin R., Caitlin C. Patler, and Jo Mhairi Hale. 2019. "Growing up Without Status: The
       Integration of Children in Mixed-Status Families." Sociology Compass 3(6):l-14.
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       on the Educational Outcomes of Undocumented Students." Demography 55(4): 1487-
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       in Higher Education in the United States." International Migration Review 54(1):289-
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        Enrollment for Undocumented Youth." Latino Studies l2(l):65-87. doi:
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      Young Adults." Journal of Policy Analysis and Management 27(4):771-92. doi:
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      Education, Health and Mental Health of Mexican Young Adults in the U.S." Economics
      & Human Biology 311138-49. do: 10.lOl6/j.ehb.2018.08.013.

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       Undocumented Youth in New York City." Journal of Ethnic and Migration Studies
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        Black, Latino, and Asian American Undocumented Young Adults." Pp. 93-113 in
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        Public Sociology, edited by V. Carty, R. Luevano, and T. Woldemikael. Lanham, MD:
        Lexington Books.

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        Comparative Educational Outcomes of Second and 1.5-Generation Latino Young
        Adults." International Migration Review 53(4): 1080-1 l 10. doi: 10. l l l 1/imre. 12347.

Patler, Caitlin, and Gaberiela Gonzalez. 2023. "Well-Being, Changes to Academic Behavior, and
        Resilience Among Families Experiencing Parental Immigration Imprisonment."
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        Immigration Detention for Institutional Attachment and System Avoidance in Mixed-
        Immigration-Status Families." Social Problems 68(4):886-902.

Patler, Caitlin, Gabriela Gonzalez, Monica Cardenas Guzman, and Guillermo Paez Gallardo. In
        press. "'If I Talk About It, I Start Crying': Children's Responses to Parental Immigration
        Imprisonment in the US." in Immigration Detention and Social Harm, edited by M.
        Peterie. Sydney, Australia: Routledge.

Patler, Caitlin, Erin Hamilton, Kelsey Meagher, and Robin Savinar. 2019. "Uncertainty about
        DACA May Undermine Its Positive Impact on Health for Recipients and Their
        Children." Health Affairs 38(5):738-45 .

Patler, Caitlin, Erin Hamilton, and Robin Savinar. 2021. "The Limits of Gaining Rights While
        Remaining Marginalized: The Deferred Action for Childhood Arrivals (DACA) Program
        and the Psychological Wellbeing of Latina/o Undocumented Young Adults." Social
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        Do Changes to Legal Status Impact Psychological Wellbeing Among Latino Immigrant
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        Health of Immigrants and Their Children." Annual Review of Public Health 40(7):147-
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       Childhood Arrivals on Unauthorized Immigrants." Journal of Public Economics 143:98-
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      Generation Immigrant Latino Youth: Key Correlates and Implications for Future
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       Unauthorized Status." Harvard Educational Review 81(3):438-73 .
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       Undocumented Community College Students." Journal of Ethnic and Migration Studies
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       Status Stratification and Health." SSM - Population Health 2: 141-48.
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      and Well-Being." Social Problems 64(2):298-314.
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      (DACA) Immigration Programme: A Quasi-Experimental Study." The Lancet 2(4):el75-
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       Policies and Their Influence on Health." SSM - Population Health 7: 1-9. doi:
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       Immigrants into American Society: Panel on the Integration of lmmigrant5 into American
      Society. Washington, DC: The National Academies Press.
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       Students and Social Exclusion." Journal 0f Poverzy 20(2):168-93. doi:
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   STATE OF WASHINGTON; STATE OF                      NO. 2:25-cv-00127
     ARIZONA; STATE OF ILLINOIS; and
10   STATE OF OREGON,
                                                        DECLARATION OF
11                             Plaintiffs,              SARAH K. PETERSON
12      v.
13   DONALD TRUMP, in his official capacity
     as President of the United States, U.S.
14   DEPARTMENT OF HOMELAND
     SECURITY; BENJAMINE HUFFMAN, in
15   his official capacity as Acting Secretary of
     Homeland Security, U.S. SOCIAL
16   SECURITY ADMINISTRATION;
     MICHELLE KING, in her official capacity
17   as Acting Commissioner of the Social
     Security Administration, U.S.
18   DEPARTMENT OF STATE; MARCO
     RUBIO, in his official capacity as Secretary
19   of State, U.S. DEPARTMENT OF
     HEALTH AND HUMAN SERVICES;
20   DOROTHY FINK, in her official capacity
     as Acting Secretary of Health and Human
21   Services, U.S. DEPARTMENT OF
     JUSTICE, JAMES MCHENRY, in his
22   official capacity as Acting Attorney
     General, U.S. DEPARTMENT OF
23   AGRICULTURE; GARY WASHINGTON,
     in his official capacity as Acting Secretary
24   of Agriculture, and the UNITED STATES
     OF AMERICA,
25
                               Defendants .
26


     DECLARATION OF                                 1            ATTORNEY GENERAL OF WASHINGTON
                                                                         Civil Rights Division
     SARAH K. PETERSON                                                800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                               Seattle, WA 98104
                                                                             (206) 464-7744
                                                                               supp.Add.338
          Case 2=9€§%-8819/7-38818'6%%3m'%'9Fé'i'Y' 98d 8889849 ofF>4a38e 2 of 7




 1          I, Sarah K. Peterson, declare as follows:
2           l.      I am over the age of 18, competent to testify as to the matters herein and make
 3   this declaration based on my personal knowledge.
4           2.      I serve as the Washington State Refugee Coordinator and the Director of
 5   Washington's Office of Refugee and Immigrant Assistance (ORIA) within the Community
 6   Services Division of the Economic Services Administration (ESA) at the Washington
 7   Department of Social and Health Services (DSHS). Prior to joining ORIA in 2014, I worked for
 8   14 years in nonprofit organizations that served immigrant and refugee communities in
 9   Philadelphia, Pennsylvania. In 2003, I earned my Master's Degree in Social Work from the
10   University of Pennsylvania. I worked for HIAS Pennsylvania (Hebrew Immigrant Aid Society)
11   for eight years helping to support their work in Philadelphia providing immigration legal services
12   and refugee resettlement. It is at this organization that I gained direct experience helping people
13   navigate federal immigration processes as well as access to public benefits programs.
14          3.      I direct Washington's Office of Refugee and Immigrant Assistance (ORIA),
15   which administers over $100 million in state and federal funds to provide comprehensive
16   services for refugees and immigrants living in Washington State. Washington State has a long
17   legacy of welcoming people who are refugees and immigrants. ORIA offers programs and
18   services that help people who are refugees and immigrants reach their full potential and
19   contribute to thriving and diverse communities in Washington State.
20          4.      ORIA is housed within the Community Services Division (CSD), a Division
21   within the Economic Service Administration (ESA), which is one of six administrations of the
22   Washington Department of Social and Health Services (DSHS). ESA's core services focus on
23   poverty reduction and safety net programs, child support services, and disability determinations.
24   Nearly one out of every four Washington residents turned to DSHS for assistance with cash,
25   food, child support, childcare, disability determinations, support for transitioning to
26   employment, and other services. ESA's Community Services Division (CSD) operates the


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                                                                                  (206) 464-7744
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 1   federal and state public assistance programs that help low-income people meet their foundational
2    needs and achieve economic security. Major programs include Temporary Assistance for Needy
 3   Families (TANF) and WorkFirst (Washington's welfare to work program), Basic Food (food
4    assistance) and Basic Food Employment and Training, Refugee Cash Assistance, and others.
 5           5.       ESA's Community Services Division (CSD) operates 52 different Community
 6   Services Offices (CSOs) and the Community Services Call Center that process client
 7   applications and determine eligibility for Washington's many public assistance programs,
 8   including cash and food assistance programs. ESA provides a variety of public assistance
 9   programs that draw from both federal and state resources and have many eligibility requirements,
10   which include income levels, residency in Washington state, and verification of
11   citizenship/immigration status. Eligibility for federally-funded cash and food assistance
12   programs administered by ESA are limited to lawfully present immigrants who meet federally-
13   defined eligibility standards that do not include unauthorized immigrants.1 Washington state
14   invests general state funds to mirror federal food and cash assistance to help individuals and
15   families who are ineligible for federal programs, but eligibility still requires the immigrant be
16   lawfully present.2 Washington regulations for cash and food assistance define citizens to include
17   individuals born in the United State or its territories.3
18           6.       ORIA works within CSD to ensure that refugee and immigrant families and
19   individuals receiving public assistance have access to culturally sensitive and linguistically
20   appropriate programs and services that aid them in rebuilding their lives. ORIA accomplishes
21   this by partnering with more than 100 different community-based organizations across the state
22   to provide direct services to more than 20,000 individuals annually. ORIA values our community
23

24             1 See Wash. Admin. Code § 388-424-0010, 388-424-0020, 8 U.S.C. §§ l6ll(a).
               2 Wash. Admin. Code §§ 388-424-0001, 388-424-0015, 388-424-0030. The only exceptions to the
25   eligibility requirement of lawful presence for benefits administered by ESA are the Consolidated Emergency
     Assistance Program, a one-time emergency program, and the Disaster Cash Assistance Program, activated due to
     natural disasters or states of emergency.
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               3 Wash. Admin. Code § 388-424-0001.


     DECLARATION OF                                         3                ATTORNEY GENERAL OF WASHINGTON
                                                                                     Civil Rights Division
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                                                                                         (206) 464-7744
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 1   partners, and my team of professional staff and I engage with these community stakeholders on
2    a monthly and quarterly basis to understand how the programs that we oversee are impacting the
 3   lives of refugees and immigrants. This regular community engagement enables ORIA to learn
4    and receive feedback about how state and federal policies impact people in the community.
 5           7.      I understand that the President has issued an Executive Order directing that
 6   children born in the United States to undocumented parents are not to be deemed United States
 7   citizens. The federal government's attempt to end birthright citizenship for children born in the
 8   United States based on their parents' immigration status will cause a generation of babies born
 9   in Washington State to become ineligible for the basic food and cash assistance programs that
10   prevent all children from living in deep poverty and support their health and stability. Based on
11   my experience with past changes to immigration and benefits laws, I believe that this order will
12   also discourage immigrants from accessing services that they are eligible for and need to rebuild
13   their lives in Washington communities. The Executive Order creates barriers for immigrants'
14   abilities to get the assistance they need to meet their basic needs, stabilize their lives, and fulfill
15   their full potential to contribute to diverse and thriving communities in Washington state.
16           8.      As a result of the Order, babies stripped of citizenship and left without a qualified
17   immigration status will no longer be eligible for Washington's Basic Food program that provides
18   assistance for households to purchase and access nutritious foods. The program combines
19   federally funded Supplemental Nutrition Assistance Program (SNAP) and the state-funded Food
20   Assistance Program for Legal Immigrants (FAP). Food benefits are provided on a "household"
21   basis. To qualify for Basic Food, a household's earnings must fall below 200% ($53,300 for a
22   family of three) of the federal poverty level. Beneficiary households may use the benefit to
23   purchase food at one of the quarter million retailers authorized by the Food and Nutrition Service
24   to participate in the program. By stripping children of citizenship and therefore denying them
25   access to food assistance, the Order will affect children's access to sufficient and healthy food,
26   causing a negative impact on children's health and risking increasing rates of child hunger.


     DECLARATION OF                                      4               ATTORNEY GENERAL OF WASHINGTON
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                                                                                     (206) 464-7744
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 1          9.      In addition, individuals stripped of citizenship by the Order and left without a
2    qualified immigration status will no longer be eligible for programs that use state and federal
 3   funding to provide cash assistance. This includes federally funded Temporary Assistance for
4    Needy Families (TANF) and state funded State Family Assistance, Aged, Blind or Disabled
 5   Program, and Pregnant Women's Assistance. TANF utilizes federal funds from the U.S.
 6   Department of Health and Human Services and state funding to provide cash assistance to
 7   parents/caregivers with children and pregnant individuals to bolster their ability to meet their
 8   families' foundational needs, including a safe home, healthy food, reliable transportation, and
 9   school supplies. Washington's programs make income assistance available to individuals who
10   are ineligible for TANF, including pregnant individuals and families in emergency conditions.
11   This funding is used to alleviate emergency conditions by providing cash to assist with food,
12   shelter, clothing, medical care, or other necessary items. Loss of eligibly for these programs for
13   children who will be stripped of citizenship will result in children living in deep poverty without
14   access to shelter, warm clothing, safety, and security.
15          10.     Under the current eligibility structure, children who are citizens by birth in
16   Washington meet immigration eligibility for these federal and state cash and food assistance
17   programs even if their parents do not. The household may therefore receive food or cash
18   assistance based on the child's eligibility. When the children in a household are eligible for
19   benefits but the parents are not eligible for or able to access benefits independently, we identify
20   these as "child only cases." Stripped of citizenship by the Executive Order, these children and
21   by reference their families will no longer be eligible for basic public benefits that foster health,
22   stability, and community integration.
23           l l.   This Executive Order would create confusion for CSD's public benefits specialist
24   who determine eligibility. CSD will need to review the processes and procedures to ensure that
25   no changes to the Automated Client Eligibility Systems are required. Additional staff training
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     DECLARATION OF                                    5               ATTORNEY GENERAL OF WASHINGTON
                                                                               Civil Rights Division
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                                                                                   (206) 464-7744
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 1   and policy clarifications will be required to ensure the program and policy is implemented
2    accurately.
 3          12.     If children subject to the Executive Order are no longer eligible for essential
4    public benefits through the government, they and their families will be forced to increasingly
 5   rely on local non-profit and community-based organization to meet basic needs. Many of these
 6   organizations are also facing reduction in funding and lack of resources for those in need. This
 7   will strain local organizations and have a widespread negative impact on communities whose
 8   residents will face barriers to health, stability, and opportunities to integrate and positively
 9   contribute to their community. Lack of access to these safety net programs for these children
10   will create a domino effect leading to fewer and fewer resources available to the growing number
11   of people in need.
12          13.     From my experience working with community organizations during past changes
13   in federal immigration policy and from social science research of which I am aware, I also expect
14   there to be a "chilling effect" on enrollment in essential benefits even among families that have
15   members eligible for those benefits. Evidence from prior policy changes that affect public
16   benefits eligibility strongly suggests that many immigrants who are not directly subject to the
17   law will nevertheless withdraw from a broad array of public programs and services out of
18   confusion, fear, or an abundance of caution. The Executive Order is likely to have a negative
19   impact on the health and well-being of immigrant individuals and families, regardless of their
20   immigration status, because they will voluntarily disenroll from public benefits they are eligible
21   out of fear to interact with government programs. Failing to receive essential public benefits
22   that support health, and stability will slow social integration, create new economic challenges
23   due to a lack of stability, and make it increasingly difficult for them to become fully self-
24   sufficient and integrated into our communities .
25          14.     If immigrant families fear accessing social services and benefits, this affects the
26   provision of emergency and other medical assistance, children's immunizations, and basic


     DECLARATION OF                                     6             ATTORNEY GENERAL OF WASHINGTON
                                                                              Civil Rights Division
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                                                                                  (206) 464-7744
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 1   nutrition programs, as well as the treatment of communicable diseases. Immigrants' fears of
2    obtaining these necessary medical and other benefits are not only causing them considerable
 3   harm but are also jeopardizing the general public. For example, infectious diseases may spread
4    as the numbers of immigrants who decline immunization services increase. I believe the
 5   Executive Order will undermine the State's priorities of increasing access to health care and
 6   helping people to become self-sufficient.
 7          15 ,    One of ESA's core missions is to reduce the number of people living in poverty.
 8   Federal and state cash and food assistance programs provide people with the resources that they
 9   need to keep people from living in deep poverty. The birthright citizenship executive order
10   creates walls that prevent ESA from being able to provide support to Washingtonians who will
11   be stripped of citizenship. The order will prevent individuals and families from receiving the
12   resources and supports that they need to thrive and become fully integrated into our local
13   communities.
14          I declare under penalty of perjury under the laws of the State of Washington and the
15   United States of America that the foregoing is true and correct.
16          DATED and SIGNED this 20th day of January 2025, at Seattle, WA
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19                                                {ARAH K. PETERSON
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     DECLARATION OF                                   7                 ATTORNEY GENERAL OF WASHINGTON
                                                                                Civil Rights Division
     SARAH K. PETERSON                                                       800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                                      Seattle, WA 98104
                                                                                    (206) 464-7744
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                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
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     STATE OF WASHINGTON; STATE OF                      NO. 2:25-cv-00127
10   ARIZONA; STATE OF ILLINOIS; and
     STATE OF OREGON,
11                                                      DECLARATION OF
                               Plaintiffs,              MAGALY SOLIS CHAVEZ
12
        v.
13
     DONALD TRUMP, in his official capacity
14   as President of the United States, U.S.
     DEPARTMENT OF HOMELAND
15   SECURITY; BENJAMINE HUFFMAN, in
     his official capacity as Acting Secretary of
16   Homeland Security, U.S. SOCIAL
     SECURITY ADMINISTRATION;
17   MICHELLE KING, in her official capacity
     as Acting Commissioner of the Social
18   Security Administration, U. S .
     DEPARTMENT OF STATE; MARCO
19   RUBIO, in his official capacity as Secretary
     of State, U.S. DEPARTMENT OF
20   HEALTH AND HUMAN SERVICES;
     DOROTHY FINK, in her official capacity
21   as Acting Secretary of Health and Human
     Services, U.S. DEPARTMENT OF
22   JUSTICE; JAMES MCHENRY, in his
     official capacity as Acting Attorney
23   General, U.S. DEPARTMENT OF
     AGRICULTURE, GARY WASHINGTON,
24   in his official capacity as Acting Secretary
     of Agriculture, and the UNITED STATES
25   OF AMERICA,
26                             Defendants .


     DECLARATION OF                                 1            ATTORNEY GENERAL OF WASHINGTON
                                                                         Civil Rights Division
     MAGALY SOLIS CHAVEZ                                              800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                               Seattle, WA 98104
                                                                             (206) 464-7744
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 1          I, Magaly Solis Chavez, declare as follows:
2            l.     I am over the age of 18, competent to testify as to the matters herein, and make
 3   this declaration based on my personal and professional knowledge.
4           2.      I am the Executive Director of La Casa Hogar, a non-profit community-based
 5   organization in Yakima, Washington. Prior to becoming the Director in 2021, I was the
 6   organization's citizenship program manager for seven years. For over 30 years, La Casa Hogar
 7   has provided community services and education to Latina families in the Yakima Valley. In
 8   Yakima County, Latinos make up over 50% of the population, and in the Yakima School District
 9   82% of the student population is Latino.
10          3.      La Casa Hogar's core programs include adult education, early learning, and
11   citizenship education and legal services for individuals and families across Central Washington.
12   We offer adult education including English classes, pre-GED, English-Spanish Language
13   Exchange, and leadership development. Our Early Learning Center prepares children ages three
14   to five to enter kindergarten and includes parent support classes. Annually La Casa Hogar serves
15   over 1,000 individuals with educational opportunities across all three programs. We also provide
16   referrals to over 4,500 community members annually seeking resources.
17          4.      In my seven years as the program manager at La Casa Hogar's citizenship
18   program, I taught classes to prepare community members applying for citizenship. During my
19   tenure as program manager, over 1000 people successfully naturalized and became US citizens
20   because of their eligibility to apply for citizenship under immigration laws, as well as
21   determination and commitment, the expertise of our team of staff and immigration attorney
22   volunteers and board members makes this possible. Currently, approximately 500 adult
23   immigrant students enroll in our citizenship classes. We are a Department of Justice-recognized
24   organization and assist these students to apply for naturalization. Since 2014, over 2,300
25   immigrants have become U.S. citizens through our program. In working with citizenship
26   students for ten years now, I have witnessed that obtaining citizenship offers stability particularly


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 1   by providing access to employment, economic, and housing opportunities. One of the biggest
 2   changes I have observed is an increased feeling of safety and sense of belonging for people who
 3   have lived in and contributed to the United States. This increased safety and stability for the
 4   persons who are eligible to apply and are granted citizenship creates security and peace of mind
 5   for their children and families as well, allowing families to no longer fear potential separation. I
 6   have observed that when people become citizens, they quickly and eagerly register to vote,
 7   participate in elections, and engage in local civic issues as the active community members they
 8   are.

 9           5.     La Casa Hogar invests in education for Latina families because we know that
10   equipping immigrant children and adults to participate fully in the community of the Yakima
11   Valley leads to a healthier and thriving community for everyone.
12           6.     I am aware that President Trump has issued an Executive Order attempting to
13   deny birthright citizenship to children of immigrant parents. This fulfills promises he made
14   throughout his campaign to end birthright citizenship for children of undocumented parents. The
15   news of this expected change in federal law and policy has caused uncertainty and fear in the
16   community La Casa Hogar serves, and among other supporters who are not immigrants. I and
17   my staff have directly listened to families we work with express the following concerns.
18           7.     Parents are concerned that if their children are stripped of citizenship, they will
19   face the same challenges in life that they as parents have already experienced living
20   undocumented in this country. These challenges include (but are not limited to) accessing
21   education, services like basic healthcare, and difficulty building credit, which in turn, create
22   barriers to obtaining both critical needs like a job, to even simple things like getting a cell phone
23   plan. Parents are thinking about all the challenges they have had to navigate, and how their
24   children will now have to navigate those same challenges and live in constant fear of potential
25   familial separation.
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     DECLARATION OF                                     3               ATTORNEY GENERAL OF WASHINGTON
                                                                                Civil Rights Division
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 1           8.     Parents are worried about how education and employment opportunities will be
2    reduced for Latino children being born in the U.S., reducing economic mobility.
 3          9.      Families are worried about their ability to travel anywhere outside the state.
4            10.    The community is concerned about the ability to have a healthy life because they
 5   fear they will not have access to needed services and benefits, including medical care.
 6           l l.   Many of the individuals La Casa Hogar works with have lived in the United States
 7   since they were young children. They do not have a home country to return to, the United States
 8   is the only home they know. Other individuals we work with are unable to return to their country
 9   of origin because of violence or persecution. Many of these individuals now have their own
10   children and are raising their families. If their children born here are denied citizenship, the
11   family will live in limbo, forced to raise their children without stability and the ability to fully
12   participate in their new home, forced to raise their children in fear and instability.
13          12.     The community and staff at La Casa Hogar are concerned about how stripping
14   citizenship from children will increase young people's feeling of a lack of belonging. Changes
15   in immigration law that deprive children of protection and citizenship create fear. Fear drives
16   young people to distance themselves from their family, culture, and language because being
17   identified as an immigrant or associated with their family creates greater risk of deportation or
18   other harms. Without lawful status, they likewise cannot experience full belonging in U.S.
19   culture and communities. Our organization's vision is to cultivate connected community, and
20   this change in federal law undermines people's ability to integrate with and contribute to their
21   community.
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     DECLARATION OF                                     4              ATTORNEY GENERAL OF WASHINGTON
                                                                               Civil Rights Division
     MAGALY SOLIS CHAVEZ                                                    800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                                     Seattle, WA 98104
                                                                                   (206) 464-7744
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 1          I declare under penalty of perjury under the laws of the State of Washington and the
 2   United States of America that the foregoing is true and correct.
 3

 4          DATED and SIGNED this 20th day of January 2025, at Yakima, Washington.
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                                                  Magaly Solis Chavez
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     DECLARATION OF                                   5                 ATTORNEY GENERAL OF WASHINGTON
                                                                                Civil Rights Division
     MAGALY SOLIS CHAVEZ                                                     800 Fifth Avenue, Suite 2000
     CASE no. 2:25-cv-00127                                                      Seattle, WA 98104
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   STATE OF WASHINGTON; STATE OF                  NO. 2:25-cv-00127
     ARIZONA; STATE OF ILLINOIS; and
10   STATE OF OREGON,
                                                    DECLARATION OF
11                             Plaintiffs,          KRYSTAL COLBURN
12      v.
13   DONALD TRUMP, in his official capacity
     as President of the United States, U.S.
14   DEPARTMENT OF HOMELAND
     SECURITY; BENJAMINE HUFFMAN, in
15   his official capacity as Acting Secretary of
     Homeland Security, U.S. SOCIAL
16   SECURITY ADMINISTRATION;
     MICHELLE KING, in her official capacity
17   as Acting Commissioner of the Social
     Security Administration, U. S .
18   DEPARTMENT OF STATE; MARCO
     RUBIO, in his official capacity as Secretary
19   of State, U.S. DEPARTMENT OF
     HEALTH AND HUMAN SERVICES;
20   DOROTHY FINK, in her official capacity
     as Acting Secretary of Health and Human
21   Services, U.S. DEPARTMENT OF
     JUSTICE, JAMES MCHENRY, in his
22   official capacity as Acting Attorney
     General, U.S. DEPARTMENT OF
23   AGRICULTURE; GARY WASHINGTON,
     in his official capacity as Acting Secretary
24   of Agriculture, and the UNITED STATES
     OF AMERICA,
25
                               Defendants .
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     DECLARATION OF
     KRYSTAL COLBURN
     CASE NO. 2:25-cv-00127

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                         DECLARATION OF KRYSTAL COLBURN                                                      ..
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       I, Krystal Colburn, hereby declare:                                                                l

1. I am the Chief Reporting Officer and Assistant State Registrar of the Arizona Department of

   Health Services ("ADHS"), a position I have held since 2023. As Chief Reporting Officer

   and Assistant State Registrar, I provide overall leadership, management and direction to the

   Bureau of Vital Records (BVR), Cancer and Birth Defects Registries and the Office of

   Auditing. Prior to holding this position, I served as Section Chief and Assistant State

   Registrar for the BVR. I have been employed by the ADHS since 2007.

2. As Chief Reporting Officer and Assistant State Registrar, I have personal knowledge of the

   matters set forth below, Ol' have knowledge of the matters based on my review of information

   and records gathered by my staff.

                              Arizona Department of Health Services

3. ADHS's mission is to promote, protect, and improve the health and wellness of individuals

   and communities in Arizona. To support that goal, ADHS performs many fLlllctions,

   including overseeing the BVR, which register vital events such as births. BVR's functions

   date back to the late 1800s and have been statutorily required since the early 1900s. Many

   state and federal agencies use birth certificates to determine eligibility for various programs,

   including but not limited to the issuance of driver licenses and U.S. passports.

                           Registration and Birth Certificates of'Newborns

4. Healthcare facilities coordinate with BVR to collect information to register a child's birth.

5. When a child is born in a healthcare facility, a medical attendant to the birth is statutorily

   obligated to register the birth. They provide the newborn's parents with a Certificate of Live

   Both Worksheet that asks for several pieces of information, including the parents' place of


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   birth and Social Security Numbers (SSNs). The Worksheet does not inquire about the                    .
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   parents' immigration status.

6. If the parents do not have an SSN, or do not wish to share it, they can leave that field blank

   or select none or unknown. Their omission of that information does not affect the 11ewbom's

   ability to obtain a birth certificate. If parents do provide their SSNs, that information is stored

   only for child support enforcement purposes and is not used to verify their immigration

   status.

7. After the newborn's parents complete and sign the Worksheet, hospital staff enter the

   information from the Worksheet into an electronic birth registration system maintained by

   BVR. BVR then creates and registers the birth certificate with the State.

8. A 11ewbo1'n's completed birth certificate does not indicate whether the parents have an SSN.

   The only information 011 the parents is the motller's legal name, the father's full name (if

   provided), their places and dates of birth, and address. Currently, it is not possible to

   determine a foreign-born pa1'e11t's immigration status from their child's birth certificate.

                        Application for Social Security Number of Newborns

9. While completing the Certificate of Live Birth Worksheet to register a newborn for a birth

   certificate at a healthcare facility, parents may also request an SSN for the newborn through a

   Social Security Admillistration (SSA) program called Enumeration at Birth (EAB).

10. The EAB process is voluntary for families, but according to SSA, about 99% of SSNs for

   infants are assigned through this program.

11. After a healthcare facility receives a completed Certificate of Live Birth Worksheet, it

   submits electronically the information from the worksheet and 8 request for an SSN to BVR,




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   which then trallsmits that information and request to SSA. BVR only sends EAB records to             ..
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   SSA for enumeration of infants born within the past 12 months.

12. Al'izona receives federal funding from the SSA for each SSN that is issued through the EAB

   process. The SSA has paid the State of Arizona $874,560.08 for FY 2024, $936,469.38 for

   FY 2025, and it is projected to pay $1,062,389.94 in FY 2026.

13. If birthright citizenship were revoked pursuant to the Executive Order, certain children born

   in the United States would no longer be considered citizens and would 'therefore be ineligible

   for an SSN.

14. If the number of births in Arizona stays constant 01° increases, but fewer of those children are

   considered citizens eligible for SSNs, then there will be fewer SSNs issued.

15. If fewer SSNs were issued through the EAB process due to the revocation of bi1'tlu°ight

   citizenship, then this will result in reduced EAB funding to Arizona, perhaps a significant

   reduction.



   I declare under penalty of peljury that the foregoing is true and correct to the best of my

   knowledge.



Executed this ;>l day of January, 2025, in V'(w»Q'u¥          WA

                                                                        (
                                                      Krystal Colburn

                                                      Chief Reporting Officer and Assistant State
                                                      Registrar
                                                      Arizona Department of Health Services



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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   STATE OF WASHINGTON; STATE OF                  NO. 2:25-cv-00127
     ARIZONA; STATE OF ILLINOIS; and
10   STATE OF OREGON,
                                                    DECLARATION OF
11                             Plaintiffs,          JEFFREY TEGEN
12      v.
13   DONALD TRUMP, in his official capacity
     as President of the United States, U.S.
14   DEPARTMENT OF HOMELAND
     SECURITY; BENJAMINE HUFFMAN, in
15   his official capacity as Acting Secretary of
     Homeland Security, U.S. SOCIAL
16   SECURITY ADMINISTRATION;
     MICHELLE KING, in her official capacity
17   as Acting Commissioner of the Social
     Security Administration, U. S .
18   DEPARTMENT OF STATE; MARCO
     RUBIO, in his official capacity as Secretary
19   of State, U.S. DEPARTMENT OF
     HEALTH AND HUMAN SERVICES;
20   DOROTHY FINK, in her official capacity
     as Acting Secretary of Health and Human
21   Services, U.S. DEPARTMENT OF
     JUSTICE, JAMES MCHENRY, in his
22   official capacity as Acting Attorney
     General, U.S. DEPARTMENT OF
23   AGRICULTURE; GARY WASHINGTON,
     in his official capacity as Acting Secretary
24   of Agriculture, and the UNITED STATES
     OF AMERICA,
25
                               Defendants .
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     DECLARATION OF
     JEFFREY TEGEN
     CASE NO. 2:25-cv-00127

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     Case 238§8-381'§9?a8¥!18'6%%3m'%'9Fé'%'Y' 98d 8889863 ofF>4a38e 2 of 8




                          DECLARATION OF JEFFERY TEGEN


       I, Jeffery Tegen, hereby declare:

1. I am the Assistant Director of the Division of Business and Finance at the Arizona Health

   Care Cost Containment System ("AHCCCS") Administration, which is Arizona's Medicaid

   agency.

2. My educational background includes a Bachelor of Science in Finance, a Master of Business

   Administration, and a Master of Health Service Administration. I have been employed as the

   Assistant Director of the Division of Business and Finance since May 2015.

3. I have compiled the information in the statements set forth below through personal knowledge,

   through AHCCCS personnel who have assisted me in gathering this information .from our

   agency, and on the basis of documents that have been provided to and/or reviewed by me.

                               AHCCCS Coverage and Elig.ibili;v_

4. AHCCCS is Arizona's Medicaid agency that offers health care programs to serve Arizona

   residents who meet certain income and other requirements. AHCCCS's mission is to help

   Arizonans live healthier lives by ensuring access to quality healthcare across all Arizona

   communities.

5. AHCCCS is the largest insurer in Arizona, covering more than 2,714,609 individuals in

   State Fiscal Year 24. It uses federal, state, county, and other funds to provide health care

   coverage to the State's Medicaid-eligible population.

6. Eligibility for AHCCCS health insurance programs, including eligibility for Federal-State

   Medicaid and Children's Health Insurance Program ("CHIP"), depends in part on age,

   immigration status, and household income.



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      Case 238§8-381'§9?a8¥!18'6%%3m'%'9Fé'%'Y' 98d 8889823 ofF>4a38e 3 of 8




7. In general, children through the age of 18 (i) meet the income eligibility requirement for

    Federal-State Medicaid in Arizona if their household's modified adjusted gross income

    ("MAGI") is less than 133% to 147% of the federal poverty level ("1=pL")1, and (ii) meet the

    income eligibility requirement for CHIP in Arizona if their household's MAGI is less than

    225% of the FPL.

8. To be eligible for Federal-State Medicaid or CHIP, a child must also be a U.S. citizen or

   "lawfully residing' in the Un_.ited States, as that term is defined by federal law. "Lawfully

    residing" individuals are "lawfully present" and include qualified immigrants such as lawful

    permanent residents, asylees, refugees, and trafficking victims, as well as nonimmigrant visa

    holders and humanitarian status classes such as Temporary Protected Status and Special

    Immigrant Juvenile Status. Children who are not citizens or "lawfully residing" are

    commonly referred to as undocumented. The only exception to this eligibility requirement is

    for certain emergency services, which Federal-State Medicaid covers for individuals who 49

    neither citizens nor "lawfully residing." 8 U.S.C. § 1611(b)(1), A.R.S. § 36-2.903.03(F).

               Healthcare Coverage for Newborns in Arizona and Federal Funding

9. The amount of federal funding Arizona receives for health care it provides children through

    AHCCCS varies by federal program but generally represents 64% to 75% of Arizona's total

    health care expenditures for children. The specific federal program that applies depends on

    the child's age, household income, immigration status, and the health care service provided.

10. For children covered by the Federal-State Medicaid program, the federal government

    generally reimburses for 64% of Arizona's health care expenditures, but if federal CHIP

    allotment is available, Arizona can claim 75% reimbursement for children between 100%



1 147% for MAGI age 0-1, 141% for MAGI ages 1-5, 133% MAGI age 6-18.

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   and 133% of FPL. For children covered by CHIP, the federal government generally

   reimburses 75% of Arizona's health care expenditures.

11. Federal funding for AHCCCS's Medicaid and CHIP programs is provided through an

   advance quarterly grant from the federal Center on Medicare and Medicaid Services

   ("CMS") to the State of Arizona, with a post-quarter reconciliation. This quarterly process

   begins with the State submitting to CMS a CMS-37 report, which estimates the reimbursable

   expenditures it expects to make for the upcoming quarter, six we¢k§ before the quarter

   begins. For the January to March 2025 quarter, the State submitted the report in November

   2024.

12. CMS then issues a quarterly federal grant the week before the start of the quarter. The State

   draws from this grant award during the quarter to partially fund its expenditures for Medicaid

   and CHIP.

13. Within 30 days after the end of a quarter, the State sends CMS a CMS-64 report, which

   reports all expenditures for the quarter.

14. Children from birth to age 18 typically have a range of health care needs that require services

   from various health care providers.

.15. All children born in theUnited States and residing in Arizona whose family income is at or

   below 225% of the Federal Poverty Level are eligible for AHCCCS.

16. Presently, all children born in Arizona are U.S. citizens.

17. Thus, at present, AHCCCS coverage for newborns in Arizona is partially funded by the State

   and partially funded by the federal government, either through Medicaid or CHIP.




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              Fiscal and Public Health Impact of Revoking Birthright Citizenship

18. AHCCCS does not currently rely on a Social Security Number or parental immigration status

   to determine eligibility. Newborns are automatically approved for benefits through an

   automated process when a mother living in Arizona on AHCCCS gives birth. Citizenship is

   considered automatically verified if the child's birth is verified through this method since

   they are born in the United States.

19. If this methodology no longer applied, AHCCCS would need to update its eligibility policy

   and update three systems it uses: HEAPlus, PMMIS and AHCCCS Online. This would take

   approximately 12 months to implement the change. Based on the complexity of the potential

   update, the expense to change HEAplus would be approximately $1 million to $2.5 million

   and would take about 12 months to develop. In addition, it would cost $1.3 million to $1.9

   million to update PMMIS and AHCCCS Online.

20. If AHCCCS were no longer able to automatically determine a newborn's eligibility through

   the deemed newborn process, this could cause service delays in healthcare coverage and

   access for all children while they go through the eligibility determination process. It would

   require the additional steps of verifying the citizenship status of the parents before being able

   to determine the child's eligibility, which could include obtaining additional information,

   including the SSN of the parents to run data matches or documentation of their citizenship.

   Depending on the volume, this could take additional staff to process these determinations,

   requiring additional funding to complete this new administrative work

21. AHCCCS provides certain emergency medical and behavioral health care services through              \




   the Federal Emergency Services Program ("FESP") for uninsured qualified and nonqualified




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       Case 238§8-381'§9?a8¥!18'6%%3m'%'9Fé'%'Y' 98d 88/8986. ofp4a38e 6 of 8




    aliens, as specified in 8 U.S.C. § 1611 et seq., who meet all requirements for Title XIX

    eligibility as specified in the State Plan except for citizenship. See also A.R.S. § 36-2903.03.

22. The FESP covers emergency medical or behavioral health conditions, meaning a medical

    condition or a behavioral health condition, including labor and delivery, manifesting itself by

    acute symptoms of sufficient severity, including severe pain, such that the absence of

    immediate medical attention could reasonably be expected to result in:

         a. Placing the member's health in serious jeopardy,

         b. Serious impairment to bodily functions,

         c. Serious dysfunction of any bodily organ or part, or

         d. Serious physical harm to self or another person.

See A.A.C. § R9-22-217.

23. In 2024 there were 4,519 births paid for by the FESP. For each of these births, the parent's

    household income fell under 133% of the Federal Poverty Level and the parent would have

    been eligible for Title XIX (Medicaid) if they were U.S. citizens or "lawfully residing."

    However, because these children were born in the United States, the children were eligible

    for Medicaid and qualified for AHCCCS, but they would not be eligible if birthright

    citizenship were removed. If each of these children became ineligible for AHCCCS until 18,

    using FFY2026 figures for FMAP of 64.34% (federal match) and capitation rates, then this

    would likely cost the State $39,400 in federal revenue per child used to pay $61,300 in total

    capitation payments over the first 18 years of that child's life.2




2 Age < 1 CYE 2026 cap rate per month: $813.80
Age 1 - 20 CYE 2026 cap rate per month: $252.67
Total capitation for first 18 years: $813.80 * 12 + $252.67 * 12 42 17   $61,300

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24. AHCCCS does not have data to project the number of children born to undocumented parents

    in Arizona earning between 156% to 225% of the FPL. Under current birthright citizenship

    rules, these children would be U.S. citizens and eligible for Title XXI (KidsCare). Each child

    eligible for KidsCare has the same total capitation rate payments over the first 18 years Qi

    that child's life as above ($61,300), but the KidsCare FMAP of 75.04% is higher than the

    regular FMAP with federal revenue of $46,000 offsetting the total capitation payments over

    the first 18 years of the Child's life. Assuming the income distribution of parents in the State

    who have an immigration status that excludes them from Medicaid coverage is uniform,

    AHCCCS estimates that approximately 3,126 births each year are of children who would be

    eligible for KidsCare under current birthright citizenship rules, but who would not be eligible

    if birthright citizenship were removed.

25. Removing birthright citizenship from the above 7,645 (4,519 + 3,126) children would reduce

    federal revenues to Arizona by $321,844,600 used to pay $468,638,500 in total capitation

    payments over the first 18 years of the children's lives.3 This amount and the calculations in

    paragraphs 23 and 24 do not factor in inflation, population growth, or changes in the FMAP

    rate in future years and assume all the children remain eligible for AHCCCS until they turn

    18. Additionally, these reductions in federal revenues to Arizona are only for the first

    "cohort" of children and only through their first 18 years of life. Each year, additional

    children would be born, adding to the lost revenue to the State.

26. Arizona draws federal funds on a daily basis. Therefore, any changes in policy would impact

    the State from the first month a child impacted by the policy change is born.




3 Total Federal Revenue for 7,645 children : 4,519 * $39,400 + 3,126 * $46,000 = $321,844,600

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27. Having fewer newborns in Arizona qualifying as citizens could place increased strain on

   health systems throughout the State. AHCCCS currently provides emergency services only to

   those individuals who would otherwise qualify except for their immigration status. This

   provides a pathway for hospitals and other emergency service providers to receive

   reimbursement for the services they are required to provide to this population and reduces

   uncompensated care. However, this coverage does not extend to primary or preventive care.

   If these newborns would not be considered citizens by location of birth and therefore be

   ineligible for full AHCCCS services due to their citizenship status, the cost to the State

   would continue to accrue year after year through uncompensated non-emergent services

   provided by hospitals throughout Arizona, and for the much higher emergency services costs.



I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Executed this 21st day of January, 2025, in Phoenix, Arizona.



                                                      928"Wf°*

                                                      Jeffery Tegen
                                                      Assistant Director of the Division of
                                                      Business & Finance
                                                      Arizona Health Care Cost Containment
                                                      System Administration




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7                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
8                                       AT SEATTLE
9    STATE OF WASHINGTON; STATE OF                  NO. 2:25-cv-00127
     ARIZONA; STATE OF ILLINOIS; and
10   STATE OF OREGON,
                                                    DECLARATION OF
11                             Plaintiffs,          NADINE O'LEARY
12      v.
13   DONALD TRUMP, in his official capacity
     as President of the United States, U.S.
14   DEPARTMENT OF HOMELAND
     SECURITY; BENJAMINE HUFFMAN, in
15   his official capacity as Acting Secretary of
     Homeland Security, U.S. SOCIAL
16   SECURITY ADMINISTRATION;
     MICHELLE KING, in her official capacity
17   as Acting Commissioner of the Social
     Security Administration, U. S .
18   DEPARTMENT OF STATE; MARCO
     RUBIO, in his official capacity as Secretary
19   of State, U.S. DEPARTMENT OF
     HEALTH AND HUMAN SERVICES;
20   DOROTHY FINK, in her official capacity
     as Acting Secretary of Health and Human
21   Services, U.S. DEPARTMENT OF
     JUSTICE, JAMES MCHENRY, in his
22   official capacity as Acting Attorney
     General, U.S. DEPARTMENT OF
23   AGRICULTURE; GARY WASHINGTON,
     in his official capacity as Acting Secretary
24   of Agriculture, and the UNITED STATES
     OF AMERICA,
25
                               Defendants .
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     DECLARATION OF
     NADINE O'LEARY
     CASE NO. 2:25-cv-00127

                                                                        Supp.Add.362
       Case 2=9€§%-8819/7-38818'6%%3m'%'9F3é'Y' 98d 88888750 ofF>4a38e 2 of 7




                         DECLARATION OF NADINE O'LEARY

       I, Nadine O'Leary, pursuant to 28 U.S.C. § 1746, hereby declare that the following is true
and correct:

1. I am the Deputy Registrar of the State of Illinois, Department of Health (IL DPH or DPH),

   Department ofVital Records (DVR), a position I have held since 2019.

2. In this position, I direct, supervise, and issue instructions necessary to the efficient

   administration of a statewide system of vital records, the Office of Vital Record, and act as

   custodian of its record in accordance with410 ILCS 535/5, as delegated by the State Registrar.

3. Prior to working with DVR, I worked at the Abraham Lincoln Presidential Library and

   Museum from 2012 to 2019, my last position at the Library and Museum was Acting Director.

   From 1999 to 2012, I worked for the Illinois Secretary of State's Organ and Tissue Donor

   Program as a Program Analyst and eventually as Program Director.

4. I earned a Bachelor of Arts from Knox College in Galesburg, Illinois.

5. I submit this Declaration in support of Plaintiff States' Motion for Temporary Restraining

   Order pertaining to the Executive Order entitled "Protecting the Meaning and Value of

   American Citizenship" (the "Citizenship Stripping Order"). I have compiled the information

   of the matters set forth below through personal knowledge, my review of information and

   records gathered by staff, and through IL DPH personnel who have assisted me in gathering

   this information. I also reviewed the Illinois data in "Birth to Unauthorized Immigrants in the

   State of Washington, Arizona, Illinois, and Oregon" Report prepared by the National

   Demographics Corporation. Compl. Ex. B, app. E. I have also familiarized myself with the

   Citizenship Stripping Order in order to understand its immediate and long-term impact on IL

   DPH and the State of Illinois.


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                              Illinois Department of Public Health

6. IL DPH's mission is to protect public health, promote healthy communities, and continue to

   improve the quality of health care in Illinois. To support that goal, IL DPH performs many

   functions, including regulating healthcare facilities and overseeing the Department of Vital

   Records (DVR), which registers vital events such as births.

                          Registration and Birth Certificates of Newborns

7. Illinois healthcare facilities coordinate with DVR to collect information to register a child's

   birth ,

8. When a child is born in a healthcare facility, the person in charge of the facility or their

   designated representative is statutorily obligated to register the birth pursuant to Illinois

   Statute, which mirrors the U.S. standard form birth certificate. 410 ILCS 535/12. That

   individual provides the newborn's parents with a Certificate of Live Birth Worksheet

   ("Worksheet") that asks for several pieces of information, including the parents' place of birth

   and Social Security Numbers (SSNs). The Worksheet does not inquire about the parents'

   immigration status .

9. If the parents do not have an SSN, or do not wish to share it, they can leave that field blank.

   Their omission of that information does not affect the issuance of the newborn's birth

   certificate. If parents do provide their SSNs, that information is stored only for child support

   enforcement purposes and is not used to verify their immigration status.

10. After the newborn's parents complete and sign the Worksheet, hospital staff enter the

   information from the Worksheet into an electronic birth system (IVRS) maintained by DVR.

   IVRS then routes the record to the appropriate Local Registrar to complete registration with

   the State.


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11. A newborn's completed birth certificate does not indicate whether the parents have an SSN.

   The only information regarding the parents on a newborn's birth certificate is the mother's

   legal name, the father's full name (if provided), their places and dates of birth, residence, and

   mailing addresses. Currently, it is not possible to determine a foreign-born parent's

   immigration status from their child's birth certificate.

12. Healthcare facilities do not routinely ask patients, including new parents, for their immigration

   status. Generally, hospitals learn that information only when assessing a patient's eligibility

   for public benefits, which may depend on immigration status. If hospitals obtain immigration

   status information for patients, it is recorded in their health records and becomes protected

   health information that is shielded from disclosure under the Health Insurance Portability and

   Accountability Act ("HIPAA"). Currently, healthcare facilities do not verify the accuracy of

   the information provided by parents in this process.

13. If the newborn registration process had to be amended to provide for verification of the parents '

   citizenship and/or immigration status because of the Citizenship Stripping Order, this would

   impose considerable administrative burdens on State-run healthcare facilities. If healthcare

   facilities were required to confirm the accuracy of the parents' places of birth, SSNs, or

   immigration status, the facilities would incur significant new administrative costs related to

   implementing a system to substantiate the information provided and hire and train staff to do

   the same. Assuming this burden would further lead to delays in registration and issuance of the

   newborn's birth certificate, leaving a child born in Illinois in a limbo status until that system is

   created and implemented.




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                       Application for Social Security Number of Newborns

14. While registering a newborn for a birth certificate at a healthcare facility, parents may also

   complete an application for an SSN for the newborn through a Social Security Administration

   ("SSA") program called Enumeration at Birth ("EAB").

15. The EAB process is voluntary for families, but according to SSA, about 99% of SSNs for

   infants are assigned through this program.

16. Under the EAB process, a question added to the Worksheet allows parents to voluntarily

   request a SSN for their newborn child. Hospital or birth center personnel enter the request for

   an SSN along with birth certification information in IVRS. DVR submits to the SSA the

   necessary information for it to assign an SSN to the newborn.

17. The EAB application asks for the parents' SSNs. Parents bom outside the United States can

   apply for and receive an SSN for their child without including their own SSNs on the

   application. Currently, because children born in the United States are U.S. citizens, they are

   eligible for SSNs regardless of their parents' immigration status.

18. DVR only sends EAB records to SSA for enumeration of infants born within the past 12

   months .

19. Illinois receives federal funding from the SSA EAB process on a quarterly basis for each SSN

   that is issued through the EAB process. The State receives $4.19 per SSN issued through the

   EAB process. DVR requested over $500,000 in FY 2024 and just under $500,000 in FY2025

   in IVRS for federal funding from the SSA EAB process. DVR uses those funds to support the

   payment of its administrative and operational costs.

20. For 2022, there were approximately 9,100 children born in Illinois to undocumented mothers.

   If birthright citizenship were revoked pursuant to the Citizenship Stripping Order, those


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        Case 2=9€§%-88199738818'6%%3m'%'9F3é'Y' 98d 888954 0f.F>438e 6 of 7




   children would no longer be granted citizenship and would therefore be ineligible for an SSN.

   This estimate is based on the expert analysis provided by the National Demographics

   Corporation. Compl. Ex. B, app. E.

21. For 2022, there were approximately 5,200 children born in Illinois to two undocumented

   parents. If birthright citizenship were revoked pursuant to the Citizenship Stripping Order,

    those children would no longer be granted citizenship and would therefore be ineligible for an

   SSN. This estimate is based on the expert analysis provided by the National Demographics

   Corporation. Id.

22. If approximately 5,200 to 9,100 fewer SSNs were issued through the EAB process due to the

   revocation of birthright citizenship, this would result in an annual loss of EAB funding to IL

   DPH of approximately $21,788 to $38,129.

23. In addition to the loss in funding, state-run healthcare facilities would incur new administrative

   costs from expending resources to verify parents' immigration status before applying for a

   newborn's SSN through the EAB process. SSA will presumably require proof of parents'

    lawful status to issue an SSN under the Citizenship Stripping Order. State-run healthcare

    facilities would then be forced to consult with, and assist, families with obtaining the

   paperwork necessary to prove their immigration status. It is likely that the electronic system

   and guidelines for submitting SSN applications through that system-which are currently

   detailed in a 59-page SSA manual- would have to be revised. This would likely require

   healthcare facilities to train, and potentially hire, staff to work with parents in obtaining, and

    then verifying, the requisite documents to establish lawful immigration status.



I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.



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                                                                                  supp.Add.3e7
       Case 238§8-881%9?a8¥!18'6%%3m'%'9F3é'Y' 98d 88898755 ofF>4a38e 7 of 7




Executed this 21st day of January, 2025, in Springfield, IL


                                                        /TcD-                        1




                                                     Nadine J. O'Leary

                                                     State Deputy Registrar
                                                     Division of Vital Records
                                                     Illinois Department of Public Health
                                                     925 E. Ridgely
                                                     Springfield, IL 62702




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                                                                              supp.Add.368
             Case 238§8-881%9?a8¥!18/6%%3m'%'9Fé'l'Y' 98d 88898756 of.p4a38e 1 of 7




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                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
     STATE OF WASHINGTON; STATE OF                      NO. 2:25-cv-00127
10   ARIZONA; STATE OF ILLINOIS; and
     STATE OF OREGON,
11                                                      DECLARATION OF
                               Plaintiffs,              JENNIFER A WOODWARD
12
        v.
13
     DONALD TRUMP, in his official capacity
14   as President of the United States, U.S.
     DEPARTMENT OF HOMELAND
15   SECURITY; BENJAMINE HUFFMAN, in
     his official capacity as Acting Secretary of
16   Homeland Security, U.S. SOCIAL
     SECURITY ADMINISTRATION;
17   MICHELLE KING, in her official capacity
     as Acting Commissioner of the Social
18   Security Administration, U.S.
     DEPARTMENT OF STATE; MARCO
19   RUBIO, in his official capacity as Secretary
     of State, U.S. DEPARTMENT OF
20   HEALTH AND HUMAN SERVICES;
     DOROTHY FINK, in her official capacity
21   as Acting Secretary of Health and Human
     Services, U.S. DEPARTMENT OF
22   JUSTICE; JAMES MCHENRY, in his
     official capacity as Acting Attorney
23   General, U.S. DEPARTMENT OF
     AGRICULTURE; GARY WASHINGTON,
24   in his official capacity as Acting Secretary
     of Agriculture, and the UNITED STATES
25   OF AMERICA,
26                             Defendants .


     DECLARATION OF                                 1
     JENNIFER A. WOODWARD
     CASE NO. 2:25-cv-00127

                                                                            Supp.Add.369
           Case 2=9€§%-8819/7-38818'6%%3m'%'9Fé'l'Y' 98d 889858757 0f.F>4a38e 2 of 7




 1                        DECLARATION OF JENNIFER A WOODWARD
2           I, Jennifer A. Woodward, declare as follows:
 3          1.      I am over the age of 18 and have personal knowledge of the matters herein.
4           2.      I am the State Registrar at the Oregon Health Authority (OHA). I have held this
 5   position for 24 years, and have been with OHA since 1993. As State Registrar, I oversee
 6   Oregon's system of vital statistics, including the registration of vital events, such as births, and
 7   the issuance of vital records, including birth certificates. I am also familiar with OHA's
 8   relationship with the U.S. Social Security Administration, and OHA's role in SSA's
 9   "Enumeration at Birth" program for issuance of Social Security Numbers (SSNs) to babies
10   born in Oregon.
11          3.      OHA's mission is to protect and improve the health of all people in Oregon. In
12   carrying out that mission, it administers programs and provides services that touch the lives of
13   all Oregonians and visitors to the State. OHA regulates healthcare facilities and oversees the
14   Center for Health Statistics, among other things. The Center is responsible for the registration,
15   preservation, amendment, and release of official state records of all births, deaths, fetal deaths,
16   marriages and divorces that occur in Oregon. It also participates in the U.S. Social Security
17   Administration's Enumeration at Birth program, enabling parents to request issuance of an
18   SSN at or shortly after the time a baby is born, as part of completing the standard birth filing
19   forms in Oregon.
20          4.      One primary function of the OHA is to oversee registration and release of birth
21   certificates. The U.S. Department of Health and Human Services, National Center for Health
22   Statistics (NCHS) develops standard form certificates for vital events, which it recommends
23   that the States adopt to maintain nationwide uniformity in the system of vital statistics. Oregon
24   has adopted the U.S. standard form birth certificate, with few modifications.
25          5.      The Oregon form to register a birth is called the Birth Record Parent Worksheet
26   and is completed upon the birth of a newborn child. It requires entry of information about the


     DECLARATION OF                                     2
     JENNIFER A. WOODWARD
     CASE NO. 2:25-cv-00127

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 1   child and birthplace, information about the mother and father, and information for hospital use
2    only. The form asks for information about the parents, including place of birth and their SSN
 3   if they have one or it is unknown. The form does not contain fields for immigration or
4    citizenship status of a baby's parents. Therefore, Oregon birth certificates do not collect
 5   parental immigration or citizenship status information.
 6           6.     Oregon's form to register a birth does not contain any field for immigration or
 7   citizenship status of the baby. Babies born in Oregon have always been considered U.S.
 8   citizens, and Oregon birth certificates have always been proof of U.S. citizenship sufficient to
 9   obtain a U.S. passport or SSN. Oregon birth certificates contain no information or
10   representation about a baby's immigration or citizenship status.
11          7.      As part of the Birth Record Parent Worksheet, parents are asked whether they
12   wish to get an SSN for their children. They select either a "Yes" or "No" box when completing
13   the form.
14           8.     After the newborn's parents complete the Birth Record Parent Worksheet, the
15   hospital sends the information electronically to OHA through the Oregon Vital Events
16   Registration System (OVERS) and the birth is registered. OHA and the local public health
17   jurisdiction then use that information to create a birth certificate with the State.
18          9.      Oregon participates in the U.S. Social Security Administration's Enumeration
19   at Birth program. The EAB program is a process by which babies born in the United States
20   may obtain an SSN based on the submission of information from the State's vital statistics
21   agency rather than a separate application.
22           10.     The Birth Record Parent Worksheet asks for the parents' SSNs. Parents born
23   outside the United States can apply for and receive an SSN for their child born in the United
24   States without including their own SSNs. Because children born in the United States are U.S.
25   citizens, they are eligible for SSNs regardless of their parents' immigration status. The EAB
26   process facilitates a streamlined application and issuance of SSNs to U.S. Citizen babies bom


     DECLARATION OF                                     3
     JENNIFER A. WOODWARD
     CASE NO. 2:25-cv-00127

                                                                                      Supp.Add.371
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 1   in Oregon. To my knowledge, based on its agreement with the SSA, more than 98 percent of
2    parents in the United States voluntarily request an SSN for their newborns through the EAB
 3   program.
4           11.     After a healthcare facility receives a completed Birth Record Parent Worksheet
 5   indicating that an SSN is sought for a newborn child, it sends the required information to OHA.
 6   OHA then sends the required birth record information to the SSA in the prescribed format for
 7   the purpose of SSA issuing an SSN to the newborn child. The information sent must include
 8   the child's name, date of birth, place of birth, sex, mother's maiden name, father's name if
 9   listed on the birth registration document, the mother's address, the birth certificate number,
10   and the parents' SSNs if available.
11          12.     In exchange for administering this program and formatting and transmitting
12   certain data to the SSA, OHA receives federal funding from the SSA. Through a contract in
13   place with the SSA, the State currently receives $4.82 per SSN assigned through the EAB
14   process. In 2023 OHA received $158,381 through the program. Through three quarters of
15   2024, OHA has received $129,900. Under the agreement, OHA only sends EAB records and
16   information to the SSA for enumeration of infants born within the past 12 months, and it
17   receives payment only for records received for births in the current month and the prior two
18   months. Further, the number of records processed and available for reimbursement is reduced
19   by the number of births that are assigned an SSN in SSA Field Offices after the parent has
20   applied for EAB at the hospital. In other words, OHA is only reimbursed for those SSNs
21   assigned through EAB.       The annual payment received through the EAB program is
22   approximately 2.1% percent of the Center's annual budget, and OHA uses those funds to
23   support the payment of administrative and operational costs for the Center.
24          13.     If children born in Oregon become ineligible for SSNs because they are no
25   longer citizens, OHA will lose federal funds because there will be a decrease in the number of
26   SSN applications sent through the EAB process. For example, if there is an annual decrease of


     DECLARATION OF                                   4
     JENNIFER A. WOODWARD
     CASE NO. 2:25-cv-00127

                                                                                   Supp.Add.372
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 1   approximately 1,500 newborn children eligible for SSNs in Oregon and the SSA declines to
2    issue SSNs for those children, OHA would stand to lose approximately $7,230per year. Based
 3   on my experience, I anticipate that OHA would in fact see an even larger decrease in the
4    number of children eligible to obtain an SSN because data quality may decrease, making it
 5   hard to provide enough information to SSA to get an SSN assigned.
 6          14.     OHA also anticipates additional negative impacts based on the loss of birthright
 7   citizenship to newborns in Oregon. If it were no longer the case that all children born in the
 8   United States are U.S. citizens at birth and the newborn registration process had to be amended
 9   to provide for verification of the parents' citizenship or immigration status, Oregon's vital
10   records system would have no immediate way to reflect this significant change. It would
11   instead require substantial operational time, manpower resources, and technological resources
12   from the Center and healthcare facilities in Oregon to respond to the change. The Center
13   endeavors to avoid deviation from the national standard to preserve interoperability of data
14   systems. Modifying required birth certificate information would require significant system
15   changes for the Center and additional rulemaking by OHA.
16          15.     Historically, the National Center for Health Statistics within the U.S. Centers
17   for Disease Control and Prevention (NCHS) has reviewed and revised U.S. standard vital form
18   certificates every 10-15 years only, by way of a years-long collaborative process with state
19   vital records officers and public health experts. Even ifNCHS were to develop and promulgate
20   a new U.S. standard birth certificate that included fields for immigration or citizenship
21   information, adoption of a new form by OHA would require significant system changes, which
22   cannot occur overnight.
23          16.     A change of this scale would place significant new burdens on OHA and the
24   Center in particular. OHA would need to determine what changes are required to birth
25   certificates and what new information may need to be collected. Once determined, OHA would
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     DECLARATION OF                                   5
     JENNIFER A. WOODWARD
     CASE NO. 2:25-cv-00127

                                                                                  Supp.Add.373
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 1   need to work with NCHS to promulgate a new U.S. standard birth certificate for Oregon's
2    adoption. OHA then would have to promulgate a new rule to effectuate the changes.
 3          17.     Meanwhile, approximately 38,000 babies are born every year in Oregon. That
4    is an average of more than 100 babies per day. It is unclear what would be required or requested
 5   of OHA in connection with the registration of births that were to occur prior to the
 6   implementation of updated birth certificates, since birth certificates are proof of U.S.
 7   citizenship. OHA is not currently equipped to handle those new burdens, for example, it is hard
 8   to know how we would go about determining the immigration status or citizenship of every
 9   newborn (or their parents) when their immigration status is unclear to us, and whose job it
10   would be to make that determination. Most births are assisted births, and hospitals and
11   midwives are the ones who collect and transmit birth registration information to OHA.
12   Furthermore, all information we receive is self-reported, we have no way to verify it, and we
13   do not receive information concerning the parents' immigration or citizenship status .
14          18.     Furthermore, implementing any changes to the Oregon birth certificate-an
15   electronic system comprised of distinct end-user interfaces for medical providers to input data
16   for transmission to OHA, on the one hand, and files OHA can transmit to the SSA, for example,
17   on the other-would require substantial, unbudgeted expenditures by OHA.
18          I declare under penalty of perjury under the laws of the State of Oregon and the United
19   States of America that the foregoing is true and correct.
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     DECLARATION OF                                   6
     JENNIFER A. WOODWARD
     CASE NO. 2:25-cv-00127

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              Case 238§8-881%9?a8¥!18/6%%3m'%'9Fé'l'Y' 98d 888983 ofF>4a38e 7 of 7




1              DATED and SIGNED this 21st day of January 2025 at Portland, OR.
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                                                J nigh 'A. Woodward
                                                State Registrar
                                                Oregon Health Authority
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         DECLARATION OF                             7
         JENNIFER A, WOODWARD
         CASE no. 2:25-CV-00127
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                             UNITED STATES DISTRICT COURT
8                           WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
9
     STATE OF WASHINGTON; STATE OF                      NO. 2:25-cv-00127-JCC
10   ARIZONA; STATE OF ILLINOIS; and
     STATE OF OREGON,
11                                                      DECLARATION OF
                              Plaintiffs,               APRILLE FLINT-GERNER
12
        v.
13
     DONALD TRUMP, in his official capacity
14   as President of the United States, U.S.
     DEPARTMENT OF HOMELAND
15   SECURITY; KRISTI NOEM, in her official
     capacity as Secretary of Homeland Security,
16   U.s. SOCIAL SECURITY
     ADMINISTRATION; MICHELLE KING,
17   in her official capacity as Acting
     Commissioner of the Social Security
18   Administration, U.S. DEPARTMENT OF
     STATE; MARCO RUBIO, in his official
19   capacity as Secretary of State, U.S.
     DEPARTMENT OF HEALTH AND
20   HUMAN SERVICES; DOROTHY PINK,
     in her official capacity as Acting Secretary
21   of Health and Human Services, U.S.
     DEPARTMENT OF JUSTICE; JAMES
22   MCHENRY, in his official capacity as
     Acting Attorney General, U.S.
23   DEPARTMENT OF AGRICULTURE;
     GARY WASHINGTON, in his official
24   capacity as Acting Secretary of Agriculture,
     and the UNITED STATES OF AMERICA,
25
                               Defendants .
26



     DECLARATION OF APRILLE FLINT-GERNER            1
     CASE NO. 2:25-cv-00127-JCC
                                                                            Supp.Add.376
          Case 2=9€§%-8819/7-38818'6%%3m'%'9Fé'%'Y' 98d 8?/9/85.54 0f.F>4a38e 2 of 8




 1                        DECLARATION OF APRILLE FLINT-GERNER
2           I, Aprille Flint-Gerner, declare as follows:
 3          1.      I am over the age of 18, competent to testify as to the matters herein, and make
4    this declaration based on my personal knowledge and records of the Oregon Department of
 5   Human Services that are kept in the ordinary course of its business.
 6          2.      I am the Director for the Oregon Child Welfare Division of the Oregon
 7   Department of Human Services. (ODHS). I have served as Director since July 2023 and was
 8   previously the Child Welfare Interim Director. I am responsible for executive level oversight
 9   and administration of Oregon's foster care program and compliance with Title IV-E.
10          3.      I hold a Bachelor of Arts in African American Studies and a Master of Social
11   Work from San Jose State University. I have more than 25 years of experience in public sector
12   work, including specialized experience in workforce and adaptive leadership development,
13   community and cross-system engagement, and technical assistance and implementation support.
14   I have specialized knowledge and expertise in many promising practices and equity frameworks
15   in child welfare and human services. I am knowledgeable about the administration of the Child
16   Welfare Division, including its implementation of Title IV-E.
17          4.      The Child Welfare Division of ODHS is focused on the well-being of children.
18   Its mission is to ensure every child and family is empowered to live a safe, stable and healthy
19   life. We are part of a larger statewide social system that works to support children, families and
20   communities. Child Welfare focuses on keeping families together whenever it is safe to do so.
21          5.      One of ODHS's duties is to administer Oregon's child welfare system. Oregon's
22   child welfare system is funded in part through an annual appropriation based on an open-ended
23   formula grant entitlement operated by the U.S. Department of Health and Human Services
24   (HHS) Federal Foster Care Program, known as Title IV-E.
25          6.      Title IV-E includes various programs that provide funding to children and ODHS.
26   While ODHS provides foster care support for all children in the foster care system, regardless of



     DECLARATION OF APRILLE FLINT-GERNER              2
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 1   immigration status, it receives federal matching reimbursements for any funds that are directed
2    to foster children eligible for Title IV-E. Children must be citizens or qualifying non-citizens to
 3   be entitled to enjoy benefits under Title IV-E and may be eligible as soon as birth. ODHS does
4    not receive reimbursements based on their services to individuals who are undocumented or do
 5   not have a lawful, qualifying immigration status, as defined in Title IV-E. ODHS is also entitled
 6   to reimbursements for many types of administrative costs incurred in serving Title IV-E children,
 7   including the administration of various Title IV-E programs that ODHS administers and receives
 8   funding for.
 9          7.      Included in Title IV-E's funding program is its "Adoption and Guardianship
10   Assistance Program," which provides funding to facilitate the timely placement of children,
11   whose special needs or circumstances would otherwise make it difficult for them to have
12   permanency through adoption or guardianship. Under federal law, Child Welfare Division
13   receives Title IV-E funding for the administrative functions of the Adoption and Guardianship
14   Assistance Program, which includes:
15          a.      Overall: the determination and redetermination of eligibility, fair hearings and
16                  appeals, rate setting, other costs directly related only to the administration of the
17                  adoption and guardianship assistance program, the administration of any
18                  grievance procedures, negotiation and review of adoption/guardianship
19                  assistance agreements, post-placement management of subsidy payments, a
20                  proportionate share of related agency overhead, development of the case plan,
21                  referral to services, home studies, and mediation of post-finalization contact
22                  agreements.
23          b.      For adoptions: recruitment of adoptive homes, placement of the child in the
24                  adoptive home, case reviews conducted during a specific preadoptive placement
25                  for children who are legally free for adoption, case management and supervision
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     DECLARATION OF APRILLE FLINT-GERNER               3
     CASE NO. 2:25-cv-00127-JCC
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 1                  prior to a final decree of adoption, and a proportionate share of the development
2                   and use of adoption exchanges.
 3           8.     Title IV-E also includes a "Foster Care Maintenance Payments Program," which
4    provides funding for the regular costs of supervising and providing social services to children in
 5   foster care. This includes: payments to cover the cost of (and the cost of providing) food,
 6   clothing, shelter, daily supervision, school supplies, a child's personal incidentals, liability
 7   insurance with respect to a child and reasonable travel to the child's home for visitation and
 8   reasonable travel for the child to remain in the school in which the child is enrolled at the time
 9   of placement. In the case of institutional care, it also includes the administration of providing all
10   of the services detailed above.
11          9.      Title IV-E funds the Independent Living Program services for youth who are age
12   14 and over and the Chafee educational stipends to support young adults pursuing higher
13   education after experiencing foster care.
14          10.     Title IV-E administrative funds support the training of agency staff, including
15   resource parents (who some states refer to as foster parents), as well as funding training for legal
16   representation for parents and children, Court-Appointed Special Advocates (CASA), and
17   members of the Citizen Review Board (CRB).
18          11.     Title IV-E funding is critical to ensuring high quality service to Oregon's children
19   who experience foster care today and in the future.
20          12.     The amount of federal funds that Oregon is entitled to under Title IV-E depends
21   on the number of Title IV-E eligible children. The amount Oregon receives is based on Oregon's
22   "eligibility rate" or "penetration rate," which is then used to determine the amount Oregon will
23   be reimbursed for providing services. The eligibility rate describes the percentage of Title IV-E
24   eligible children being served, compared against the total number of served children in foster
25   care, pursuant to the definition of foster care in 45 CFR 1355.20. The total number of children
26   being served depends on the services being provided. For example, Title IV-E reimburses Child



     DECLARATION OF APRILLE FLINT-GERNER                4
     CASE NO. 2:25-cv-00127-JCC
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 1   Welfare Division for payments for services in support of children placed in a resource family
2    home, a licensed group care facility, or in a home other than that of the child's parent, guardian,
 3   or legal custodian. The reimbursed services include the recruitment, training, and management
4    of resource parents, the recruitment of adoptive families, and the facilitation of the adoption
 5   process, among other services. The rate that CWD is reimbursed for the costs related to serving
 6   children in paid out of home care is calculated by the number of days that Title IV-E eligible
 7   children were in paid out of home care divided by the total number of days that all children
 8   (including children ineligible for Title IV-E) were in paid out of home care.
 9          13.     Because the penetration rate depends on the number of children eligible for Title
10   IV-E funding, even a small decrease in the number of children eligible for Title IV-E funding
11   would have dramatic impacts on the total amount of federal funding that Oregon receives under
12   Title IV-E.
13          14.     For example, in Federal Fiscal Year 2024, Oregon spent a total of $792,403,677
14   to administer its child welfare system. That same year, Oregon had a penetration rate of 49%
15   percent, based on approximately 2,200 children who are eligible for Title IV-E divided by
16   approximately 4,490 children in foster care on a given day. Consequently, even 45 fewer children
17   being eligible for Title IV-E funding would have decreased Oregon's penetration rate by 1%
18   percent, which would have decreased Oregon's reimbursement by $3.4 million. Or, taking a
19   different approach, if 1,500 children are bom annually in Oregon who would not be considered
20   citizens under the federal executive order, then we can extrapolate the impact based on the
21   percentage of Oregon children who enter foster care. Using fiscal year 2024 dollars and foster
22   care percentages (.005%), there would be eight children who would enter foster care and would
23   not be considered citizens and who, therefore, would not be entitled to Title IV-E eligibility.
24   Even just eight fewer eligible children per year equates to $596,850.49 in lost federal funding
25   based on fiscal year 2024 expenditures.
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     DECLARATION OF APRILLE FLINT-GERNER               5
     CASE NO. 2:25-cv-00127-JCC
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 1          15.     The impact of the executive order on Oregon's child welfare system would not
2    be limited to a reduction in federal funding for care of the children experiencing foster care. The
 3   recent executive order purporting to end birthright citizenship for children born in the United
4    States based on their parent(s)' non-citizen/immigration status, if implemented, would have a
 5   variety of widespread impacts on Oregon's foster care program, including an increase in the
 6   operational and administrative costs for Oregon's foster care program.
 7          16.     In addition to impacts on those subject to this new policy, the federal
 8   government's action would increase the cost of ODHS's administration of its foster care
 9   programs and, at the same time, decrease the amount of federal funding Oregon receives to
10   reimburse administrative and maintenance costs related to its services for foster children in
11   Oregon.
12          17.     ODHS is required by federal law to verify the citizenship status of all individuals
13   receiving foster care support under Title IV-E, to determine the child's eligibility. Currently, the
14   primary method of citizenship verification is through birth certificates held by other state
15   agencies. Because ODHS can serve children as soon as they are bom, it relies on birth certificates
16   to determine whether young children are eligible under Title IV-E. When a child enters foster
17   care, ODHS does not otherwise verify the citizenship of their biological parents in any way, as
18   the parent(s)' citizenship is irrelevant to the services that Child Welfare provides.
19          18.     ODHS has no system in place to determine the citizenship of a child's parents
20   when the child enters foster care. If ODHS were required to change its practices to conform with
21   the federal government's executive order, ODHS would also need to develop that system and
22   develop updated comprehensive training for staff, partners, and other contracted agencies who
23   carry out Title IV-E duties. For example, ODHS would likely need to update its training and
24   guidance around which children are citizens and therefore eligible for Title IV-E funding, and
25   which children are only eligible for state-only programs. Moreover, Title IV-E requires ODHS
26   to verify the citizenship of each child for whom it seeks federal reimbursements. While ODHS



     DECLARATION OF APRILLE FLINT-GERNER                6
     CASE NO. 2:25-cv-00127-JCC
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1    was previously able to rely on birth certificates to meet its federal obligation, it would no longer
2    be able to do so and would need to create a process to verify the citizenship of the parents at the
 3   time the child enters foster care to determine whether the ODHS is entitled to federal
4    reimbursements. This would be a significant and costly administrative burden on the State and
 5   ODHS.
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     DECLARATION OF APRILLE FLINT-GERNER               7
     CASE NO. 2:25-cv-00127-JCC
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          Case 238§8-881%9?a8¥!18'6%%3m'%'9Fé'%'Y' 98d 8888/8° ofF>4a38e 8 of 8




 l          I declare under penalty of perjury under the laws of the State of Oregon and the United

 2   States of America that the foregoing is true and correct.

 3          DATED and SIGNED this 24th day of January, at Happy Valley, OR.

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                                                     APRI LE LeNT-GERNER
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     DECLARATION OF APRILLE FLINT-GERNER                  8
     CASE NO. 2:25-cv-00127-JCC


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                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE

  STATE OF WASHINGTON; STATE OF
  ARIZONA; STATE OF ILLINOIS; and
  STATE OF OREGON,
                  Plaintiffs,
                                                     Civil Action No. 2:25-cv-00127
                                v.                   Judge John C. Coughenour

  DONALD TRUMP, in his official capacity
  as President of the United States, U.S.
  DEPARTMENT OF HOMELAND
  SECURITY; BENJAMINE HUFFMAN, in
  his official capacity as Acting Secretary of
  Homeland Security, U.S. SOCIAL
  SECURITY ADMINISTRATION;
  MICHELLE KING, in her official capacity
  as Acting Commissioner of the Social
  Security Administration, U.S.
  DEPARTMENT OF STATE; MARCO
  RUBIO, in his official capacity as Secretary
  of State, U.S. DEPARTMENT OF
  HEALTH AND HUMAN SERVICES;
  DOROTHY FINK, in her official capacity
  as Acting Secretary of Health and Human
  Services, U.S. DEPARTMENT OF
  JUSTICE, JAMES MCHENRY, in his
  official capacity as Acting Attorney
  General; U.S. DEPARTMENT OF
  AGRICULTURE; GARY WASHINGTON,
  in his official capacity as Acting Secretary
  of Agriculture; and the UNITED STATES
  OF AMERICA,

                        Defendants.

                         DECLARATION OF HEIDI E. MUELLER

       I, Heidi E. Mueller, pursuant to 28 U.S.C. § 1746, hereby declare that the following is the
and correct:

1. I am Director of the Illinois Department of Children and Families Services ("lL DCFS" or

   "DCFS"), a position I have held since February 1, 2024. I served as the Acting Director of IL

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   DCFS from February 2024 until March 21, 2024. On March 22, 2024, I was unanimously

   confirmed by the Illinois Senate as Director of [L DCFS. As Director of IL DCFS, I oversee

   the care, custody, and services to abused, neglected and dependent minors placed in DCFS's

   custody by Illinois Courts as well as programs provided to children and families at risk of

   coming into foster care.

2. Prior to holding this position, from December 2016 to February 2024, I served as the Director

   of the Illinois Department of Juvenile Justice where I oversaw the care, custody, and services

   provided to youth committed to that department by Illinois Courts. I was first appointed by

   Governor Bruce Reruner after having served from April 2014 to December 20 16 as the Deputy

   Director of Programs, responsible for the Department of Juvenile Justice's service array and

   rehabilitative model. From 2012 to 2014, l served as the Executive Director of the Illinois

   Juvenile Justice Commission, advising the Governor and the General Assembly regarding

   juvenile justice policy and practice and administering the State's federal grant funding under

   the Juvenile Justice and Delinquency Prevention Act.

3. I hold a bachelor's degree, cum laude, in psychology and history from Macalester College,

   completed Master's level studies in Social Psychology from Stony Brook University, and

   earned a Juris Doctor degree from the University of Chicago Law School.

4. I submit this Declaration in support of Plaintiff States' Motion for Preliminary Injunction

   pertaining to the Executive Order entitled "Protecting the Meaning and Value of American

   Citizenship" (the "Citizenship Stripping Order"). I have compiled the information of the

   matters set forth below through personal knowledge, my review of information and records

   gathered by staff, and through IL DCFS personnel who have assisted me in gathering this




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   information. I have also read the Citizenship Stripping Order in order to understand its

   immediate and long-term impact on IL DCFS and the State of Illinois.

                    Department of Childre_n and Fania Seryices Background

5. [L DCFS is the state agency mandated to investigate allegations of child abuse and neglect,

   maintain records regarding those investigations, and offer preventative and other services in

   Illinois. IL DCFS provides services to families at risk of having children enter foster care and

   to abused, neglected, and dependent youth who are placed in State custody and their families

   to address the issues that brought the family to the attention of the State with the goal of

   reunifying the families or providing alternative permanency living arrangements for youth. IL

   DCFS oversees the licensing and certification of relative and foster family homes for youth in

   the custody of the State and the licensing of other childcare institutions and placements for

   youth in DCFS care and custody. IL DCFS also provides early childhood care and education

   programs as part of the State's child welfare service system.

6. IL DCFS was created by the Children and Family Services Act "to provide social services to

   children and their families, to operate children's institutions, and to provide certain other

   rehabilitative and residential services as enumerated in this Act." 20 ILCS 50591. Those

   services include: ensuring the necessary number of placements and other resources of

   sufficient quality and variety to meet the needs of children and families, providing direct child

   welfare services through public or private childcare programs or facilities, which protect and

   promote the health, safety, and welfare of children, including abused and neglected children,

   and placing children who have been removed fi'om their parents in appropriate living

   arrangements .




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7. lL DCFS is also mandated to provide arrangements and monitor rehabilitative services for

   children and their families on a voluntary basis or who are under a court order. 325 ILCS 5»'8.4.

8. IL DCFS is a statewide agency that operates in all 102 counties in the State of Illinois. DCFS

   consists of a central office and four regions: Cook County, Northern, Central and Southern.

   Each region is divided into field service areas. The general statewide management and support

   functions of the agency are currently performed at the central office level.

9. IL DCFS contracts with community-based child welfare contributing agencies ("CWCA")

   throughout the State to provide services for children and families. These services include case

   management services for families and children who remain together and are at risk of coming

   into foster care.

10. IL DCFS directly and through CWCAs provides foster care and residential placement and other

   services to children and youth removed from their parents.

1 l. DCFS provides services regardless of a child's or family's immigration status.

12. DCFS supervised or administered foster care for 19,514 children in 2023. As of the end of the

   state fiscal year on June 30, 2024, DCFS supervised or administered foster care for 18,854

   children.

13. Children can enter IL DCFS's care at any time prior to their l 8th birthday. In State Fiscal Year

   2024 (July 1, 2023 to June 30, 2024) 6,252 children entered foster care. The breakdown of the

   ages of those children at the time they entered foster care is: 1,455 children were less than one

   year old, 1,942 children were between one year to five years old, 1,414 children were six to

   ten years old; 1,329 children were II to 16 years old, and l 12 were 17 years old.




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14. In calendar year 2024, 5,991 children entered foster care: 1,373 children were less than one

   year old, 1,827 were one year to five years old, 1,352 were six to ten years old, 1,308 were 1 I

   to 16 years old, and 131 of those children were 17 years old.

15. DCFS must timely identify the needs of children and youth placed in their custody and provide

   timely and appropriate services and placements to meet those identified needs and ensure

   children and youth in DCFS custody are cared for.

                       Eed_eral Funding Tied to a Child's Citizenship Status

16. Section 471 of the Social Security Act provides that for a state to obtain foster care maintenance

   payment reimbursements for a child in foster care, the State Plan must set forth that the state

   has procedures in effect for verifying the citizenship or immigration status of the child. 42

   U.S.C. 671 (3)(27).

17. IL DCFS receives several sources of federal funding for providing services to children that are

   contingent on the child's immigration status. DCFS receives federal finding for providing

   services to eligible children, children that are a U.S. citizen or a "qualified alien." DCFS does

   not receive federal funding for providing similar services to children who are undocumented.

18. Prior to the enactment of the Citizenship Stripping Order, DCFS received federal funding for

   providing services to income-eligible children including those whose parents' immigration

   status was unknown or not determined.

19. If the Executive Order is implemented, IL DCFS will not receive the same level of federal

   funding for the provision of services to children even though it will continue to provide the

   same services to children regardless of their immigration status, as required by State law.

20. DCFS would also have to use its limited resources (resources that would otherwise directly

   provide for the care of youth) to create, implement, and update systems for all its programs to



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    track and determine the citizenship status of newborn children entering its care, even if the

   immigration status of a child's parents is unknown or indeterminable.

2 l. Title IV-E of the Social Security Act ("Title lV-E") requires the federal government to provide

   grants to state foster care agencies with approved Title IV-E plans, including IL DCFS, to

   assist those agencies with the costs of foster care maintenance for eligible children, as well as

   for adoption, guardianship, prevention, and other support services.

22. Title IV-E entitles Illinois to claim partial reimbursement from the federal government for lL

   DCFS's foster care expenditures for children who are removed from a home and placed in

   foster care     who meet the eligibility criteria for the former Aid to Families with Dependent

   Children ("AFDC") program, as it was in effect on July 16, 1996.

23. The 1996 AFDC program also limits federal public benefits to United States citizens and

   "qualified aliens." As IL DCFS understands the Title IV-E limitations independently, cf 8

   U.S.C. § 1641, and per the AFDC criteria, children who are undocumented are not "qualified

   aliens," and thus DCFS does not receive any federal reimbursement for its foster care

   expenditures for those children.

24. Federal finding under Title [V-E covers foster care maintenance payments for eligible children

   and provides for partial reimbursement of the State's administrative expenses associated with

   its foster care system. Foster care maintenance payments cover the cost of basic necessities,

   including food, clothing, shelter, daily supervision, and school supplies for eligible children in

   DCFS's care. Federal funding is provided on a quarterly basis alter the State submits claims

    for eligible expenditures associated with eligible children.

25. Partial reimbursement of DCFS's administrative expenses is calculated by using the State's

   "penetration rate" or "eligibility rate," which is the percentage of children in foster care who



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   are eligible for Title IV-E funding. This loosely equates to the percentage of children in foster

   care who came from families with limited resources. That rate describes the percentage of Title

   IV-E eligible children DCFS serves, compared against the total number of children in DCFS's

   foster care, pursuant to the definition of foster care in 45 CFR 1355.20. IL DCFS must calculate

   a penetration rate for each quarter. For federal Fiscal Years 2023 and 2024, IL DCFS's

   penetration rate was between 26 and 34 percent: for those years, federal funds covered

   approximately 26 to 34 percent of the administrative expenses associated with DCFS's

   provision of foster care for eligible children.

26. In Federal Fiscal Year 2024, IL DCFS received almost $140 million in Title IV-E federal

   funding for administrative expenses and foster care maintenance payments for eligible

   children.

27. Title IV-E federal funds also include funding for the Adoption Assistance Program, which

   facilitates the timely adoption of children with special needs or circumstances. Under federal

   law, DCFS receives Title IV-E funding for administering the Adoption Assistance Program,

   including assessing a child's eligibility for DCFS care, conducting hearings and appeals, and

   recruiting adoptive homes for identified children, among other administrative functions.

28. Based on DCFS's experience, it is very likely that DCFS serves U.S. citizen children with

   parents whose status would disqualify their child from birthright citizenship under the

   Citizenship Stripping Order. In calendar year 2024, 1,373 children entered foster care in

   Illinois in the first year of their lives. Those children were eligible for inclusion in the tabulation

   of federal funding received by IL DCFS, but children with parents of disqualifying status

   would be ineligible for inclusion in that tabulation under the Citizenship Stripping Order.




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29. If children born to undocumented parents in lilinois who require foster care services were not

   given citizenship status as of birth, thereby becoming undocumented, IL DCFS would,

   consistent with state law, including the Children and Family Services Act, 20 ILCS 505, the

    Abused and Neglected Child Reporting Act, 325 ILCS 5; and the Illinois Juvenile Court Act,

   705 ILCS 405, and the terms of the Consent Decree entered in B.H. v. Mueller, 88-cv-5599

   (N.D. Ill. Dec. 20, 199 I) continue to provide these children with foster care services as needed.

    However, because those children would be ineligible for Title IV-E funding, DCFS would not

   receive any reimbursement from the federal government under Title IV-E for providing those

   services. DCFS, and Illinois would be solely responsible for funding care for those children

   via its foster care and adoption systems.

30. Given all that, if the Citizenship Stripping Order took effect, IL DCFS would not receive a

   significant share of federal funds under Title IV-E based on the exclusion of children who are

    undocumented from the calculation of IL DCFS's expected federal funding.

                             Costs of Ascertaining Citizenship Status

31. DCFS needs to determine the citizenship status of the children it serves in order for Illinois to

   accurately obtain quarterly Title IV-E reimbursements from federal sources for foster care

    services provided to eligible children. Children are only eligible for the afore-listed programs

   and services if they are U.S. citizens or "qualified aliens."

32. Prior to the issuance of the Citizenship Stripping Order, IL DCFS relied on a child's birth

   certificate as evidence of U.S. citizenship. This is administratively simple, especially with

    respect to newborns that DCFS caseworkers may interact with shortly after birth.




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33. lf birthright citizenship were terminated and DCFS could not rely on a child's birth certificate

   as proof of citizenship, it would significantly complicate DCFS's ascertainment of certain

   foster care services provided for that child that are reimbursable under Title IV-E.

34. To ascertain eligibility stemming from citizenship, DCFS caseworkers would have to develop

   a new system for determining the citizenship and immigration status of children entering its

   care. That system would likely require DCFS to take steps to determine, verify, and document

   the immigration status of the parents of children who come into foster care. It would cost

   considerable time and resources to implement such a system. This would be especially difficult

   in certain circumstances where parents are unwilling to engage with DCFS. DCFS would also

   incur significant costs to train DCFS caseworkers to implement that system.

35. While the precise costs are difficult to estimate without further guidance from the federal

   government on how states must determine citizenship status for federal benefits and Title IV-

   E eligibility, it could easily cost millions of dollars. Because quarterly submissions to the

   federal government for Title IV-E reimbursements are due at the end of April 2025, DCFS

   would have to develop and begin implementing such a system immediately, which may not be

   possible in the short timeframe.

36. Developing such a system to ascertain a child's citizenship status would also divert DCFS's

   limited resources from providing services to at risk children in Illinois to the detriment of

   children that benefit from a variety of DCFS's programs.

37. Separately, DCFS occasionally takes temporary custody of newborn children who have been

   abandoned, such as pursuant to Illinois's Abandon Newborn Infant Protection Act. (Protection

   Act), 325 ILCS 2J'l-70. The parents of such abandoned children may be unknown, and DCFS




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   would therefore be unable to ascertain their eligibility for the above-mentioned federal

   programs.

38. Indeed, if a newborn is abandoned pursuant to the Protection Act, Illinois law permits an

   individual relinquishing a newborn infant to remain anonymous, absent any evidence of abuse

   or neglect of the child. 325 ILCS 2/30. DCFS could therefore be prevented from being able to

   determine the immigration status of the abandoned newborn's parents unless that information

   were volunteered.

39. Consequently, DCFS would be unable to establish that abandoned newborns are U.S. citizens

   eligible for Title IV-E reimbursement for DCFS-regardless of the actual immigration status

   of the newborn's parents. In summary, the Citizen Stripping Order will have an immediate and

   detrimental effect on the operations and finances of IL DCFS and harm the vulnerable youth

   and families we serve.



I declare under penalty ofperj ury that the foregoing is true and correct to the best of my knowledge.



Executed this 27/' day of January 2025, in Chicago, Illinois.TI



                                                      Heidi E. Mueller
                                                      Director
                                                      IL Department of Children and Family
                                                      Services
                                                      60 East Van Buren Street
                                                      Suite 1339
                                                      Chicago, Illinois 60605
                                                      Heidi.MLleller{@Illinois.2.ov




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                              UNITED STATES DISTRICT COURT
8                            WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
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     STATE OF WASHINGTON; STATE OF                      NO. 2:25-cv-00127-JCC
10   ARIZONA; STATE OF ILLINOIS; and
     STATE OF OREGON,
11                                                      DECLARATION OF
                               Plaintiffs,              MOZHDEH OSKOUIAN
12
        v.
13
     DONALD TRUMP, in his official capacity
14   as President of the United States, U.S.
     DEPARTMENT OF HOMELAND
15   SECURITY; KRISTI NOEM, in her official
     capacity as Secretary of Homeland Security,
16   U.s. SOCIAL SECURITY
     ADMINISTRATION; MICHELLE KING,
17   in her official capacity as Acting
     Commissioner of the Social Security
18   Administration, U.S. DEPARTMENT OF
     STATE; MARCO RUBIO, in his official
19   capacity as Secretary of State, U.S.
     DEPARTMENT OF HEALTH AND
20   HUMAN SERVICES; DOROTHY PINK,
     in her official capacity as Acting Secretary
21   of Health and Human Services, U.S.
     DEPARTMENT OF JUSTICE; JAMES
22   MCHENRY, in his official capacity as
     Acting Attorney General, U.S.
23   DEPARTMENT OF AGRICULTURE;
     GARY WASHINGTON, in his official
24   capacity as Acting Secretary of Agriculture,
     and the UNITED STATES OF AMERICA,
25
                               Defendants .
26


     DECLARATION OF                                 1            ATTORNEY GENERAL OF WASHINGTON
                                                                         Civil Rights Division
     MOZHDEH OSKOUIAN                                                 800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127-JCC                                           Seattle, WA 98104
                                                                             (206) 464-7744
                                                                               Supp.Add.394
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 1                           DECLARATION OF MOZHDEH OSKOUIAN
2           I, Mozhdeh Oskouian, declare as follows:
 3          1.      I am over the age of 18, competent to testify as to the matters herein, and make
4    this declaration based on my personal and professional knowledge.
 5          2.      I am an attorney at law, admitted in the State of Washington and currently
 6   employed by Northwest Immigrant Rights Project (NWIRP) as its co-Deputy Director. I have
 7   worked as an immigration attorney at NWIRP for the last nineteen years. From December of
 8   2005 to July of2006, I worked as a Staff Attorney in the Violence Against Women Act (VAWA)
 9   Unit. From July of 2006 until mid-2015 I supervised the VAWA Unit. From 2015 until June
10   2023, I was the directing attorney of NWIRP's Seattle office. I became one of NWIRP's co-
11   Deputy Directors in June of 2023, and continue serving in this role. In this role, I supervise
12   NWIRP's Seattle and Granger offices and supervise all the work done by NWIRP's attorneys on
13   behalf of our clients
14          3.      Northwest Immigrant Rights Project (NWIRP) is a nonprofit organization that
15   serves low-income immigrants in Washington State through direct representation, community
16   education, and systemic advocacy. NWIRP provides direct legal representation and assistance
17   in immigration matters to thousands of people with low incomes each year who come from over
18   150 countries and speak over 60 different languages. NWIRP is also the largest provider of legal
19   services to persons in immigration proceedings in Washington. NWIRP is a trusted provider of
20   immigration-related community education for immigrant communities and social service
21   providers. NWIRP serves the community through four offices in Washington State in Granger,
22   Seattle, Tacoma and Wenatchee.
23          4.      I have extensive experience on cases focusing on immigrant rights. I have
24   represented over a hundred immigrants before the Immigration Court, the Board of Immigration
25   Appeals and the Federal Courts. I have also represented hundreds of clients with various forms
26   of immigration applications before United States Citizenship and Immigration Services,

     DECLARATION OF                                  2              ATTORNEY GENERAL OF WASHINGTON
                                                                            Civil Rights Division
     MOZHDEH OSKOUIAN                                                    800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127-JCC                                              Seattle, WA 98104
                                                                                (206) 464-7744
                                                                                  Supp.Add.395
           Case 2=9€§%-8819/7-38818'6%%3m'%'9Fé'l'Y' 98d 8886/7'2%3 ofF>4a38e 3 of 8




 1   including applications for family visas, naturalization, VAWA forms of relief, temporary
2    protected status, asylum, and administrative appeals.
 3          5.      I have reviewed the Executive Order "Protecting the Meaning and Value of
4    American Citizenship" signed by President Trump on January 20, 2025. The order purports to
 5   strip citizenship from persons born in the United States to l) a mother with undocumented status
 6   and father without U.S. citizenship or permanent residency, or to 2) a mother with temporary
 7   status and father without U.S. citizenship or permanent residency. As a result of the Order, these
 8   children will lack citizenship or any legal immigration status at birth. The Immigration and
 9   Nationality Act (INA) does not provide any alternative legal status to persons bom in the United
10   States. Moreover, under the INA the vast majority of persons subject to the Order will have no
11   pathway to even apply for lawful status in the United States. This is true not only at the time of
12   their birth, but also throughout the course of their lifetime. Instead, they will grow up and live
13   undocumented, forced to remain in the legal shadows of the country they were bom in.
14          6.      The INA provides two primary paths to lawful permanent residence-family
15   visas and employment visas, but neither path is available for the overwhelming majority of
16   undocumented newborns whose parents are not U.S. citizens or lawful permanent residents. The
17   Order targets those persons whose parents are not U.S. citizens or lawful permanent residents.
18   Under the Immigration and Nationality Act, only U.S. citizens and lawful permanent residents
19   are eligible to file family visa petitions for their children. Thus, none of the parents of persons
20   targeted by the Order are eligible to file family visa petition for their newborn children.
21   Moreover, even if later in life they become eligible for a family visa petition, for example by
22   marrying a U.S, citizen, they would be ineligible to apply for adjustment of status to lawful
23   permanent resident status. This is because in order to apply for adjustment of status a person
24   must demonstrate that they have been "inspected and admitted or paroled into the United States."
25   See 8 U.S.C. § 1255(a). Because these persons were born in the United States, they have never
26


     DECLARATION OF                                    3              ATTORNEY GENERAL OF WASHINGTON
                                                                              Civil Rights Division
     MOZHDEH OSKOUIAN                                                      800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127-JCC                                                Seattle, WA 98104
                                                                                  (206) 464-7744
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           Case 2=9€§%-8819/7-38818'6%%3m'%'9Fé'l'Y' 98d 8?&e/f2(l54 0f.F>4a38e 4 of 8




 1   been inspected and admitted or paroled into the United States, which is a statutorily required
2    element to apply for adjustment of status .
 3          7.      Further, persons living without legal status cannot simply travel abroad and be
4    admitted upon their return, as they are not authorized to reenter the United States if they have no
 5   status. See 8 U.S.C. § ll82(a)(7) (rendering persons ineligible to be admitted into the United
 6   States if they do not have lawful immigration status). The beneficiary of a visa petition filed by
 7   a U.S. citizen spouse may instead apply for a visa at a U.S. embassy or consulate in a foreign
 8   country, but this is a lengthy process that would require them to be admitted into the foreign
 9   country for a significant period of time. Moreover, because they have been living without status
10   in the United States, they will inevitably be subject to what is referred to as the 10 year bar for
11   having departed after living without status for more than one year in the United States. See 8
12   U.S.C. § ll82(a)(9)(B)(ii). As a result they would not be granted permission to return to the
13   United States for at least ten years, unless they were granted a discretionary waiver. Id. Waivers
14   are only available to those who can establish that "the refusal of admission to such immigrant
15   alien would result in extreme hardship to the citizen or lawfully resident spouse or parent." 8
16   U.S.C. § ll82(a)(9)(B)(v). The waiver does not take into account the extreme hardship to the
17   person, but instead only weighs the hardship caused to the U.S. citizen or lawful permanent
18   resident spouse or parent. Notably, these waivers generally take more than a year to be approved.
19   In the meantime, the person is left to languish in the foreign country with no assurance that the
20   discretionary waiver will ultimately be granted. Finally, it is important to note that this difficult
21   process is not even available for all the persons who are not married to U.S. citizens or lawful
22   permanent residents.
23           8.     Persons targeted by this Order would also be ineligible to obtain lawful
24   permanent resident status through employment visa petitions because even if they eventually
25   graduate from college with a specialized skill required for employment visas, and are offered
26   qualifying employment, they would similarly be ineligible to adjust status because they were not


     DECLARATION OF                                     4               ATTORNEY GENERAL OF WASHINGTON
                                                                                Civil Rights Division
     MOZHDEH OSKOUIAN                                                        800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127-JCC                                                  Seattle, WA 98104
                                                                                    (206) 464-7744
                                                                                      Supp.Add.397
           Case 2=9€§%-8819/7-38818'6%%3m'%'9Fé'l'Y' 98d 8886/7955 ofF>4a38e 5 of 8




 1   inspected and admitted or paroled into the United States, as required by 8 U.S.C. § l255(a).
2    Moreover, they face an additional bar: because they would not have status they would be
 3   independently barred by 8 U.S.C. § l255(c), which renders a person ineligible who "accepts
4    unauthorized employment prior to filing an application for adjustment of status or who is in
 5   unlawful immigration status on the date of filing the application for adjustment of status."
 6   Finally, most would not qualify to even apply for an employment visa through an embassy or
 7   consulate abroad because as noted above, persons who depart the United States and who have
 8   lived without status in the United States for more than a year are rendered inadmissible for ten
 9   years, 8 U.S.C. § ll82(a)(9)(B)(ii), and most will not have a qualifying relative to even apply
10   for the discretionary waiver.
11          9.      Because the INA does not provide an alternative legal status to persons born in
12   the United States who are not U.S. citizens, children stripped of citizenship by the Order and left
13   undocumented will be at immediate risk of removal from the United States. This includes being
14   at risk of being arrested and detained by Immigration and Customs Enforcement, even while
15   they go through the removal (i.e., deportation) process. If placed in removal proceedings, most
16   will not qualify for any immigration status. The most common form of relief from removal for
17   persons who have no lawful status is to apply for cancellation of removal. See 8 U.S.C. § l229b.
18   However, they would not qualify for the first type of cancellation, § l229b(a), as that only
19   provides relief for persons who have already been granted lawful permanent residence. The vast
20   majority would not qualify for the second type of cancellation, §l229b(b)(l), as that is only
21   available for persons who have been continuously residing in the U.S. for at least ten years and
22   are able to demonstrate that their removal would cause "exceptional and extremely unusual
23   hardship" to either a U.S. citizen or lawful permanent resident spouse, parent or child. See 8
24   U.S.C. § l229b(b)(l)(D). Even if these persons were not placed in removal proceedings until
25   after ten years had passed, the vast majority would not have a qualifying relative, i.e., U.S. citizen
26   or lawful permanent resident spouse, parent or child. And even those with a qualifying relative


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 1   must demonstrate that it causes the qualifying relative not just hardship, but "exceptional and
2    extremely unusual hardship," an extremely difficult standard to satisfy. Indeed, to reinforce the
 3   difficult standard the statute placed a numerical limit so that no more than 4,000 people may be
4    granted cancellation of removal in any given year. See 8 U.S.C. § l229b)(e)(l).Our office
 5   represents many undocumented persons in removal proceedings who have a qualifying relative
 6   and are statutorily eligible to apply for cancellation of removal under 8 U.S.C. § l229b(b)(l),
 7   and who present compelling equities-including demonstrating family separation and the loss
 8   of a parent where a child has physical or mental disabilities. Yet immigration judges regularly
 9   deny such applications finding the hardship they present is similar to the hardship of hundreds
10   of other undocumented persons who are ordered removed each week.
11          10.     While there are other limited forms of immigration relief, they only apply to a
12   small section of the population. For example, asylum is only available to persons who
13   demonstrate a well-founded fear of persecution on account of a protected ground (race, religion,

14   nationality, membership in a particular social group or political opinion). See 8 U.S.C. §§
15   llOl(a)(42), 1158. In my experience undocumented persons who have not already lived in the
16   country where they fear persecution are highly unlikely to qualify as they will not be able to
17   demonstrate objective evidence that they will individually be targeted despite having no past
18   persecution. Special Immigrant Juvenile Visas are only available for children who have been
19   abandoned, abused or neglected by a parent. 8 U.S.C. § llOl(a)(27)(J)(i). Similarly, U visas are
20   only available for persons who have been the victim of enumerated crimes that caused substantial
21   harm, and subsequently cooperated with the investigation or prosecution of the crime. See 8
22   U.S.C. § llOl(a)(l5)(U). The vast majority of persons subject to the Order will remain without
23   any path to lawful immigration status. Instead, they will be forced to remain undocumented,
24   living in fear of any encounter with public officials. In my experience working directly with
25   clients living without legal immigration status, the fear of detention and deportation is
26   profoundly detrimental to their wellbeing and the ability to fully integrate into their communities.


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 1   Our clients are often afraid to call the police or the fire department, as they have heard of others
2    who ended up being reported to immigration after calling such authorities. Some clients are even
 3   afraid of taking their children to the hospital, or interacting with school officials.
4            11.     In most states undocumented persons have no right to apply for a driver's license .
 5   Even in Washington State, they will not be eligible for REAL ID-compliant identification, which
 6   starting in May 2025 will be required for domestic air travel. Their ability to travel even within
 7   the United States will be severely limited. Many clients live in fear of interactions with
 8   immigration officials at airports or bus stations.
 9           12.    Undocumented persons are not eligible to obtain an employment authorization
10   document (EAD) or a Social Security number, both necessary to work lawfully for those who
11   cannot prove citizenship or lawful permanent residency. Undocumented individuals are not
12   eligible for work authorization under any of the avenues available under the INA. See 8 C.F.R.
13   § 274a.l2. Because of this they face a much higher likelihood of being exploited by employers
14   who krlow they face difficulty in finding employment. Over the years I have worked with
15   countless clients where employers have withheld their last paycheck or denied them overtime
16   because the employers are confident that undocumented persons, fearing innnigration
17   enforcement, will not report the employer's unlawful conduct.
18           13.     The order will exponentially increase the undocumented population in
19   Washington State. As the largest provider of immigration legal services in Washington,
20   NWIRP's services are already in high demand. Even with a staff of over 180, we are unable to
21   meet the needs of the majority of immigrant community members who contact us seeking
22   representation. The majority of persons placed in removal proceedings are forced to represent
23   themselves, and must stand alone against an ICE attorney before the immigration judge.
24   Similarly, for persons not in removal proceedings we are not able to represent everyone who
25   seeks our assistance. Instead we use waitlists for most types of affirmative relief The Order
26   would add thousands of additional undocumented children in Washington who will at some point


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 1   likely need legal representation. This will stretch the already full capacity of NWIRP and other
2    immigration legal providers in Washington
 3          14.     We have already received phone calls from worried parents who ask whether their
4    children will now lose their citizenship and whether they should pull their children out of school,
 5   or whether they should withdraw from WIC or cut off food stamps for their children. Many
 6   parents have sacrificed so much of their lives in order to find stability and safety for their
 7   children. Now they are distraught knowing that their children potentially face a lifetime of
 8   uncertainly, hiding in the shadows, limited to an underground economy which has caused the
 9   parents so much pain in their lifetime. Many have explained that their children have nowhere to
10   go in their home country, talking about how difficult it would be for their children, many who
11   do not even speak, read and write in the language of their parents' home country.
12          15.     It is very difficult to respond to these inquiries other than ensuring them that the
13   U.S. Constitution and the Supreme Court of this Country have made clear, for more than a
14   century, that their children who are born in the United States, are entitled to citizenship,
15   regardless of the fact that the parents have no lawful status.
16

17          I declare under penalty of perjury under the laws of the State of Washington and the
18   United States of America that the foregoing is true and correct.
19

20          DATED and SIGNED this 27th day of January 2025, at Seattle, Washington.

21

22
                                                    MOZHDEH OSKOUIAN
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     DECLARATION OF                                    8                ATTORNEY GENERAL OF WASHINGTON
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1                                                      The Honorable Judge John C. Coughenour
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 7
 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
10   STATE OF WASHINGTON, et al. ,                    NO. 2:25-cv-00127-JCC
11                             Plaintiffs,
                                                      REPLY IN SUPPORT OF PLAINTIFF
12      v.                                            STATES' MOTION FOR
                                                      PRELIMINARY INJUNCTION
13   DONALD TRUMP, in his official capacity
     as President of the United States, et al. ,      NOTE ON MOTION CALENDAR:
14                                                    FEBRUARY 6, 2025
                               Defendants.
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     REPLY IN SUPPORT OF PLAINTIFF                               ATTORNEY GENERAL OF WASHINGTON
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 1                                      I.         INTRODUCTION
2            Defendants' opposition fails to rebut what the Plaintiff States have shown: Defendants
 3   should be enjoined from implementing the Citizenship Stripping Order on a nationwide basis.
4    Anything less will result in direct, substantial, and irreparable harm to the Plaintiff States and
 5   their residents. It would also return the Nation to a shameful episode of our history in which
 6   entire classes of people bom on American soil are treated as undeserving of inclusion in
 7   American civic life. That is the approach to citizenship embodied in Died Scott that the people
 8   and the states rejected in ratifying the Fourteenth Amendment. It is "undeniable," the Supreme
 9   Court has said, that the Citizenship Clause's drafters "wanted to put citizenship beyond the
10   power of any governmental unit to destroy." Afroyim v. Rusk, 387 U.S. 253, 263 (1967). The
11   Plaintiff States ask the Court to honor the Fourteenth Amendment's promise and keep birthright
12   citizenship beyond the power of the Administration to destroy.
13                                           II.    ARGUMENT
14   A.     The Court Has Authority to Declare the Citizenship Stripping Order Unlawful and
            Enjoin Its Implementation
15
            Defendants first challenge the Plaintiff States' standing and otherwise argue that the
16
     Citizenship Stripping Order should be shielded from judicial scrutiny. ECF No. 84 (Opp.) at 7.
17
     But the Plaintiff States have offered undisputed evidence that the Order will directly harm their
18
     legally protected interests, causing harm that is actual or imminent, "fairly traceable" to the
19
     Order, and redressable by an injunction. See Dep 't of Com. v. New York, 588 U.S. 752, 766-67
20
     (2019). Specifically, the Plaintiff States' sovereign and pecuniary interests will be immediately
21
     harmed as a direct result of the Order's attempted denial of citizenship to thousands of the
22
     Plaintiff States' residents. ECF No. 63 (States' Mot.) at 6-9. Defendants wave away these harms
23
     as too indirect or self-inflicted, but their assertions ignore governing law and the facts presented.
24
     Nor do Defendants' remaining procedural complaints hold water.
25

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 1           1.      The Plaintiff States have standing to protect their sovereign interests
2            Defendants do not dispute that the Plaintiff States have a sovereign interest in protecting
 3   their "power to create and enforce a legal code, both civil and criminal[.]" Awed L. Snapp &
4    Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 601 (1982), see also Maine v. Taylor, 477
 5   U.S. 131, 137 (1986) ("[A] State clearly has a legitimate interest in the continued enforceability
 6   of its own statutes."). Nor do they dispute that the Plaintiff States are injured if thousands of
 7   residents are suddenly immune from state regulatory jurisdiction. Their only response is the
 8   conclusory assertion that the Citizenship Stripping Order "has no effect on the states' ability to
 9   'create and enforce a legal code.'" Opp. at 11. But that is plainly wrong. Under the Citizenship
10   Stripping Order, thousands of state residents will be deemed not subject to the jurisdiction of the
11   United States, directly injuring the Plaintiff States' "'sovereign interest' in the retention of [their]
12   authority" to regulate individuals within their borders. Washington v. U.S. Food & Drug Adn1in.,
13   108 F.4th 1163, 1176 (9th Cir. 2024).
14           Moreover, many of the Plaintiff States' constitutions and laws rely on the settled meaning
15   of "United States citizen." This includes laws requiring citizenship to vote in state elections,
16   serve on state juries, hold local offices, and serve as a police or corrections officers. See, eg.,
17   Wash. Const. art. VI, § 1 (right to vote in state elections), Ariz. Const. art. VII, § 2 (same), Or.
18   Const. art. II, § 2 (same), Ill. Const. art III, § 1 (same), Wash. Rev. Code § 2.36.070 (juror
19   qualifications), Ariz. Rev. Stat. § 21-201(1) (same), Or. Rev. Stat. Ann. § 10.030(2) (same), 705
20   Ill. Comp. Stat. 305/2(a) (same), Ariz. Const. art. V, § 2 (eligibility to hold certain state offices),
21   Ill. Const. art. V, § 3 (same), Or. Rev. Stat. Ann. §§ 181A.490, .520 .530 (qualifications for
22   police, corrections, and probation officers).
23           As a result of the Citizenship Stripping Order, the meaning of "citizen" for purposes of
24   these state laws is suddenly "endangered and rendered uncertain." Ohio ex rel. Celebrezze v.
25   U.S. Dep't of Transp., 766 F.2d 228, 233 (6th Cir. 1985). If federal citizenship changes, the
26   Plaintiff States will need to re-evaluate these state laws and decide whether state voting rights,


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 1   state jury service, and more should turn on a state-specific definition of "citizenship." See Texas
2    v. United States, 787 F.3d733, 749 (5th Cir. 2015) (federal "pressure to change state law in some
 3   substantial way," including "laws [that] exist for the administration of a state program,"
4    constitutes a sovereign injury), Wyoming ex rel. Crank v. United States, 539 F.3d 1236, 1242
 5   (10th Cir. 2008) (federal action gives rise to sovereign standing where it "preempts state law" or
 6   "interferes with [a state's] ability to enforce its legal code"), Alaska v. U.S. Dep't of Transp.,
 7   868 F.2d 441, 443-44 (D.C. Cir. 1989) (federal rule's "preemptive effect" on "construction of
 8   state laws" is sufficient for sovereign standing). The Plaintiff States easily have sovereign
 9   standing here.
10          2.        The Plaintiff States have standing to protect their pecuniary interests
11          Defendants' attempt to downplay the financial and administrative harms to the Plaintiff
12   States fares no better. They contend that under United States v. Texas, 599 U.S. 670 (2023), any
13   injury is too "indirect" and "downstream." They also make the laughable assertion that the
14   Plaintiff States' harm is "self-inflicted" because the States may simply withdraw from critical
15   federal-state programs like Medicaid, CHIP, Title IV-E, and SSA's Enumeration at Birth
16   program. Defendants are wrong for three reasons.
17          First, Defendants' position cannot be squared with the Supreme Court's decision in
18   Bider v. Nebraska, --- U.S. ---- 143 S. Ct. 2355, 2365-66 (2023). There, the Supreme Court held
                                     7



19   that Missouri had standing to challenge federal action cancelling student loans because a state
20   entity serviced loans under contract with the federal government and Missouri alleged the
21   challenged action would cost it millions in fees "it otherwise would have earned under its
22   contract." Id. at 2366. That harm was neither too indirect nor "self-inflicted," even though
23   Missouri was under no obligation to contract with the federal government to service student
24   loans. See id. at 2365-66. The Plaintiff States here face the same situation. States' Mot. at 6-9,
25   see also New York, 588 U.S. at 767 (holding that plaintiff states had standing where inclusion of
26   a citizenship question on the census would cause states to "lose out on federal funds that are


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 1   distributed on the basis of state population"), Cizy & Cnty. of San Francisco v. U.S. Citizenship
2    & Immigr. Servs., 981 F.3d742, 754 (9th Cir. 2020) (holding that states had standing to challenge
 3   federal action that would reduce the number of individuals eligible for federally backed programs
4    like Medicaid). The cases Defendants cite, Opp. at 8-10, involved generalized assertions
 5   regarding speculative future impacts and do not undercut the Plaintiff States' standing here.
 6          Second, Defendants' "indirect, downstream" harms argument relies on a single footnote
 7   in Texas taken out of context. Id. In that case, Texas and Louisiana asserted standing to challenge
 8   DHS 's guidelines setting forth discretionary immigration enforcement priorities. Texas, 599 U.S.
 9   at 674. The Supreme Court held that the states' injuries in the form of increased costs to
10   incarcerate and provide social services to non-citizens were not redressable because the judiciary
11   could not interfere in the exercise of Article II executive discretion, which courts generally lack
12   meaningful standards to review. Id. at 677-80. The Court did not disturb the district court's
13   conclusion that the states suffered cognizable injuries and no one "dispute[d] that even one
14   dollar's worth of harm is traditionally enough to 'qualify as concrete injury] under Article III.'"
15   Id. at 688 (Gorsuch, J., concurring) (citation omitted).
16          The Texas holding by its own terms was "narrow" and limited to the redressability
17   concerns of arrest and prosecutorial discretion policies. Id. at 683-84. Indeed, as the Ninth Circuit
18   has explained, Texas "pertained to prosecutorial inaction where the injury was not redressable"
19   and does not pose a barrier where, as here, an asserted injury is "more than merely speculative"
20   and will be redressed by the requested injunction. Nebraska v. So, 121 F.4th l, 13 n.5 (9th Cir.
21   2024). Other courts likewise have refused to accept the federal government's overbroad reading
22   of footnote 3. See, e.g., Texas v. Bureau ofAIcohol, Tobacco, Firearms, & Explosives, 737 F.
23   Supp. 3d 426, 435 (ND. Tex. 2024), Gen. Land Office v. Biden, 722 F. Supp. 3d 710, 723-24
24   (S.D. Tex. 2024). The Court should reject Defendants' strained reading here, too.
25           Third, Defendants' boundless "self-inflicted injuries" argument, Opp. at 10, has been
26   squarely rejected by the Ninth Circuit. See California v. Azar, 911 F.3d 558, 573-74 (9th Cir.


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 1   2018) (rejecting argument that state plaintiffs' economic injuries "will be self-inflicted because
2    the states voluntarily chose to provide money for contraceptive care to its residents through state
 3   programs" because "[c]ourts regularly entertain actions brought by states and municipalities that
4    face economic injury, even though those governmental entities theoretically could avoid the
 5   injury by enacting new legislation"). The Supreme Court's decision in Clapper v. Amnesty
 6   International USA, 568 U.S. 398, 417-18 (2013), which Defendants quote out of context, does
 7   not support their position, either. Clapper held that the domestic plaintiffs' voluntary actions
 8   based on subjective fears of possible government surveillance of foreigners were insufficient to
 9   confer standing because the alleged harm was not fairly traceable to the Government's purported
10   foreign surveillance activities. Id. The Supreme Court's "too many links in the chain" traceability
11   holding does not suggest that plaintiffs can suffer cognizable harm only when a federal law or
12   directive compels their action, as Defendants argue.1 Opp. at 10-11 .
13            Defendants' arguments, if accepted, would seal the courthouse doors shut to nearly all
14   plaintiffs. There is simply no way to reconcile Defendants' arguments with precedent. See
15   Nebraska, 143 S. Ct. at 2365-66 (lost fees sufficient despite Missouri's choice to enter student
16   loan market), New York, 588 U.S. at 766-67 (lost funding sufficient without concern for whether
17   states could withdraw from federally backed funding programs), City & Cnty. of San Francisco,
18   981 F.3d at 754 (same), see also City & Cnty. of San Francisco v. U.S. Citizenship & Immigr.
19   Servs., 944 F.3d 773, 788 (9th Cir. 2019) (rejecting DHS's reliance on Clapper where state
20   plaintiffs demonstrated disenrollment in public programs and rising administrative costs). The
21   questions the Court must answer are whether the Plaintiff States will suffer cognizable harm and
22   whether that harm will be redressed by an injunction. The answer to both is yes.
23

24

25
              1 Defendants also ignore that the Plaintiff States are obligated by law to care for wards within their custody.
     By inflicting pecuniary injuries on the Plaintiff States' programs, the Citizenship Stripping Order injures the
26
     Plaintiff States' sovereign interests in caring for children within their custody.


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 1            3.        The Plaintiff States have standing to bring challenges under the Citizenship
                        Clause
2
              Defendants next make a much bolder claim, arguing that the Plaintiff States can never
 3
     have standing to assert claims under the Citizenship Clause. Opp. at 11-12. The Fourteenth
4
     Amendment's text and history show otherwise.
 5
              The Citizenship Clause renders individuals born in the United States "citizens of the
 6
     United States and of the State wherein they reside." U.S Const. amend. XIV, § 1 (emphasis
 7
     added). This text squarely implicates the states, and the history of the Citizenship Clause is in
 8
     accord. In ratifying the Fourteenth Amendment, the states actively agreed to nationalize and
 9
     institutionalize the baseline rule of birthright citizenship. See, eg., Michael D. Ramsey,
10
     Originalism and Birthright Citizenship, 109 Geo. LJ. 405, 417 (2020) ("The Amendment also,
11
     by its plain language, nationalized the idea of citizenship: state citizenship was linked directly to
12
     national citizenship, and states would not have power to deny state citizenship to national citizens
13
     living within the state."), Kantor v. Wellesley Galleries, Lid., 704 F.2d 1088, 1090 (9th Cir.
14
     1983) (recognizing that the Fourteenth Amendment "broadened the national scope of the
15
     Government under the Constitution by causing citizenship of the United States to be paramount
16
     and dominant instead of being subordinate and derivative [to state citizenship]") (quoting
17
     Colgate v. Harvey, 296 U.S. 404, 427-28 (1935), overruled on other grounds, Madden v.
18
     Kentucky, 309 U.S. 83 (1940)). Because the Citizenship Clause's meaning directly affects the
19
     states, the Plaintiff States have a direct "stake in the outcome of the controversy." Warth v.
20
     Seldin, 422 U.S. 490, 498 (1975).2
21
22
              2
23               Defendants cite Wnrtn, but fail to note that the quoted portion, which purports to limit plaintiffs from
     raising claims that implicate the rights of others, is not part of the Article III analysis but rather a "limitation[]" that
24   is "essentially [a] matter[] of judicial self-govemance ...." 422 U.S. at 500. Since Wartn, the Supreme Court has
     clarified that so-called "prudential standing" is in tension with the principle that "a federal court's obligation to hear
25   and decide cases within its jurisdiction is virtually unflagging." Lexmark 1nt'l, Inc. v. Static Control Components,
     Inc., 572 U.S. 118, 125-26 (2014) (cleaned up), see also Sprint Commc'ns., Inc. v. Jacobs, 571 U.S. 69, 77 (2013)
     ("Federal courts, it was early and famously said, have 'no more right to decline the exercise of jurisdiction which is
26
     given, than to usurp that which is not given."') (citation omitted).


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 1            Defendants' cited cases stand at most for the principle that states cannot generally bring
2    parers patria claims against the federal government. See Opp. at 12-13 .3 But the Plaintiff States
 3   are not bringing parers claims here, and the law is clear that state standing may exist against the
4    federal government where the state is not proceeding as parers patria. For example, in South
 5   Carolina v. Katzenbach, 383 U.S. 301, 323-24 (1966), the Court explained "at the outset" that
 6   South Carolina would lack standing to challenge the Voting Rights Act of 1965 if it brought suit
 7   as "the parent of its citizens." But the Court did not dismiss South Carolina's lawsuit for lack of
 8   standing-it evaluated the state's Fifteenth Amendment claims on the merits. Id. at 325-37. That
 9   was so even though the Fifteenth Amendment speaks to "[t]he right of citizens of the United
10   States to vote," and does not expressly assign rights to the states. U.S. Const. amend. XV, § 1.
11   But, of course, the challenged federal action did affect South Carolina-it "temporarily barred
12   [the state] from enforcing the [literacy test] portion of its voting laws." Katzenbach, 383 U.S. at
13   319. Accordingly, South Carolina had standing. Id. at 334-37.
14            The same is true of Haaland v. Bracken, 599 U.S. 255 (2023). See Opp. at 12-13. In
15   Bracken, Texas brought an equal protection challenge to the Indian Child Welfare Act. Id. at
16   294-95. As Defendants correctly cite, the Court held that Texas could not "assert equal protection
17   claims on behalf of its citizens" as "parers patria." Id. (citing Snapp, 458 U.S. at 610 n.l6).
18   But the analysis did not end there. The Court separately considered whether Texas had "alleged
19   costs" that were "fairly traceable" to the challenged federal statute. Id. at 296. Although Texas
20   failed to make an adequate showing of financial harm to the state, that analysis would have been
21   irrelevant if states never have standing to bring Fourteenth Amendment claims. The rule is that
22   parers patria claims are off limits where states do not identify a separate harm to their own
23   interests, but claims based on a "direct pocketbook injury" are fair game. Id. Because the Plaintiff
24   States have demonstrated sovereign injuries and concrete, direct funding losses as a result of the
25
               3 Of course, the Plaintiff States' considerable evidence of the harms to their residents from the Citizenship
     Stripping Order are squarely relevant to the Court's consideration of the "balance of equities" and the "public
26
     interest," two mandatory Winter factors that Defendants essentially ignore. See Opp. at 44.


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 1   Order-tens of thousands of dollars that will be lost under contracts with SSA and millions in
2    lost Medicaid, CHIP, and Title IV-E funding-the Plaintiff States have standing.
 3          4.      The Plaintiff States can obtain declaratory and injunctive relief directly
                    under the Fourteenth Amendment and the INA
4
            The final procedural barrier Defendants assert is a passing argument that the Plaintiff
 5
     States "lack a cause of action." Opp. at 15-17. But it is well established that plaintiffs who have
 6
     demonstrated Article III standing, including states, can obtain prospective declaratory and
 7
     injunctive relief to prevent unlawful and ultra wires federal action that violates the Constitution
 8
     and federal statutes. See, et., City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1233-35
 9
     (9th Cir. 2018) (affirming judgment in favor of local government plaintiffs on ground that
10
     Executive Order was an unconstitutional violation of the separation of powers), Washington v.
11
     Trump, 847 F.3d 1151, 1164-65 (9th Cir. 2017) (denying motion to stay injunction that barred
12
     Executive Order's enforcement or implementation where Washington was likely to prevail on
13
     constitutional due process claims), Karnoski v. Trump, No. C17-1297-MJP, 2017 WL 6311305,
14
     at *7-9 (W.D. Wash. Dec. 11, 2017) (enjoining enforcement of President Trump's Presidential
15
     Memorandum excluding transgender individuals from the military where Washington and
16
     individual plaintiffs asserted claims under the First and Fifth Amendments) .
17
            Indeed, $6[t]he ability to sue to enjoin unconstitutional actions by state and federal officers
18
     is the creation of courts of equity, and reflects a long history of judicial review of illegal
19
     executive action." Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015), see also
20
     Sierra Club v. Trump, 929 F.3d 670, 694, 696-97 (9th Cir. 2019) ("The Supreme Court has 'long
21
     held that federal courts may in some circumstances grant injunctive relief against' federal
22
     officials violating federal law.") (quoting Armstrong, 575 U.S. at 326-27). The Court likewise
23
     has authority to declare even duly enacted laws unconstitutional under the Citizenship Clause.
24
     See Afroyim, 387 U.S. at 254-67 (federal statute that stripped citizenship under certain
25
     circumstances violated the Citizenship Clause).
26


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 1          None of Defendants' authority, see Opp. at 15-17, stands for the extraordinary
2    proposition that the Court is powerless to review the legality of the Citizenship Stripping Order.
 3   The only case Defendants cite, DeVillier v. Texas, 601 U.S. 285, 291 (2024), dealt with the
4    availability of a cause of action for damages against the federal government under the Fifth
 5   Amendment's Takings Clause. It said nothing to suggest that plaintiffs cannot seek declaratory
 6   and injunctive relief-equitable relief-to prevent constitutional violations. Id. at 292. It in fact
 7   recognized the opposite. Id. That makes sense because it is "beyond question that the federal
 8   judiciary retains the authority to adjudicate constitutional challenges to executive action."
 9   Washington, 847 F.3d at 1164.
10          For the same reasons, the INA provision that allows individuals already denied certain
11   discrete benefits to pursue declaratory judgment lawsuits, 8 U.S.C. § 1503, presents no barrier
12   to the Plaintiff States' claims. Defendants cite no authority for the proposition that this provision,
13   which says individuals "may" bring a declaratory judgment action, somehow shields from
14   judicial review the Executive Branch's rewriting of the Fourteenth Amendment to declare entire
15   classes ofU.S.-bom individuals to be non-citizens. Opp. at 16-17. And even when provisions of
16   the INA purport to restrict judicial review, the Supreme Court has interpreted limitations
17   narrowly. See Dep 't of !-Iomeland Sec. v. Regents of the Univ. of Cal., 591 U.S. 1, 19 (2020).
18   Courts can and do entertain challenges to executive action that violates the constitution and
19   federal statutory provisions. See Trump v. Hawaii, 585 U.S. 667, 683 (2018) (reviewing states'
20   claims that presidential restriction on immigration violated INA), Sierra Club, 929 F.3d at 699
21   ("Here, no statute expressly makes Plaintiffs' claims reviewable, but, as we have explained,
22   Plaintiffs do have an adequate remedy in a court: an equitable cause of action for injunctive
23   relief."), Murphy Co. v. Bider, 65 F.4th 1122, 1128-31 (9th Cir. 2023) (discussing authority to
24   review executive action that is ultra wires and violates federal statute). The Court should do the
25   same here.
26


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 1   B.      The Plaintiff States Are Extremely Likely to Succeed on the Merits
2            The plain text of the Fourteenth Amendment and the INA guarantee citizenship to all
 3   born in the United States and subject to its jurisdiction, regardless of one's race, ethnicity,
4    alienable, or the immigration status of one's parents. The Citizenship Clause's history confirms
 5   this understanding. See States' Mot. at 10-11. Binding precedent confirms this understanding.
 6   United States v. Wong Kim Ark, 169 U.S. 649, 693 (1898), see also Plyler v. Doe, 457 U.S. 202,
 7   211-15 (1982). And every branch of government has confirmed this understanding for the past
 8   150 years. See 8 U.S.C. § 1401, Legislation Denying Citizenship at Birth to Certain Children
 9   Born in the United States, 19 Op. O.L.C. 340, 342 (1995), States' Mot. at 9-14. Defendants'
10   counterarguments are meritless .
11           1.     The Citizenship Stripping Order is blatantly unconstitutional
12           Defendants' core contention is that children born to undocumented and many legal
13   immigrants are not actually "subj ect to the jurisdiction" of the United States, and thus not entitled
14   to birthright citizenship, under a theory never before adopted by any court. They are wrong as a
15   matter of constitutional text and history, and their arguments are foreclosed by the Supreme
16   Court's decision in Wong Kim Ark.
17           As the Supreme Court explained in Wong Kim Ark, "[t]he real object" of including the
18   "subject to the jurisdiction thereof' language was "to exclude, by the fewest and fittest words
19   (besides children of members of the Indian tribes, standing in a peculiar relation to the national
20   government, unknown to the common law), the two classes of cases ... recognized [as]
21   exceptions to the fundamental rule of citizenship by birth within the country." 169 U.S. at 682.
22   Those two classes are "children born of alien enemies in hostile occupation, and children of
23   diplomatic representatives of a foreign state[.]" Id. The Court explained at length how in each of
24   these cases, the United States' exercise of sovereign power was limited either in fact, as a matter
25   of common law and practice, or in the case of Native American tribes, as a result of their tribal
26   sovereignty. Id. at 683 (discussing United States v. Rice, 17 U.S. (4 Wheat.) 246 (1819)


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 1   (regarding hostile invasion and the suspension of sovereign power over occupied territory), and
2    Schooner Exch. v. McFaddon, 11 U.S. (7 Cranch) 116, 136 (1812) (explaining why diplomats
 3   are not subject to the United States' jurisdiction even though the Nation's sovereign power is
4    necessary and absolute in its territory)), see also Ramsey, Originalism, supra, at 436-58
 5   (detailing mid-Nineteenth Century understanding of what it meant to be "subject to the
 6   jurisdiction" of the United States).
 7          The Supreme Court, reviewing many of the authorities Defendants now cite, concluded
 8   that "[t]he fourteenth amendment affirms the ancient and fundamental rule of citizenship by birth
 9   within the territory, in the allegiance and under the protection of the country, including all
10   children here born of resident aliens[.]" Wong Kim Ark, 169 U.S. at 693. The only individuals
11   understood not to be subject to the United States' jurisdiction at birth were children bom to
12   diplomats or enemies during hostile occupation, those born on foreign ships, and those born to
13   members of Native American tribes. Id. The Court made clear, in language that forecloses
14   Defendants' modern-day interpretation:
15
            The amendment, in clear words and in manifest intent, includes the children bom
16          within the territory of the United States of all other persons, of whatever race or
            color, domiciled within the United States. Every citizen or subject of another
17          country, while domiciled here, is within the allegiance and the protection, and
            consequently subject to the jurisdiction, of the United States. His allegiance to the
18          United States is direct and immediate, and, although but local and temporary,
19
            continuing only so long as he remains within our territory, is ... "strong enough to
            make a natural subject, for, if he hath [a child] here, that [child] is a natural-born
20          subject", and his child ... "[i]f born in the country, is as much a citizen as the
            natural-born child of a citizen ...."
21

22   Id. (cleaned up), The Court reiterated that "[i]t can hardly be denied that an alien is completely

23   subject to the political jurisdiction of the country in which he resides[.]" Id. "Independently of a

24   residence with intention to continue such residence, independently of any domiciliation,
25   independently of the taking of any oath of allegiance, or of renouncing any former allegiance,"

26   the Court stated, "it is well known that by the public law an alien, or a stranger born, for so long


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 1   a time as he continues within the dominions of a foreign government, owes obedience to the
2    laws of that government[.]" Id. at 693-94. That is, such persons are subject to the United States '
 3   jurisdiction.
4            The Court's reasoning is complete and its holding dispositive. None of the individuals
 5   targeted in the Citizenship Stripping Order today enjoy any type of immunity from general laws
 6   or represent another sovereign nation or political entity. The Defendants' "surplusage" argument,
 7   Opp. at 19-20, is accordingly resolved by simply reading the Fourteenth Amendment's plain
 8   text. Without "subject to the jurisdiction thereof," the Citizenship Clause would extend to the
 9   narrow categories that have long been recognized by courts, Congress, and the Executive to be
10   exempt from the Citizenship Clause's grant of birthright citizenship.
11           Defendants nonetheless attempt to import two new non-textual requirements, complete
12   "allegiance" and "lawful domicile," by chaining together selective quotes from cases unrelated
13   to the interpretation of the Citizenship Clause. Opp. at 20-25. But allegiance and lawful domicile
14   appear nowhere in the Fourteenth Amendment. McPherson v. Blacker, 146 U.S. l, 27 (1892)
15   ("The framers of the constitution employed words in their natural sense, and, where they are
16   plain and clear, resort to collateral aids to interpretation is unnecessary, and cannot be indulged
17   in to narrow or enlarge the text ...."). And with respect to the requirement of being "subject to
18   the jurisdiction thereof," it was clear at ratification that this phrase included all non-citizens who
19   were physically present in the United States, absent the very narrow exceptions recognized at
20   common law and noted above. Wong Kim Ark interpreted the Citizenship Clause's language and
21   directly forecloses Defendants' argument. 169 U.S. at 693 .
22           Nor do those non-textual requirements comport with the Citizenship Clause's history.
23   Illegally imported enslaved individuals were not "lawfully domiciled" in the United States under
24   Defendants' interpretation, yet there is no question that the Citizenship Clause applied to their
25   children. See, et., Gabriel J. Chin & Paul Finkelman, Birthright Citizenship, Slave Trade
26   Legislation, and the Origins of FederaI Immigration Regulation, 54 U.C. Davis L. Rev. 2215,


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 1   2250 (2021) ("This history demonstrates that there were clearly 'illegal aliens,' both free
2    migrants banned under the 1803 law and illegally imported slaves, in the United States before
 3   and during the consideration of the Fourteenth Amendment."), Gerald L. Neumann, Back to Dred
4    Scott?, 24 San Diego L. Rev. 485, 497-99 (1987) (detailing the history of enslaved individuals
 5   who were imported illegally and recognizing that the Fourteenth Amendment was intended to
 6   grant citizenship to all native-born individuals of African descent).4
 7          Defendants also turn to Elk v. Wilkins, 112 U.S. 94 (1884), the Slaughter-House Cases,
 8   83 U.S. 36 (1872), and a slew of nonbinding authorities that predate Wong Kim Ark and Plyler
 9   to try to read extra requirements into the Citizenship Clause. Opp. at 20-21, 28-30. Defendants '
10   arguments re-hash well-trodden and widely rejected bases for attempting to adopt exclusionary
11   views of the Citizenship Clause. See, et., Ramsey, Origirialism, supra, at 436-58 (analyzing
12   common arguments for reading "subject to the jurisdiction thereof' narrowly with respect to
13   undocumented immigrants and concluding they are all contrary to the Fourteenth Amendment's
14   text and history). In short, Wong Kim Ark cemented the meaning of the Citizenship Clause in a
15   manner consistent with Elk. See Wong Kim Ark, 169 U.S. at 682 (recognizing that Elk "concerned
16   only members of the Indian tribes within the United States and had no tendency to deny
17   citizenship to children born in the United States of foreign parents ... not in the diplomatic
18   service of a foreign country"), accord Ramsey, Origirialism, supra, at 419-20 (discussing Elk).
19   The Supreme Court likewise dismissed the dicta in the Slaughter-House Cases that suggested a
20   narrow view of the Citizenship Clause. Id. at 677-80.
21          Nowhere in Wong Kim Ark did the Supreme Court recognize a "lawful domicile" or
22   "exclusive allegiance" requirement for one to be subject to the United States' jurisdiction.
23   Indeed, the dissent made similar arguments to those Defendants offer today. Id. at 729 (Fuller,
24   C.J., dissenting) ("If children born in the United States were deemed presumptively and
25   generally citizens, this was not so when they were born of aliens whose residence was merely
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            4 Available at: https://digital.sandiego.edu/sdlr/vo124/iss2/8/.


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 1   temporary, either in fact or in point of law."). Those arguments were rejected, and the Citizenship
2    Clause's broad scope was established. Id. at 694.
 3            Defendants further point to the Civil Rights Act of 1866, but that Act confirms that they
4    are wrong. The Act provided that "[a]ll persons born in the United States, and not subject to any
 5   foreign Power, are hereby declared to be citizens of the United States, without distinction of
 6   color." Civil Rights Act of 1866 § l, see Cong. Globe, 39th Cong., 1st Sess. 474, 498 (1866).
 7   All involved in its passage understood that this language included the children of immigrants,
 8   regardless of their background. When one senator asked whether this language "would have the
 9   effect of naturalizing the children of Chinese and Gypsies bom in this country[,]" for example,
10   Senator Trumbull, the Act's author, responded, "Undoubtedly." Cong. Globe, 39th Cong., 1st
11   Sess. 498.5 This was true even though, at the time, Chinese immigrants could not become
12   naturalized U.S. citizens and "Gypsies" were, if present, likely present unlawfully. See Garrett
13   Epps, The Citizenship Clause: A "Legislative History, " 60 Am. U. L. Rev. 331, 350-52 (2010),
14   Ramsey, Originalism, supra, at 451-52 (discussing 1866 Act).
15            Finally, even if the Civil Rights Act of 1866 did not include immigrants in its citizenship
16   clause-and it did-the Fourteenth Amendment's Citizenship Clause certainly confers
17   citizenship to the children subject to the Citizenship Stripping Order. All involved in its passage
18   understood that the Citizenship Clause guaranteed citizenship to virtually all U.S.-born children
19   regardless of the race or citizenship of their parents. Indeed, it was introduced to confirm that
20   "every person born within the limits of the United States, and subject to their jurisdiction, is by
21   virtue of natural law and national law a citizen of the United States." Cong. Globe, 39th Cong.,
22   1st Sess. 2890 (statement of Sen. Howard). Senator Cowan, notably, argued against ratification
23   because "[i]f the mere fact of being born in the country confers that right," of citizenship, then
24
               5 Defendants stitch the legislative history of the Civil Rights Act of 1866 and the Fourteenth Amendment's
25   ratification debates together to argue that Senator Trumbull equated being "subj ect to our jurisdiction" with "owing
     allegiance solely to the United States." Opp. at 21-22. Senator Trumbull made the latter statement in explaining
     why Native American tribes are not subject to the jurisdiction of the United States, not as a blanket statement about
26
     the Citizenship Clause. See Cong. Globe, 39th Cong., 1st Sess. 2894, see also Ramsey, Originalism, supra, at 449.


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 1   the children of parents "who have a distinct, independent government of their own," "who owe
2    [the state] no allegiance," and who would "settle as trespassers" would also be citizens. Id. at
 3   2891, id. at 2890 (statement of Sen. Cowan) ("Is the child of the Chinese immigrant in California
4    a citizen? Is the child of a Gypsy born in Pennsylvania a citizen? ... Have they any more rights
 5   than a sojourner in the United States?"). All agreed that Senator Cowan properly understood the
 6   Citizenship Clause's broad scope, and the Senate adopted that broad language anyway. See id.
 7   at 2891 (Senator Congress confirming that the Clause as proposed would provide citizenship to
 8   "children begotten of Chinese parents in California," because the 1866 Act made that the case
 9   by law and "it is proposed to incorporate the same provision in the fundamental instrument of
10   the nation" and "declare that the children of all parentage whatever ... should be regarded and
11   treated as citizens of the United States.").
12          Ultimately, the Citizenship Clause was adopted to "remove[] all doubt as to what persons
13   are or are not citizens of the United States." Id. (statement of Sen. Howard). Wong Kim Ark
14   confirmed the Citizenship Clause's proper interpretation, and there is still no doubt today. The
15   Plaintiff States are likely to succeed on the merits.
16          2.      The Citizenship Stripping Order independently violates the INA
17          Defendants argue that the Plaintiff States' INA claim fails "because [it] depend[s] on the
18   plaintiffs' incorrect construction of the Fourteenth Amendment." Opp. at 40. But they miss the
19   point. Because Congress "employ[ed] a term of art obviously transplanted from another legal
20   source," the INA brought "the old soil with it." George v. McDonough, 596 U.S. 740, 746 (2022)
21   (cleaned up). The "old soil" was, and is, the established understanding of the Citizenship Clause
22   set forth in Wong Kim Ark. See States' Mot. at 14-15. Because Defendants do not dispute that
23   the Citizenship Stripping Order attempts to exclude a new category of individuals from the
24   Citizenship Clause's reach based on a theory that has never been accepted, it is contrary to the
25   INA as properly construed. The Plaintiff States are likely to prevail on their INA claim.
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 1   c.      The Remaining Injunction Factors Decisively Favor the Plaintiff States
2            The irreparable harm, public interest, and equities factors compel an injunction.
 3   Defendants offer no serious response regarding the extensive harms the Citizenship Stripping
4    Order will cause to the Plaintiff States and their residents. Defendants suggest merely that the
 5   operational chaos and financial losses the Plaintiff States will suffer "are not directly attributable
 6   to the EO" and muse that there might be another way to recover certain lost reimbursements.
 7   Opp. at 41. They are wrong on all accounts.
 8           The Plaintiff States' harms flow directly from the unilateral reclassification of thousands
 9   of individuals as non-citizens-individuals whose citizenship the Plaintiff States must verify to
10   be reimbursed under longstanding programs like Medicaid, CHIP, and Title IV-E. See States'
11   Mot. at 7-9, 16-19. Likewise, the Plaintiff States are integral participants in SSA's Enumeration
12   at Birth program. See id. at 8, 17-18. It is not speculative that the Plaintiff States will lose money
13   under their existing agreements with SSA, thousands of children bom in each Plaintiff State will
14   be deemed ineligible for SSNs, and as a result, the Plaintiff States will not be able to receive
15   SSA payments for processing their birth data. Id. Despite these direct harms, Defendants
16   nowhere acknowledge that money damages are not recoverable against sovereign defendants
17   like the federal government. See id. at 15-16. Nor do they rebut the overwhelming evidence that
18   the Plaintiff States will have to expend significant resources to update and modify systems used
19   to verify citizenship and immigration status now for the programs the Plaintiff States administer.
20   See id. at 18-19.
21           Defendants instead invite the Court to grant them unchecked power to determine
22   citizenship by executive fiat, invoking the federal government's "broad, undoubted power over
23   the subject of immigration and the status of aliens." Opp. at 44 (citing Arizona v. United States,
24   567 U.S. 387, 394 (2012)).6 But this is not a case that threatens a "severe intrusion into [a] core
25
             6 Defendants assert that the Court should dismiss the President, Opp. at 45, but the Supreme Court has
     recognized that "the president's actions may [] be reviewed for constitutionality." Franklin v. Massachusetts, 505
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     U.S. 788, 801 (1992).


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 1   executive authority." Opp. at 44. It is a case about citizenship rights that are intentionally beyond
2    the President's authority. And as the Supreme Court has confirmed, "[t]he very nature of our
 3   free government makes it completely incongruous to have a rule of law under which a group of
4    citizens temporarily in office can deprive another group of citizens of their citizenship." Afroyim,
 5   387 U.S. at 268. Neither the equities nor the public interest favor allowing the Defendants to
 6   wage a war on the citizenship of children born on American soil. See E. Bay Sanctuary Covenant
 7   v. Biden, 993 F.3d 640, 679 (9th Cir. 2021) ("[T]he public has an interest in ensuring that the
 8   '[laws] enacted by [their] representatives are not imperiled by executive fiat."') (cleaned up).
 9   D.        A Nationwide Injunction Is Required for Complete Relief
10             Absent an injunction preserving the 157-year-old status quo nationwide, the Plaintiff
11   States' ultimate remedy-requiring the federal government to recognize U.S. citizens as
12   citizens-would lose its meaning. Defendants do not dispute that the Court has discretion to
13   fashion an appropriate injunction, including a nationwide injunction, as necessary to provide the
14   Plaintiff States with complete relief. Opp. at 44-45 (citing Madsen v. Women 's Health Ctr., Inc.,
15   512 U.S. 753, 765 (1994)) Nor could they. The Supreme Court and Ninth Circuit have
16   confirmed as much. See Trump v. Int'l Refugee Assistance Project, 582 U.S. 571, 579, 581
17   (2017) (allowing nationwide injunction as to enforcement of portions of Executive Order that
18   exceeded presidential authority), Doe #I v. Trump, 957 F.3d 1050, 1069 (9th Cir. 2020)
19   (declining to stay nationwide injunction and explaining that "there is no bar" against such
20   injunctions "when it is appropriate") (quoting Bresgal v. Brock, 843 F.2d 1163, 1170 (9th Cir.
21   1987)).
22             Defendants' request for a more limited injunction ignores the practical realities that
23   would accompany a geographically checkered rule of birthright citizenship and glosses over the
24   extraordinary nature of the Citizenship Stripping Order. Nationwide injunctions are particularly
25   warranted where, as here, the fact that individuals can and do move between states exposes the
26   plaintiffs to irreparable harm. See, e.g., E. Bay Sanctuary Covenant, 993 F.3d at 680-81 (holding


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 1   that district court did not abuse discretion in entering nationwide injunction of rule that conflicted
2    with the INA where plaintiff organizations would be harmed by losing clients who may have
 3   entered the United States at a location not covered under a geographically limited injunction),
4    HIAS, Inc. v. Trump, 985 F.3d 309, 327 (4th Cir. 2021) (affirming nationwide injunction
 5   prohibiting enforcement of Executive Order where organizations "place[d] refugees throughout
 6   the country" and demonstrated irreparable harm from the order taking effect in other
 7   jurisdictions). If individuals born in other states are deemed non-citizens under the Order and
 8   move to the Plaintiff States, the Plaintiff States will suffer the same irreparable injuries to their
 9   sovereign interests and substantial financial losses and administrative burdens that they would
10   without any injunction at all.
11                                        III.    CONCLUSION
12           The Plaintiff States request that the Court issue a nationwide preliminary injunction
13   barring the Citizenship Stripping Order's enforcement or implementation.
14
15           DATED this 4th day of February 2025.
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                                           I certify that this memorandum contains 6,383
2                                          words, in compliance with the Local Civil Rules.
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 1                                 CERTIFICATE OF SERVICE
2           I hereby certify that the foregoing document was electronically filed with the United
 3   State District Court using the CM/ECF system. I certify that all participants in the case are
4    registered CM/ECF users and that service will be accomplished by the CM/ECF system.
 5

 6          Dated this 4th day of February 2025 in Seattle, Washington.
 7
                                           s/ Tiphany Jennings
 8                                         Tiffany Jennings
 9                                         Paralegal

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